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                                           June and July Itemized Expense Detail

                                                                                                                                           Billable Slip
Transaction Date         Category for Court         Professional Full Name                             Description                            Value
   6/12/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Transportation from LGA to Dumont, NJ                              $168.46
   6/12/2014       (d) Ground Transportation   Evan Blum                     Car rental - hearing                                               $160.35
   6/12/2014       (b) Hotel                   Evan Blum                     Hotel for Hearing                                                  $177.41
   6/12/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen (travel)                                          $11.99
   6/12/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen (travel)                                          $10.81
   6/12/2014       (b) Hotel                   Sean Allen, CFA, CPA, CIRA    Lodging - 2 nights in Lexington, KY                                $334.34
   6/12/2014       (a) Transportation          Evan Blum                     Airfare Lexington - LAG hearing                                    $413.50
   6/12/2014       (e) Other (Specify)         Evan Blum                     Parking Lag airport - hearing                                       $66.00
   6/12/2014       (b) Hotel                   Marc Levee                    Hotel in Lexington, KY: 6/10/2014 - 6/12/2014 - in                 $321.10
                                                                             Lexington for meetings with Company and to attend First Day
                                                                             hearing
   6/12/2014       (d) Ground Transportation   Marc Levee                    Car home from LGA after trip to Lexington, KY                      $175.79
   6/13/2014       (e) Other (Specify)         Evan Blum                     Park early AM NYC for USC work (6 am)                               $45.00
   6/15/2014       (a) Transportation          Marc Levee                    Airfare from NYC to Lexington, KY for company meetings -           $554.00
                                                                             budget, projections, statutory filing requirements
   6/16/2014       (e) Other (Specify)         Evan Blum                     Park early AM USC work (5:40 am)                                    $45.00
   6/16/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Transportation from New York, NY to LGA                             $89.97
   6/16/2014       (a) Transportation          David Neyhart, CPA            Roundtrip southwest flight from Atlanta to New York                $846.00
   6/16/2014       Meals (Local)               David Neyhart, CPA            Meals on June 16th after 9 PM.                                      $26.85
   6/16/2014       (d) Ground Transportation   David Neyhart, CPA            Cab to Atlanta airport.                                             $27.00
   6/16/2014       (d) Ground Transportation   David Neyhart, CPA            Cab to NY office from airport.                                      $41.70
   6/16/2014       (c) Meals                   Marc Levee                    Dinner for M. Levee and S. Allen during travel from NYC to          $21.19
                                                                             Lexington
   6/16/2014       (a) Transportation          Sean Allen, CFA, CPA, CIRA    Round trip coach airfare for S. Allen from New York, NY to         $598.00
                                                                             Lexington, KY
   6/17/2014       (c) Meals                   Marc Levee                    Lunch while on-site in Lexington, KY                                $12.58
   6/17/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen and M. Levee (travel)                             $29.65
   6/17/2014       (c) Meals                   Marc Levee                    Dinner for M. Levee and S. Allen while in Lexington, KY             $44.03

   6/17/2014       (e) Other (Specify)         Evan Blum                     park early AM NYC USC work (5:15 am)                                $45.00
   6/17/2014       (d) Ground Transportation   David Neyhart, CPA            Transportation to dinner.                                           $15.60
   6/18/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen and M. Levee (travel)                             $42.48
   6/18/2014       (c) Meals                   Marc Levee                    Lunch while on-site in Lexington, KY                                 $6.67
   6/18/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen (travel)                                          $12.16
   6/18/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen (travel)                                           $8.53
   6/19/2014       (b) Hotel                   Marc Levee                    Hotel in Lexington 6/17 - 6/19                                     $295.80
   6/19/2014       Meals (Local)               David Neyhart, CPA            Meals on June 19th after 9 pm.                                      $14.70
   6/19/2014       (b) Hotel                   Sean Allen, CFA, CPA, CIRA    Lodging - 3 nights in Lexington, KY                                $428.38
   6/19/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen (travel)                                          $11.19
   6/19/2014       (c) Meals                   Marc Levee                    Dinner for M. Levee and S. Allen while in Lexington, KY             $23.30

   6/20/2014       (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen (travel)                                           $6.36
   6/20/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Fuel                                                                $12.70
   6/20/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Transportation for S. Allen and M. Levee from LGA to New            $51.99
                                                                             York, NY
   6/20/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Rental Car (6/18-6/20)                                             $178.18
   6/20/2014       (b) Hotel                   David Neyhart, CPA            Hotel July 16th-July 20th.                                           $0.00
   6/20/2014       (b) Hotel                   Marc Levee                    Hotel in Lexington, KY (6/19 - 6/20)                               $123.63
   6/20/2014       (c) Meals                   Marc Levee                    Breakfast in Lexington, KY                                           $5.67
   6/23/2014       Meals (Local)               Marc Levee                    Dinner in NYC office                                                 $9.89
   6/24/2014       (d) Ground Transportation   David Neyhart, CPA            Cab from Atlanta airport.                                            $0.00
   6/24/2014       Meals (Local)               Sean Allen, CFA, CPA, CIRA    Meal in office - late PM                                             $9.89
   6/24/2014       (d) Ground Transportation   David Neyhart, CPA            Cab to New York Airport from office                                  $0.00
   6/24/2014       (b) Hotel                   David Neyhart, CPA            Hotel July 22-24th.                                                  $0.00
   6/25/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Transportation from New York, NY to Dumont, NJ - after             $106.70
                                                                             9:00pm
   6/25/2014       Meals (Local)               Evan Blum                     Late night dinner in NJ with S Allen reviewing GR work              $11.83
   6/26/2014       (a) Transportation          Evan Blum                     Airfare NWK-Louisville for hearing                                 $603.00
   6/27/2014       (b) Hotel                   Evan Blum                     Hotel - Lexington hearing                                          $160.01
   6/27/2014       (d) Ground Transportation   Evan Blum                     Car rental - hearing                                               $219.35
   6/27/2014       (a) Transportation          Evan Blum                     Airfare Louisville - NWK for hearing                               $603.00
   6/27/2014       (e) Other (Specify)         Evan Blum                     Parking LAG airport - hearing                                       $66.00
   6/27/2014       (c) Meals                   Evan Blum                     Dinner- airport - attend hearing                                    $30.95
   6/28/2014       (a) Transportation          Marc Levee                    Airfare from LaGuardia to Lexington, KY                          $1,362.00
   6/29/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Car rental (6/29-7/2)                                              $261.67
   6/29/2014       (b) Hotel                   Sean Allen, CFA, CPA, CIRA    Lodging in Lexington, KY (3 nights)                                $451.39
   6/29/2014       (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Transportation from Dumont, NJ to LGA                              $151.96
   6/29/2014       (a) Transportation          Sean Allen, CFA, CPA, CIRA    Round trip coach airfare for S. Allen from New York, NY to       $1,362.00
                                                                             Lexington, KY
   6/30/2014       (c) Meals                   Marc Levee                    Dinner for M. Levee, S. Allen, and D. Neyhart in Lexington,         $41.24
                                                                             KY
   6/30/2014       (d) Ground Transportation   David Neyhart, CPA            Uber to Atlanta airport                                             $27.00
   6/30/2014       (d) Ground Transportation   David Neyhart, CPA            Cab from lexington airport.                                         $35.50
   6/30/2014       (a) Transportation          David Neyhart, CPA            Roundtrip flight from Atlanta to Lexington                         $990.46
   7/1/2014        (c) Meals                   Sean Allen, CFA, CPA, CIRA    Meal for S. Allen, M. Levee and D. Neyhart (travel)                 $41.31
   7/1/2014        (b) Hotel                   Evan Blum                     Hotel all night work in NY - 6/18                                  $376.43
   7/1/2014        (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA    Transportation from LGA to New York, NY                             $49.39
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                                    June and July Itemized Expense Detail
7/1/2014    (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA      Transportation from Dumont, NJ to LGA (travel - June 29,        $151.96
                                                                        invoice received in July)
7/2/2014    (c) Meals                   David Neyhart, CPA              Dinner in lexington                                              $17.00
7/2/2014    (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA      Transportation from New York, NY to Dumont, NJ - after          $106.70
                                                                        9:00pm
7/2/2014    (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA      Transportation for M. Levee and S. Allen from LGA to New         $39.30
                                                                        York, NY
7/2/2014    (c) Meals                   Sean Allen, CFA, CPA, CIRA      Meal for S. Allen (travel)                                        $5.19
7/2/2014    (d) Ground Transportation   David Neyhart, CPA              Cab from Atlanta airport home                                    $49.75
7/2/2014    (d) Ground Transportation   David Neyhart, CPA              Cab from hotel in lexington to USC office                        $38.00
7/2/2014    (d) Ground Transportation   Marc Levee                      Late night car home from NYC office (11:45pm pick up)           $132.17
7/2/2014    (b) Hotel                   David Neyhart, CPA              Hotel stay in lexington for work on SOALS.                      $295.00
7/2/2014    (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA      Transportation from New York, NY to Dumont, NJ (after           $106.70
                                                                        9:00 pm)
7/2/2014    (b) Hotel                   Sean Allen, CFA, CPA, CIRA      Lodging - 3 nights in Lexington, KY                             $439.32
7/2/2014    (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA      Transportation for S. Allen and M. Levee from LGA to New         $39.30
                                                                        York, NY
7/2/2014    (c) Meals                   Sean Allen, CFA, CPA, CIRA      Meal for S. Allen (travel)                                        $5.19
7/2/2014    Meals (Local)               Marc Levee                      Dinner in NYC office for S. Allen and M. Levee                   $19.03
7/2/2014    (b) Hotel                   Marc Levee                      3 nights (6/29 - 7/2) at hotel in Lexington, KY                 $449.28
7/3/2014    (d) Ground Transportation   Marc Levee                      Late night car home from NYC office (12:00 AM pick-up on        $121.56
                                                                        evening of 6/23/14)
7/3/2014    (d) Ground Transportation   Marc Levee                      Car from home to LaGuardia for flight to Lexington, KY          $169.64
                                                                        (6/29/14)
7/8/2014    Other (Specify)             Copying, Teleconference & GeneraPacer charges June 2014                                          $18.00
7/9/2014    (a) Transportation          Evan Blum                       Airfare NWK-Louisvile 7/9 for budget meetings                   $573.00
7/9/2014    (a) Transportation          Marc Levee                      Flight from Newark to Louisville for on-site meetings           $573.00
7/9/2014    (d) Ground Transportation   Marc Levee                      Car to Newark airport for trip to Lexington, KY for on-site     $132.48
                                                                        work
7/10/2014   (c) Meals                   Evan Blum                       Dinner 7/10 with M Levee and M Windisch - budget                $131.25
                                                                        meetings
7/10/2014   (b) Hotel                   Marc Levee                      One night hotel in Louisville, KY (7/9)                         $182.87
7/10/2014   (a) Transportation          Marc Levee                      Flight from Lexington, KY to Newark for M. Levee and E.         $822.00
                                                                        Blum
7/11/2014   (e) Other (Specify)         Evan Blum                       NWK airport park 7/9-7/11 budget meetings                        $78.00
7/11/2014   (e) Other (Specify)         Evan Blum                       internet - air - 7/19-7/11 budget meetings                        $9.95
7/11/2014   (d) Ground Transportation   Evan Blum                       Car rental 7/9-7/11 budget meetings                             $276.95
7/11/2014   (b) Hotel                   Evan Blum                       Hotel 7/9-7/11 budget meetings                                  $210.36
7/13/2014   (e) Other (Specify)         Sean Allen, CFA, CPA, CIRA      In-flight wi-fi for correspondence                                $7.00
7/14/2014   Meals (Local)               Sean Allen, CFA, CPA, CIRA      Meal in office - late PM                                         $11.00
7/14/2014   Meals (Local)               Marc Levee                      Dinner in NYC office                                             $11.50
7/14/2014   Meals (Local)               Sean Allen, CFA, CPA, CIRA      Meal for S. Allen (late PM)                                       $8.85
7/15/2014   (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA      Transportation from New York, NY to Dumont, NJ (after           $106.70
                                                                        9:00 pm)
7/15/2014   Meals (Local)               Marc Levee                      Dinner in NYC office for M. Levee and S. Allen                   $24.69
7/15/2014   (d) Ground Transportation   Marc Levee                      Late night car home from NYC office on 7/15/2014                $110.34
                                                                        (10:45pm pick-up)
7/15/2014   (a) Transportation          Sean Allen, CFA, CPA, CIRA      Round trip coach airfare from Newark, NJ to Louisville, KY     $1,206.00

7/15/2014   (d) Ground Transportation   David Neyhart, CPA               Cab home from office after 10.                                   $26.90
7/17/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA       Meal for S. Allen (travel)                                        $9.03
7/17/2014   (e) Other (Specify)         Evan Blum                        Gas 7/17 trip to company                                         $29.28
7/17/2014   (c) Meals                   Evan Blum                        Breakfast airport 7/17 trip for 341 hearing                       $4.58
7/17/2014   (e) Other (Specify)         Sean Allen, CFA, CPA, CIRA       To download correspondence in Newark Airport                      $7.95
7/17/2014   (e) Other (Specify)         Sean Allen, CFA, CPA, CIRA       To download correspondence in Louisville Airport                  $7.95
7/18/2014   (e) Other (Specify)         Evan Blum                        Parking NWK airport after 341 hearing                            $66.00
7/18/2014   (c) Meals                   Evan Blum                        Dinner 7/18 at airport after 341 hearing with M Levee            $44.75
7/18/2014   (d) Ground Transportation   Evan Blum                        Car rental 7/18 341 hearing                                     $124.23
7/18/2014   (a) Transportation          Evan Blum                        Airfare Rt Louisville- NWK 341 hearing                        $1,206.00
7/18/2014   (b) Hotel                   Evan Blum                        Hotel 7/17-7/18 341 hearing                                     $200.04
7/18/2014   (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA       Lodging for one night in Lexington, KY                          $212.99
7/18/2014   (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA       Parking at EWR - 2 days                                          $29.13
7/28/2014   (a) Transportation          Sean Allen, CFA, CPA, CIRA       Round trip coach airfare from New York, NY to Lexington,      $1,394.10
                                                                         KY
7/28/2014   (b) Hotel                   Sean Allen, CFA, CPA, CIRA       Four nights lodging (7/28-7/31) in Lexington, KY               $424.69
7/28/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA       Meal for S. Allen (travel)                                      $13.76
7/28/2014   (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA       Rental car                                                     $372.96
7/29/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA       Meal for S. Allen (travel)                                       $5.08
7/29/2014   Meals (Local)               David Neyhart, CPA               Dinner at office after 10                                       $11.85
7/29/2014   (d) Ground Transportation   David Neyhart, CPA               Cab home from office after 10.                                  $23.90
7/29/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA       Meal for S. Allen (travel)                                      $14.85
7/29/2014   (d) Ground Transportation   Evan Blum                        Car from NYC office to airport on 7/29 for budget meetings      $52.50

7/29/2014   (b) Hotel                   Evan Blum                        Hotel 7/29 for budget meetings                                  $98.90
7/29/2014   (c) Meals                   Evan Blum                        Meals 7/29 airport dinner                                       $34.40
7/29/2014   (d) Ground Transportation   Evan Blum                        Car rental 7/29 trip                                           $228.44
7/30/2014   (d) Ground Transportation   David Neyhart, CPA               Cab home from office after 10.                                  $22.00
7/30/2014   (b) Hotel                   Evan Blum                        Hotel 7/30 for budget meetings                                 $115.90
7/30/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA       Working Dinner - S. Allen, E. Gabbert, and E. Blum (travel)    $139.94

7/31/2014   (c) Meals                   Evan Blum                        7/31 airport dinner                                             $17.62
7/31/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA       Meal for S. Allen (travel)                                      $39.22
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7/31/2014   (d) Ground Transportation   Evan Blum                    car from airport to NY after returning from LEX budget      $83.00
                                                                     meetings 7/31
7/31/2014   (e) Other (Specify)         Evan Blum                    Park NYC for trip to KY - budget meetings 7/19-7/31        $135.00
7/31/2014   (a) Transportation          Evan Blum                    Airfare LAg - Lex budget meetings 7/29-7/31                $672.10
7/31/2014   (a) Transportation          Evan Blum                    Airfare Lex - NWK 7/31 budget meetings                     $460.10
7/31/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA   Meal for S. Allen (travel)                                   $5.08


                                                                     Total                                                    $25,487.28
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                                                             June Itemized Time Records
  Date             Category                Professional                                  Description                                   Hours


6/14/2014 Assumption/Rejection of   Sean Allen, CFA, CPA,   Begin preparation of summary of Forge agreements                           1.20
          Leases and Contracts      CIRA
6/16/2014 Assumption/Rejection of   Evan Blum               Review emails around Forge relationship and agreement to go back to        0.20
          Leases and Contracts                              contract terms
6/18/2014 Assumption/Rejection of   Evan Blum               Review GR memo on Forge contracts; discuss with S Allen; distribute to     0.90
          Leases and Contracts                              counsel
6/18/2014 Assumption/Rejection of   Sean Allen, CFA, CPA,   Discuss KOLMAR agreements with J. Collins                                  0.50
          Leases and Contracts      CIRA
6/18/2014 Assumption/Rejection of   Sean Allen, CFA, CPA,   Discuss coal preparation lease agreement and operations with E. Blum       0.90
          Leases and Contracts      CIRA
6/19/2014 Assumption/Rejection of   Evan Blum               Calls and emails with J Collins, M Windisch and counsel in regard to the   0.90
          Leases and Contracts                              Ivyton contract
6/20/2014 Assumption/Rejection of   Sean Allen, CFA, CPA,   Discuss executory contracts with M. Levee and E. Blum                      0.80
          Leases and Contracts      CIRA
6/20/2014 Assumption/Rejection of   Evan Blum               Review updated GR memo on Forge contracts                                  0.40
          Leases and Contracts
6/20/2014 Assumption/Rejection of   Evan Blum               Discuss executory contracts with M. Levee and S. Allen                     0.80
          Leases and Contracts
6/20/2014 Assumption/Rejection of   Marc Levee              Discuss executory contracts with E. Blum and S. Allen                      0.80
          Leases and Contracts
6/22/2014 Assumption/Rejection of   Evan Blum               Review emails around Bailey Blanton matter                                 0.50
          Leases and Contracts
6/23/2014 Assumption/Rejection of   David Neyhart, CPA      Review US coal and Kolmar Agreements                                       3.10
          Leases and Contracts
6/24/2014 Assumption/Rejection of   David Neyhart, CPA      Continue to review US coal and Kolmar Agreements                           2.90
          Leases and Contracts
6/24/2014 Assumption/Rejection of   David Neyhart, CPA      Prepare memo on US Coal and Kolmar agreements                              1.30
          Leases and Contracts
6/25/2014 Assumption/Rejection of   David Neyhart, CPA      Prepare and review memo on US Coal and Kolmar agreements                   2.40
          Leases and Contracts
6/25/2014 Assumption/Rejection of   Evan Blum               Contract Highwall Mining contract - review and discuss with CFO            0.40
          Leases and Contracts
6/25/2014 Assumption/Rejection of   Evan Blum               Review additional correspondence related to proposed CAT payments          0.20
          Leases and Contracts                              on equipment notes; need for counsel to follow
6/25/2014 Assumption/Rejection of   Evan Blum               Review emails and respond - lease payments to CAT and komatsu              0.40
          Leases and Contracts
6/30/2014 Assumption/Rejection of   Evan Blum               Call with CFO to discuss Whayne Supply contract and attempt to get         0.30
          Leases and Contracts                              terms - follow with D Drebsky
6/30/2014 Assumption/Rejection of   Evan Blum               Review counsel email regarding Contract Highwall Mining - company          0.20
          Leases and Contracts                              need for them to perform under contract and back and forth with
                                                            Contract Highwall in terms of moving equipment

                                                            Assumption/Rejection of Leases and Contracts Total                         19.10   $    6,707.50

6/17/2014 Business Operations       Marc Levee              Call with E. Blum, S. Allen, Erin re topics to be addressed in GR memo     0.40
                                                            summarizing the company
6/17/2014 Business Operations       Sean Allen, CFA, CPA,   Call with E. Blum, M. Levee, Erin re topics to be addressed in GR          0.40
                                    CIRA                    memo summarizing the company
6/17/2014 Business Operations       Evan Blum               Review and respond to questions from JAD counsel in regard to USC          0.40
                                                            operations
6/17/2014 Business Operations       Evan Blum               Call with S Allen, M Levee, Erin re topics to be addressed in GR memo      0.40
                                                            summarizing the company
6/18/2014 Business Operations       Sean Allen, CFA, CPA,   Discuss cash management and operations with management (multiple           1.60
                                    CIRA                    meetings)
6/18/2014 Business Operations       Sean Allen, CFA, CPA,   Prepare for and meet with LRR engineering to discuss updates to LRR        1.40
                                    CIRA                    operations
6/19/2014 Business Operations       Evan Blum               Review emails re payment of bills - mechanics and timing - for             0.20
                                                            valuation consulting firms
6/19/2014 Business Operations       Evan Blum               Review US Coal First Day Motion - cash management - and emails             0.60
                                                            around same with comments
6/19/2014 Business Operations       Evan Blum               Review US Coal First day Motion - Utility; Joint Administration; Case      0.50
                                                            management
6/22/2014 Business Operations       Evan Blum               Review emails around potential new bonding requirements at JAD and         0.20
                                                            economic impact
6/25/2014 Business Operations       Sean Allen, CFA, CPA,   Discuss financial position and operations with management                  0.80
                                    CIRA
6/27/2014 Business Operations       Evan Blum               Review GR inter company memo for counsel; mark and review with             0.90
                                                            Erin
6/27/2014 Business Operations       Evan Blum               Post hearing, remain at US Coal for discussions with J Collins re          0.70
                                                            operational issues
6/30/2014 Business Operations       Evan Blum               Review updated GR cash management memo and provide back to                 0.40
                                                            company to finalize
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  Date               Category            Professional                                   Description                                  Hours
                                                          Business Operations Total                                                  8.90    $    4,177.50

6/12/2014 Case Administration     Sean Allen, CFA, CPA,   Prepare for and attend hearing to consider first day motions               6.30
                                  CIRA
6/12/2014 Case Administration     Marc Levee              Attend first day hearing in the Eastern District of KY                     4.00
6/12/2014 Case Administration     Marc Levee              Preparation for first day hearing with counsel, Company, and GR team       1.50

6/12/2014 Case Administration     Evan Blum               Attend First Day hearing in Lexington                                      4.00
6/12/2014 Case Administration     Evan Blum               Meet at Del Cotto with company and counsel to prepare for First day        2.00
                                                          hearing
6/12/2014 Case Administration     Sean Allen, CFA, CPA,   Discuss follow up issues to be addressed following First Day hearing       1.40
                                  CIRA                    with Nixon and internally with E. Blum and M. Levee
6/12/2014 Case Administration     Marc Levee              Discuss follow up issues to be addressed following First Day hearing       1.40
                                                          with Nixon and internally with E. Blum and S. Allen
6/12/2014 Case Administration     David Neyhart, CPA      Review key filings and motions for recent comparable coal                  3.00
                                                          bankruptcies.
6/12/2014 Case Administration     Evan Blum               Discuss follow up issues to be addressed following First Day hearing       1.40
                                                          with Nixon and internally with S Allen & M Levee
6/12/2014 Case Administration     David Neyhart, CPA      Update summary powerpoint slides to reflect Black Diamond Mining.          1.40

6/12/2014 Case Administration     David Neyhart, CPA      Summarize prior day docket.                                                0.30
6/13/2014 Case Administration     David Neyhart, CPA      Summarize prior day docket.                                                0.30
6/13/2014 Case Administration     Sean Allen, CFA, CPA,   Meet with E. Blum re establishing GR plan re all issues that need to be    0.60
                                  CIRA                    addressed
6/13/2014 Case Administration     Evan Blum               Meet with S Allen re establishing GR plan re all issues that need to be    0.60
                                                          addressed
6/16/2014 Case Administration     Sean Allen, CFA, CPA,   Status call with Nixon Peabody and E. Blum                                 0.30
                                  CIRA
6/17/2014 Case Administration     Evan Blum               Review Filings for US Coal to be submitted to Court                        0.50
6/17/2014 Case Administration     David Neyhart, CPA      Review prior day docket.                                                   0.40
6/17/2014 Case Administration     Evan Blum               Call with Chris at Nixon re A/P schedule; contract analysis; end of case   0.40
                                                          liabilities
6/17/2014 Case Administration     Evan Blum               Call with Erin, Mike and John to discuss key case issues to be addressed   0.50
                                                          over next day or two
6/18/2014 Case Administration     Evan Blum               Took calls from multiple law firms interested in serving as comm           0.60
                                                          counsel
6/18/2014   Case Administration   David Neyhart, CPA      Review objections and notable interim motions.                             0.50
6/18/2014   Case Administration   David Neyhart, CPA      Review prior day docket.                                                   0.40
6/19/2014   Case Administration   David Neyhart, CPA      Review prior day docket.                                                   0.50
6/20/2014   Case Administration   David Neyhart, CPA      Review docket for 6/19.                                                    0.40
6/20/2014   Case Administration   Sean Allen, CFA, CPA,   Status call with management, Nixon Peabody, Delcotto                       0.70
                                  CIRA
6/21/2014 Case Administration     Evan Blum               Calls with S Allen to review First Day Orders - Wages, Truckers - Key      1.30
                                                          Vendors, Workers Comp, Royalties and Surety Bonds - in regard to
                                                          confirming payments already approved and paid as well as reviewing
                                                          timing of payments where subject to final order; emails to counsel re
                                                          questions on these issues
6/21/2014 Case Administration     Sean Allen, CFA, CPA,   Calls with E. Blum to review First Day Orders - Wages, Truckers - Key      1.30
                                  CIRA                    Vendors, Workers Comp, Royalties and Surety Bonds - in regard to
                                                          confirming payments already approved and paid as well as reviewing
                                                          timing of payments where subject to final order; emails to counsel re
                                                          questions on these issues
6/21/2014 Case Administration     Sean Allen, CFA, CPA,   Status call with management                                                0.90
                                  CIRA
6/22/2014   Case Administration   Evan Blum               Review US Coal wages filing and related emails                             0.50
6/23/2014   Case Administration   David Neyhart, CPA      Review docket for 6/20                                                     0.30
6/24/2014   Case Administration   David Neyhart, CPA      Review docket for 6/23                                                     0.50
6/24/2014   Case Administration   Sean Allen, CFA, CPA,   Discuss upcoming hearing with E. Blum and Nixon Peabody, as well as        0.40
                                  CIRA                    analytical work in preparation thereof
6/24/2014 Case Administration     Evan Blum               Discuss upcoming hearing with S. Allen and Nixon Peabody, as well as       0.40
                                                          analytical work in preparation thereof
6/25/2014 Case Administration     Evan Blum               Meet S Allen re GR work required; prioritize projects                      0.60
6/25/2014 Case Administration     Sean Allen, CFA, CPA,   Meet with E. Blum re GR work required; prioritize projects                 0.60
                                  CIRA
6/25/2014   Case Administration   David Neyhart, CPA      Review daily docket for 6/24                                               0.40
6/25/2014   Case Administration   David Neyhart, CPA      Review cash management motion and relevant dockets.                        0.80
6/25/2014   Case Administration   David Neyhart, CPA      Analyze share listing for outstanding warrants and options.                1.20
6/26/2014   Case Administration   Evan Blum               Meet with Nixon and Del Cotto to review motions and prepare for next       0.80
                                                          day hearing - initial hearing for US Coal; follow for licking River

6/27/2014 Case Administration     David Neyhart, CPA      Status call with SA and review of UCC analysis.                            0.60
6/27/2014 Case Administration     David Neyhart, CPA      Review Daily docket for 6/26 and 6/25.                                     0.40
6/27/2014 Case Administration     Evan Blum               Call with company and GR re priority work to be done - 2014 numbers;       0.80
                                                          SOALS / SOFAS; end of case analysis. Schedule next week in
                                                          Lexington
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                                                              June Itemized Time Records
   Date           Category                  Professional                                   Description                                  Hours
6/27/2014 Case Administration        Evan Blum               Attend first Day US Coal and second Licking River hearing in               2.50
                                                             Lexington
6/27/2014 Case Administration        Evan Blum               Prepare for first day US Coal and second Licking River hearing - pre       1.00
                                                             hearing at Del Cotto
6/28/2014 Case Administration        David Neyhart, CPA      Review docket for 6/27                                                     0.40
6/30/2014 Case Administration        Evan Blum               Call with S Allen late PM to discuss model progress in Lexington; status   0.50
                                                             of issues GR to work on - SOALs, end case admin for committee;
                                                             NOLs; etc
6/30/2014 Case Administration        Sean Allen, CFA, CPA,   Call with E. Blum late PM to discuss model progress in Lexington;          0.50
                                     CIRA                    status of issues GR to work on - SOALs, end case admin for committee;
                                                             NOLs; etc

                                                             Case Administration Total                                                  50.10   $   20,352.50

6/13/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Discuss estimation of various figures with E. Gabbert                      1.20
          Petition Financing         CIRA
6/13/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Review proposed interim cash collateral order and discuss with E. Blum     0.40
          Petition Financing         CIRA
6/13/2014 Cash Collateral and Post   Evan Blum               Discuss budget variance language in Cash Collateral Order with S Allen     0.60
          Petition Financing                                 and have call with Nixon to discuss; review emails re change of such
                                                             language
6/13/2014 Cash Collateral and Post   Evan Blum               Review marked cash collateral orders from Nixon and mark from Akin         0.60
          Petition Financing                                 Gump
6/13/2014 Cash Collateral and Post   Evan Blum               Discuss updating of budget and preparation of projections - 13 week;       0.80
          Petition Financing                                 2014 and go forward with S Allen
6/14/2014 Cash Collateral and Post   Marc Levee              Projection assumptions for JAD - royalties, tax, coal prep, and G&A        0.70
          Petition Financing                                 costs for cash collateral budget
6/16/2014 Cash Collateral and Post   Evan Blum               Call with CFO re receivable financing; timing of process; economics        0.30
          Petition Financing
6/16/2014 Cash Collateral and Post   Evan Blum               Discuss updated budget process and timing on call with S Allen and         0.40
          Petition Financing                                 Nixon
6/16/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Discuss cash collateral and other matters with JAD Seller Counsel and      0.40
          Petition Financing         CIRA                    Nixon Peabody
6/18/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Begin preparation of updates to budgets                                    2.20
          Petition Financing         CIRA
6/19/2014 Cash Collateral and Post   Marc Levee              Discuss shipping forecast at JAD with S. Allen                             0.40
          Petition Financing
6/19/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Begin revisions to JAD budget per discussions held earlier                 3.10
          Petition Financing         CIRA
6/19/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Meet with management and engineering to revise JAD budget                  3.90
          Petition Financing         CIRA
6/19/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Prepare for JAD budget discussion                                          1.20
          Petition Financing         CIRA
6/19/2014 Cash Collateral and Post   Marc Levee              Revise JAD budget per management meeting                                   1.80
          Petition Financing
6/19/2014 Cash Collateral and Post   Marc Levee              Prepare for and participate in meeting with management regarding the       6.80
          Petition Financing                                 budget at JAD
6/19/2014 Cash Collateral and Post   Evan Blum               Emails with CFO regarding financing approvals at committee level; next     0.20
          Petition Financing                                 steps; EB followed with email to group
6/19/2014 Cash Collateral and Post   Evan Blum               Review professional fee assumptions in budget                              0.30
          Petition Financing
6/20/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Revise LRR budget                                                          1.80
          Petition Financing         CIRA
6/20/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Discuss budget with management and E. Blum                                 0.80
          Petition Financing         CIRA
6/20/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Correspondence with counsel re: parent company reimbursements              0.30
          Petition Financing         CIRA
6/20/2014 Cash Collateral and Post   Evan Blum               Discuss budget with Management and S. Allen                                0.80
          Petition Financing
6/20/2014 Cash Collateral and Post   Marc Levee              Follow up internal meeting regarding JAD budget                            0.60
          Petition Financing
6/20/2014 Cash Collateral and Post   Marc Levee              Update conference call with all debtor professionals and the Company to    0.60
          Petition Financing                                 discuss interim budget and other matters
6/20/2014 Cash Collateral and Post   Marc Levee              Internal meeting to discuss JAD budget with GR team                        0.80
          Petition Financing
6/20/2014 Cash Collateral and Post   Evan Blum               Work on line by line review of LRR cash collateral budget for update;      1.20
          Petition Financing                                 discuss open issues internally and with company
6/20/2014 Cash Collateral and Post   Evan Blum               Work on line by line updating cash collateral budget for JAD internally;   1.40
          Petition Financing                                 clarify issues that remain to be addressed
6/21/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Revise and finalize budget per various discussions                         9.50
          Petition Financing         CIRA
6/21/2014 Cash Collateral and Post   Evan Blum               call with S Allen re treatment of payments to valuation professionals in   0.40
          Petition Financing                                 cash collateral budget; emails to counsel and company to clarify
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                                                              June Itemized Time Records
   Date             Category                Professional                                    Description                                  Hours
6/21/2014 Cash Collateral and Post   Evan Blum               Call with S Allen regarding treatment of equipment notes and capital        0.50
          Petition Financing                                 leases in cash collateral budget; emails to company and counsel to
                                                             clarify details
6/21/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Discuss JAD assumptions with US Coal management and JAD                     0.40
          Petition Financing         CIRA                    engineering and M. Thomas
6/21/2014 Cash Collateral and Post   Evan Blum               Call with S Allen to discuss updated JAD model for updated cash             0.40
          Petition Financing                                 collateral budget after JAD call - review changes in operating and timing
                                                             assumptions
6/21/2014 Cash Collateral and Post   Evan Blum               Discuss updated prof fee assumptions in updated cash collateral budget      0.50
          Petition Financing                                 with S Allen and compose multiple emails to counsel to clarify changes

6/21/2014 Cash Collateral and Post   Evan Blum               Call with company - John, Mike, Erin, and Sean to discuss the updated       1.00
          Petition Financing                                 budget needed to be submitted Monday - current operations assumptions
                                                             at LRR and JAD and need to follow on JAD this AM; discuss
                                                             restructuring line items; admin line items to be discussed later in
                                                             weekend
6/21/2014 Cash Collateral and Post   Evan Blum               Review and respond to emails on timing of KEIP payments in updated          0.20
          Petition Financing                                 cash collateral budget
6/22/2014 Cash Collateral and Post   Marc Levee              Continue to work on revised cash collateral presentation - LRR division     1.40
          Petition Financing
6/22/2014 Cash Collateral and Post   Marc Levee              Revisions to presentation and budget; send for senior review                0.20
          Petition Financing
6/22/2014 Cash Collateral and Post   Marc Levee              Further updates to revised presentation for cash collateral budget - JAD    2.40
          Petition Financing                                 division
6/22/2014 Cash Collateral and Post   Marc Levee              Continue to update cash collateral presentation - JAD division              1.00
          Petition Financing
6/22/2014 Cash Collateral and Post   Marc Levee              Revise cash collateral presentation to reflect updates to budgets - LRR     1.60
          Petition Financing                                 division
6/22/2014 Cash Collateral and Post   Evan Blum               Review emails around royalty payments in cash collateral budget             0.60
          Petition Financing                                 consistent with interim order and reviewed schedule of payments filed to
                                                             make certain consistent
6/23/2014 Cash Collateral and Post   Marc Levee              Review cash collateral presentation with S. Allen and E. Blum               1.00
          Petition Financing
6/23/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Meet with E. Blum and M. Levee to finalize budget                           5.30
          Petition Financing         CIRA
6/23/2014 Cash Collateral and Post   Evan Blum               Review updated GR cash collateral memo on updated cash collateral           1.00
          Petition Financing                                 budget and provide comments to S Allen and M Levee
6/23/2014 Cash Collateral and Post   Evan Blum               Call with company and GR related to Kolmar barge payments to make           0.50
          Petition Financing                                 certain are appropriately picked up in First Amended Cash Collateral
                                                             Budget - JAD and LRR - make final changes and submit First Amended
                                                             Cash Collateral Budget (and first US Coal budget)

6/23/2014 Cash Collateral and Post   Evan Blum               Work on Updated Cash Collateral Memo around updated budget                  1.90
          Petition Financing
6/23/2014 Cash Collateral and Post   Marc Levee              Several iterations and discussions internally and with Company              4.40
          Petition Financing                                 regarding revised budgets for both LRR and JAD dvisions in preparation
                                                             for filing with the court
6/23/2014 Cash Collateral and Post   Evan Blum               Call with company and counsel to review updated Cash Collateral             0.40
          Petition Financing                                 Budget - JAD and LRR
6/23/2014 Cash Collateral and Post   Evan Blum               Review and discuss updated cash collateral budget for LRR and JAD in        1.50
          Petition Financing                                 meetings with S Allen and M Levee
6/23/2014 Cash Collateral and Post   Evan Blum               Review first draft of updated GR Updated Cash Collateral Memo and           1.50
          Petition Financing                                 provide comments in meeting with S Allen and M Levee
6/23/2014 Cash Collateral and Post   Marc Levee              Add schedules and executive summary to cash collateral presentation         2.50
          Petition Financing                                 based on today's internal meetings
6/23/2014 Cash Collateral and Post   Marc Levee              Review and revise cash collateral presentation based on today's internal    2.10
          Petition Financing                                 meetings
6/23/2014 Cash Collateral and Post   Marc Levee              Review draft of cash collateral presentation with E. Blum and S. Allen      1.00
          Petition Financing
6/23/2014 Cash Collateral and Post   Marc Levee              Revise cash collateral presentation                                         2.00
          Petition Financing
6/24/2014 Cash Collateral and Post   Marc Levee              Continue to prepare schedules for executive summary of cash collateral      0.60
          Petition Financing                                 presentation
6/24/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Review of updated budget memo with E. Blum                                  0.40
          Petition Financing         CIRA
6/24/2014 Cash Collateral and Post   Marc Levee              Additional revisions to draft of cash collateral presentation               0.50
          Petition Financing
6/24/2014 Cash Collateral and Post   Sean Allen, CFA, CPA,   Finalize review of updated budget memo                                      0.80
          Petition Financing         CIRA
6/24/2014 Cash Collateral and Post   Marc Levee              Discuss revisions to cash collateral presentation and send to counsel for   0.60
          Petition Financing                                 review
6/24/2014 Cash Collateral and Post   Evan Blum               Review of updated budget memo with S. Allen                                 0.40
          Petition Financing
6/25/2014 Cash Collateral and Post   Evan Blum               Speak with potential DIP lender regarding potential financing               0.20
          Petition Financing
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                                                                June Itemized Time Records
   Date             Category                  Professional                                    Description                                 Hours
6/25/2014 Cash Collateral and Post     Evan Blum               Email correspondence with CFO re bank board approval of receivables        0.40
          Petition Financing                                   line; next steps; involve counsel
6/25/2014 Cash Collateral and Post     Evan Blum               Review Cash Collateral Order entered by the Court on 6/16 in               0.90
          Petition Financing                                   preparation for meeting with committee
6/26/2014 Cash Collateral and Post     Sean Allen, CFA, CPA,   Discuss revised budget and other matters with L. Delcotto                  0.80
          Petition Financing           CIRA
6/29/2014 Cash Collateral and Post     Evan Blum               Review final draft of GR cash collateral memo related to First Amended     1.20
          Petition Financing                                   Budget
6/30/2014 Cash Collateral and Post     Evan Blum               Distribute updated cash collateral memo to JAD, ECM and committee          0.40
          Petition Financing                                   counsel with attached cover email
6/30/2014 Cash Collateral and Post     Marc Levee              Revise cash collateral presentation                                        0.40
          Petition Financing
6/30/2014 Cash Collateral and Post     Marc Levee              Further revisions to cash collateral presentation and send for senior      0.60
          Petition Financing                                   review and submission
6/30/2014 Cash Collateral and Post     Evan Blum               Review comments on GR Cash Collateral memo with M Levee                    0.50
          Petition Financing

                                                               Cash Collateral and Post Petition Financing Total                          87.50   $   35,312.50

6/16/2014 Claims Administration        Sean Allen, CFA, CPA,   Review JAD Seller questions and analyze response                           0.80
                                       CIRA
6/16/2014 Claims Administration        Evan Blum               Call with G Pavey regarding responses to JAD concerns/questions            0.30

6/16/2014 Claims Administration        Evan Blum               Pre call with Nixon and Del Cotto; call with Stoll Kenan re case process   0.80

6/27/2014 Claims Administration        David Neyhart, CPA      Review items needed for gap period and 503 b9 claims and prepare           1.40
                                                               document request list
6/29/2014 Claims Administration        Evan Blum               Review email from Del Cotto regarding timing of gap claims for each        0.20
                                                               entity in this case
6/29/2014 Claims Administration        Evan Blum               Review internal GR memo on analysis needed for admin - end of case         0.30
                                                               claims
6/30/2014 Claims Administration        David Neyhart, CPA      Review gap period payments                                                 1.10

                                                               Claims Administration Total                                                4.90    $    1,782.50

6/19/2014 Fee/Employment               Evan Blum               Review US Coal GR Declaration and Motion to Employ; sign                   0.50
          Applications                                         Declaration and return
6/19/2014 Fee/Employment               Evan Blum               Review E&Y payment emails re treatment of bill                             0.20
          Applications
6/25/2014 Fee/Employment               Evan Blum               Review Limited Objection by committee to GR; review GR affidavit           0.50
          Applications                                         and respond to counsel in preparation of their formal response



                                                               Fee/Employment Applications Total                                          1.20    $     690.00

6/16/2014 Financial Analysis/Capital   Sean Allen, CFA, CPA,   Multiple correspondence with management and counsel regarding              0.40
          Structure                    CIRA                    equipment note financing
6/16/2014 Financial Analysis/Capital   Evan Blum               Call with Chris on financing structure issues; equipment note payments     0.30
          Structure
6/16/2014 Financial Analysis/Capital   Sean Allen, CFA, CPA,   Status call with E. Gabbert regarding financial status                     0.40
          Structure                    CIRA
6/19/2014 Financial Analysis/Capital   Evan Blum               Review comments on Lien Summary from ECM counsel and                       0.80
          Structure                                            correspond with ECM and Debtor counsel re various adjustments to
                                                               Summary
6/19/2014 Financial Analysis/Capital   Evan Blum               Review Corporate Ownership Statements; Equity Security Holder List;        0.60
          Structure                                            emails on filing requirements around same
6/22/2014 Financial Analysis/Capital   David Neyhart, CPA      Review of codebtor relationships                                           0.40
          Structure
6/25/2014 Financial Analysis/Capital   Evan Blum               Create GR memo on related party transactions; review drafts and mark;      0.80
          Structure                                            provide changes
6/25/2014 Financial Analysis/Capital   Steven Prager           Review JAD Bridge Security Agreement of Assets                             4.10
          Structure
6/25/2014 Financial Analysis/Capital   Sean Allen, CFA, CPA,   Draft intercompany transaction memo (including research and analysis)      2.60
          Structure                    CIRA
6/25/2014 Financial Analysis/Capital   Evan Blum               Calls with Erin and Mike on GR memo on related party transactions          0.30
          Structure
6/25/2014 Financial Analysis/Capital   Sean Allen, CFA, CPA,   Discuss intercompany analysis with D. Neyhart                              0.30
          Structure                    CIRA
6/25/2014 Financial Analysis/Capital   Sean Allen, CFA, CPA,   Correspondence re: intercompany analysis with D. Neyhart                   0.40
          Structure                    CIRA
6/25/2014 Financial Analysis/Capital   Sean Allen, CFA, CPA,   Discuss intercompany transactions with E. Gabbert                          0.60
          Structure                    CIRA
6/25/2014 Financial Analysis/Capital   David Neyhart, CPA      Calls with SA and EG regarding intercompany acocunts                       0.60
          Structure
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6/26/2014 Financial Analysis/Capital   David Neyhart, CPA      Review and update intercompany memo                                        2.00
          Structure
6/26/2014 Financial Analysis/Capital   Evan Blum               Work on GR related party transactions; review with Erin, make changes      0.80
          Structure                                            and distribute internally
6/27/2014 Financial Analysis/Capital   Sean Allen, CFA, CPA,   Continue and finalize intercompany transaction memo (including             1.70
          Structure                    CIRA                    research and analysis)
6/30/2014 Financial Analysis/Capital   David Neyhart, CPA      Review list of secured creditors and verify default interest amounts       0.90
          Structure
6/30/2014 Financial Analysis/Capital   David Neyhart, CPA      Analyze secured claims on an entity basis                                  1.20
          Structure
6/30/2014 Financial Analysis/Capital   Evan Blum               Review and revise memo that summarizes ownership of various debt           0.80
          Structure                                            vehicles to provide as requested to committee; follow with CFO and
                                                               finalize

                                                               Financial Analysis/Capital Structure                                       20.00   $    6,836.00

6/12/2014 Financial Reporting          Marc Levee              Continue work on certain outstanding SOFA questions                        1.40
6/13/2014 Financial Reporting          Marc Levee              Discuss statutory filings with S. Allen                                    0.40
6/13/2014 Financial Reporting          Sean Allen, CFA, CPA,   Discuss preparation of Schedule of Financial Affairs with M. Levee         0.40
                                       CIRA
6/13/2014 Financial Reporting          Marc Levee              Continue to work SOFA's - Question 9 for all debtors                       1.50
6/13/2014 Financial Reporting          Marc Levee              Prepare and insert answers to SOFA #14 for LRR and JAD                     0.80
6/13/2014 Financial Reporting          Marc Levee              Various discussion with Company and D. Neyhart regarding certain           0.90
                                                               SOFA questions for all debtors
6/13/2014 Financial Reporting          David Neyhart, CPA      Call with ML and US Coal Senior Accountant discussing schedules and        0.90
                                                               SOFA
6/14/2014 Financial Reporting          Marc Levee              Review SOFA task list; prepare excel schedule for SOFA 3c for LRR          0.60

6/14/2014 Financial Reporting          Marc Levee              Begin preparing global notes and disclaimer to Schedules and SOFAs         0.40

6/15/2014 Financial Reporting          Marc Levee              Prepare global notes to the SOFAs and Schedules                            0.80
6/15/2014 Financial Reporting          Marc Levee              Continue to work on global notes to SOFAs and Schedules                    0.20
6/16/2014 Financial Reporting          Marc Levee              Continue to prepare global notes and disclaimers for the Schedules and     0.70
                                                               SOFAs
6/16/2014 Financial Reporting          Marc Levee              Review and insert certain SOFA answers for JAD Coal                        0.20
6/16/2014 Financial Reporting          Marc Levee              Prepare for and participate in discussion with D. Neyhart regarding        1.70
                                                               statutory filing requirements
6/16/2014   Financial Reporting        Marc Levee              Update Fox Knob's SOFA per Company responses                               0.30
6/16/2014   Financial Reporting        Marc Levee              Review draft versions of LRR division SOFAs                                1.50
6/16/2014   Financial Reporting        David Neyhart, CPA      Research info needed from client for summary of schedules.                 1.30
6/16/2014   Financial Reporting        David Neyhart, CPA      Meeting with ML to discuss statutory requirements for summary of           1.00
                                                               schedules.
6/16/2014 Financial Reporting          Marc Levee              Meeting with D. Neyhart and review of Best Case softwared                  0.90
6/16/2014 Financial Reporting          David Neyhart, CPA      Meeting with ML and review of Best Case software                           0.90
6/17/2014 Financial Reporting          Marc Levee              On-site - discuss statutory filing requirements with S. Allen and          5.80
                                                               company (SOFAs and MORs)
6/17/2014 Financial Reporting          Sean Allen, CFA, CPA,   Review statutory filings with M. Levee and management                      5.90
                                       CIRA
6/17/2014 Financial Reporting          David Neyhart, CPA      Review statutory requirements for schedules, preparation of request list   3.40
                                                               and distribution of request list to BM
6/18/2014 Financial Reporting          Sean Allen, CFA, CPA,   Various correspondence and conversation with Delcotto with regarding       0.40
                                       CIRA                    statutory reporting questions (equity table)
6/18/2014 Financial Reporting          Sean Allen, CFA, CPA,   Various correspondence with Nixon Peabody regarding statutory              0.60
                                       CIRA                    reporting questions (litigation, setoff, etc)
6/18/2014 Financial Reporting          Sean Allen, CFA, CPA,   Begin preparation of Week 1 variance report                                2.10
                                       CIRA
6/18/2014 Financial Reporting          Marc Levee              Work on statutory filings for all debtors with Company                     2.80
6/18/2014 Financial Reporting          Marc Levee              Updates to statutory filings - SOFAs                                       0.70
6/19/2014 Financial Reporting          Sean Allen, CFA, CPA,   Finalize and distribute Week 1 variance report                             1.80
                                       CIRA
6/19/2014 Financial Reporting          Sean Allen, CFA, CPA,   Multiple conversations and correspondence with management regarding        0.60
                                       CIRA                    post-petition interest payments on equipment notes
6/19/2014 Financial Reporting          Marc Levee              Discuss statutory filing requirements with counsel and Company             0.70
6/19/2014 Financial Reporting          Evan Blum               Review GR variance report related to cash collateral budget                0.50
6/19/2014 Financial Reporting          Marc Levee              Work on top 20 unsecured creditor listing for US Coal and revised          0.30
                                                               consolidated top 40 to include US Coal creditors
6/20/2014 Financial Reporting          David Neyhart, CPA      Review of document request list for summary of schedules and call with     0.40
                                                               BM regarding.
6/20/2014 Financial Reporting          Sean Allen, CFA, CPA,   Analyze variance to previous JAD budget                                    0.40
                                       CIRA
6/20/2014 Financial Reporting          David Neyhart, CPA      Preparation of Schedule E - unsecured creditors.                           0.30
6/20/2014 Financial Reporting          Marc Levee              Discuss remaining SOFA open items with Company                             0.30
6/20/2014 Financial Reporting          Evan Blum               Review and OK week 1 variance report to be provided to interested          0.40
                                                               parties
6/21/2014 Financial Reporting          Marc Levee              Updates to US Coal SOFA                                                    1.60
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6/22/2014 Financial Reporting     David Neyhart, CPA      Preparation of Schedule E - unsecured creditors                           2.70
6/23/2014 Financial Reporting     David Neyhart, CPA      Further work to prepare schedules E and F                                 1.70
6/24/2014 Financial Reporting     Marc Levee              Finalize draft versions of all SOFAs and send for Company review          2.00

6/24/2014 Financial Reporting     Marc Levee              Discuss SOFA items with Company - payments to insiders                    0.30
6/24/2014 Financial Reporting     Marc Levee              Review each Debtors' SOFA and prepare to send for Company review          1.70

6/24/2014 Financial Reporting     Marc Levee              Complete schedules and revisions to draft and send for senior review      0.60

6/25/2014 Financial Reporting     Sean Allen, CFA, CPA,   Begin preparation of variance report for week 2                           2.10
                                  CIRA
6/25/2014 Financial Reporting     Evan Blum               Review email correspondence on SOFAs - questions/answers with             0.30
                                                          company
6/25/2014   Financial Reporting   David Neyhart, CPA      Review material for Schedule E                                            0.30
6/25/2014   Financial Reporting   David Neyhart, CPA      Prepare Schedule F with updated unsecured creditors                       1.50
6/26/2014   Financial Reporting   David Neyhart, CPA      Review material provided for schedule A                                   0.30
6/26/2014   Financial Reporting   David Neyhart, CPA      Review material provided for schedule G                                   0.30
6/26/2014   Financial Reporting   David Neyhart, CPA      Prepare schedule E                                                        0.90
6/26/2014   Financial Reporting   Evan Blum               Review GR prepared variance report for distribution for week 2            0.40
6/27/2014   Financial Reporting   David Neyhart, CPA      Review and prepare schedule D                                             0.90
6/27/2014   Financial Reporting   Sean Allen, CFA, CPA,   Discuss SOFAs with M. Levee                                               0.40
                                  CIRA
6/27/2014 Financial Reporting     Marc Levee              Review drafts of Schedules E and F                                        0.40
6/27/2014 Financial Reporting     David Neyhart, CPA      Review schedule                                                           0.50
6/27/2014 Financial Reporting     Marc Levee              Discussions with GR team regarding timing of statutory filings and        1.50
                                                          information regarding schedules E and F
6/27/2014   Financial Reporting   David Neyhart, CPA      Review outstanding items for schedules                                    0.80
6/27/2014   Financial Reporting   David Neyhart, CPA      Status call with ML and review of schedules                               0.50
6/27/2014   Financial Reporting   Marc Levee              Prepare draft of global notes, for all Debtors, to SOFAs                  2.00
6/27/2014   Financial Reporting   David Neyhart, CPA      Prepare list of equity security holders for filing.                       2.20
6/28/2014   Financial Reporting   David Neyhart, CPA      Update list of equity security holders for filing.                        0.80
6/28/2014   Financial Reporting   David Neyhart, CPA      Prepare schedule D                                                        1.80
6/28/2014   Financial Reporting   David Neyhart, CPA      Review and prepare schedule e                                             0.40
6/28/2014   Financial Reporting   David Neyhart, CPA      Review statutory requirements for schedule h                              0.40
6/29/2014   Financial Reporting   Evan Blum               Review global notes to SOFAs                                              0.40
6/29/2014   Financial Reporting   Evan Blum               Review SOFAs for each debtor entity                                       1.00
6/29/2014   Financial Reporting   David Neyhart, CPA      Preparation of Schedule A                                                 1.10
6/30/2014   Financial Reporting   David Neyhart, CPA      Prepare corporate ownership statement (rule 7007.1).                      0.70
6/30/2014   Financial Reporting   David Neyhart, CPA      Meeting with BM to discuss summary of schedules                           0.60
6/30/2014   Financial Reporting   David Neyhart, CPA      Review initial documents provided for Schedule B                          0.80
6/30/2014   Financial Reporting   David Neyhart, CPA      Review outstanding items needed for schedules with BM                     1.10
6/30/2014   Financial Reporting   David Neyhart, CPA      Update Schedule D to include default interest                             0.40
6/30/2014   Financial Reporting   David Neyhart, CPA      Update schedule F to include disputed payments                            0.70
6/30/2014   Financial Reporting   Evan Blum               Review company comments to SOFAs                                          0.40
6/30/2014   Financial Reporting   Marc Levee              Revise certain schedules to statutory filing requirements                 0.20
6/30/2014   Financial Reporting   Evan Blum               Review April financials                                                   0.20

                                                          Financial Reporting Total                                                 81.10   $   25,032.50

6/18/2014 Meetings of and         Evan Blum               Review committee announced by trustee; discuss with Nixon                 0.20
          Communications with
          Creditors
6/25/2014 Meetings of and         Sean Allen, CFA, CPA,   Discuss UCC meeting with E. Blum and analysis to be prepared              0.40
          Communications with     CIRA
          Creditors
6/26/2014 Meetings of and         Evan Blum               Post committee counsel meeting, call with company management to           0.60
          Communications with                             review meeting and discuss items we need to address
          Creditors
6/26/2014 Meetings of and         Evan Blum               Initial meeting with Committee counsel in Lexington with Nixon and        1.80
          Communications with                             Del Cotto
          Creditors
6/26/2014 Meetings of and         Evan Blum               Pre meet with Committee counsel, meet with Nixon and Del Cottto in        1.50
          Communications with                             Lexington
          Creditors
6/27/2014 Meetings of and         Sean Allen, CFA, CPA,   Load data room with documents per Committee request                       3.40
          Communications with     CIRA
          Creditors
6/27/2014 Meetings of and         Sean Allen, CFA, CPA,   Discuss data room management with M. Glade                                0.30
          Communications with     CIRA
          Creditors
6/27/2014 Meetings of and         Marshall Glade, CPA     Call with S Allen to discuss UCC requests; review request list; respond   1.60
          Communications with                             to various appraisal emails
          Creditors
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                                                               June Itemized Time Records
   Date             Category                 Professional                                   Description                                    Hours
6/29/2014 Meetings of and             Evan Blum               Review diligence list provided by committee counsel; review initial GR       0.50
          Communications with                                 response
          Creditors
6/30/2014 Meetings of and             Evan Blum               Review updated GR response to committee diligence list                       0.30
          Communications with
          Creditors
6/30/2014 Meetings of and             Marshall Glade, CPA     Review, analyze, organize responses to UCC                                   1.60
          Communications with
          Creditors

                                                              Meetings of and Communications with Creditors Total                          12.20   $    5,555.00


6/14/2014 Plan and Disclosure         Marc Levee              Work on remainder of assumptions for JAD projection model                    0.70
          Statement (incl. Business
          Plan)
6/14/2014 Plan and Disclosure         Marc Levee              Projection assumptions for JAD - maintenance, explosives, and                1.60
          Statement (incl. Business                           transportation costs
          Plan)
6/15/2014 Plan and Disclosure         Marc Levee              Begin to prepare JAD projected P&L for POR                                   0.80
          Statement (incl. Business
          Plan)
6/17/2014 Plan and Disclosure         Evan Blum               Discuss with counsel agreed upon split between JAD sellers and ECM           0.40
          Statement (incl. Business                           certain equipment located at each others site; discuss prior conversations
          Plan)                                               on topic
6/18/2014 Plan and Disclosure         Evan Blum               Call with D Drebsky re term sheet; discuss issues that may or may not        0.20
          Statement (incl. Business                           be open; have sent to JAD counsel
          Plan)
6/18/2014 Plan and Disclosure         Evan Blum               Call with J Collins re term sheet issues and whether previously resolved     0.20
          Statement (incl. Business                           between ECM and JAD sellers
          Plan)
6/18/2014 Plan and Disclosure         Marc Levee              On-site - Prepare for and participate in meeting with management to          3.60
          Statement (incl. Business                           discuss plan projection assumptions
          Plan)
6/19/2014 Plan and Disclosure         Evan Blum               Review comments by JAD counsel re term sheet issues and discuss with         0.20
          Statement (incl. Business                           Nixon to resolve and finalize
          Plan)
6/24/2014 Plan and Disclosure         Marc Levee              Discuss plan of reorganization projections with S. Allen                     0.90
          Statement (incl. Business
          Plan)
6/24/2014 Plan and Disclosure         Sean Allen, CFA, CPA,   Discuss process of projecting financial results for both divisions with M.   0.90
          Statement (incl. Business   CIRA                    Levee
          Plan)
6/26/2014 Plan and Disclosure         Evan Blum               Review markup to term sheet provided by ECM counsel and JAD                  0.70
          Statement (incl. Business                           counsel
          Plan)
6/27/2014 Plan and Disclosure         Sean Allen, CFA, CPA,   Discuss 2014 projections with management and E. Blum                         0.70
          Statement (incl. Business   CIRA
          Plan)
6/27/2014 Plan and Disclosure         Sean Allen, CFA, CPA,   Correspondence and follow up conversation with D. Neyhart concerning         1.80
          Statement (incl. Business   CIRA                    Gap claims analysis, administrative expenses
          Plan)
6/27/2014 Plan and Disclosure         Sean Allen, CFA, CPA,   Update projected shipping schedules and accounts receivables for 2014        2.40
          Statement (incl. Business   CIRA                    projections
          Plan)
6/27/2014 Plan and Disclosure         Evan Blum               Discuss 2014 projections with management and S. Allen                        0.70
          Statement (incl. Business
          Plan)
6/28/2014 Plan and Disclosure         Sean Allen, CFA, CPA,   Prepare financial models (from various sources) for meetings early next      4.20
          Statement (incl. Business   CIRA                    week; consolidate multiple models, accommodate both financial
          Plan)                                               reporting and cash flow projections
6/29/2014 Plan and Disclosure         Sean Allen, CFA, CPA,   Prepare financial models (from various sources) for meetings early next      6.50
          Statement (incl. Business   CIRA                    week; consolidate multiple models, accommodate both financial
          Plan)                                               reporting and cash flow projections
6/30/2014 Plan and Disclosure         Sean Allen, CFA, CPA,   Prepare for and participate in meetings with management regarding the        7.20
          Statement (incl. Business   CIRA                    2014 business plan for the LRR division
          Plan)
6/30/2014 Plan and Disclosure         Marc Levee              Prepare for and participate in meetings with Company management -            7.90
          Statement (incl. Business                           2014 business plan
          Plan)
6/30/2014 Plan and Disclosure         Marc Levee              Adjust/review LRR disbursements for 2014 model                               0.70
          Statement (incl. Business
          Plan)
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6/30/2014 Plan and Disclosure          Marc Levee              Continue to adjust/review LRR disbursements for 2014 model               2.00
          Statement (incl. Business
          Plan)

                                                               Plan and Disclosure Statement (incl. Business Plan) Total                44.30   $   16,182.50

6/16/2014 Relief from Stay/ Adequate   Sean Allen, CFA, CPA,   Correspondence with counsel re: adequate protection payments to          0.20
          Protection Proceedings       CIRA                    equipment financing sources


                                                               Relief from Stay/ Adequate Protection Proceedings Total                  0.20    $       75.00

6/21/2014 Tax Issues                   Evan Blum               Review interim order re tax payments and discuss with S Allen            0.70
                                                               concerning timing of each assumed tax payment in budget; make
                                                               appropriate adjustments for updated cash collateral budget; email to
                                                               attorneys to update
6/22/2014 Tax Issues                   Evan Blum               Review emails on LRR use tax audit; discuss with S Allen re status and   0.30
                                                               email with D Drebsky re cash collateral budget
6/26/2014 Tax Issues                   Sean Allen, CFA, CPA,   Correspondence with counsel regarding tax matters and payment of         0.40
                                       CIRA                    prepetition taxes; discuss with E. Blum
6/30/2014 Tax Issues                   David Neyhart, CPA      Review 2012 tax return and NOL analysis                                  0.40

                                                               Tax Issues Total                                                         1.80    $     815.00

6/12/2014 Valuation                    Marshall Glade, CPA     Appraiser calls                                                          0.50
6/16/2014 Valuation                    Sean Allen, CFA, CPA,   Correspondence with M. Glade regarding status of appraisals              0.20
                                       CIRA
6/16/2014 Valuation                    Evan Blum               Calls with M Glade and S Allen re timing of valuation reports on         0.40
                                                               equipment; reserves. Discuss with counsel.
6/16/2014 Valuation                    Sean Allen, CFA, CPA,   Calls with E. Blum and M. Glade re timing of valuation reports on        0.40
                                       CIRA                    equipment; reserves. Discuss with counsel
6/16/2014 Valuation                    Marshall Glade, CPA     Calls with E Blum and S Allen re timing of valuation reports on          0.50
                                                               equipment reserves, Discuss with counsel
6/17/2014 Valuation                    Evan Blum               Respond to inquiries regarding purchase of excess equipment at USC if    0.30
                                                               part of ultimate resolution
6/17/2014 Valuation                    Marshall Glade, CPA     Analyze balance sheet as of April 30, 2014; review and analyze various   1.80
                                                               mining company liquidation analyses
6/19/2014 Valuation                    Marshall Glade, CPA     Call with Great American appraisers                                      0.40
6/23/2014 Valuation                    Ross Hickman, CPA       Begin update of liquidation analyses to include FLV and OLV of           2.30
                                                               equipment from Great American 6/2014 appraisal; conversations with
                                                               M. Glade re same
6/23/2014   Valuation                  Marshall Glade, CPA     Prepare updates to liquidation analysis                                  1.30
6/23/2014   Valuation                  Marshall Glade, CPA     Review and analysis of Great American appraisal                          1.90
6/24/2014   Valuation                  Marshall Glade, CPA     Prepare updates to liquidation analysis                                  1.60
6/24/2014   Valuation                  Marshall Glade, CPA     Call with Resource Technology appraiser                                  0.70
6/24/2014   Valuation                  Marshall Glade, CPA     Review and analysis of Resource Technology appraisal                     1.40
6/24/2014   Valuation                  Ross Hickman, CPA       Prepare equipment summaries by asset class; prepare encumbered assets    3.60
                                                               analysis
6/24/2014 Valuation                    Ross Hickman, CPA       Finish adding FLV and OLV values from 6/2014 Great American              3.40
                                                               appraisal to Equipment Analyses
6/25/2014 Valuation                    Evan Blum               Call with S Allen and M Glade re initial valuation results; need for     0.50
                                                               follow up; presentation of initial results
6/25/2014 Valuation                    Sean Allen, CFA, CPA,   Discuss appraisals, liens and capital structure with M. Glade            1.30
                                       CIRA
6/25/2014 Valuation                    Sean Allen, CFA, CPA,   Discuss appraisal draft with J. Kern and M. Glade                        1.00
                                       CIRA
6/25/2014 Valuation                    Marshall Glade, CPA     Calls with Resource Technology and S Allen to discuss appraisal          1.00
6/25/2014 Valuation                    Sean Allen, CFA, CPA,   Call with E. Blum and M. Glade re initial valuation results; need for    0.50
                                       CIRA                    follow up; presentation of initial results
6/25/2014 Valuation                    Marshall Glade, CPA     Call with E. Blum and S. Allen re initial valuation results; need for    0.50
                                                               follow up; presentation of initial results
6/25/2014   Valuation                  Marshall Glade, CPA     Calls with S Allen to discuss appraisals                                 1.30
6/25/2014   Valuation                  Marshall Glade, CPA     Call with Richa to discuss recovery priorities                           0.20
6/25/2014   Valuation                  Marshall Glade, CPA     Preparation of asset schedules for E Blum                                1.70
6/25/2014   Valuation                  Marshall Glade, CPA     Prepare updates to liquidation analysis                                  2.00
6/26/2014   Valuation                  Sean Allen, CFA, CPA,   Analyze reserve appraisal and prepare for group call                     1.10
                                       CIRA
6/26/2014 Valuation                    Marshall Glade, CPA     Prepare updates to liquidation analysis                                  1.70
6/26/2014 Valuation                    Marshall Glade, CPA     Call with company and Resource Technology appraiser                      0.50
6/26/2014 Valuation                    Sean Allen, CFA, CPA,   Correspondence re: appraisals with company                               0.40
                                       CIRA
6/26/2014 Valuation                    Sean Allen, CFA, CPA,   Discuss machinery and equipment appraisal with E. Blum                   0.20
                                       CIRA
6/26/2014 Valuation                    Sean Allen, CFA, CPA,   Discuss updated assumptions and mining plans with appraiser and          0.40
                                       CIRA                    company
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6/26/2014 Valuation           Evan Blum               Review machinery valuation analysis by Great American; discuss GR       0.50
                                                      summary with M Glade and S Allen
6/27/2014 Valuation           Evan Blum               Final review of Great American equipment valuation; call with M Glade   0.70
                                                      and S Allen to review email EB composed to counsel and company as
                                                      overview
6/27/2014 Valuation           Sean Allen, CFA, CPA,   Call with E. Blum and M. Glade to review email EB composed to           0.40
                              CIRA                    counsel and company as overview
6/27/2014 Valuation           Marshall Glade, CPA     Call with E. Blum and S. Allen to review email EB composed to counsel   0.40
                                                      and company as overview
6/30/2014   Valuation         Marshall Glade, CPA     Prepare updates to liquidation analysis                                 1.30
6/30/2014   Valuation         Marshall Glade, CPA     Respond to various emails regarding outstanding loan amounts            0.20
6/30/2014   Valuation         Marshall Glade, CPA     Review and analyze draft Resource Technology appraisal                  1.90
6/30/2014   Valuation         Marshall Glade, CPA     Call with Great American appraiser                                      0.50

                                                      Valuation Total                                                         40.90   $    14,422.50




                                                      Invoice Totals                                                          372.2   $   137,941.00
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              Professional Services Detail

                                                                                                                  Hours

            Assumption/Rejection of Leases and Contracts

   7/1/2014 E. Blum      Review emails concerning Enterprise contract - payment of principal only -               0.20
                         respond to counsel re question related to budget on Enterprise
  7/12/2014 E. Blum      Call with CEO and CFO on payment of allowed pre petition royalty payments                0.60
            E. Blum      Review and compose emails related to Ivyton project - amount paid in June and            0.60
                         amount owed on monthly basis going forward; CEO to prepare memo on
                         economics
  7/13/2014 E. Blum      Review emails and compose emails to counsel and company to finalize                      0.40
                         treatment of Black Hawk mining lease payments - pre and post petition
            E. Blum      Review and compose emails with counsel and company to finalize status of                 0.20
                         Jones oil treatment - Nixon to follow
            E. Blum      Review emails around royalty payments for larger royalty holders; detail multiple        0.90
                         scenarios and outline treatment under each based on prior day calls with
                         management; also compose emails regarding taking into account prior
                         payments - not to exceed $15K in total
            E. Blum      Calls with CFO in regard to treatment of larger royalty holders - over $15K - after      0.50
                         review of my summary emails to clarify certain points; EB follow with additional
                         clarifying email
  7/14/2014 E. Blum      Work on updated royalty analysis with M Levee needed for company and final               0.60
                         cash collateral budget based on updated assumptions re large royalty holders
            M. Levee     Review and discuss royalty payments with Company                                         0.40
            M. Levee     Analysis of royalty payments made for May and to be paid for June                        2.10
            S. Allen     Discuss royalties Motions and calculations with M. Levee and E. Blum                     0.60
            M. Levee     Discuss royalties and calculations with E Blum and S Allen                               0.60
            E. Blum      Discuss royalties Motions and calculations with M Levee and S Allen                      0.60
  7/15/2014 E. Blum      Review with M Levee assumptions of payments of royalty taxes to larger royalty           0.80
                         holders in 13 week cash flow; create schedule to provide backup for
                         assumptions in revised model. Review schedules, mark and provide to counsel;
                         to be included in updated 13 week.
            M. Levee     Review May royalty payments paid in June, per court order                                0.50
            M. Levee     Analysis of royalty payments projected to be paid in July                                0.50
            S. Allen     Discuss Ivyton lease transaction with Management and E. Blum                             0.30
            S. Allen     Work at Del Cotto with E Blum, A Adams and company to finalize royalty                   1.90
                         schedule to be provided to Court
  7/16/2014 E. Blum      Call with Amelia on Royalty payment chart to be submitted to Court re gap                0.20
                         claims to be paid
            E. Blum      Review emails around timing of royalty information prepared for Court - gap              0.20
                         period as per Royalty motion
            E. Blum      Update royalty analysis with M Levee for large royalty holders after call with           0.50
                         amelia; distribute to counsel
            M. Levee     Revisions to royalty payment analysis                                                    0.50
            M. Levee     Update Company presentation for Committee on current trends from Company                 1.50
                         visit
  7/18/2014 E. Blum      Work at Del Cotto with S Allen, A Adams and company to finalize royalty                  1.90
                         schedule to be provided to Court
            M. Levee     Discuss royalty payments for motion with S. Allen                                        0.40
            M. Levee     Follow up discussion with Company regarding royalty payments                             0.90
            M. Levee     Additional discussion with Company regarding royalty payment schedule for                0.40
                         motion
            S. Allen     Discuss royalty motion with M. Levee                                                     0.40
            S. Allen     Work on royalty analysis in connection with Royalty Motion                               1.30
            M. Levee     Discuss royalty motion with S Allen                                                      0.40
            S. Allen     Work at Del Cotto with E Blum, A Adams and company to finalize royalty                   2.00
                         schedule to be provided to Court
            S. Allen     Discuss royalty payments for motion with S Allen                                         0.40
  7/23/2014 M. Levee     Review royalty sublease agreement with Blackhawk; respond to counsel                     0.90
                         questions
  7/29/2014 E. Blum      Review Kolmar / Kentucky Coal Terminal emails re contracts at terminal and               0.60
                         requirement to pay; review emails between counsel re same
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  7/29/2014 E. Blum      Call with counsel re Kolmar - Kentucky coal terminal issue on contract to load             0.40
                         Kolmar coal
  7/30/2014 E. Blum      Meet with J Collins and discuss Kolmar / KY Coal terminal issue - propose and              0.70
                         discuss resolution re their contracts
            D. Neyhart   Research Kentucky Coal Terminal payments for prior 90 days                                 0.60
            S. Allen     Correspondence with C. Desiderio and D. Neyhart re: preference analysis                    0.50
                         related to Kentucky Coal Terminal
  7/31/2014 S. Allen     Prepare preliminary analysis of Ivyton project                                             1.90

            SUBTOTAL:                                                                     [        28.90       12,272.50]

            Business Operations

   7/9/2014 E. Blum      Calls and emails with Erin re June results; cash and GAAP                                  0.40
  7/11/2014 M. Levee     On-site management discussions on various matters                                          0.90
  7/13/2014 E. Blum      Respond to JAD counsel in regard to Kolmar operations at JAD and LRR                       0.20
            E. Blum      Review and compose emails around surety bond payments pre and post petition                0.40
                         related to updating of GR model
            E. Blum      Calls with M Levee about treatment of surety bond payments in updated GR                   0.40
                         model - pre and post petition
  7/14/2014 E. Blum      Call with CEO and CFO re open issues to be addressed; focus on surety bonds;               0.40
                         GR to follow with Erin
            E. Blum      Call with Erin re surety bond schedule requested by committee and under                    1.40
                         discussion with Lexon. Discuss details around recognition of bills; timing. Review
                         admin expenses in cash collateral memo and compare to company schedule;
                         EB review of schedule and send to counsel

            SUBTOTAL:                                                                     [         4.10        2,132.50]

            Case Administration

   7/1/2014 D. Neyhart   Review docket for 6/30.                                                                    0.30
   7/3/2014 E. Blum      Case update call - Nixon and GR - discuss issues to be dealt with; cash                    1.00
                         collateral calls with various attorneys and timing of negotiations - final cash
                         collateral order; GR update on its projects
   7/7/2014 M. Levee     Discuss statutorty filing requirements, next hearing, and 341 meeting with GR              0.40
                         team and Company
            M. Levee     Conference call with all professionals and Company to discuss upcoming                     0.70
                         schedule, including 341 meeting
            E. Blum      Catch up call on case issues with GR, Nixon and Del Cotto                                  0.50
  7/11/2014 D. Neyhart   Review of docket for prior week.                                                           0.50
  7/14/2014 E. Blum      Update call with Nixon on all open issues - royalties, surety bonds, financing,            0.50
                         cash collateral order, etc
            E. Blum      Meet internally with M Levee and S Allen re issues GR must address - valuation;            0.50
                         revised budget; surety bonds; royalties
            E. Blum      Update call - late PM - with Nixon and Del Cotto re open issues in case to be              0.50
                         addressed - committee requests; valuation; DIP status; etc
            M. Levee     Internal catch-up meeting with E. Blum and S. Allen - budget, DIP, and other               0.50
                         open items
  7/15/2014 E. Blum      Email correspondence to company and counsel re issues to be addressed -                    0.50
                         updated 13 week; updated cash collateral memo; end of case claims; taxes;
                         ivyton analysis
            E. Blum      Meet with GR and Nixon to review case issues - budget; valuation; cash                     2.00
                         collateral order; committee issues; end of case amounts due
            D. Neyhart   Follow up with case administrator (Epiq).                                                  0.30
            D. Neyhart   Status meeting re outstanding items.                                                       0.80
            M. Levee     Meeting with GR team and counsel to discuss budget, valuation, and status of               2.00
                         case
  7/16/2014 E. Blum      Calls with Nixon re June 30 date for final hearing; need to move out given notice          0.80
                         / timing of information
  7/23/2014 E. Blum      Meet with company executives in Lexington - address open issues in case -                  2.00
                         cash collateral; timing of plan negotiations; budgets; contract assumptions and
                         rejections
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  7/24/2014 E. Blum       Internal meeting re open items GR needs to address                                        0.40
            M. Levee      Internal status update meeting with GR team - budget, Committee requests,                 0.40
                          amendments to statutory filings, and other outstanding items
            D. Neyhart    Review of court docket.                                                                   0.60
            S. Allen      Discuss case status with D. Neyhart, M. Levee, M. Glade, and E. Blum                      0.40
  7/25/2014 E. Blum       Call with GR and Nixon re open matters - next steps - on key issues (cash                 0.60
                          collateral; various motions'; discussions with comm counsel)
            E. Blum       Call with company management to discuss open issues - timing - cash                       0.70
                          collateral; valuation; various motions; budget update
            M. Levee      Status update conference call with GR team and Counsel - cash collateral order,           0.60
                          budget, amended statutory filings
            S. Allen      Discuss upcoming hearings, ongoing business issues, and schedule next                     0.60
                          week's meetings with Management
  7/28/2014 D. Neyhart    Review prior week court docket.                                                           0.20
  7/29/2014 D. Neyhart    Review docket for 7/28.                                                                   0.10
  7/30/2014 E. Blum       Discuss current state of and future of coal industry in E KY with J Collins in            1.00
                          Lexington meeting
            D. Neyhart    Review Docket for 7/29                                                                    0.30
  7/31/2014 E. Blum       Meet with LD and Amelia in Lexington to discuss status of open case issues;               1.50
                          cash collateral budget status; 8/20 cash collateral hearing; post 8/20 strategy
                          and thoughts regarding reorganization

            SUBTOTAL:                                                                     [        21.20        9,755.00]

            Cash Collateral and Post Petition Financing

   7/1/2014 E. Blum       Review email correspondence around timing of bank DIP documents                           0.20
   7/2/2014 D. Neyhart    Meeting with EG to discuss admin expense projections in cash collateral budget            0.40
   7/3/2014 E. Blum       Review Commercial Bank commitment letter re receivables- DIP financing;                   0.30
                          discuss with CFO
   7/5/2014 E. Blum       Review DIP Motion and Proposed order                                                      0.50
            E. Blum       Review mark by Committee counsel to final cash collateral order                           0.60
            E. Blum       Mark by Akin to Final cash collateral order                                               0.50
   7/7/2014 E. Blum       Review emails between counsel and CFO on DIP financing commitment letter                  0.20
                          details re USC as guarantor
            E. Blum       Call with CFO re potential update of cash collateral budget                               0.50
            E. Blum       Review emails re Pryor Cashman objecting to DIP and discuss with counsel                  0.40
   7/9/2014 E. Blum       Review emails between Committee counsel and Debtor counsel on committee                   0.20
                          comments on DIP; DIP counsel response and discussion of timing of revised
                          commitment letter
            M. Levee      Conference call with GR team and counsel to discuss budget and committee                  0.50
                          requests
  7/11/2014 E. Blum       Participate in a series of calls and discussions with CFO and Nixon in regard to          2.70
                          DIP financing; address cross collateral and cross default provisions. Discuss
                          areas of compromise; bank unwilling to compromise. Numerous discussions
                          and emails with potential DIP lender and follow with CFO and Nixon.
  7/13/2014 M. Levee      Updates to budget presentation                                                            1.00
            M. Levee      Continue to work on cash collateral budget presentation                                   1.40
            M. Levee      Further work on cash collateral budget presentation                                       1.40
  7/14/2014 E. Blum       Call with Nixon to discuss status of DIP financing; review emails from Nixon and          1.40
                          CFO to bank and bank counsel re same; call with CFO to discuss his call to
                          bank; review final emails re lack of willingness to change terms
            E. Blum       Meet with S Allen and M Levee to discuss re projection of 13 week cash flow;              1.00
                          multiple discussions. Late PM call to review preliminary conclusions
            M. Levee      Conference call with GR team and attorneys - status of cash collateral order              0.40
            S. Allen      Discuss status of cash collateral order with Delcotto Law Group and Nixon                 0.40
                          Peabody
  7/15/2014 E. Blum       Call with CEO and CFO regarding potential DIP at JAD only                                 0.30
            E. Blum       Call with Nixon regarding pre petition taxes in updated cash collateral model             0.50
  7/16/2014 E. Blum       Review GR Final cash Collateral Memo which explains final cash collateral                 1.40
                          budget and have initial discussion with M Levee
            E. Blum       Call with CFO re DIP at JAD only; process to proceed                                      0.20
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  7/21/2014 E. Blum       Review emails in response to Centrecourt questions on professional fees                   0.20
                          budgeted in cash collateral budget
            S. Allen      Correspondence with C. Desiderio re: budget issues                                        2.90
  7/22/2014 S. Allen      Discuss updated budget for August 20 hearing on use of cash collateral                    0.30
            S. Allen      Begin updating projections for updated budget to be used for August 20 hearing            2.90
                          (revise projections to cost center centric model)
  7/23/2014 S. Allen      Continue updating projections for final cash collateral budget to be used for             5.10
                          August 20 hearing (revise projections to cost center centric model)
  7/24/2014 E. Blum       Call with Sean and L Harrison from Nixon re discovery requests related to cash            0.40
                          collateral order
            E. Blum       Call with S Allen re discovery requests related to cash collateral order                  0.40
            S. Allen      Continue updating projections for final cash collateral budget to be used for             4.10
                          August 20 hearing (revise projections to cost center centric model)
            S. Allen      Discuss discovery with L. Harrington and E. Blum related to cash collateral order         0.40
            S. Allen      Discuss final cash collateral budget with Management                                      0.50
  7/25/2014 S. Allen      Review correspondence and documents related to discovery request on cash                  3.20
                          collateral
  7/26/2014 E. Blum       Review 7/24 Cash Collateral Order agreed to by Debtor, JAD, ECM and                       0.80
                          Committee
  7/27/2014 E. Blum       Review Final Cash Collateral Order mark by Akin                                           0.40
  7/28/2014 S. Allen      Search materials and prepare to produce related to challenge of Debtors' use of           8.10
                          cash collateral
  7/29/2014 E. Blum       Review initial draft of GR affidavit on cash collateral budget; mark with                 0.70
                          preliminary comments
            M. Levee      Work on overview of budget preparation and process for Blum Affidavit                     2.10
            M. Levee      Continue to prepare draft of budget overview for Blum Affidavit                           1.50
            M. Levee      Prepare second draft of overview of budget for Blum affidavit                             1.00
            S. Allen      Begin preparation of final cash collateral budget for August 20 hearing (multiple         9.10
                          discussions throughout day, update rental schedules, staffing, rates, adjustment
                          of cost centers, reclamation activities)
  7/30/2014 E. Blum       All hands meeting with company executives in lexington on preparation of final            5.00
                          cash collateral budget with S Allen from GR
            S. Allen      Continue to prepare final cash collateral budget in advance of budget meetings            5.10
            S. Allen      Search materials and prepare to produce related to challenge of Debtors' use of           1.50
                          cash collateral
            S. Allen      Budget meeting with Management to discuss assumptions and projections                     5.00
  7/31/2014 E. Blum       Group meeting with company and S Allen in Lexington on updates to reach final             6.00
                          cash collateral budget - line by line for LRR and JAD
            E. Blum       Review files related to discovery requests - cash collateral - and provide as             1.20
                          appropriate to L Harrison; speak to Harrison re certain questions
            S. Allen      Budget meeting with Management to discuss assumptions and projections                     6.10
            S. Allen      Continue to prepare final cash collateral budget in advance of budget meetings            3.10
                          (related to shipping forecasts and revised JAD projections)

            SUBTOTAL:                                                                     [        93.50       39,737.40]

            Claims Administration and Objections

  7/10/2014 D. Neyhart    Review info provided for 503(b)(9) claims                                                 1.20
            D. Neyhart    Prepare admin claims schedule                                                             1.70
  7/11/2014 D. Neyhart    Review of documents provided for 503(B)(9) claims                                         0.80
            D. Neyhart    Consolidate schedule data for claims administrator                                        0.40
            D. Neyhart    Prepare admin claims summary.                                                             0.60
  7/14/2014 D. Neyhart    Prepare analysis for admin claims.                                                        1.40
            D. Neyhart    Prepare analysis for Gap period claims.                                                   1.90
  7/15/2014 E. Blum       Review multiple iterations of analysis on admin amounts due at end case                   0.80
            D. Neyhart    Prepare Admin Expense Analysis                                                            4.30
            D. Neyhart    Update Gap Claim Analysis                                                                 6.70
            S. Allen      Discuss administrative expenses with D. Neyhart                                           1.20
            D. Neyhart    Discuss administrative expenses with S Allen                                              1.20
  7/16/2014 E. Blum       Review end case estimated claims to be paid - GR memo prepared by D Neyhart               0.60
            E. Blum       Discuss GR memo on end case claims with D Neyhart                                         0.50
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  7/16/2014 E. Blum        Review and mark updated memo on end of case amounts owed - admin                           0.60
                           expense summary
            D. Neyhart     Prepare Admin Expense Analysis                                                             1.00
  7/17/2014 D. Neyhart     Review end of case numbers.                                                                0.40
            S. Allen       Review administrative expenses and updated projections with E. Blum re:                    2.10
  7/18/2014 S. Allen       Discuss administrative expenses with D. Neyhart                                            0.40
            S. Allen       Review preliminary administrative expense analysis                                         0.90
            S. Allen       Review preliminary gap claim estimation                                                    0.90
            D. Neyhart     Discuss administrative expenses with S Allen                                               0.40
  7/21/2014 E. Blum        Review GR analysis of Admin claims and discuss with S Allen in email                       0.70
                           correspondence
              D. Neyhart   Analyze 503(b)(9) and gap claim detail.                                                    2.50
              D. Neyhart   Review administrative claims.                                                              2.30
              S. Allen     Review administrative expenses with D. Neyhart                                             0.40
              D. Neyhart   Review administrative expenses with S Allen                                                0.40
  7/22/2014   E. Blum      Review GR updated analysis of admin claims prior to call with counsel                      0.50
              E. Blum      Call with counsel to discuss GR updated admin claim analysis                               0.50
              D. Neyhart   Prepare updated creditor address listings for claims administrator.                        0.50
  7/24/2014   D. Neyhart   Review updated gap claim info.                                                             0.50
  7/25/2014   D. Neyhart   Review updated gap claim information.                                                      0.90
  7/28/2014   E. Blum      Review draft of Bar Date Motion and Order                                                  0.50
              D. Neyhart   Review fox knob ap ledger to determine gap claims                                          0.90
              D. Neyhart   Review JAD ap ledger to determine gap claims                                               0.60
              D. Neyhart   Review LRM ap ledger to determine gap claims                                               0.70
              D. Neyhart   Review LRR ap ledger to determine gap claims                                               1.80
              D. Neyhart   Review SMJ ap ledger to determine gap claims                                               0.50
              D. Neyhart   Review USC ap ledger to determine gap claims                                               0.80
  7/29/2014   D. Neyhart   Analyze gap period payments.                                                               2.50
              D. Neyhart   Analyze post petition payments for JAD                                                     1.70
              D. Neyhart   Analyze post petition payments for USC                                                     0.90
              D. Neyhart   Analyze post petition payments for LRR                                                     1.00
  7/30/2014   D. Neyhart   Analyze post petition payments and gap analysis for LRM                                    1.70
              D. Neyhart   analyze post petition payments gpa analysis for LRR                                        1.30

              SUBTOTAL:                                                                   [        54.10       14,702.50]

              Employee Benefits & Pensions

  7/21/2014 E. Blum        Review and compose emails regarding potential KEIP amount by individual -                  0.30
                           distribute to committee
  7/24/2014 S. Allen       Draft employee job descriptions in connection with KEIP correspondence                     0.50
  7/25/2014 E. Blum        Review background of financial executives relative to retention motion;                    0.40
                           information requested by committee

              SUBTOTAL:                                                                   [         1.20            590.00]

              Fee/Employment Applications

   7/1/2014 E. Blum        Review updated GR affidavit; review rates by GR employee; respond to counsel               0.30
   7/2/2014 E. Blum        Call with Nixon re Motion for Prof Comp - discuss timing of payments; impact on            0.40
                           13 week cash flow
            E. Blum        Review Motion for Prof Comp filings; mark with comments for counsel                        0.40
  7/16/2014 E. Blum        Review emails around prof fee caps in ordinary course applications; review                 1.20
                           emails around E&Y timing issues on payment; review numbers against model;
                           discuss with Erin and respond to counsel re OK with assumptions in Order
  7/27/2014 E. Blum        Work on GR June monthly bill                                                               2.50
  7/29/2014 M. Levee       Review June invoice                                                                        0.60

              SUBTOTAL:                                                                   [         5.40        2,955.00]
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            Financial Analysis/Capital Structure

   7/1/2014 E. Blum       Distribute intercompany cash / accounting memo to Committee counsel; forward            0.40
                          to JAD and ECM counsel as well
            D. Neyhart    Review capital structure memo                                                           0.50
   7/2/2014 E. Blum       Call with CFO related to ownership of ECM 1; related to GR memo on ownership            0.20
                          requested by committee
   7/9/2014 E. Blum       Review emails with counsel on shareholder ownership                                     0.50
  7/14/2014 E. Blum       Call with Richa from Nixon and S Allen re capital structure overview - discuss          0.30
                          ECM counsel comments; EB to follow
            E. Blum       Call with Richa at Nixon re Debt chart and ECM comments                                 0.30

            SUBTOTAL:                                                                   [         2.20        1,090.00]

            Financial Reporting

   7/1/2014 D. Neyhart    Discuss co-debtor relationships with counsel related to schedule filing                 0.30
            D. Neyhart    Prepare Schedule B - Personal Property.                                                 2.70
            D. Neyhart    Prepare Schedule G - Executory Contracts.                                               0.60
            D. Neyhart    Prepare Schedule H - Codebtor Relationships.                                            1.00
            D. Neyhart    Prepare Schedule H - Codebtor Relationships.                                            1.90
            D. Neyhart    Review draft of SOALS and distribute to relevant parties.                               1.10
            D. Neyhart    Review of codebtor relationships related to schedule filing                             0.40
            D. Neyhart    Update secured claims based on co-debtor relationships                                  2.00
   7/2/2014 M. Levee      Review SOALs for all debtors and prepare comments                                       2.00
            M. Levee      Review revised SOFAs per all comments                                                   0.40
            M. Levee      Finalize revisions to SOFAs to prepare to send out for final review                     1.50
            D. Neyhart    Status call with ML re soals                                                            0.40
            D. Neyhart    Update SOALS based on reviewer comments.                                                2.00
            D. Neyhart    Update SOALS based on reviewer comments.                                                1.30
            D. Neyhart    Discussions with counsel regarding inclusion of payroll into SOALS                      0.40
            D. Neyhart    Update Global notes with SOAL information.                                              0.60
            S. Allen      Review week 3 variance report                                                           0.30
   7/3/2014 E. Blum       Review status of SOFAs and SOALs with M Levee                                           0.40
            E. Blum       Review and approve weekly variance analysis                                             0.30
            M. Levee      Internal discussions regarding statutory filing requirements                            1.20
            M. Levee      Prepare final revised versions of SOALs and SOFAs, and global notes; send for           1.00
                          internal review by entire team and Company
            D. Neyhart    Review and update schedules for codebtor relationships and secured claims               1.40
            D. Neyhart    Review global notes and schedules                                                       1.00
            D. Neyhart    Review wages info provided and update Schedule E accordingly.                           1.70
   7/7/2014 D. Neyhart    Review counsel comments on SOALS and update as needed.                                  2.50
            M. Levee      Review SOFA comments and make revisions                                                 1.20
            M. Levee      Discuss revisions to Global Notes with Company                                          0.40
   7/8/2014 D. Neyhart    Prepare schedules for distribution.                                                     0.60
            D. Neyhart    Review statutory requirements for soal/sofa filings.                                    1.10
            D. Neyhart    Review equity shareholder matrix for distribution related to equity shareholder         0.50
                          filing
            D. Neyhart    Update equity shareholder matrix related to equity shareholder filing                   0.70
            D. Neyhart    Update schedules based on counsel comments                                              1.30
            M. Levee      Review and prepare revised sets of SOFAs/SOALs to be sent for review by team            0.50
            M. Levee      Review counsel comments to statutory filings and prepare versions for review            1.30
            M. Levee      Discuss statutory filing requirements and additional information requested by           0.80
                          counsel with D. Neyhart
   7/9/2014 E. Blum       Meet internally re additional information needed for SOFA filing                        0.20
            D. Neyhart    Review outstanding items for statutory requirements.                                    0.80
            D. Neyhart    Review disclosure of attorney compensation form and business income and                 0.50
                          expense schedule.
            M. Levee      Internal discussions and discussions with Company regarding statutory filing            0.90
                          requirements
            M. Levee      Review and analyze weekly cash flow variances                                           1.30
  7/11/2014 E. Blum       Review US Coal variance report and approve to be submitted                              0.30
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  7/13/2014 E. Blum      Review preliminary June financials at LRR                                                  0.50
  7/15/2014 E. Blum      Review and research multiple questions on SOFAs from JAD counsel - share                   1.80
                         ownership; officer /director positions; etc;
            E. Blum      Call with Amelia regarding schedules to be filed that incorporate future revenue           0.20
                         and expense assumptions
            M. Levee     Discuss, internally, statutory filing questions from counsel and prepare schedule          1.00
                         for work done on shareholder percentages
            M. Levee     Work on additional statutory filing requirement - business income & expense                0.40
            S. Allen     Begin preparation of business income and expenses for six debtor entities                  5.10
  7/16/2014 E. Blum      Meet with S Allen re projections to be filed with Court by entity                          0.20
            D. Neyhart   Prepare statement of operations                                                            0.70
            S. Allen     Finish preparation of business income and expenses for six debtor entities                 3.40
            S. Allen     Review business income and expenses with accounting staff                                  1.10
  7/21/2014 E. Blum      Compose numerous emails regarding updating of SOFAs and schedules in                       0.90
                         regard to various issues that have arisen; review emails re same
            E. Blum      Work on response to JAD counsel in regard to questions on SOFAs related to                 1.20
                         insiders and ownership; prepare answers and spreadsheet backup; provide to
                         Nixon to respond
            E. Blum      Email correspondence with company and counsel re source of D&O information                 0.40
                         in SOFA filings
            M. Levee     Review requests for amendments to statutory filing requirements and begin to               2.00
                         update accordingly
            M. Levee     Discussions with Company and internally regarding amendments to statutory                  0.90
                         filing requirements
            D. Neyhart   Update soals based on committee comments                                                   0.40
            S. Allen     Review SOFA related correspondence and follow with M. Levee on same                        0.30
  7/22/2014 M. Levee     Review draft of valuation presentation                                                     0.30
            D. Neyhart   Consolidate SOAL support for claims administrator.                                         0.40
  7/23/2014 D. Neyhart   Prepare SOAL Revisions                                                                     3.10
  7/24/2014 E. Blum      Review variance report for week ended 7/18 that was submitted as required                  0.20
            M. Levee     Review updated litigation cases list for revised SOFAs and discuss with                    0.70
                         Company
            M. Levee     Review amendment to Schedules and SOFAs document for JAD, Fox Knob,                        1.80
                         LRR, SM&J, and US Coal
            M. Levee     Continue to update amendments to Schedules and SOFAs                                       1.20
  7/25/2014 M. Levee     Final revisions to amendment form for Schedules and SOFAs; send for counsel                0.70
                         review
            M. Levee     Review counsel revised amendments to Schedules and SOFAs; send for                         0.30
                         Company review
            E. Blum      Review draft of Amended schedules                                                          0.30
  7/28/2014 E. Blum      Review update of Schedules provided by del Cotto in response to GR work                    0.40
  7/29/2014 M. Levee     Various discussions regarding amended SOFAs/Schedules with Counsel and                     0.70
                         Company
            M. Levee     review revised amendments to SOFAs/Schedules and follow up discussion with                 1.00
                         D. Neyhart
  7/30/2014 M. Levee     Updates to amendments to SOFAs/Schedules per Counsel and Company                           1.30
                         comments
            E. Blum      Work with Erin in Lexington and GR in finalizing the update to the SOFAs and               0.50
                         schedules - correct secured and unsecured debt classifications
  7/31/2014 D. Neyhart   Research suggested updates to the SOAL revisions by USC and counsel and                    2.10
                         make necessary revisions
            E. Blum      Review Variance report with Erin at company and have company distribute - wk               0.30
                         ended 7/25

            SUBTOTAL:                                                                     [        76.60       24,080.00]

            Meetings of and Communications with Creditors

   7/2/2014 E. Blum      Respond to email from committee counsel re advisor selected and set up time to             0.30
                         talk; respond to 17th as date to meet with committee in Lexington
            E. Blum      Work with M Levee on insider analysis summary being prepared for committee;                0.60
                         consistent with and a summary of SOFA info
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   7/2/2014 S. Prager   Creation of database for creditor's data room                                         1.00
            S. Prager   Continue to create database for creditor's data room                                  2.20
            M. Glade    Manage, upload and review documents uploaded to creditor committee data               1.80
                        room
            M. Levee    Review payments to related parties as requested by Committee; confer with             1.30
                        company
            M. Levee    Revise related party transaction analysis as requested by Committee                   1.40
   7/3/2014 E. Blum     Finalize insider analysis for Committee; consistent with SOFAs - distribute to        0.50
                        counsel to review
            E. Blum     Initial call with John Weiss representing committee                                   0.30
            M. Levee    Conference call with counsel and GR team to discuss creditor committee                0.80
                        matters and other updates
   7/7/2014 E. Blum     Work on Parties in Interest memo requested by committee; emails with counsel          0.80
                        re same
   7/8/2014 M. Glade    Call with Company to discuss creditor committee requests                              0.50
            M. Glade    Review and organize data requests; upload to data room                                1.30
            S. Prager   US Coal Conference call to discuss document database                                  0.60
            S. Prager   Document Database Creation for U.S. Coal Creditor Committee                           0.80
            E. Blum     Continue email correspondence with counsel in regard to clean up of Parties in        0.50
                        Interest memo requested by committee
   7/9/2014 E. Blum     Call with J Collins to respond to questions from the committee advisor                0.30
            E. Blum     Call with committee advisor to respond to initial questons                            0.50
            M. Glade    Uploads to data room; organization of request list; respond to Nixon regarding        1.60
                        fulfillment of creditor committee requests
            S. Prager   Document Database Creation for U.S. Coal Creditor Committee                           0.30
  7/10/2014 S. Prager   Database Formatting                                                                   0.40
            S. Prager   Document Database Creation for U.S. Coal Creditor Committee                           0.10
            M. Levee    Additional discussions with management and counsel regarding various                  1.30
                        deliverables requested by the Committee
            E. Blum     Meet with M Levee and management in Lexington to prepare work on items to             1.30
                        be delivered to the committee
            M. Levee    Meet with E Blum and management in Lexington to prepare work on items to be           1.30
                        delivered to the committee
  7/11/2014 S. Prager   Document Database Creation for U.S. Coal Creditor Committee                           0.40
  7/12/2014 E. Blum     Email correspondence internally at GR and with Nixon regarding committee              0.50
                        members request to go into data room individually
  7/14/2014 E. Blum     Call with Nixon and committee counsel re access for committee members to              0.50
                        data room
            M. Levee    Discuss updated forecast for committee with SA                                        1.40
            M. Levee    Further discussions with S. Allen regarding updated forecast with committee           2.70
            M. Levee    Updated forecast discussions with S. Allen                                            2.30
            M. Levee    Continue to hold updated forecast discussions with S. Allen                           2.10
            S. Allen    Review committee forecast with M. Levee                                               2.70
            S. Allen    Update forecast for committee (update shipping forecasts, update A/R                  4.20
                        schedules, update cash collections, review disbursement assumptions)
            S. Allen    Continue to hold updated forecast discussions with M Levee                            2.10
  7/15/2014 M. Glade    Data room uploads and updates                                                         1.30
            S. Prager   US Coal Restricted Document Database creation                                         0.80
            M. Levee    Various internal discussions regarding the committee forecast                         0.80
            M. Levee    Prepare charts for draft presentation with counsel                                    0.30
            M. Levee    Review updated forecast for committee with Company and S. Allen                       0.40
            M. Levee    Prepare updated presentation - LRR division - for committee                           4.30
            M. Levee    Continue to update forecast presentation for committee - JAD division                 0.40
            S. Allen    Discuss forecast for committee with M. Levee and Management                           0.40
  7/16/2014 E. Blum     Numerous calls with Nixon re updating forecast for committee - treatment of           0.60
                        admin expenses
            E. Blum     Meet internally to discuss updates to GR updated forecast memo for committee          0.50
            E. Blum     Work with D Neyhart on GR memo for committee summarizing historical                   0.60
                        background as requested
            E. Blum     Work on GR memo providing historical background for committee                         0.40
            E. Blum     Work on updated GR memo to summarize updated forecast                                 0.80
            E. Blum     Finalize update of forecasted cash flows with S Allen and send to committee FA        0.70
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  7/16/2014 D. Neyhart   Prepare USC background info for presentation to Committee                              1.00
            D. Neyhart   Update USC background info for report to Committee                                     0.90
            M. Levee     Finalize preliminary draft of updated committee presentation and send for review       0.40
            M. Levee     Review draft of updated forecast presentation with E. Blum for committee               0.50
            M. Levee     Update cash collateral presentation based on internal review                           1.80
            M. Levee     Discuss forecast presentation with GR team                                             0.50
            M. Levee     Prepare further updates to committee presentation                                      0.60
            M. Levee     Final revisions to next draft of presentation and send for senior review               1.80
            M. Levee     Discuss draft presentations for the Committee related to the budget and the            1.50
                         Company overview with E. Blum (0.4); revise both presentations based on
                         comments and send draft to counsel and Company for review (1.1)
            S. Allen     Discuss committee presentation with D. Neyhart, M. Levee, E. Blum                      0.50
            S. Allen     Revise committee presentation with M. Levee                                            2.90
  7/17/2014 E. Blum      Meeting in Lexington with committee counsel, Nixon and Del Cotto to discuss            2.00
                         committee issues prior to next day meeting with committee
            E. Blum      Post meeting with committee counsel, meet with Nixon and Del Cotto to discuss          1.20
                         committee counsel issues
            E. Blum      Meet with CEO, CFO and Nixon to prepare for committee issues and discuss               2.50
                         approach, topics to address
            M. Levee     Update draft of committee presentation - shipping schedule                             0.50
            M. Levee     Various updates to committee presentation                                              1.50
            S. Allen     Meet with Counsel to the Committee to discuss agenda for upcoming meeting              2.00
                         with Committee and Debtors' status
            S. Allen     Post Committee Counsel meeting discussion with Nixon Peabody and Delcotto              1.20
                         Law Group
            S. Allen     Working dinner with Counsel and Management in preparation for meeting with             2.00
                         Committee
  7/18/2014 E. Blum      Meet at Del Cotto with Nixon, GR and company to prepare for meeting with               1.50
                         creditors committee.
            E. Blum      Meet with Nixon, Del Cotto and creditors committee to review issues they               3.00
                         requested company address
            E. Blum      Prepare for 341 hearing in Lexington with company                                      1.20
            E. Blum      Attend 341 hearing in Lexington to address creditors questions                         1.20
            S. Prager    US Coal Restricted Document Database Update                                            0.30
            S. Allen     Attend Section 341 meeting                                                             1.20
  7/22/2014 M. Levee     Conference call with S. Allen, Committee Counsel and Debtor Counsel to                 0.20
                         discuss surety bond schedule
            S. Allen     Prepare for surety bond discussion with Committee Counsel                              0.40
            S. Allen     Discuss surety bonds with C. Desiderio and Committee Counsel                           0.20
  7/24/2014 M. Levee     Review request list from Committee regarding documents located in the data             0.60
                         room
            M. Levee     Futher work on responses to Committee request list                                     0.20
            D. Neyhart   Research outstanding items requested from creditor committee                           0.70
            D. Neyhart   Research outstanding items requested from creditor committee                           1.60
            S. Allen     Review UCC request and coordinate location of documents (appraisals,                   0.50
                         restructuring proposals, surety bonds, business plans, D&O,etc)
            S. Allen     Correspondence with Debtors concerning Committee requests                              0.30
            S. Allen     Discuss Committee requests with M. Levee and D. Neyhart                                0.40
            S. Allen     Correspondence with C. Desiderio re: Committee request                                 0.30
            M. Levee     Discuss Committee requests with S Allen and D Neyhart                                  0.40
            D. Neyhart   Discuss Committee requests with S Allen and M Levee                                    0.40
  7/25/2014 E. Blum      Pre committee call with John and Mike to review issues committee FA wants to           0.40
                         address
            E. Blum      Call with committee FA and company to review questions committee had for               1.70
                         company - operating issues and questions
            E. Blum      work with M Levee and D Neyhart in reviewing email to committee updating               0.90
                         them for data room status in response to requests by committee. Review
                         multiple iterations of responses.
            M. Levee     Work on responses to various Committee requests                                        1.80
            D. Neyhart   Meetings with ML and EB to discuss creditor committee requests                         0.60
            D. Neyhart   Research outstanding items requested from creditor committee                           1.90
            S. Allen     Discuss upcoming call with Financial Advisor to the Committee with                     0.40
                         Management and E. Blum
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  7/25/2014 S. Allen      Discuss business operations with Management, E. Blum and Financial Advisory             1.70
                          to the Committee
            S. Allen      Coordinate response to Committee request                                                0.30
  7/27/2014 M. Levee      Updates to data room memo per recent uploads and committee requests                     0.30
  7/28/2014 M. Levee      Reconcile data room and committee requests                                              0.40
            D. Neyhart    Review item request from creditor committee and research outstanding items.             0.50
  7/29/2014 M. Levee      Continue to review company prepared answers to committee requets - historical           0.20
                          business plans
            M. Levee      Update UCC request list based on info received from company                             0.50
            D. Neyhart    Follow up with outstanding committee requests                                           0.90
  7/30/2014 M. Levee      Review UCC open items list and reconcile internal update memo                           0.50
  7/31/2014 D. Neyhart    Review D&O insurance policies and upload to data room for creditors                     0.40
            D. Neyhart    Upload committee request items to the data room and status calls with ML and            0.70
                          EB regarding.
            E. Blum       Review status of responding to committee requests re what has been uploaded             1.50
                          to data room; specifically review details around 2011 proposal to purchase as
                          requested by committee; review emails re buyer shutting off negotiations; call
                          with D Drebsky re same and need to upload all appropriate information; calls
                          with M Levee re uploading requested information

            SUBTOTAL:                                                                   [      108.50        40,925.50]

            Plan and Disclosure Statement (incl. Business Plan)

   7/1/2014 M. Levee      Work on 2014 business plan- shipping and inventory roll forward at JAD                  1.10
            M. Levee      Prepare for and participate in meeting with company management - updated                6.90
                          2014 business plan JAD
            M. Levee      Continue to work on 2014 business plan - JAD division                                   1.50
            M. Levee      Begin first draft of 2014 business plan presentation - LRR division                     1.10
            S. Allen      Meet with JAD management to discuss update to 2014 business plan and                    6.90
                          update of operations
            S. Allen      Update voluntary deductions from payroll for updated 2014 business plans                2.30
   7/2/2014 E. Blum       Review preliminary 2014 results for LRR and JAD with Sean and Marc based on             1.20
                          GR 2 day meeting in Lexington on numbers
            M. Levee      Internal meeting regarding 2014 business plan                                           0.50
            S. Allen      Finish payroll projections including voluntary deduction analysis                       2.10
            S. Allen      Discuss updated projections with E. Blum and M. Levee                                   0.70
            S. Allen      Revise 2014 business plan projections for both JAD and LRR divisions                    9.50
            S. Allen      Discuss 2014 business plan presentation with M. Levee                                   0.80
   7/3/2014 E. Blum       Review preliminary updated 2014 monthly budgets based on meetings in                    0.50
                          Lexington
            M. Levee      Review/revise 2014 business plans for both LRR and JAD                                  1.60
            M. Levee      Additional revisions to 2014 business plans and send for Company reivew                 0.80
   7/7/2014 M. Levee      Compare/review revised to original JAD 2014 business plan                               0.30
   7/8/2014 M. Levee      Prepare variance analysis for 2014 business plans at both divisions                     2.00
            M. Levee      Review of variance analysis to 2014 business plans                                      0.40
   7/9/2014 E. Blum       Call with counsel and M Levee re 2014 budget                                            0.50
            E. Blum       Call with CFO re meeting on 2014 budget                                                 0.30
            E. Blum       Call with CEO on 2014 budget                                                            0.50
            E. Blum       Call with Debtor counsel to discuss 2014 operations                                     0.50
            E. Blum       Review initial draft of GR update of 2014 report with M Levee                           0.50
            M. Levee      Review 2014 monthly numbers to prepare for internal discussion                          1.00
            M. Levee      Prepare internal memo regarding 2014 business plan assumptions for LRR and              2.00
                          JAD
            M. Levee      Continue to prepare internal memo regarding 2014 business plan assumptions              1.80
                          for LRR and JAD
            M. Levee      Continue analysis of revised LRR 2014 business plan                                     1.50
            M. Levee      Further work on both LRR and JAD 2014 business plan variances to original               1.30
                          2014 business plans
  7/10/2014 M. Levee      Internal meeting with managmeent - on-site to discuss schedule for today's              0.50
                          meetings, including cash flow and 2014 business plans
            M. Levee      Prepare for and participate in on-site meetings with management - 2014 LRR              4.70
                          business plan
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  7/10/2014 M. Levee      Additional meeting with management regarding LRR 2014 business plan                      3.00
            E. Blum       Meeting with M Levee and management to discuss cash flow and 2014                        0.50
                          meetings to be held at company
            E. Blum       Meeting with M Levee, US Coal management and LRR operational management                  7.70
                          to review cash flow and 2014 projected results; by mine by line item
  7/11/2014 M. Levee      Prepare for and participate in meetings with management regarding 2014 JAD               1.30
                          business plan
            M. Levee      Review 2014 JAD business plan after discussion with management                           1.10
            E. Blum       Meet with US Coal management and JAD operational management in regard to                 2.40
                          JAD cash flow forecast and 2014 expected results

            SUBTOTAL:                                                                    [        71.30       27,937.50]

            Relief from Stay/ Adequate Protection Proceedings

  7/16/2014 E. Blum       Review Caterpillar Stipulation and Agreement - review debt numbers with                  1.50
                          company and monthly payment amounts against model. Review specific
                          collateral with company. Respond to counsel re OK with Order
  7/21/2014 S. Allen      Review Komatsu adequate protection order                                                 0.60
            S. Allen      Discuss Komatsu adequate protection order with Management                                0.30
            S. Allen      Compose email to L. Delcotto re: Komatsu adequate protection order                       0.30
  7/23/2014 E. Blum       Review Komatsu proposed order and emails around adequate protection -                    0.80
                          principal versus total payment amounts in order
            S. Allen      Research Komatsu adequate protection and previous payments made                          0.40
            S. Allen      Correspondence with Debtors and Delcotto re: Komatsu payments                            0.30
  7/28/2014 M. Levee      Review adequate protection order for Hunting National Bank and discuss with              0.80
                          Company
  7/29/2014 E. Blum       Review emails around Huntington Bank requests for payment in Motion and                  1.00
                          Order and GR responses on amounts; review Huntington Bank proposed Motion
                          and Order

            SUBTOTAL:                                                                    [         6.00        2,870.00]

            Tax Issues

   7/1/2014 E. Blum       Review and mark GR memo on NOL matter - whether can be maintained in                     0.60
                          planned transaction
            E. Blum       Call with D Neyhart to review comments to GR NOL memo around ability to                  0.50
                          maintain NOLs going forward
            E. Blum       Call with CFO re NOL matter - need to retain professional to address ability to          0.40
                          maintain NOL. Discuss ECM payments are from US Coal and held at US Coal -
                          factors re NOL treatment.
            D. Neyhart    Review NOL analysis and 2012 tax returns                                                 0.40
            D. Neyhart    Update NOL analysis.                                                                     1.00
   7/2/2014 E. Blum       Review and email bio of recommended professional on NOL matters to CFO                   0.50
                          and counsel; compose email to CFO re timing to retain and address NOL
                          matter; review with counsel GR status re work to date on GR memo
   7/9/2014 E. Blum       Calls and emails with Erin re severance tax timing analysis                              0.30
  7/12/2014 E. Blum       Review First Amended Budget and related GR memo re timing of tax payments                0.60
  7/13/2014 E. Blum       Compose emails to company and counsel in regard to treatment and timing of               0.50
                          severance taxes, reclamation taxes and use taxes in regard ti updated model for
                          committee
            E. Blum       Review updated version of GR NOL memo                                                    0.70
            E. Blum       Compose email around treatment of unmined mineral taxes in updated GR                    0.20
                          model
  7/14/2014 D. Neyhart    Update NOL Analysis                                                                      1.30
  7/15/2014 E. Blum       Review treatment of reclamation taxes in 13 week; review payment schedule of             0.50
                          pre petition taxes in cash collateral budget
            E. Blum       Call with Billy & Erin re treatment of pre petition reclamation taxes in budget          0.30
  7/16/2014 E. Blum       Review emails on use tax issues - trust fund tax treatment - and timing to pay           0.50
  7/21/2014 E. Blum       Compose various emails regarding GR talking to potential expert re NOL; need             0.30
                          to retain
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  7/24/2014 D. Neyhart   Review E&Y NOL Analysis.                                                                  0.30
  7/25/2014 D. Neyhart   Intro call with NOL expert, JB.                                                           0.80
            D. Neyhart   Prep for meeting with NOL expert including relevant financial data and court              1.50
                         precedents.

            SUBTOTAL:                                                                    [        11.20        4,585.00]

            Valuation

   7/3/2014 M. Glade     Call with Resource Technology Appraiser                                                   0.70
   7/6/2014 E. Blum      Call with M Glade re status of valuation reports; various valuation approaches;           0.50
                         indicative showing
            M. Glade     Updates to liquidation analysis                                                           2.00
            M. Glade     Preparation of and edits to liquidation schedules to provide to E Blum                    1.70
            M. Glade     Call with E Blum re status of valuation reports; various valuation approaches;            0.50
                         indicative showing
   7/8/2014 M. Glade     Review and analysis of appraisals                                                         0.90
   7/9/2014 M. Glade     Updates to liquidation analysis                                                           2.00
            M. Glade     Calls with E Blum to discuss liquidation analysis                                         0.40
            E. Blum      Calls with M Glade to discuss liquidation analysis                                        0.40
  7/14/2014 M. Glade     Call with EB and SA to discuss equipment listing and appraisals                           0.80
            M. Glade     Preparation of liquidation analysis                                                       2.00
            M. Glade     Review and analyze updated appraisal values                                               2.00
            E. Blum      Call with M Glade and S Allen re equipment valuation and GR analysis; re                  0.80
                         reserves / prep plant valuation and GR analysis
            D. Neyhart   Update equipment valuation analysis using final appraisal                                 3.10
            S. Allen     Discuss valuation with E. Blum and M. Glade                                               0.80
            S. Allen     Discuss valuation and status Nixon Peabody                                                0.30
  7/15/2014 M. Glade     Updates to JAD portion of liquidation analysis                                            2.00
            M. Glade     Updates to LRR portion of liquidation analysis                                            2.00
            M. Glade     Preparation of various schedules in the liquidation analysis                              1.70
            M. Glade     Calls with Resource Tech appraiser regarding court appearance and logistics               0.80
                         and appraisal information
            E. Blum      Call with M Glade and S Allen regarding valuation work and GR presentation on             0.80
                         valuation - need for additional backup; combination of Great American and
                         Resource Tech work; follow with M Glade
            E. Blum      Review updated GR valuation waterfall based on updated valuation work                     0.50
            D. Neyhart   Update equipment valuation analysis using final appraisal.                                1.10
            S. Allen     Discuss valuation with D. Neyhart, E. Blum, and M. Glade                                  4.20
            S. Allen     Discuss liquidation scenarios with M. Glade                                               0.90
            S. Allen     Discuss valuation with E. Blum and M. Glade                                               0.80
            S. Allen     Meet with M. Levee, E. Blum and Nixon Peabody to discuss valuation, revised               2.00
                         budgets, and status
            M. Glade     Discuss liquidation scenarios with S Allen                                                0.90
            M. Glade     Discuss valuation with E Blum and S Allen                                                 0.80
            M. Levee     Meet with E Blum, S Allen and Nixon Peabody to discuss valuation, revised                 2.00
                         budgets and status
            E. Blum      Meet with M Levee, S Allen and Nixon Peabody to discuss valuation, revised                2.00
                         budgets and status
  7/16/2014 M. Glade     Updates to liquidation analysis                                                           2.00
            M. Glade     Update equipment listing detail; review Resource Tech appraisal                           1.80
            D. Neyhart   Review of secured equipment analysis and final appraisal.                                 0.90
  7/19/2014 M. Glade     Updates to solvency analysis                                                              2.00
            M. Glade     Updates to machinery and equipment waterfalls included in solvency analysis               2.00
            M. Glade     Updates to recoveries in solvency analysis                                                2.00
  7/20/2014 M. Glade     Updates to solvency analysis                                                              1.80
            M. Glade     Updates to valuation analysis                                                             1.70
            M. Glade     Updates to creditor recoveries                                                            2.10
  7/21/2014 S. Allen     Review valuation analysis and appraisals                                                  2.10
            S. Allen     Discuss valuation M. Glade and E. Blum                                                    0.50
            S. Allen     Analyze and review appraisals                                                             0.90
            S. Allen     Update preliminary valuation analysis                                                     1.20
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  7/21/2014 E. Blum       Review draft of Resource Technologies valuation report                                  1.00
            M. Glade      Discuss valuation with E Blum and S Allen                                               0.50
            E. Blum       Discuss valuation with M Glade and S Allen                                              0.50
  7/22/2014 S. Allen      Discuss valuation with E. Blum and Nixon Peabody                                        0.50
            S. Allen      Revise preliminary valuation analysis                                                   3.40
            M. Glade      Valuation update call with Sean Allen                                                   1.00
            E. Blum       Discuss valuation with S Allen and Nixon Peabody                                        0.50
  7/24/2014 M. Glade      Team update call                                                                        0.50
  7/26/2014 E. Blum       Review updated GR valuation summary                                                     0.80
  7/29/2014 E. Blum       Review potential asset recoveries with Dennis                                           0.40

            SUBTOTAL:                                                                 [        71.50       27,587.50]


                                                                                            Total               555.70


                                                                               July Invoice Total      $211,220.40




 GlassRatner Advisory & Capital Group LLC
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              Professional Services Detail

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            Assumption/Rejection of Leases and Contracts

   8/1/2014 E. Blum      Review schedule of equipment note payments made and review against cash                     0.60
                         collateral memo previously provided to counsel
            E. Blum      Review emails around settlement of dispute between Kolmar and KCT; agreed                   0.40
                         upon payments and timing thereof
   8/6/2014 E. Blum      Review GR memo on Kolmar contracts with S Allen in response to JAD counsel                  0.30
                         quesitons; S Allen to update
            D. Neyhart   Review Kolmar agreements                                                                    0.40
            D. Neyhart   Call with USC to discuss Kolmar agreements and updates to Kolmar memo                       0.80
                         accordingly
            S. Allen     Review Kolmar agreement in preparation for upcoming call with Management                    0.30
            S. Allen     Review updated Kolmar memo with D. Neyhart                                                  0.50
            S. Allen     Call with D. Neyhart, E. Blum, Debtor Counsel and J. Collins re: Kolmar                     0.50
                         agreements
            E. Blum      Call with S Allen, D Neyhart, Debor Cousel and J Collins re: Kolmar                         0.50
            D. Neyhart   Call with E Blum, S Allen, Debor Cousel and J Collins re: Kolmar                            0.50
            D. Neyhart   Review updated Kolmar memo with S Allen                                                     0.50
   8/7/2014 E. Blum      Discuss Kolmar memo with S Allen re laying out different contracts; discuss with            0.40
                         J Collins
            S. Allen     Revise Kolmar memo (including related correspondence)                                       2.40
            S. Allen     Discuss Kolmar loading with E. Gabbert                                                      0.30
   8/8/2014 S. Allen     Review and revise Kolmar memo                                                               1.20
  8/15/2014 E. Blum      Review and compose emails re Whayne supply issues on being paid as per                      0.50
                         contract; discuss treatment post petition
            E. Blum      Review Ivyton project numbers with S Allen                                                  0.50
            E. Blum      Review email correspondence re utility provider - contract issues re continuing             0.40
                         service
            S. Allen     Ivyton project analysis                                                                     0.60
            S. Allen     Discuss Ivyton project analysis with E Blum                                                 0.50
  8/16/2014 E. Blum      Review Settlement Agreement with Kolmar/KCT                                                 0.80
  8/22/2014 E. Blum      Discuss LRR lease assumption and rejection lists and notices with M Levee in                0.30
                         follow to Amelia's email
            M. Levee     Discussions and correspondence with Company and local counsel regarding                     0.30
                         non-residential real property leases
  8/25/2014 E. Blum      Review Agreement between US Coal and Sequoia to resolve lease payment                       0.40
                         dispute
            E. Blum      Review emails related to Howard's leases and whether tax payments have been                 0.40
                         paid and extensions agreed to; compose email in response
            E. Blum      Review update emails on Howard leases - Debtor to finalize acceptance of                    0.20
                         schedules to leases; treat as cure claims
  8/26/2014 E. Blum      Review and respond to emails around acceptance/rejection of Kolmar                          0.30
                         agreements
            S. Allen     Discuss Kolmar agreements with E. Blum                                                      0.30
            E. Blum      Discuss Kolmar with S Allen                                                                 0.30
  8/27/2014 E. Blum      Review motion of settlement of Sequoia lease to be submitted to Court                       0.30

            SUBTOTAL:                                                                    [        15.70        6,862.50]

            Business Operations

  8/21/2014 E. Blum      Call with Mike and Erin in regard to increase in bonding amounts requested from             0.60
                         Lexon / Smith Manus and potential impact on budget; company to update
                         assumptions with GR to review
            S. Allen     Discuss surety bonding forecast with E. Blum, E.Gabbert, and M.Windisch                     0.50

            SUBTOTAL:                                                                    [         1.10            532.50]
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            Case Administration

   8/6/2014 E. Blum       Call with Nixon company and S Allen re outstanding issue s- Kolmar contracts              0.70
                          (GR memo): KEIP issues; ECM counsel payments in cash collateral budget
            D. Neyhart    Review docket from 7/30-8/5.                                                              0.40
            S. Allen      Call with Nixon company and E Blum re outstanding issues - Kolmar contracs                0.70
                          (GR memo); KEIP issues; ECM counsel payments in cash collateral budget
   8/7/2014 M. Levee      Catch-up meeting with E. Blum and S. Allen - final cash collateral budget and             1.40
                          presentation, SOFA and Schedule Amendments, and outstanding UCC items
            S. Allen      Catch-up meeting with E Blum and M Levee - final cash collateral budget and               1.40
                          presentation, SOFA and Schedule Amendments, and outstanding UCC items
            E. Blum       Catch-up meeting with S Allen and M Levee - final cash collateral budget and              1.40
                          presentation, SOFA and Schedule Amendments, and outstanding UCC items
   8/8/2014 D. Neyhart    Review docket for 8/6 and 8/7.                                                            0.30
  8/12/2014 D. Neyhart    Review docket for 8/7 and 8/10.                                                           0.30
  8/15/2014 E. Blum       Call with Nixon to develop agenda for next week meeting with company re go                0.90
                          forward process and strategy
  8/20/2014 E. Blum       Meet with company in Lexington to review open issues prior to group (counsel,             1.50
                          GR, company) meeting on current case status; timing and issues going forward
                          towards Plan
            E. Blum       Meeting in Lexington with company and counsel to discuss agenda of timing;                3.50
                          next steps re work to be done / issues to be addressed; hearing schedule;
                          moving towards Plan
            D. Neyhart    Review docket for 8/13-8/19.                                                              0.30
            S. Allen      Summarize analysis for meeting with counsel                                               0.80
            S. Allen      Plan of Reorganization and strategy meeting with Delcotto Law Group, Nixon                3.50
                          Peabody and Management
            S. Allen      Meet with company to discuss open issues                                                  1.50
  8/22/2014 E. Blum       Call with company CEO re JAD counsel meeting in Lexington - provide update                0.40

            SUBTOTAL:                                                                     [        19.00        8,540.00]

            Cash Collateral and Post Petition Financing

   8/1/2014 S. Allen      Revise cash collateral budget projections per previous discussions and follow             3.80
                          with Management on same
            M. Levee      Preliminary work on the Final Cash Collateral Budget draft presentation                   0.30
   8/2/2014 E. Blum       Work on call with S Allen re admin expense assumptions; restructuring expense             1.20
                          (including prof fee) assumptions; adequate protection assumptions for final cash
                          collateral budget. Follow with emails to counsel re actual and assumed fees
            E. Blum       Review proposed order for compensation of professionals and email S allen re              0.40
                          timing of payments in cash collateral budget
            E. Blum       Work on GlassRatner assumptions for fees in final cash collateral budget with S           0.50
                          Allen; prepared backup by individual. Followed with S Allen re June GR figures.
            S. Allen      Discuss administrative expenses in connection with cash collateral budget                 0.60
            S. Allen      Continue preparation of cash collateral budget (update administrative expense             3.10
                          projections, update adequate protection projections, update notes and leases,
                          update professional fee accrual schedule, as well as other schedules)
   8/3/2014 E. Blum       Review ECM comments to Akin comments on Final Cash Collateral Order                       0.40
            E. Blum       Meet with M Levee to outline GR cash collateral memo for final cash collateral            1.00
                          budget
            E. Blum       Compose emails to M Levee re prof cost assumptions and adequate protection                0.40
                          assumptions - legal; equipment - for GR final cash collateral budget memo
            E. Blum       Review J Collins final cash collateral affidavit                                          0.40
            E. Blum       Review E Blum affidavit draft re final cash collateral budget                             0.60
            E. Blum       Call with S Allen re Blum and Collins affidavits regarding final cash collateral          0.50
                          budget
            S. Allen      Continue preparation of cash collateral budget (update tipple projections, update         6.80
                          JAD mining projections, update shop projections, and update non mining
                          projections)
            M. Levee      Meet with E. Blum to discuss draft of final cash collateral budget presentation           1.00
            M. Levee      Discuss draft of E. Blum's affidavit with E. Blum                                         0.20
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   8/3/2014 M. Levee   Make certain revisions to draft of final cash collateral budget                         0.70
            S. Allen   Call with E Blum re Blum and Collins affidavits regarding final cash collateral         0.50
                       budget
            E. Blum    Discuss affidavit draft re final cash collateral budget with M Levee                    0.20
   8/4/2014 E. Blum    Work on E Blum cash collateral affidavit; multiple iterations; send to counsel to       1.50
                       review
            E. Blum    Call with S Allen, company and JAD operating personnel to review JAD cash               1.50
                       collateral budget line by line
            E. Blum    Follow up call with S Allen, company, JAD operating personnel on open items             0.50
                       from prior call on JAD final cash collateral budget
            E. Blum    Compose and respond to numerous emails related to prof fee assumptions for              0.70
                       all professionals in final cash collateral budget
            M. Levee   Continue to work on draft of E. Blum's affidavit for final cash collateral hearing      2.00
            M. Levee   Work on draft of final cash collateral budget presentation                              2.00
            M. Levee   Finalize draft of final cash collateral budget presentation                             1.20
            M. Levee   Discuss draft of final cash collateral budget presentation with S. Allen                0.70
            M. Levee   Make revisions to draft of final cash collateral budget presentation                    1.60
            S. Allen   Review affidavit with M. Levee                                                          0.70
            S. Allen   Review model in preparation of Management call                                          0.50
            S. Allen   Discuss JAD budget with Management and E. Blum                                          1.50
            S. Allen   Revise transportation assumptions per call                                              0.90
            S. Allen   Discuss JAD assumptions and projections with E. Gabbert                                 1.60
            S. Allen   Follow up call regarding capital expenditures and transportation assumptions for        0.50
                       JAD budget with E. Gabbert
            S. Allen   Discuss cash collateral budget with M. Levee related to summary                         0.70
            S. Allen   Revise cash collateral budget per analysis and various management calls                 4.20
                       throughout day
   8/5/2014 E. Blum    Meet with S Allen and M Levee to review final cash collateral budget by line item       2.80
            M. Levee   Review E. Blum's revised draft affidavit for the final cash collateral hearing          0.30
            M. Levee   Continue to work on draft of final cash collateral budget presentation - LRR            2.00
                       Division
            M. Levee   Continue to work on draft of final cash collateral budget presentation - JAD            1.70
            M. Levee   Continue to work on draft of final cash collateral budget presentation - Adequate       1.50
                       Protection exhibit
            M. Levee   Continue to work on draft of final cash collateral budget presentation - exhibits       0.80
                       and re-read
            S. Allen   Discuss JAD Division assumptions with E. Gabbert                                        0.90
            S. Allen   Revise JAD assumptions and projections per call with E. Gabbert                         2.20
            S. Allen   Review JAD assumptions with Management                                                  0.70
            S. Allen   Update professional fee estimates and timing                                            1.90
            S. Allen   Review updated budget with E. Blum and M. Levee                                         2.80
            E. Blum    Address certain cash collateral issues with CEO                                         0.20
            E. Blum    Review updated final cash collateral budget and have Sean send to company for           1.00
                       final comments
   8/6/2014 E. Blum    Review initial draft of GR Cash collateral memo                                         1.70
            E. Blum    Review updated cash collateral memo with M Levee and S Allen - make                     1.40
                       changes - have M Levee send revised version to counsel and company to review
            E. Blum    Call with Nixon re open cash collateral issues prior to their call with ECM and         0.20
                       committee counsel
            E. Blum    Calls with Nixon and respond to emails re ECM counsel payment amounts and               0.60
                       mechanics in final cash collateral budget
            M. Levee   Review draft of final cash collateral budget presentation with E. Blum                  0.40
            M. Levee   Further revisions to final cash collateral budget presentation                          0.90
            M. Levee   Revise draft of final cash collateral budget presentation and discuss with E.           2.00
                       Blum and S. Allen
            M. Levee   Further revisions to draft presentation and distribute confidential version to          0.50
                       professionals and the Company
            M. Levee   Revisions to exhibits in draft of final cash collateral budget presentation             0.30
            S. Allen   Review updated budget with E. Blum and M. Levee                                         1.40
            E. Blum    Discuss initial draft with M Levee                                                      0.40
   8/7/2014 E. Blum    Work on paragraph by paragraph update of Blum affidavit to cash collateral              1.60
            E. Blum    Work with S Allen on finalizing changes to cash collateral model re JAD                 1.10
                       assumptions related to Kolmar costs; prof fee assumptions
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   8/7/2014 E. Blum         Review final cash collateral order changes; comment on ECM counsel payments                 0.40
                            re mechanics/language
              E. Blum       Review OCP motion re amounts by professional that are in final cash collateral              0.50
                            budget and confirm with counsel that order consistent with budget
              M. Levee      Make certain revisions to E. Blum's Affidavit for the final cash collateral hearing         0.80
                            and send internally for review
            S. Allen        Discuss cash collateral order and budget with E. Blum and M. Levee                          1.10
            S. Allen        Adjust projections for Kolmar loading assumptions                                           2.20
            M. Levee        Discuss cash collateral order and budget with E Blum and S Allen                            1.10
   8/8/2014 E. Blum         Review final updated cash collateral budget with S Allen and J Collins after final          0.30
                            changes made with S Blevins and then file
              E. Blum       Review and mark late PM 8/7 updated E Blum cash collateral affidavit                        0.40
              E. Blum       Review early AM mark by E Blum to cash collateral affidavit with M Levee                    0.60
              E. Blum       Review further updated cash collateral affidavit of 8/8 with S Allen and M Levee            0.70
                            and continue to mark up
              E. Blum       Review final E Blum cash collateral affidavit; finalize and sign and send to                0.40
                            counsel to file
              M. Levee      Reivew and revise E. Blum's Affidavit for the final cash collateral hearing and             1.30
                            send to counsel for review
              M. Levee      Finalize E. Blum's Affidavit for final cash collateral hearing                              0.80
              M. Levee      Work on various updates and revisions to draft of final cash collateral budget              2.30
                            presentation
              M. Levee      Insert final cash collateral budget and review numbers for draft of final cash              1.60
                            collateral budget presentation
            S. Allen        Discuss E. Blum Affidavit with M. Levee and E. Blum                                         0.70
            S. Allen        Discuss operations at LRR with engineering personnel re budget                              0.40
            S. Allen        Discuss operations at JAD with E. Gabbert re budget                                         0.40
            S. Allen        Discuss budget with J. Collins and E. Blum                                                  0.30
            S. Allen        Make final revisions to cash collateral budget and prepare for filing                       3.20
  8/11/2014 E. Blum         Review and mark multiple iterations of Cash Collateral memo prior to sending to             1.20
                            ECM, JAD and committee counsel
              M. Levee      Review Company comments and revise final cash collateral presentation; print                0.50
                            for review
  8/12/2014 E. Blum         Call with D Drebsky re timing final cash collateral                                         0.40
  8/16/2014 E. Blum         Review J Collins deposition transcript                                                      1.80
  8/20/2014 S. Allen        Discuss budget with M. Windisch and E. Gabbert                                              1.10
            S. Allen        Correspondence with Management re: JAD Budget                                               0.60
            S. Allen        Correspondence re: LRR budget with Management                                               0.50
  8/21/2014 S. Allen        Discuss JAD seller counsel questions re: financials with E. Blum and C.                     0.30
                            Desiderio
  8/25/2014 E. Blum         Call with CEO and CFO re potential sources of DIP financing                                 0.50
  8/26/2014 E. Blum         Call with D Drebsky re status of discussions around cash collateral order                   0.20
  8/27/2014 E. Blum         Call with M Windisch re putting together materials for DIP financing                        0.50

              SUBTOTAL:                                                                       [      103.30        43,052.50]

              Claims Administration and Objections

   8/1/2014   S. Allen      Discuss payment of U.S. Trustee fees with Management                                        0.40
   8/5/2014   D. Neyhart    Consolidate updated addresses for claims administrator.                                     0.50
   8/8/2014   D. Neyhart    Review LRR AP and payment register to research gap payments                                 2.50
   8/9/2014   D. Neyhart    Review LRR AP and payment register to research gap payments                                 2.20
  8/10/2014   D. Neyhart    Prepare Gap payment summary                                                                 1.00
  8/11/2014   S. Allen      Discuss marketing of production from deep mine with M. Thomas                               0.20
              S. Allen      Review administrative and gap claims with D. Neyhart                                        0.90
              D. Neyhart    Discussions with BM regarding Gap period payments.                                          0.40
              D. Neyhart    Research adjusted gap claim to identify additional 503(b)(9) claims.                        1.50
              D. Neyhart    Review cure amounts for gap analysis.                                                       0.80
              D. Neyhart    Review payments made towards potential 503(b)(9) claims.                                    1.40
              D. Neyhart    Prepare 503(b)(9) summary.                                                                  1.90
              D. Neyhart    Prepare end of case estimated payments presentation.                                        2.80
              D. Neyhart    Prepare 503(b)(9) and gap claim summary presentation.                                       0.90
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  8/12/2014 E. Blum      Review D Neyhart draft of Admin claim analysis; mark with comments                        0.40
            D. Neyhart   Meeting with SA to discuss admin and gap presentations                                    0.40
            D. Neyhart   Research cure claims and follow up with BM regarding.                                     0.40
            D. Neyhart   Revise end of case estimates and gap claim presentations.                                 4.00
            D. Neyhart   Prepare exhibits for gap and 503(b)(9) claims.                                            1.00
            D. Neyhart   Revise end of case estimates and gap claim presentations.                                 0.50
            S. Allen     Meeting with D Neyhart to discuss admin and gap presentations                             0.40
  8/13/2014 E. Blum      Review admin claims analysis with D Neyhart; comment; review updated GR                   0.80
                         memo on topic
            S. Allen     Discuss trucking claims with E. Blum and D. Neyhart                                       0.30
            D. Neyhart   Revise 503(b)(9) and gap claim analysis.                                                  1.80
            D. Neyhart   Call with BM to discuss gap claims and post petition payments                             1.70
            D. Neyhart   Updated gap claim analysis based on updated payment info from BM.                         3.60
  8/14/2014 E. Blum      Review updated GR memo on admin claims with D Neyhart; make changes and                   0.50
                         send to counsel to review
            D. Neyhart   Discussions with EB regarding updated GR memo on admin claims                             0.50
            D. Neyhart   Update 503 (b) (9) and gap memo                                                           0.60
  8/16/2014 E. Blum      Review GR admin claims memo - prepare for Plan strategy meet with company                 0.40
                         and counsel
  8/20/2014 D. Neyhart   Update end of case payment summary with professional fees and updated tax                 0.60
                         analysis.
            S. Allen     Analysis of royalties, cure claims and gap claims (related to plan and exit               1.60
                         financing discussions)
  8/24/2014 D. Neyhart   Research gap claims relating to professional fees and update admin expense                1.20
                         memo.
  8/26/2014 D. Neyhart   Research additional addresses for claims administrator.                                   0.30
            D. Neyhart   Update end of case payments to include KEIP amounts.                                      0.30
  8/27/2014 D. Neyhart   Meeting with EB SA and ML to discuss outstanding items including end of case              0.40
                         numbers.
            D. Neyhart   Meeting with SA to discuss end of case payments.                                          0.60
            D. Neyhart   Research missing addresses and communications with claims administrator                   0.70
                         regarding.
            S. Allen     Discuss amounts paid at confirmation with D. Neyhart                                      0.40
            S. Allen     Revise presentation of effective date payments                                            1.80
            S. Allen     Meeting with D Neyhart to discuss end of case payments                                    0.60

            SUBTOTAL:                                                                    [        43.20       11,445.00]

            Employee Benefits & Pensions

   8/6/2014 E. Blum      Call with Nixon re KEIP program - review committee proposal and discuss with              0.70
                         D Drebsky
            E. Blum      Call with CFO re committee proposal on KEIP program and follow up emails re               0.80
                         same
  8/12/2014 E. Blum      Discuss retention plan with Erin re amounts and terms; timing of payments                 0.50
  8/13/2014 E. Blum      Call with John to update him on retention payment agreement with committee                0.50
            E. Blum      Discuss KEIP plan with CFO                                                                0.50
  8/16/2014 E. Blum      Review Motion for KEIP program prior to submission to Court                               0.70
  8/18/2014 D. Neyhart   Research of KEIP/KERP plans for comparable bankruptcies.                                  2.00
            E. Blum      Review GR analysis of comps re KEIP programs in coal industry BK cases                    0.40

            SUBTOTAL:                                                                    [         6.10        2,807.50]

            Fee/Employment Applications

   8/5/2014 E. Blum      Review initial ordinary course applications; emails around various parties and            0.70
                         their roles
   8/6/2014 E. Blum      Review updated ordinary course filings and related emails preparaed for 8/20              0.40
                         hearing
  8/22/2014 E. Blum      Review and mark GR July bill                                                              2.30
            E. Blum      Review employment application of E&Y; related emails                                      0.60
            S. Allen     Discuss invoicing and fee applications with E. Blum                                       0.40
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  8/22/2014 E. Blum         Discuss invoicing and fee applications with S Allen                                             0.40
  8/26/2014 E. Blum         Work on GR July bill; multiple iterations of marks and review                                   4.50
            E. Blum         Work with D Neyhart on June -July fee app for Court                                             3.00
            D. Neyhart      Prepare June and July Fee app for filing with court.                                            6.90
  8/27/2014 E. Blum         Finalize GlassRatner June - July fee app with final changes based on Amelia                     0.50
                            comments
              E. Blum       Review Motion/Order sumitted for E&Y retention                                                  0.40
              D. Neyhart    Meeting with EB and review of June and July fee app.                                            0.40
              D. Neyhart    Update June and July fee app based on revisions from counsel.                                   1.40

              SUBTOTAL:                                                                           [        21.90        9,467.50]

              Financial Reporting

   8/1/2014 E. Blum         Review updates to SOFAs with M Levee to be filed; review status of filing timing                0.50
            M. Levee        Revise Amendments to the SOFAs and Schedules and provide to counsel                             2.60
   8/5/2014 M. Levee        Work on Amendments to SOFAs and Schedules based on counsel comments                             1.30
            M. Levee        Review revised Amendments to SOFAs and Schedules; finalize drafts and send                      1.10
                            for review
            D. Neyhart      Make revisions to SOFAS/SOALS.                                                                  2.70
   8/6/2014 M. Levee        Discuss Amendments to SOFAs and Schedules with Company and make                                 0.80
                            additional revisions
   8/7/2014 E. Blum         Review variance report for week ended 8/1                                                       0.20
            D. Neyhart      Update and format address listing for LRR coal lease agreements for Schedule                    1.30
                            G.
              M. Levee      Review counsel's redline version of Amended SOFAs and Schedules and                             0.40
                            discuss with D. Neyhart
            M. Levee        Updates to LRR's Amended Schedule G                                                             0.90
   8/8/2014 E. Blum         Review SOFA amendments with M Levee prior to filing                                             0.20
            D. Neyhart      Calculate changes to total creditor amounts for filing of schedules.                            0.60
            M. Levee        Finalize Amendments to SOFAs/Schedules and send to Company for review                           0.20
                            and signature
            M. Levee        Review SOFA amendments with E Blum prior to filing                                              0.20
  8/20/2014 E. Blum         Review MOR status and open items with counsel in Lexington; coordinate                          0.60
                            GR/Del Cotto /Company follow to address open issues
  8/21/2014 E. Blum         Call with counsel to discuss financial reporting available in data room on each                 0.40
                            division; assist in their response to JAD counsel on financials
              E. Blum       Call with Erin to clarify internal and external reporting; availability of financials in        0.40
                            data room versus internal only numbers
  8/22/2014 E. Blum         Review variance analysis for week ended 8/15                                                    0.20
            M. Levee        Conference call with local counsel and Company to discuss June MORs                             0.60
            D. Neyhart      Review of MOR's and call with ML AD and EG to discuss date ranges and                           0.90
                            amounts used in preparation of the MOR's.
  8/23/2014   D. Neyhart    Review revised June MOR detail.                                                                 0.80
  8/24/2014   M. Levee      Review initial June MOR for US Coal                                                             0.60
  8/25/2014   M. Levee      Review counsel comments to US Coal's June MOR, and respond                                      0.30
  8/26/2014   E. Blum       Review June MORs prior to filing                                                                0.50
  8/31/2014   D. Neyhart    Review of weekly variance reports                                                               0.30
              S. Allen      Discuss variance analysis project with D. Neyhart                                               0.50
              D. Neyhart    Call with S Allen to discuss preparation of cumulative budget variance analysis                 0.50

              SUBTOTAL:                                                                           [        19.60        6,435.00]

              Meetings of and Communications with Creditors

   8/1/2014 E. Blum         Review updated GR report on status of responses to committee requests                           1.10
            M. Levee        Work on UCC requests related to copies of pending litigation complaints and                     2.40
                            provide update to Counsel
              M. Levee      Reviw additional updates to UCC request list and provide status update draft                    1.00
                            memo internally
              E. Blum       Discuss open items regarding committee requests and status in detail with M                     0.30
                            Levee
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   8/1/2014 E. Blum         Send out update of committee request status to Nixon and Del Cotto                         0.10
   8/3/2014 M. Levee        Work on UCC request list re: pending litigation complaints                                 0.30
   8/4/2014 M. Levee        Continue to work on UCC request list items - litigation complaints                         1.10
   8/5/2014 D. Neyhart      Review surety bonds provided for committee request.                                        0.70
   8/6/2014 E. Blum         Review additional information loaded into data room at committee request                   0.50
            M. Levee        Discuss draft cash collateral budget with S. Allen and Committee FA                        0.80
            D. Neyhart      Review mining permits from committee request and upload to data room.                      0.50
            S. Allen        Discuss draft of budget with Committee Financial Adviser                                   0.80
   8/7/2014 D. Neyhart      Review surety bonds and upload to data room.                                               0.30
            M. Levee        Review status of UCC request list, including a review of data room, and prepare            1.50
                            update; discuss any outstanding items with Company
   8/8/2014 D. Neyhart      Review KPDES licenses and upload to data room.                                             0.30
  8/15/2014 M. Levee        Review UCC request list and data room; confer with Company                                 0.30
  8/18/2014 E. Blum         Pre meeting and mine tour with cred comm FA, meet with company executives                  1.50
                            to prepare
              E. Blum       Meet with Cred Comm FA in KY prior to mine tours to review LRR maps and                    1.60
                            operations in meeting with co management
              E. Blum       Visit Licking River operations with co management and Cred Comm FA - Right                 6.00
                            Oakley and Diablo - extensive site visits with on site explanations of operations
  8/19/2014 E. Blum         Meet with co prior to meeting with cred comm FA regarding upcoming tour of                 1.50
                            JAD operations
              E. Blum       Meet with JAD and US Coal management to review maps and operations of                      1.70
                            JAD at JAD offices
              E. Blum       Tour JAD facilities with JAD and US Coal management and FA to Cred Comm                    3.00
                            with in depth on site detail of operations
  8/20/2014 E. Blum         Meeting with JAD counsel and Debtor counsel in Lexington re JAD issues                     1.50
                            -operations; timing; alternatives to Plan; overall desires of JAD clients
  8/21/2014 E. Blum         Call with Erin and Mike re prior day meeting with JAD counsel re discussion                0.50
                            around ultimate plan for JAD
  8/25/2014 E. Blum         Prepare for committee call with S Allen - discuss topics to be addressed                   0.30
            E. Blum         Call with counsel and company to prepare for committee update call; discuss                0.40
                            items to be addressed
              E. Blum       Participate in update call with counsel, company and committee                             0.50
              S. Allen      Discuss upcoming Committee call with Management, E. Blum and Nixon                         0.40
                            Peabody
              S. Allen      Discuss upcoming Committee call with E. Blum                                               0.30
              S. Allen      Discuss status and operations with Committee                                               0.50

              SUBTOTAL:                                                                      [        31.70       15,347.50]

              Plan and Disclosure Statement (incl. Business Plan)

  8/14/2014 E. Blum         Call with CEO, CFO, S Allen re preparation of projections                                  0.40
            S. Allen        Discuss upcoming projection meetings with E. Blum                                          0.40
  8/15/2014 S. Allen        Prepare for projections call with M. Levee and Management                                  0.50
            S. Allen        Discuss projections with M. Levee and Management                                           0.50
            S. Allen        Discuss projections with engineering personnel                                             0.80
            S. Allen        Begin updating and extending projections for Plan                                          2.10
            M. Levee        Discuss projections with S Allen and Management                                            0.50
  8/18/2014 M. Levee        Discuss balance sheet projections with S. Allen                                            0.30
            M. Levee        Preliminary work on balance sheet projections for the LRR Division                         0.50
            M. Levee        Construct format and initial sources and uses schedule by division                         1.50
            M. Levee        Discuss sources & uses draft with S. Allen                                                 0.20
            M. Levee        Continue to work on draft sources and uses schedule for each division                      1.80
            M. Levee        Review and finalize first draft of sources and uses schedule                               0.70
            M. Levee        Continue to work on preliminary balance sheet projections                                  0.30
            S. Allen        Discuss balance sheet projection with M. Levee                                             0.30
            S. Allen        Discuss confirmation sources and uses with M. Levee                                        0.20
            S. Allen        LRR division preliminary monthly sales forecast through 2016                               1.50
            S. Allen        Agree monthly LRR financials to historical financial statements                            2.30
            S. Allen        LRR trend analysis                                                                         1.20
            S. Allen        Consolidate quarterly LRR projections                                                      1.60
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  8/18/2014 S. Allen   Add inflationary cost escalations to six relevant cost centers (multiple line items)       2.30
            S. Allen   Consolidate monthly LRR projections across six cost centers and multiple years             1.50
  8/19/2014 M. Levee   Prepare 2015 monthly balance projection for LRR Division                                   2.00
            M. Levee   Further work on projected balance sheet for LRR - working capital position                 1.30
            M. Levee   Continue work on initial draft of balance sheet projection for LRR Division                0.90
            M. Levee   Prepare initial draft of projected monthly statements of cash flows for LRR                2.00
                       Division
            M. Levee   Begin to work on projected debt schedule for LRR Division                                  0.90
            S. Allen   Consolidate monthly JAD projections across eight cost centers and multiple                 1.80
                       years
            S. Allen   Add inflationary cost escalations to eight relevant JAD cost centers (multiple line        3.20
                       items)
            S. Allen   Consolidate quarterly JAD projections                                                      1.40
            S. Allen   JAD trend analysis                                                                         1.80
            S. Allen   Agree monthly JAD financials to historical financial statements                            1.90
            S. Allen   JAD division preliminary monthly sales forecast through 2016                               1.30
  8/20/2014 M. Levee   Work on cash flow statment for LRR - 2015 monthly investing activities                     0.70
            M. Levee   Prepare draft strategy session presentation - sources and uses schedule                    0.50
            M. Levee   Continue to work balance sheet projections - input January through June 2014               2.00
                       actuals and work on July through December, 200 2014 projected period - LRR
                       Division
            M. Levee   Continue to work on cash flow statement projections - input January through                1.80
                       June 2014 actuals and remainder of 2014 projected period
            M. Levee   Further work on projected statement of cash flows and debt schedule for LRR                2.00
                       Division, to incorporate 2014 actuals
            M. Levee   Continue to work on projected financial statements for LRR Division - balance              1.00
                       sheet, cash flow statement
  8/21/2014 E. Blum    Work on fee assumptions by month for plan projections by professional                      0.50
            M. Levee   Continue to prepare draft balance sheet and cash flow statement projections                1.70
            M. Levee   Continue to work on projected balance sheet for 2014 and 2015 for LRR Division             2.00
            M. Levee   Further work on cash flow statement projections for 2014 and 2015, including               1.90
                       debt schedule at LRR Division
            M. Levee   Transfer monthly statement of cash flows to quarterly for Q1 and Q2 2014                   2.00
                       actuals for the LRR Division
            M. Levee   Work on debt schedule for Q3 and Q4 2014 for the LRR Division                              1.20
            S. Allen   Discuss financial projections and timing with E. Blum and M. Levee                         0.30
            S. Allen   Professional fee analysis                                                                  1.50
            S. Allen   Discuss professional fees with E. Blum                                                     0.40
            E. Blum    Discuss professional fee assumptions with S Allen                                          0.40
  8/22/2014 M. Levee   Begin to prepare draft priority waterfall from sources and uses schedule and               2.00
                       debt schedule for the LRR Division
            S. Allen   Compile Income statement projections                                                       1.10
            S. Allen   Agree historical deprecation and interest from historical financials                       1.30
            S. Allen   Corporate function forecast                                                                3.80
            S. Allen   Begin summarizing financial information for presentation                                   1.10
  8/23/2014 M. Levee   Finalize first draft of priority waterfall scenarios for the LRR Division and send for     2.20
                       internal review
  8/24/2014 M. Levee   Begin to prepare internal memo to review and understand restricted cash and                0.90
                       asset retirement obligations accounts
  8/25/2014 M. Levee   Begin JAD projected balance sheet by quarter - Q1 and Q2 2014 actuals                      0.80
            M. Levee   Continue to work on Q1 and Q2 2014 actuals for JAD's balance sheet and begin               1.00
                       work on Q1 2014 cash flow statement
            M. Levee   Continue to work on cash flow statement, focus on Q2 2014 actuals for JAD                  1.70
            M. Levee   Prepare framework for JAD debt scheudle                                                    1.20
            M. Levee   Work on priority waterfall for JAD Division                                                0.50
  8/26/2014 S. Allen   Call with Management to discuss projections for LRR division                               1.00
            S. Allen   Review model and open items in preparation for LRR call with Management                    1.20
            S. Allen   Discuss accrued retirement obligations with E. Gabbert and M. Levee                        1.20
            S. Allen   Follow up re: accrued retirement obligations with M. Levee                                 0.30
            M. Levee   Updates to projected cash flow statement for JAD based on debt schedule                    0.30
            M. Levee   Extend projected balance sheets and cash flow statements for both divisions                0.50
                       through Q4 2016
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  8/26/2014 M. Levee      Work on projected balance sheet, cash flow, sources and uses schedule for LRR             1.70
            M. Levee      Conference call with S. Allen and Company to discuss certain balance sheet line           1.20
                          items
            M. Levee      Follow up discussion with S. Allen regarding balance sheet line items discussed           0.70
                          on call with Company
            M. Levee      Update balance sheet assumptions to Other Assets and PPE for both divisions               0.40
  8/27/2014 M. Levee      Further work on LRR's projected balance sheet and debt schedule                           2.00
            M. Levee      Re-work priority debt schedule at LRR                                                     1.80
            M. Levee      Work on balance sheet, debt schedule, and cash flow statement projections for             2.30
                          the period of 2014 through 2016 with S. Allen
            M. Levee      Continue to work on balance sheet, debt schedule, and cash flow statement                 1.80
                          projections for the period 2014 - 2016, with S. Allen
  8/28/2014 M. Levee      Extend projected balance sheet, cash flow statement, debt schedule through Q4             3.20
                          2017 - various clean-up items throughout model from this extension and prepare
                          outstanding questions for Company and internally
            M. Levee      Further work on balance sheet, cash flow statement, and debt schedule                     1.10
                          projections through 2017 for the LRR Division
            M. Levee      Build and extend a revised balance sheet through 2017 for the LRR Division                2.00
            M. Levee      Further work on revised balance sheet for LRR through 2017 and begin to                   2.50
                          extend cash flow statement and debt schedule through the same period
            M. Levee      Continue to work on revised financial statement projections for LRR Division              3.10
                          through 2017 - debt schedule
  8/29/2014 S. Allen      Notes and capital leases analysis and schedule; correspondence with company               0.90
                          on same
            S. Allen      Revise high wall mining projections                                                       2.20
            S. Allen      Working capital analysis                                                                  1.20
            S. Allen      Draft request list and transmit to Debtors                                                1.20
            S. Allen      Project level quarterly aggregation (both divisions)                                      3.30
            S. Allen      Assumption summary                                                                        2.40
            M. Levee      Build effective date scenarios and revise sources & uses schedule for JAD                 1.40
            M. Levee      Revise and build balance sheet projection - assets and liabilities not subject to         2.00
                          compromise for JAD Division
            M. Levee      Continue to work on liabilities side of JAD projected balance sheet                       0.80
            M. Levee      Work on projected cash flow statement and debt schedule for JAD Division                  2.60
            M. Levee      Continue to work on JAD cash flow statement and debt schedule projected                   1.00
                          through 2017
  8/30/2014 M. Levee      Continue to work on the debt schedule for the JAD Division - focus on                     2.50
                          equipment notes and capital leases
  8/31/2014 M. Levee      Additional work on the debt schedule for JAD Division and review related                  1.10
                          balance sheet and cash flow statement through 2017

            SUBTOTAL:                                                                     [      128.30        44,572.50]

            Relief from Stay/ Adequate Protection Proceedings

   8/3/2014 E. Blum       Review Joint Motion to Approve Joint Stipulation Between Debtor and JAD                   0.40
                          Lenders
  8/21/2014 E. Blum       Review Huntington motion re requested adequate protection payments -                      0.80
                          respond with GR analysis of payments consistent with cash collateral as
                          opposed to those in motion; email dialogue with counsel re same
            S. Allen      Discuss adequate protection order with E. Blum                                            0.30
            E. Blum       Discuss adequate protection order with S Allen                                            0.30
  8/25/2014 E. Blum       Review proposed order for Komatsu and related emails re committee views                   0.60
  8/26/2014 E. Blum       Review committee red line of Caterpillar Stip for Adequate Protection                     0.40
            E. Blum       Review company response to committee counsel re payments to cat and                       0.20
                          komatsu related to their adequate protection payments

            SUBTOTAL:                                                                     [         3.00        1,665.00]

            Tax Issues

   8/5/2014 D. Neyhart    Follow up with NOL expert regarding retention                                             0.40
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   8/8/2014 E. Blum       Review pre petition tax analysis requested by committee and discuss with Erin              0.80
            E. Blum       Review pre petition tax analysis with D Drebsky after discussing with company              0.20
            E. Blum       Review Brogan tax amendment to be retained by Court- add costs to retain to                0.40
                          budget; discuss with counsel re time allocated
  8/20/2014 D. Neyhart    Prepare tax summary for pre-petition, gap, and projected amounts due                       0.80
            D. Neyhart    Review tax summary with SA and discuss end of case payments                                0.60
            S. Allen      Tax analysis with D. Neyhart                                                               0.60

            SUBTOTAL:                                                                    [         3.80        1,435.00]

            Valuation

  8/17/2014 M. Glade      Updates to liquidation analysis                                                            2.00
  8/19/2014 M. Glade      Call with CEO and CFO re appraisals                                                        1.00
            E. Blum       Discuss valuation assumptions with CEO and CFO                                             1.00
  8/21/2014 M. Glade      Correspondence (calls and emails) with Great American regarding valuations                 1.70
            E. Blum       Discuss status of valuation updates with M Glade based on review of emails on              0.50
                          same topic from Great American
  8/22/2014 M. Glade      Call with CEO and CFO re appraisals                                                        0.50
            E. Blum       Call with company and M Glade to discuss valuation issues                                  0.50

            SUBTOTAL:                                                                    [         7.20        3,100.00]


                                                                                               Total               403.90

                                                                                              Total Fees    $155,262.50




 GlassRatner Advisory & Capital Group LLC
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                                                                                                                                                                         Billable Slip
  Transaction Date         Category for Court        Professional Full Name                                           Description                                            Value
            8/1/2014 (c) Meals                  Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                                    $4.81
                                                                                   Transportation from New York, NY to LGA for S. Allen and E. Blum (7/28; invoice
            8/1/2014   (a) Transportation       Sean Allen, CFA, CPA, CIRA         received in August)                                                                         $70.96
            8/1/2014   Local Travel             Marc Levee                         Late night car home from NYC office (11:15pm pick up on 7/14/2014)                         $121.00
            8/1/2014   (a) Transportation       Sean Allen, CFA, CPA, CIRA         Transportation from LGA to New York, NY                                                     $49.39
            8/4/2014   Meals (local)            Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (late PM)                                                                 $23.10
            8/5/2014   Local Travel             Sean Allen, CFA, CPA, CIRA         Late night transportation from New York, NY to Dumont, NJ (after 9:00 PM)                  $106.70
            8/6/2014   Local Travel             Evan Blum                          Park early AM NYC USC work (6 am) - 6/1                                                     $45.00
           8/11/2014   Local Travel             David Neyhart, CPA                 Cab home after 10.                                                                          $23.30
           8/11/2014   Meals (local)            David Neyhart, CPA                 Dinner at office after 10                                                                    $7.95
           8/18/2014   (c) Meals                Evan Blum                          Breakfast NWK airport mine tour                                                             $15.82
           8/18/2014   (a) Transportation       Evan Blum                          Airfare NWK - Huntington mine visit with comm FA                                           $428.10
           8/18/2014   Meals (local)            Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (late PM in office)                                                        $5.44
           8/19/2014   (b) Hotel                Evan Blum                          Hotel Hazard KY - mine tour                                                                $142.21
           8/19/2014   Meals (local)            Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (late PM in office)                                                       $11.15
           8/20/2014   (a) Transportation       Evan Blum                          NWK parking - mine tour                                                                     $99.00
           8/20/2014   (a) Transportation       Evan Blum                          Airfare Louisville - NY - mine visit with comm FA                                          $579.10
           8/26/2014   Meals (local)            David Neyhart, CPA                 Dinner after 10 (pro-rated)                                                                  $8.43
           8/27/2014   Meals (local)            Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (late P.M. in office)                                                     $13.72

           8/28/2014 Meals (local)              Sean Allen, CFA, CPA, CIRA       Late night transportation from office (after 9:00 pm) - professional development work        $106.30
           8/28/2014 Meals (local)              Sean Allen, CFA, CPA, CIRA       Meal for S. Allen and M. Levee (late PM in office)                                            $38.63
           8/28/2014 telephone                  Copying, Teleconference & GeneralConference calls                                                                              $77.52

Less: Adjustments from June/July

       7/1/2014        Local Travel             Sean Allen, CFA, CPA, CIRA         Transportation from LGA to New York, NY                                                    ($49.39)
       7/2/2014        Local Travel             Sean Allen, CFA, CPA, CIRA         Transportation from New York, NY to Dumont, NJ (after 9:00 pm)                            ($106.70)
       7/2/2014        (b) Hotel                Sean Allen, CFA, CPA, CIRA         Lodging - 3 nights in Lexington, KY                                                       ($439.32)
       7/2/2014        Local Travel             Sean Allen, CFA, CPA, CIRA         Transportation for S. Allen and M. Levee from LGA to New York, NY                          ($39.30)
       7/2/2014        (c) Meals                Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                                  ($5.19)
      7/18/2014        (b) Hotel                Sean Allen, CFA, CPA, CIRA         Lodging for one night in Lexington, KY                                                    ($212.99)

                                                                                   Total                                                                                    $1,124.74
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                Professional Services Detail

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              Assumption/Rejection of Leases and Contracts

   9/5/2014   E. Blum      Review emails around LRR royalty claims and company need to review                           0.20
   9/7/2014   E. Blum      Review Order submitted to Court regarding Komatsu equipment lease                            0.40
   9/9/2014   D. Neyhart   Consolidate executory contracts into tracker.                                                1.00
  9/16/2014   D. Neyhart   Update listing of executory contracts to include any scheduled claim for the                 1.20
                           contract holder.
  9/17/2014 D. Neyhart     Update listing of executory contracts                                                        0.90
  9/23/2014 E. Blum        Executory contract call - GR and Nixon re process                                            0.40
  9/24/2014 D. Neyhart     Review listing of executory contracts provided by counsel.                                   0.50

              SUBTOTAL:                                                                     [         4.60        1,335.00]

              Business Operations

   9/2/2014 E. Blum        Review emails around Letters of Credit and underlying surety bond issues - US                0.30
                           Bank & Company correspondence
   9/5/2014 S. Allen       Analyze impact of pay adjustments at LRR and JAD                                             0.50
   9/6/2014 E. Blum        Review Balder Mine - Carbon Partners contract                                                0.50
  9/14/2014 E. Blum        Review Whayne Supply payment                                                                 0.20

              SUBTOTAL:                                                                     [         1.50            712.50]

              Case Administration

   9/2/2014 D. Neyhart     Review docket for 8/27-8/29.                                                                 0.30
   9/3/2014 E. Blum        Meet with LRR sellers and their counsel in Lexington - review history of case;               4.00
                           review status of cash collateral; review prior Term Sheet discussions and terms;
                           review next steps re a Plan
              E. Blum      Meet with D Drebsky in Lexington to review case - cash flows / variance                      2.00
                           reporting; financials; operations; internal company communications; next steps
                           re Plan.
              E. Blum      Meet with and update CEO and CFO on outstanding case issue discussions with                  1.50
                           D Drebsky
   9/4/2014 E. Blum        Meet with Del Cotto Nixon and company after final cash collateral hearing in                 3.50
                           Lexington to review case status - next steps re Plan; next steps re lease
                           assumption/rejection; bar date discussion; address internal company
                           communication; review financial information; current status of coal market and
                           contracted sales revenues; review KY reclamation issue; Kolmar negotiation;
                           potential Sandlick BK filing process; surety bond issues
   9/5/2014 E. Blum        Review letters to shareholders regarding Sandlick BK filing - request permission             0.30
                           to file
              E. Blum      Meet with S Allen re update on case based on meetings with company and                       0.60
                           counsel in lexington
            S. Allen       Discuss case status with E. Blum                                                             0.60
   9/8/2014 E. Blum        Call with CFO re various open case issues                                                    0.50
            S. Allen       Discuss sandlick and other non-debtor petitions with Delcotto Law Group and                  0.30
                           Nixon Peabody
            S. Allen       Discuss sandlick and other non-debtors with E. Gabbert                                       0.30
            S. Allen       Correspondence with Company re: sandlick and other non-debtors                               0.30
   9/9/2014 E. Blum        Discuss with S Allen and counsel filing requirements re additional entities and              0.70
                           updates concerning existing entities
              D. Neyhart   Review docket for 9/5-9/8.                                                                   0.30
              D. Neyhart   Review information needed for additional 4 USC entities to be filed.                         0.40
              S. Allen     Discuss with E Blum and counsel filing requirements re additional entities and               0.70
                           updates concerning existing entities
  9/13/2014 E. Blum        Review emails re additional entities to file - agreements in name of such entities           0.20
  9/15/2014 D. Neyhart     Review docket for 9-9 through 9-12.                                                          0.40
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  9/15/2014 E. Blum       Review emails around leases and contracts held at non debtor entities                    0.20
  9/16/2014 M. Levee      Review top 20 lists sent by Company for potential four additional debtors                0.20
            M. Levee      On site in Lexington - discuss and prepare key petition information for new              1.50
                          debtors with Company
  9/17/2014 D. Neyhart    Review docket for 8/13-8/17                                                              0.30
  9/23/2014 D. Neyhart    review docket for 9/19-9/22                                                              0.30
  9/30/2014 E. Blum       Internal GR meeting on open items/case status                                            0.50
            S. Allen      Discuss executory contracts, plan of reorganization, effective date payments,            0.50
                          and other matters with E. Blum, D. Neyhart, and M. Levee
            S. Allen      Discuss valuation status and 2004 discovery with E. Blum and Nixon Peabody               0.90
            D. Neyhart    Meeting with GR team to discuss outstanding case items.                                  0.50
            D. Neyhart    Review unsecured creditor pool and discuss with ML.                                      1.80
            M. Levee      Internal status update meeting with GR Team - plan projections, presentation,            0.50
                          end of case numbers, other outstanding items
            E. Blum       Review case status with M Windisch after call with counsel to review open case           0.50
                          matters and timing of next steps
            E. Blum       Discuss valuation status and 2004 discovery with S Allen and Nixon Peabody               0.90

            SUBTOTAL:                                                                    [        25.50       11,117.50]

            Cash Collateral and Post Petition Financing

   9/1/2014 E. Blum       Review final agreed upon cash collateral order and the mark with changes re              1.20
                          CAM comments
            E. Blum       Review GR final cash collateral memo in preparation for meetings with company            0.80
                          and counsel in Lexington
   9/3/2014 E. Blum       Meet with CFO in Lexington and review DIP financing alternatives and approach            2.00
                          to market - review banks; contact individuals. Revise current memo by page and
                          discuss with J Collins
   9/4/2014 E. Blum       Attend final cash collateral hearing in Lexington                                        1.50
   9/8/2014 E. Blum       Review required changes to previous GR memo for DIP sources with D Neyhart               0.50
            D. Neyhart    Updates to DIP presentation for potential lenders, and meetings with EB                  0.90
                          regarding.
  9/11/2014 E. Blum       Review GR DIP Financing memo with S Allen and D Neyhart                                  0.60
            D. Neyhart    Meeting with SA and EB to discuss updates to DIP presentation                            0.60
            D. Neyhart    Prepare updates to DIP presentation                                                      2.20
            S. Allen      Meet with D. Neyart and E. Blum regarding post-petition financing                        0.60
  9/12/2014 E. Blum       Prepare DIP financing lists with company                                                 0.40
            D. Neyhart    Review and update DIP presentation                                                       0.90
            D. Neyhart    Review terms and conditions for DIP loan.                                                0.40
  9/24/2014 D. Neyhart    Perform financial due diligence on a potential investor of USC.                          1.30
  9/25/2014 D. Neyhart    Prepare financial due diligence memo on a potential investor of USC.                     1.00
  9/29/2014 E. Blum       Follow up call with MW on JAD receivables financing plan                                 0.60
            E. Blum       Call with PE fund interested in USC assets                                               0.40
  9/30/2014 E. Blum       Call with MW to review DIP financing memo for JAD                                        0.40
            E. Blum       Update financing spreadsheet for JAD receivables financing discussions                   0.30
            D. Neyhart    Update DIP / revolving line of credit presentation, and discussions with EB and          2.90
                          SA regarding.

            SUBTOTAL:                                                                    [        19.50        7,087.50]

            Claims Administration and Objections

   9/2/2014 D. Neyhart    Emails with claims administrator regarding missing addresses                             0.30
   9/4/2014 D. Neyhart    Research of employee addresses and emails with BM regarding.                             0.30
   9/5/2014 D. Neyhart    Calculate total unsecured pool after necessary adjustments to scheduled                  3.20
                          amounts (gap/503b9 claims, amounts paid post petition etc.)
            D. Neyhart    Update total unsecured pool                                                              1.00
            D. Neyhart    Consolidated scheduled claims for all entities for unsecured pool analysis               0.50
            D. Neyhart    Research accrued royalty liabilities for unknown lessors                                 0.40
            D. Neyhart    Research amounts paid on gap trucking and fuel purchases for end of case                 1.60
                          numbers
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   9/8/2014 D. Neyhart   Follow up with claims administrator regarding schedule E and employee id's.           0.50
            D. Neyhart   Follow up with claims administrator and counsel regarding accuracy of new             0.70
                         employee mailing list.
            D. Neyhart   Updates to general unsecured pool based on reclassifications of claims (due to        1.20
                         payments, cure claim etc).
   9/9/2014 D. Neyhart   Call with BM to discuss updated address listing for employee mailing.                 0.40
            D. Neyhart   Discussions with claims administrator and company and review of updated               0.60
                         address listing for employee mailing
  9/10/2014 M. Levee     Discuss general unsecured creditor pool summary analysis with D. Neyhart              0.40
            D. Neyhart   Update GR presentation for end of case claims                                         2.60
            D. Neyhart   Prepare exhibits for end of case claims                                               1.50
            D. Neyhart   Update general unsecured pool analysis.                                               1.20
            D. Neyhart   Discuss general unsecured creditor pool summary analysis with M Levee                 0.40
  9/11/2014 D. Neyhart   Meetings with SA to discuss outstanding cure claim items for end of case              0.80
                         summary.
            D. Neyhart   Update end of case presentation with new cure claim amounts.                          0.30
            S. Allen     Meetings with D Neyhart to discuss outstanding cure claim items for end of case       0.80
                         summary
  9/12/2014 E. Blum      Review updated GR memo on end case admin claims                                       0.30
            E. Blum      Meet with S Allen and D Neyhart to review GR updated admin memo (.6) and              0.80
                         call with D Drebsky (.2) on questions re GR assumptions on payment of admin
                         claims
            D. Neyhart   Meeting with SA and EB to discuss end of case payments                                0.60
            D. Neyhart   Review end of case payments and update presentation with revised cure claim           1.90
                         amounts.
            S. Allen     Discuss Effective Date payments with D. Neyhart and E. Blum                           0.60
            S. Allen     Discuss Effective Date payments with D. Drebsky and E. Blum                           0.20
  9/15/2014 D. Neyhart   Make updates to end of case payment estimates including additional trucking           0.70
                         detail.
            D. Neyhart   Meeting with ML to discuss general unsecured pool.                                    0.70
            D. Neyhart   Meeting with ML to discuss end of case estimates                                      0.80
            D. Neyhart   Meeting with ML and SA to discuss status including updated end of case                0.50
                         estimates and sofa/soal revisions.
            D. Neyhart   Prepare exhibit for unmined minerals breakdown by lessor                              0.60
            D. Neyhart   Research payments made to royalty holders and update end of case estimates            0.90
                         accordingly.
            S. Allen     Discuss general unsecured creditor pool and administrative claims with M.             0.50
                         Levee and D. Neyhart
            S. Allen     Meet with E. Blum, M. Levee and D. Neyart re: administrative expenses and             0.50
                         projection assumptions
            M. Levee     Review effective date payment draft presentation                                      0.60
            M. Levee     Discuss unsecured claim summary with D. Neyhart                                       0.70
            M. Levee     Further discussions with D. Neyhart regarding effective date payments analysis        0.80
                         and related discussion with Company
            E. Blum      Meet with M Levee, D Neyhart and S Allen re: administrative expenses and              0.50
                         projection assumptions
  9/16/2014 S. Allen     Discuss Unmined Minerals taxes and schedule amendments with M. Levee, D.              0.40
                         Neyhart, and E. Blum
            D. Neyhart   Call with BM and ML to discuss general unsecured pool.                                0.30
            D. Neyhart   Multiple calls with ML to discuss end of case analysis and general unsecured          0.90
                         pool.
            D. Neyhart   Call with ML SA and EB to discuss outstanding issues including end of case            0.50
                         estimates and schedule amendments.
            D. Neyhart   Review trucking payments and other potential payments made post petition for          0.60
                         Gap analysis.
            D. Neyhart   Update end of case payment summary based on updates to cure claim, taxes,             1.70
                         and gap claim amounts.
            M. Levee     Review updated draft presentation of effective date payments                          0.30
            M. Levee     Work on/review and discuss unmined minerals tax related claims with Company           3.00
                         and other effective date related payments
            M. Levee     Discuss effective date payments draft presentation and exectuory contracts            0.50
                         listing with D. Neyhart
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  9/17/2014 D. Neyhart   Prepare analysis for payments made for partial gap claims.                                  0.70
            D. Neyhart   Calls with ML and BM to discuss executory contracts and cure claim payments.                0.60
            D. Neyhart   Update unsecured pool listing of executory contracts with updated UMM                       1.40
                         amounts.
            D. Neyhart   Update end of case analysis to reflect cure payments made during gap period.                0.60
            D. Neyhart   Prepare analysis for payments made for Gap claims.                                          0.60
            M. Levee     Review next draft of effective date payments presentation, revise, and send to              0.30
                         Company for review
            M. Levee     Discuss effective date payments with the GR team and the Company;                           2.60
                         unsecured creditor pool summary
  9/18/2014 D. Neyhart   Prepare schedule amendments for updated claim addresses and amounts.                        0.40
  9/19/2014 D. Neyhart   Discuss unsecured creditor pool and gap period payments with BM                             0.60
            D. Neyhart   Discuss unsecured creditor pool and gap period payments with ML                             0.30
            D. Neyhart   Update end of case payments presentation with new trustee amounts.                          0.30
            M. Levee     Discuss unsecured creditor pool and gap period payments with D Neyhart                      0.30
  9/21/2014 E. Blum      Review current GR draft of admin claim memo provided to Company                             0.40
  9/22/2014 D. Neyhart   Calls with BM to discuss unsecured creditor pool.                                           0.40
            D. Neyhart   Review Glassratner proof of claim for gap claim.                                            0.40
            D. Neyhart   Update unsecured creditor pool.                                                             0.60
  9/23/2014 D. Neyhart   Updated general unsecured pool based on comments from BM                                    0.40
  9/24/2014 D. Neyhart   Call with ML and BM to discuss breakdown of individual cure claims.                         0.30
            D. Neyhart   Call with ML to discuss end of case payments and cure claims.                               0.50
            D. Neyhart   Update end of case presentation with revised cure claim amounts.                            0.80
            D. Neyhart   Update listing of executory contracts to include breakout of unmined minerals               1.30
                         taxes.
            M. Levee     Call with D Neyhart and BM to discuss breakdown of individual cure claims                   0.30
            M. Levee     Call with D Neyhart to discuss end of case payments and cure claims                         0.50
  9/27/2014 E. Blum      Review updated GR end case admin claims analysis                                            0.30
            M. Levee     Call with E Blum re questions on admin claim analysis                                       0.30
            E. Blum      Call with M Levee re questions on admin claim analysis                                      0.30
  9/29/2014 E. Blum      Analyze GR gap claim figures; sign and file claim                                           0.20
            E. Blum      Review GR Admin Claim analysis with LD and AM                                               0.50
            M. Levee     Prepare for and participate in conference call with GR team and local counsel to            1.00
                         discuss draft presentation regarding effective date payments
            D. Neyhart   Prepare for and participate in conference call regarding end of case payment                1.00
                         analysis.
  9/30/2014 E. Blum      Review unsecured claim analysis and summary                                                 0.30
            D. Neyhart   Proof read end of case memo and update as needed for distribution.                          0.50
            M. Levee     Review draft general unsecured claim pool summary and revise; send for senior               1.60
                         review
            M. Levee     Further work on draft unsecured claim pool analysis - summary table                         0.40

            SUBTOTAL:                                                                    [        60.10       16,412.50]

            Employee Benefits & Pensions

   9/5/2014 E. Blum      Review J Collins letter to employees                                                        0.20
            E. Blum      Review and compose emails around potential employee raises; review                          0.50
                         spreadsheets re same
  9/12/2014 E. Blum      Review US Trustee KEIP objection                                                            0.40
  9/18/2014 E. Blum      Review KEIP matter with CEO, CFO and Nixon following Ct hearing                             0.50
  9/30/2014 E. Blum      Review and compose emails around M Windisch revised KEIP plan                               0.30

            SUBTOTAL:                                                                    [         1.90            997.50]

            Fee/Employment Applications

   9/7/2014 E. Blum      Review Order approving request to employ Brogan; compose follow email to get                0.30
                         his work started
            E. Blum      Review Foley & Boyd July monthly fee applications                                           0.70
   9/8/2014 D. Neyhart   Meeting with EB to discuss fee apps.                                                        0.20
            E. Blum      Meeting with D Neyhart to discuss fee apps                                                  0.20
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  9/10/2014 E. Blum         Call with J Collins re GR fees in response to company request                                0.50
  9/15/2014 D. Neyhart      Review fee app and payment procedures and timeline.                                          0.30
  9/19/2014 E. Blum         Review GR memo prepared by M Levee re GR work June & July requested by                       1.00
                            committee and mark with comments (.5); review GR monthly budget and actual
                            with S Allen (.3); email to Nixon re rates and proposal going forward (.2)
              M. Levee      Analysis of GR fees for June and July in response to creditors committee inquiry             2.00
              S. Allen      Research questions regarding various projections and correspond with E. Blum                 1.10
              S. Allen      Revise budget assumptions to line items per UCC request                                      0.60
  9/21/2014   E. Blum       Work on August GR bill                                                                       1.30
              E. Blum       Work on budgeting GR by month in categories with S Allen for committee                       0.50
              S. Allen      Work on budgeting GR by month in categories with E Blum for committee                        0.50
  9/24/2014   D. Neyhart    Prepare august fee app.                                                                      0.80
              D. Neyhart    Prepare Gap period invoice and fee app detail.                                               0.60
  9/25/2014   D. Neyhart    Update august fee app.                                                                       0.20
              D. Neyhart    Update gap claim fee app and documentation.                                                  1.10
  9/29/2014   E. Blum       Review, mark and finalize GR August monthly fee app to be submitted to the                   0.90
                            Court
            D. Neyhart      Update august fee app with counsel comments                                                  0.70
  9/30/2014 E. Blum         Review and compose emails around retention of Resource Technologies as                       0.40
                            appraisal firm
              E. Blum       Review Foley August fee app                                                                  0.30
              E. Blum       Review Boyd Fee App for month of August                                                      0.20

              SUBTOTAL:                                                                        [        14.40        5,660.00]

              Financial Analysis/Capital Structure

   9/1/2014 E. Blum         Review debt structure and amounts; review debt structure memos previously                    1.50
                            prepared by GR in anticipation of case-plan discussion in lexington
   9/2/2014 S. Allen        Discuss ECM refinancing and related matters with E. Blum                                     0.60
            E. Blum         Discuss ECM financing and related matters with S Allen                                       0.60
   9/3/2014 S. Allen        Summarize JAD debt schedule implications                                                     2.50
            S. Allen        Post petition financial summary of capitalization (JAD)                                      0.80
  9/29/2014 E. Blum         Call with JC and MW re financing needs at JAD and LRR                                        0.50

              SUBTOTAL:                                                                        [         6.50        2,827.50]

              Financial Reporting

   9/2/2014 D. Neyhart      Prepare rolling 'budget vs actual' variance report for 1st amended budget                    2.00
            D. Neyhart      Update rolling budget vs actual analysis                                                     1.90
            D. Neyhart      Update end of case estimated payments with new professional fees and cure                    0.60
                            claim amounts.
   9/3/2014 E. Blum         Work with D Neyhart and review with CFO and CEO regarding various variance                   2.20
                            reports - 8/22, 8/29 by division on rolling 4 week basis and on a cumulative basis
                            against First Amended Budget. Also review 8/29 numbers against 8/8 Final
                            Cash Collateral Budget numbers on rolling 4 week basis. Send 8/29 internally to
                            counsel.
              E. Blum       Review July financials by division and mine by mine analysis with management                 0.70
                            in Lexington by division; to be distributed and put in data room
              D. Neyhart    Update rolling 'budget vs actual' for 8/22 weekly variance report.                           0.50
              D. Neyhart    Update rolling 'budget vs actual' for 8/29 weekly variance report.                           0.60
   9/8/2014   D. Neyhart    Prepare rolling 'budget vs actual' variance report for final cash collateral budget.         1.30
              D. Neyhart    Review amendments requested by counsel to SOFAs and SOALs.                                   0.30
   9/9/2014   M. Levee      Work on amendments to the SOFAs for US Coal - litigation cases                               0.20
              D. Neyhart    Research amendments requested by counsel to SOFAs and SOALs.                                 0.50
  9/10/2014   D. Neyhart    Amend schedule G to include additional updated addresses.                                    2.50
              D. Neyhart    Review variance report for final cash collateral budget vs actual results.                   0.80
  9/11/2014   E. Blum       Review and OK for distribution 8/29 variance report against 8/8 budget                       0.50
              E. Blum       Review and discuss 9/5 variance report against budget with M Windisch (.4);                  0.70
                            discuss internally with S Allen (.3)
              D. Neyhart    Review comments from counsel on amended schedules.                                           0.30
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  9/12/2014 E. Blum         Compose emails to company and counsel re 9/5 variance report re explanations            0.20
                            of variances
              E. Blum       Call with K Goggin re variance numbers                                                  0.40
              D. Neyhart    Review second round of amended schedules.                                               0.50
  9/14/2014   E. Blum       Review Kaplan complaint - inclusion to amend SOFAs                                      0.30
  9/15/2014   D. Neyhart    Meeting with ML to discuss sofa's for other 4 entities.                                 0.40
              M. Levee      Discuss SOFA preparation for additional debtors with D. Neyhart                         0.40
  9/16/2014   E. Blum       Review non debtor entity top 20; assets and liabilities to be filed                     0.30
  9/17/2014   D. Neyhart    Amend sofas/soals to include additional reclassification of taxes and unknown           1.70
                            lessors.
  9/18/2014 D. Neyhart      Call with SA to discuss amendments to schedules                                         0.20
            S. Allen        Call with D Neyhart to discuss amendments to schedules                                  0.20
  9/19/2014 E. Blum         Review variance reports for week ended 9/12 (.3); discuss with company (.3);            0.70
                            discuss with Nixon (.1); OK to distribute
              S. Allen      Assist E. Gabbert in variance reporting on volumes per UCC FA request                   0.80
              D. Neyhart    Prepare second round of amendments for schedules including name changes                 3.10
                            and additional taxes
  9/21/2014 E. Blum         Email correspondence with company re production variance report for June -              0.50
                            July - August for committee; review and distribute
  9/22/2014 E. Blum         Follow with company on production variance analysis on weekly basis since 8/8;          0.40
                            review and distribute
              D. Neyhart    Review updates to second round of amendments for submission to counsel.                 1.00
              D. Neyhart    Update schedule amendments based on BM comments regarding individual                    3.40
                            break out of UMM taxes and additional lessors.
            D. Neyhart      Calculate individual UMM amounts for updates to schedules.                              1.20
  9/23/2014 M. Levee        Review draft amendments to SOFAs/Schedules                                              0.10
            M. Levee        Review counsel comments to amendments to SOFAs/Schedules with S. Allen                  0.80
            M. Levee        Follow up discussion with D. Neyhart regarding counsel's comments to                    0.40
                            amendments to SOFAs/Schedules
              D. Neyhart    Call with BM to discuss amendments to schedules.                                        0.30
              D. Neyhart    Call with ML to discuss amendments to schedules and status of filing.                   0.40
              D. Neyhart    Make updates to amended schedules based on conversations with BM and ML.                2.10
              D. Neyhart    Review counsel comments regarding amended schedules.                                    0.50
              D. Neyhart    Research additional follow up comments from counsel regarding amended                   0.60
                            schedules.
              S. Allen      Review proposed amendments to statutory filings and provide comment                     0.40
              S. Allen      Review DelCotto's questions re: schedule amendments with M. Levee                       0.80
              M. Levee      Call with D Neyhart to discuss amendments to schedules and status of filing             0.40
  9/24/2014   D. Neyhart    Calls with BM and AA regarding additional leases to add to schedule g.                  0.40
  9/25/2014   D. Neyhart    Update amendments for additional lessors.                                               0.60
  9/27/2014   E. Blum       Review variance report distributed for week ended 9/19                                  0.20
  9/30/2014   D. Neyhart    Update amended schedules to include additional lessors.                                 1.80

              SUBTOTAL:                                                                   [        41.10       11,937.50]

              Meetings of and Communications with Creditors

  9/10/2014 E. Blum         Pre committee call with J Collins re variance issues on LRR                             0.20
            E. Blum         Call with Comm FA and J Collins re LRR variance questions                               0.50
            E. Blum         Call with counsel in regard to discovery requests from committee                        0.50
            S. Allen        Discuss Rule 2004 examination and POR projections with E. Blum and Nixon                0.50
                            Peabody
  9/16/2014 E. Blum         Review ratio calculations on Right Oakley and Diablo provided to committee              0.20
                            upon request
  9/29/2014 E. Blum         Pre comm call, call with company and counsel to prepare                                 0.50
            E. Blum         Participate in committee call with company and counsel                                  0.50

              SUBTOTAL:                                                                   [         2.90        1,447.50]

              Plan and Disclosure Statement (incl. Business Plan)

   9/1/2014 S. Allen        Aggregate various financial figures from projection model and summarize                 3.10
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   9/2/2014 M. Levee   Conference call with S. Allen and Company to discuss GR's open items list with           0.60
                       regards to financial projections
            M. Levee   Discuss financial projections (BS and CF at both divisions) with S. Allen                1.20
            M. Levee   Revise JAD Balance Sheet, CF Stmt based on internal discussions with S. Allen            1.20
            M. Levee   Work on statement of cash flows with regards to restructuring items for both             1.40
                       divisions
            M. Levee   Analyze and discuss JAD trial balance with S. Allen                                      0.50
            S. Allen   Discuss information request with M. Levee and Management                                 0.60
            S. Allen   Update income statement assumptions and summarize debt schedule (JAD)                    1.20
            S. Allen   Discuss balance sheet projections with M. Levee                                          1.20
            S. Allen   Begin preparation of balance sheet projection, debt sweep, source and uses               7.30
                       schedule, draft statement of cash flow
   9/3/2014 M. Levee   Reconcile 6/30/14 trial balance to balance sheet for JAD Division                        1.70
            M. Levee   Reconcile 6/30/14 trial balance to balance sheet for LRR Division                        1.30
            S. Allen   Update LRR operating projections                                                         1.80
            S. Allen   Discussion re: inventory accounting with W. Manning                                      0.60
   9/4/2014 M. Levee   Work on balance sheet projection at LRR Division, including reconciling with             4.70
                       projected income statement
            M. Levee   Continue to update LRR model - cash flow statement and related debt schedule             2.30
            S. Allen   Update JAD operating projections                                                         2.90
            S. Allen   Continue draft of JAD balance sheet projection                                           1.90
            S. Allen   Continue draft of JAD income statement projection                                        0.60
   9/5/2014 M. Levee   Input administrative claims summary into model for both divisions                        0.50
            M. Levee   Build capitalization summary for LRR Division                                            1.70
            M. Levee   Finalize first draft of capitalization summary tab for LRR Division                      1.60
            M. Levee   Various clean-up items to LRR balance sheet, cash flow statement, and debt               1.10
                       schedule projections
            M. Levee   Equipment notes/capital leases analysis; input into debt schedule for LRR                2.60
                       Division
            S. Allen   Adjust income statement projections for inventory accounting adjustments                 2.30
            S. Allen   Call to discuss JAD operations and assumptions with Management                           0.60
            S. Allen   Revise JAD operations assumptions per earlier call                                       3.10
   9/7/2014 M. Levee   Continue to update JAD projection model, including work on the debt schedule             1.00
                       (equipment notes/capital leases schedule)
   9/8/2014 E. Blum    Call with D Drebsky re Plan issues                                                       0.30
            M. Levee   Discuss balance sheet and cash flow statement, including set-up for                      1.00
                       presentation, with S. Allen
            M. Levee   Revise and format balance sheets for both JAD and LRR divisions, for                     1.80
                       presentation purposes
            M. Levee   Begin preparation of certain credit statistics for the LRR Division                      1.00
            M. Levee   Review draft sources & uses schedule at both Divisions                                   0.40
            M. Levee   Further work on financial projections for both Divisions, including effective date       2.00
                       scenarios and sources & uses schedule preparation; equipment notes/capital
                       leases analysis
            M. Levee   Begin to update LRR Division's summary tab with updated operating numbers                0.50
            M. Levee   Continue to update LRR summary tab and begin JAD summary tab to the                      1.70
                       financial projection model
            S. Allen   Modify consolidating worksheet (LRR)                                                     1.80
            S. Allen   Analyze and revise cost-center allocations to both divisions (non-mine, shop,            3.40
                       tipple, etc.) across 14 separate cost centers and thirty-six months
            S. Allen   Reconcile model figures to financial statements (JAD)                                    1.60
            S. Allen   Reconcile model figures to financial statements (LRR)                                    1.40
            S. Allen   Discuss balance sheet and cash flow statement, including set-up for                      1.00
                       presentation, with M Levee
   9/9/2014 E. Blum    Discuss status of projections with S Allen                                               0.50
            M. Levee   Begin draft Projections presentation                                                     1.40
            M. Levee   Prepare for conference call with Company re: projections - balance sheet, cash           3.10
                       flow statement, and capitalization summary work
            M. Levee   Conference call with Company and GR team to discuss projections                          1.40
            M. Levee   Discuss balance sheet assumptions with S. Allen                                          1.20
            M. Levee   Discuss property taxes with S. Allen and Company                                         0.30
            M. Levee   Work on balance sheet and cash flow statement revisions at the LRR Division              3.70
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   9/9/2014 M. Levee     Analyze accounts payable roll-forward for projection period at both Divisions           1.50
            S. Allen     Analyze key performance indicators and summary financial performance in                 3.40
                         preparation of call with Management (LRR)
            S. Allen     Review and discuss financial projections with Management, M. Levee and E.               1.40
                         Blum (Primarily LRR)
            S. Allen     Revise projections per Management comments                                              2.50
            S. Allen     Discuss balance sheet and working capital drivers with M. Levee                         1.20
            S. Allen     Discuss property taxes with M. Levee and E. Gabbert                                     0.30
            S. Allen     Aggregate cost center specific financial performance by year; summarize                 3.70
                         information quarterly (both divisions)
            S. Allen     Discuss status of projections with E Blum                                               0.50
            E. Blum      Review and discuss financial projections with Management, M Levee and S                 1.40
                         Allen (primarily LRR)
  9/10/2014 E. Blum      Discussions with S Allen and M Levee around LRR and JAD projections; status,            0.70
                         timing to finalize
            M. Levee     Analyze draft of accounts payable roll-forward for both Divisions                       0.90
            M. Levee     Prepare summary level assumptions for JAD balance sheet                                 2.80
            M. Levee     Prepare summary level assumptions for LRR balance sheet                                 1.10
            M. Levee     Conference call with Company and GR team to discuss plan operating                      1.80
                         projections at both Divisions
            M. Levee     Discuss accounts payable roll-forward projections and credit terms summary for          0.90
                         both Divisions with S. Allen
            M. Levee     Revise accounts payable roll-forward and credit terms projection and prepare            3.00
                         credit terms summary sheets for both Divisions
            M. Levee     Review of projected balance sheet and cash flow statement by Division and               0.60
                         send for internal review
            S. Allen     Analyze and compile key performance indicators and projected financial                  3.90
                         performance in advance of call (JAD)
            S. Allen     Review and discuss financial projections with Management, M. Levee and E.               1.80
                         Blum (Primarily JAD)
            S. Allen     Revise projections per Management comments                                              1.40
  9/11/2014 S. Allen     Update LRR projections with July actual results                                         3.10
            S. Allen     Revise Diablo, Right Oakley and shipping forecast per discussion with                   1.00
                         engineering personnel
            S. Allen     Review current short term liquidity forecast                                            0.50
            S. Allen     Summarize and analyze projected financial performance JAD)                              4.10
            S. Allen     Revise operating assumptions (JAD)                                                      1.20
  9/12/2014 E. Blum      Discuss projections with M Windisch and S Allen                                         0.50
            S. Allen     Discuss LRR projections with Management and E. Blum                                     0.50
            S. Allen     Adjust projections per Management comments                                              0.30
            S. Allen     Begin integrating statement of financial position with operating projection model       1.20
                         and reconciliation
            S. Allen     Update JAD projections with July actual results                                         3.00
  9/13/2014 E. Blum      Review Forge assumptions for projection model                                           0.20
            E. Blum      Review emails on projection assumptions with co - regarding assumed payment             0.20
                         terms
            S. Allen     Continue integrating statement of financial position with operating projection          2.20
                         model and reconciliation
  9/14/2014 S. Allen     Continue integrating statement of financial position with operating projection          4.10
                         model and reconciliation
  9/15/2014 E. Blum      Review projections with GR team - operating and financial assumptions and               2.00
                         output
            E. Blum      Continue to review projections with S Allen and M Levee late PM in lexington -          1.00
                         review key summary pages
            E. Blum      Work with M Levee and S Allen re Projections - LRR and JAD                              2.00
            D. Neyhart   Meeting with ML EB and SA to discuss projected financials.                              1.70
            S. Allen     Reconcile inventory for LRR and JAD (including discussions with W. Manning)             0.80
            S. Allen     Summarize statements of financial position for meeting with E. Blum                     2.10
            S. Allen     Revise JAD summary financial information for presentation                               2.50
            S. Allen     Discuss meetings with Management                                                        0.30
            S. Allen     Revise proposed meeting agenda with E. Blum                                             0.30
            S. Allen     Discuss projections and internal presentation with M. Levee and E. Blum                 0.80
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  9/15/2014 S. Allen   Revise projections (LRR and JAD) for meetings per E. Blum comments                   0.50
            M. Levee   Internal GR team meeting to discuss schedule for Lexington visit and current         2.00
                       state of draft projections
  9/16/2014 S. Allen   Discuss preliminary financial projections with Management                            7.80
            S. Allen   Discuss JAD financial performance and key drivers with M. Levee                      1.10
            M. Levee   On-site in Lexington: review LRR and JAD operational projections with GR team        3.10
                       and Company
            M. Levee   Discuss JAD portion of projection for presentation with S. Allen                     1.10
            E. Blum    Meet in Lexington with company operating and senior management, GR for all           9.00
                       day session on plan projections by mine by line item at LRR and JAD. Also
                       addressed bonding issues and new numbers; discussed handling of executory
                       contracts; NOL status; adequate protection payments in model as consistent
                       with Ct Orders; status of filings re additional debtor entities
  9/17/2014 E. Blum    Review with M Levee and S Allen updated company Plan Projections based on            2.20
                       2 days review of operations and admin claims - review model, key assumptions,
                       conclusions. Discuss outline of GR presentation; key item needed to include.
            S. Allen   Discuss preliminary financial projections with Management and make revisions         8.80
                       as necessary
            S. Allen   Continue to revise preliminary financial projections per Management comments         2.90
                       (off-site)
            M. Levee   Begin preparations of projections presentation                                       3.60
            M. Levee   Various internal discussions regarding gap claims; status update; and work on        1.20
                       projections presentation
            M. Levee   Work on projections presentation, including projections for both JAD and LRR         5.00
                       Divisions on a quarterly and annual basis
  9/18/2014 E. Blum    Review bus plan summary memo with CFO, M Levee and S Allen in Lexington              2.00
            E. Blum    Review GR business plan summary with J Collins and Chris D - following M             2.50
                       Windisch review
            S. Allen   Continue to revise preliminary financial projections per Management comments         1.70
                       (off-site)
            S. Allen   Review draft presentation with Management and provide comment; revise                2.50
                       projections per comments received
            M. Levee   Continue to work on draft plan of reorganization presentation - JAD and LRR          2.70
                       operating projections (numbers and comments/summary)
            M. Levee   Meet with CFO of Company and GR team to discuss projections and related              2.00
                       draft presentation
            M. Levee   Finalize edits to draft projections presentation based on meeting with CFO and       0.70
                       GR Team
            S. Allen   Review bus plan summary memo with CFO, M Levee and E Blum in Lerxington              2.00
  9/21/2014 E. Blum    Review current draft of GR memo summarizing plan numbers provided to                 0.50
                       company
  9/22/2014 S. Allen   Create surety bond premium amortization tables and update forecast                   2.40
            S. Allen   Discuss LRR projections with Management                                              0.30
            S. Allen   Update capital expenditure forecast                                                  0.50
  9/23/2014 E. Blum    Review certain key plan projection assumptions and results moving out Ivyton         0.50
                       timing with S Allen
            E. Blum    Call with company and GR after company final review of plan projection numbers       0.50
            E. Blum    Discuss final plan projections with D Drebsky; Ivyton timing                         0.40
            M. Levee   Update draft presentation per updated model from Company conference call             1.10
                       today
            S. Allen   Continue revisions to model for Ivyton assumptions                                   0.50
            S. Allen   Continue surety bond cash timing projections                                         2.40
            S. Allen   Add ending cash balances to assumptions and key performance indicators (both         1.60
                       divisions)
            S. Allen   Update sources and uses projections (both divisions)                                 0.80
            S. Allen   Update equipment finance amortization tables                                         2.50
            S. Allen   Update summary financial performance and key performance indicators for              1.20
                       effective date payments (LRR)
            S. Allen   Update summary financial performance and key performance indicators for              1.30
                       effective date payments (JAD)
            S. Allen   Discuss effective date payments and projected cash flow with E. Blum and M.          0.50
                       Levee
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  9/23/2014 S. Allen      Add average interest triggers to model                                                    0.50
  9/24/2014 E. Blum       Work with S Allen and M Levee on GR memo summarizing projections for                      1.20
                          discussion and review with counsel
            E. Blum       Meet with counsel to review GR memo on Plan projections                                   0.80
            E. Blum       Call with Nixon and company to review projections; plan timing; discuss specific          1.00
                          time line and agenda
            M. Levee      Internal meeting with E. Blum and S. Allen to discuss projections and strategy            0.60
                          going forward
            M. Levee      Review draft Plan of Reorganization powerpoint with E. Blum                               1.20
            M. Levee      Update and revise Plan of Reorganization draft presentation to prepare for                2.80
                          meeting with Counsel
            S. Allen      Discuss most recent developments and presentation with M. Levee and E. Blum               1.20
            S. Allen      Revise surety bond premium amortization and working capital changes (LRR)                 2.40
            S. Allen      Meet with Nixon Peabody to discuss plan of reorganization projections                     0.80
            S. Allen      Revise JAD surety bond amortization table for cash flow projection                        2.50
            S. Allen      Prepare projections for distribution to valuation expert                                  0.50
  9/27/2014 E. Blum       Review 9/26 GR memo on plan projections and mark with remaining questions                 0.50
            E. Blum       Call with S Allen to discuss questions remaining on 9/26 GR memo on                       0.50
                          projections
            S. Allen      Call with E Blum to discuss questions remaining on 9/26 GR memo on                        0.50
                          projections
  9/28/2014 E. Blum       Review 9/27 version of GR memo summarizing projections                                    0.30
  9/29/2014 E. Blum       Review updated projection memo; Discus with S Allen re changes that need to               0.60
                          be made
            S. Allen      Revise debt schedules per discussion with E. Blum                                         1.40
            S. Allen      Review and revise memo with E. Blum                                                       0.30
            S. Allen      Revise presentation per discussion with E. Blum                                           1.10
  9/30/2014 E. Blum       Meet with S Allen to review projections and GR memo on same                               0.50
            S. Allen      Discuss plan of reorganization presentation with E. Blum                                  0.50
            S. Allen      Create summary balance sheet for LRR                                                      0.70
            S. Allen      Create summary balance sheet for JAD                                                      0.60
            S. Allen      Revise presentation per earlier discussion with E. Blum                                   0.40

            SUBTOTAL:                                                                     [       255.30       96,122.30]

            Relief from Stay/ Adequate Protection Proceedings

  9/13/2014 E. Blum       Review emails re Commercial Bank arguments for adequate protection - value                0.30
                          analysis of equipment
            E. Blum       Review Comm response to Cat motion for adequate protection                                0.40
  9/15/2014 E. Blum       Review Debtor response to Caterpillar motion for Adequate protection payments             0.30
  9/17/2014 S. Allen      Discuss CAT adequate protection order and property taxes with A. Adams                    0.40
  9/19/2014 E. Blum       Email correspondence with company and counsel re Cat adequate protection                  0.20
                          hearing status - payments
            S. Allen      Review adequate protection motions and review correspondence on same from                 0.40
                          counsel and E. Blum
  9/29/2014 E. Blum       Review Cat Adequate Protection stipulation                                                0.30

            SUBTOTAL:                                                                     [         2.30        1,087.50]

            Tax Issues

   9/5/2014 E. Blum       Review emails and spreadsheet around KY reclamation tax amounts owed -                    0.40
                          connection to Sandlick BK
   9/8/2014 E. Blum       Review emails with KY tax authority re reclamation fees owed / negotiation over           0.20
                          to be paid
            D. Neyhart    Review of tax expert engagement letter                                                    0.40
  9/10/2014 E. Blum       Call with J Brogan, M Windisch and D Neyhart - provide background on case                 0.40
                          and set deliverable re NOL analysis
            D. Neyhart    Call with EB and JB to discuss NOL tax assignment                                         0.40
            D. Neyhart    Prepare company information and data room access for JB regarding NOL                     0.50
                          assignment.
                                                                                               10/27/2014
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  9/11/2014 D. Neyhart    Research tax amounts outstanding for unmined minerals and reclamation.                     0.60
            D. Neyhart    Update tax analysis and discussions with BM regarding same                                 0.70
  9/12/2014 D. Neyhart    Review additional potential pre-petition tax amounts and discuss with SA and               0.90
                          BM.
            D. Neyhart    Review tax summary provided by BM with updated tax figures.                                0.40
            S. Allen      Review additional potential pre-petition tax amounts and discuss with D Neyhart            0.90
                          and BM
  9/15/2014 E. Blum       Review emails from tax adviser re NOL analysis prior to next day call                      0.20
  9/16/2014 S. Allen      Property tax research and correspondence with Debtor Counsel on same                       0.80
            D. Neyhart    Call with EB MW and JB regarding tax analysis and NOL                                      0.70
            E. Blum       Review tax workplan provided by Brogan                                                     0.20
            E. Blum       Call with D Neyhart, MW and JB regarding tax analysis and NOL                              0.70
  9/18/2014 D. Neyhart    Research claims due to kentucky state treasurer                                            0.30
  9/20/2014 E. Blum       Review Apportionment of NOL memo from Brogan                                               0.40
  9/22/2014 D. Neyhart    Review 2013 Tax Return for purposes of calculating NOL.                                    0.50
            D. Neyhart    Review Brogan memo on NOL.                                                                 0.30
  9/25/2014 D. Neyhart    Call with JB and company to discuss nol and tax analysis                                   0.50
  9/27/2014 E. Blum       Review emails on tax analysis - management fees charged to subsidiaries                    0.20
  9/29/2014 S. Allen      Review tax memo from DelCotto Law Group                                                    0.40

            SUBTOTAL:                                                                    [        11.00        3,600.00]

            Valuation

   9/8/2014 E. Blum       Review Resource Technologies LRR appraisal                                                 0.80
            E. Blum       Call with Kern at Resource Tech and M Glade                                                0.40
            E. Blum       Meet with S Allen re valuation issues at JAD/LRR                                           0.30
            S. Allen      Discuss valuation with E. Blum and D. Neyhart                                              0.30
            D. Neyhart    Discuss valuation with E Blum and S Allen                                                  0.30
            M. Glade      Call with Kern at Resource Tech and E Blum                                                 0.40
  9/24/2014 S. Allen      Discuss valuation with J. Kern and E. Blum                                                 0.20
            E. Blum       Discuss valuation with J Kern and S Allen                                                  0.20
  9/26/2014 S. Allen      Discuss projections with M. Glade and J. Kern                                              0.40

            SUBTOTAL:                                                                    [         3.30        1,447.50]


                                                                                               Total               449.90

                                                                                             Total Fees     $161,792.30




 GlassRatner Advisory & Capital Group LLC
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                                                                                                                                                                           Billable Slip
  Transaction Date        Category for Court            Professional Full Name                                            Description                                          Value
            9/1/2014        (b) Hotel              Evan Blum                        Hotel (8/21) in Lexington                                                                   $105.41
            9/1/2014 Online Research               Copying, Teleconference & GeneralPacer charges                                                                                  $0.10
            9/2/2014 Meals (local)                 Sean Allen, CFA, CPA, CIRA       Meal for S. Allen (late PM in office)                                                        $15.03
                              (d) Ground
            9/2/2014        Transportation         Evan Blum                         Taxi - NY office to LAG                                                                     $39.90
            9/2/2014        (a) Transportation     Evan Blum                         Airfare LAG - Lex meetings at co                                                           $579.10
            9/2/2014        (c) Meals              Evan Blum                         Dinner LAG airport                                                                          $34.40
            9/3/2014 Local Travel                  Sean Allen, CFA, CPA, CIRA        Late night transportation from New York, NY to Dumont, NJ (after 9:00 PM; invoice r        $106.70
            9/3/2014        (c) Meals              Evan Blum                         Dinner E Blum, D Drebsky in Lex                                                            $155.41
            9/4/2014        (b) Hotel              Evan Blum                         Hotel 9/2-9/4 meet at co                                                                   $208.70
            9/4/2014        (e) Other (specify)    Evan Blum                         go go internet flight lex-nwk                                                                $9.95
            9/4/2014        (c) Meals              Evan Blum                         Snack airport                                                                                $5.28
            9/4/2014        (c) Meals              Evan Blum                         Dinner charlotte airport                                                                    $37.47
            9/4/2014        (e) Other (specify)    Evan Blum                         Gas - rental car                                                                            $20.00
                              (d) Ground
            9/4/2014          Transportation       Evan Blum                         Car rental - meetings at co                                                                $224.08
            9/4/2014          (a) Transportation   Evan Blum                         Airfare Lex-Nwk; meetings at co                                                            $619.10
            9/4/2014   Local Travel                Sean Allen, CFA, CPA, CIRA        Late night transportation from New York, NY to Dumont, NJ (after 9:00 PM)                  $106.70
            9/4/2014   Meals (local)               Sean Allen, CFA, CPA, CIRA        Meal for S. Allen and M. Levee (late PM in office)                                          $27.45
            9/5/2014   Local Travel                Marc Levee                        Late night car home from NYC office on 8/28/14 (pick up at 11:50 PM)                       $118.75
            9/8/2014   Local Travel                Sean Allen, CFA, CPA, CIRA        Late night transportation from New York, NY to Dumont, NJ (after 9:00 PM)                  $106.70
            9/8/2014   Meals (local)               Marc Levee                        Dinner in NYC office                                                                        $13.50
            9/9/2014   Meals (local)               Marc Levee                        Dinner in NYC office                                                                        $14.25
            9/9/2014   Local Travel                Marc Levee                        Late night car home from NYC Office on 9/9 (11:55pm pick-up)                                $86.68
           9/11/2014   Meals (local)               Sean Allen, CFA, CPA, CIRA        Meal for S. Allen (late PM)                                                                  $9.18
           9/12/2014   Local Travel                Marc Levee                        Last night car home from NYC office (10:00pm pick up on 9/8/14)                            $118.54
           9/12/2014          (a) Transportation   Marc Levee                        Airfare from NYC to Lexington, KY on 9/15/14                                               $584.10
           9/13/2014          (a) Transportation   Sean Allen, CFA, CPA, CIRA        One way coach air fare from LGA to LEX                                                     $584.10
           9/15/2014   Local Travel                David Neyhart, CPA                Cab home after 10                                                                           $20.58
           9/15/2014   Meals (local)               David Neyhart, CPA                Dinner after 10                                                                             $19.46
           9/15/2014          (c) Meals            Evan Blum                         Dinner - SA, ML, EB - at LAG                                                               $100.49
           9/15/2014          (a) Transportation   Evan Blum                         Airfare LAG - LEX meeting at co                                                            $584.10
           9/15/2014          (c) Meals            Sean Allen, CFA, CPA, CIRA        Meal for S. Allen (travel)                                                                  $24.14
           9/16/2014          (c) Meals            Evan Blum                         Dinner with SA, ML, M Windisch in Lex                                                      $208.56
           9/17/2014          (c) Meals            Sean Allen, CFA, CPA, CIRA        Meal for S. Allen and M. Levee (travel)                                                     $27.96
           9/17/2014          (a) Transportation   Sean Allen, CFA, CPA, CIRA        One way coach airfare from Lexington, KY to New York, NY                                   $380.10
           9/17/2014          (a) Transportation   Marc Levee                        Airfare from Lexington, KY to Newark, NJ                                                   $380.10
           9/17/2014   Meals (local)               David Neyhart, CPA                Dinner after 10                                                                             $12.68
           9/18/2014          (a) Transportation   Evan Blum                         Airfare Lex - NWK following co meetings                                                    $554.10
                              (d) Ground
           9/18/2014          Transportation       Evan Blum                         Car rental - meetings at co                                                                $307.80
                              (d) Ground
           9/18/2014          Transportation       Evan Blum                         Taxi - NWK - Home                                                                           $66.00
           9/18/2014          (c) Meals            Evan Blum                         Dinner LEX airport                                                                           $5.25
                              (d) Ground
           9/18/2014          Transportation       Marc Levee                        Car home from Newark Airport after trip from Lexington                                      $40.32
           9/18/2014          (c) Meals            Sean Allen, CFA, CPA, CIRA        Meal for S. Allen (travel)                                                                  $13.20
                              (d) Ground
           9/18/2014          Transportation       Sean Allen, CFA, CPA, CIRA       Transportation from EWR to Dumont, NJ                                                        $57.63
           9/18/2014          (c) Meals            Marc Levee                       Lunch in Lexington, KY airport while waiting for flight back to Newark, NJ                   $13.99
           9/19/2014   Local Travel                Marc Levee                       Late night car home from NYC Office on 9/4 (12:45am on 9/5 pick up time)                    $122.64
           9/19/2014   Local Travel                Marc Levee                       Late night car home from NYC office (pick up at 10:40PM n 9/10/14)                          $117.52
           9/23/2014   Meals (local)               Sean Allen, CFA, CPA, CIRA       Meal for S. Allen (late PM in office)                                                         $6.94
           9/30/2014   Local Travel                Sean Allen, CFA, CPA, CIRA       Late night transportation from New York, NY to Dumont, NJ (after 9:00 PM; invoice r         $106.70
           9/30/2014          (c) Meals            Sean Allen, CFA, CPA, CIRA       Meal for E. Blum and S. Allen (travel 7/18)                                                  $18.85
           9/30/2014          (b) Hotel            Sean Allen, CFA, CPA, CIRA       Lodging - one night in Lexington, KY - 7/18                                                 $194.14
           9/30/2014          (b) Hotel            Sean Allen, CFA, CPA, CIRA       Lodging - three nights in Lexington, KY - 7/2                                               $451.39
           9/30/2014   Postage                     Copying, Teleconference & GeneralFedex: 9/30                                                                                   $9.41
           9/30/2014   Telephone                   Copying, Teleconference & GeneralConference calls - E Blum: 8/8 - 9/2                                                         $28.04

                                                                                                                                                       Total Expenses         $7,802.67
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                                                             Time Detail for November Fee Statement
                                           Time Entry                                               Billable Hours           Billable Amount
                       Assumption/Rejection of Leases and Contracts                                              11.8    $                     4,155.00
     11/3/2014                                                                                                     0.1   $                        52.50
    Evan Blum                                                                                                      0.1   $                        52.50
Call with CD re Kolmar contracts and go forward approach                                                           0.1   $                        52.50
     11/4/2014                                                                                                     0.1   $                        52.50
    Evan Blum                                                                                                      0.1   $                        52.50
Review emails related to Kolmar acceptance of coal; other contractual relationships                                0.1   $                        52.50
     11/7/2014                                                                                                     0.2   $                       105.00
    Evan Blum                                                                                                      0.2   $                       105.00
Call with CD re Kolmar contracts and need to focus on potential rejection                                          0.2   $                       105.00
     11/12/2014                                                                                                    3.3   $                     1,102.50
    David Neyhart, CPA                                                                                               2   $                       450.00
Call with EB and SA to discuss breakout of royalty amounts.                                                        0.2   $                        45.00
Prepare detailed analysis of specific royalty holders and their various claim amounts.                             1.8   $                       405.00
    Evan Blum                                                                                                      1.1   $                       577.50
Call with CD to discuss Kolmar fuel contract and Kolmar relationship re acceptance -
rejection of contracts (.2); post group call follow with S Allen re LRR fuel contract to
continue (.3); follow with MW re same (.2)                                                                         0.7   $                      367.50
Call with JC to discuss key conversations around rejection - renegotiation of leases; GR to
follow with spreadsheet of key parties to be addressed                                                             0.4   $                       210.00
    Sean Allen, CFA, CPA, CIRA                                                                                     0.2   $                        75.00
Call with EB and DN to discuss breakout of royalty amounts                                                         0.2   $                        75.00
     11/14/2014                                                                                                    5.1   $                     1,417.50
    David Neyhart, CPA                                                                                             4.2   $                       945.00
Meeting with EB to discuss top LRR royalty holders claim amounts.                                                  0.3   $                        67.50
Update analysis for top LRR lease holders including calculating any potential cure claim,
any post petition payments made and detailing terms of lease agreement.                                            3.9   $                      877.50
    Evan Blum                                                                                                      0.9   $                      472.50
Reviewed with D Neyhart the GR memo on key leases at LRR to be addressed by JC; review
and mark with comments multiple iterations of memo describing all claims / relationships
with these key lessors. Provide memo to JC, MW and EG                                                              0.9   $                      472.50
     11/20/2014                                                                                                    0.5   $                      112.50
    David Neyhart, CPA                                                                                             0.5   $                      112.50
Status call with Company and counsel to discuss assumption/rejection of leases.                                    0.5   $                      112.50
     11/24/2014                                                                                                    1.2   $                      630.00
    Evan Blum                                                                                                      1.2   $                      630.00
Analysis of Kolmar and other fuel costs at LRR and JAD - review and compose emails                                 0.2   $                      105.00
Call with counsel re Kolmar matters; Sequoia settlement - lack of adherence                                        0.7   $                      367.50
Follow counsel call with MW call on Kolmar & Sequoia                                                               0.3   $                      157.50
     11/25/2014                                                                                                    0.1   $                       52.50
    Evan Blum                                                                                                      0.1   $                       52.50
Review JC email correspondence re Kolmar contracts after discussion with Kolmar
management                                                                                                         0.1   $                       52.50
     11/26/2014                                                                                                    0.9   $                      472.50
    Evan Blum                                                                                                      0.9   $                      472.50
Review multiple emails and participate in multiple calls related to potential resolution of
Kolmar contract issues JC, and Nixon                                                                               0.9   $                      472.50
     11/30/2014                                                                                                    0.3   $                      157.50
    Evan Blum                                                                                                      0.3   $                      157.50
Review Motion requesting authority to assume leases and requesting approval of cure claim
payments; email to AA re any company schedules                                                                     0.3   $                       157.50
                                      Business Operations                                                          7.7   $                     3,862.50
     11/3/2014                                                                                                     0.1   $                        52.50
    Evan Blum                                                                                                      0.1   $                        52.50
Review September operating financial statements                                                                    0.1   $                        52.50
     11/4/2014                                                                                                     0.3   $                       157.50
    Evan Blum                                                                                                      0.3   $                       157.50
Review extensive internal emails on bonding and surety payments on new bonds                                       0.2   $                       105.00
Review Motion to Continue Surety Bond Program                                                                      0.1   $                        52.50
     11/7/2014                                                                                                     0.7   $                       367.50
    Evan Blum                                                                                                      0.7   $                       367.50
Call with company and counsel re US Bank action on Letters of Credit; how to respond to
relief from stay request; alternative structures to Letters of Credit re putting restricted cash at
Lexon                                                                                                              0.5   $                      262.50
Review emails re US Bank desire for stay relief re US Bank non renewal of Letters of Credit
in preparation for call re same                                                                                    0.2   $                      105.00
     11/9/2014                                                                                                     0.1   $                       52.50
    Evan Blum                                                                                                      0.1   $                       52.50
Review follow up emails with company and counsel re moving collateral account funds to
Lexon and cancelling Letters of Credit; committee reaction; company to follow                                      0.1   $                       52.50
     11/12/2014                                                                                                    0.3   $                      157.50
    Evan Blum                                                                                                      0.3   $                      157.50
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Call with MW re cash flow situation at LRR, steps to take to address timing of inflows                        0.3   $                      157.50
     11/18/2014                                                                                               0.2   $                       75.00
   Sean Allen, CFA, CPA, CIRA                                                                                 0.2   $                       75.00
Discuss surety bonds with M. Windisch                                                                         0.2   $                       75.00
     11/21/2014                                                                                               0.5   $                      262.50
   Evan Blum                                                                                                  0.5   $                      262.50
Discuss Kolmar fuel sale offer at JAD with JC (.2); CD (.1); SA (.2) - call set up to discuss
Monday                                                                                                        0.5   $                       262.50
     11/24/2014                                                                                               4.5   $                     2,212.50
   Evan Blum                                                                                                  3.5   $                     1,837.50
Call with JC re potential changes to business operations in order to improve operating results
(.3); follow with SA and MW re potential operating changes (.3)                                               0.6   $                      315.00
Call with MW re details around moving HWM to LRR (.4); follow call including D Drebsky
to discuss issue (.4)                                                                                         0.8   $                      420.00
Call with SA, MW and JC to discuss all alternatives re increasing cash flow - royalty issues
by key lessor; fuel and other key vendors and pricing; personnel; HWM operations; excess
equipment; progress on insurance, employee cuts                                                                 1   $                      525.00
Discuss operational alternatives internally to improve cash flow; discuss margins; impact on
margins of various alternatives                                                                               0.8   $                      420.00
Discuss Sequoia lack of compliance with JC and counsel re settlement agreement approved
by Court; counsel to draft motion                                                                             0.2   $                       105.00
Email correspondence with counsel re any update on Dyno contract matter                                       0.1   $                        52.50
   Sean Allen, CFA, CPA, CIRA                                                                                   1   $                       375.00
Discuss operations at LRR with Management and E. Blum                                                           1   $                       375.00
     11/25/2014                                                                                                 1   $                       525.00
   Evan Blum                                                                                                    1   $                       525.00
Call with D Drebsky re operational issues facing company; alternatives                                        0.3   $                       157.50
Call with JC re operational issues facing company and alternatives                                            0.2   $                       105.00
Discuss business strategy with counsel and management re go forward alternatives                              0.5   $                       262.50
                                     Case Administration                                                      9.6   $                     4,115.00
     11/2/2014                                                                                                0.7   $                       367.50
   Evan Blum                                                                                                  0.7   $                       367.50
Review Debtors motion for continued use of cash management system (.2) and Debtors
motion for continued use of surety bond program (.2)                                                          0.4   $                      210.00

Review JC declaration for new debtors first days (.2); provide comments to L Harrington(.1)                  0.3    $                      157.50
     11/3/2014                                                                                               0.6    $                      255.00
   David Neyhart, CPA                                                                                        0.2    $                       45.00
Review docket for 10/30 and 10/31.                                                                           0.2    $                       45.00
   Evan Blum                                                                                                 0.4    $                      210.00
Call with JC re various on going maters - REDACTED projections; REDACTED term sheet;
appraisal liquidation value; appraisal on going concern; GR reports re same                                  0.4    $                      210.00
     11/4/2014                                                                                               1.9    $                      702.50
   David Neyhart, CPA                                                                                        0.4    $                       90.00
Review EB affidavit for first day motions for 4 newly filed entities.                                        0.4    $                       90.00
   Evan Blum                                                                                                 0.5    $                      262.50
Internal GR meeting re valuation memo status; term sheet status; projection status                           0.5    $                      262.50
   Marc Levee                                                                                                0.5    $                      162.50
Internal GR team meeting to discuss long term projections and valuation                                      0.5    $                      162.50
   Sean Allen, CFA, CPA, CIRA                                                                                0.5    $                      187.50
Discuss valuation, status of term sheet, third party financing discussions with E. Blum, and
M. Levee                                                                                                     0.5 $                         187.50
     11/5/2014                                                                                               0.4 $                         210.00
   Evan Blum                                                                                                 0.4 $                         210.00
Call with JC to update on Goggin meeting, REDACTED discussions, status of alternative
scenarios                                                                                                    0.4    $                      210.00
     11/10/2014                                                                                              0.3    $                       67.50
   David Neyhart, CPA                                                                                        0.3    $                       67.50
Review docket for 11/5 and 11/6.                                                                             0.3    $                       67.50
     11/11/2014                                                                                              0.7    $                      262.50
   Sean Allen, CFA, CPA, CIRA                                                                                0.7    $                      262.50
Correspondence with Nixon Peabody and discussions with Management re: holdbacks for
professionals                                                                                                0.4    $                      150.00
Discuss 20% holdback for professional fees with E. Gabbert                                                   0.3    $                      112.50
     11/15/2014                                                                                              0.5    $                      262.50
   Evan Blum                                                                                                 0.5    $                      262.50
Call with MW to update re various case matters - DIP; exit financing; etc                                    0.5    $                      262.50
     11/16/2014                                                                                              0.3    $                      157.50
   Evan Blum                                                                                                 0.3    $                      157.50
Call with JC re current case issues                                                                          0.3    $                      157.50
     11/19/2014                                                                                              0.4    $                       90.00
   David Neyhart, CPA                                                                                        0.4    $                       90.00
Review docket for 11/14-11/19.                                                                               0.4    $                       90.00
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     11/24/2014                                                                                          0.9       $                        337.50
   Sean Allen, CFA, CPA, CIRA                                                                            0.9       $                        337.50
Status call with Nixon Peabody                                                                           0.9       $                        337.50
     11/25/2014                                                                                          0.4       $                         90.00
   David Neyhart, CPA                                                                                    0.4       $                         90.00
Review docket for 11/19-11/25.                                                                           0.4       $                         90.00
     11/27/2014                                                                                          0.2       $                        105.00
   Evan Blum                                                                                             0.2       $                        105.00
Review November ind memo from Lazard                                                                     0.2       $                        105.00
     11/29/2014                                                                                          2.3       $                      1,207.50
   Evan Blum                                                                                             2.3       $                      1,207.50
Review J Dean deposition                                                                                 0.5       $                        262.50
Review J McAfee deposition                                                                               1.8       $                        945.00
                        Cash Collateral and Post Petition Financing                                     56.5       $                     25,452.50
     11/3/2014                                                                                           1.7       $                        892.50
   Evan Blum                                                                                             1.7       $                        892.50
Call with Renasant re DIP opportunity - declined (.2); call with Porter terms on DIP facility
(.3); call with D Drebsky to summarize and get reaction (.1); call with MW to discuss
reactions of potential DIP providers and next steps (.2)                                                     0.8 $                         420.00
Mark up Nixon term sheet for exit financing provider with changes based on conversations
with parties and send to CD for updating                                                                     0.4   $                       210.00
Review Porter Capital DIP term sheet                                                                         0.2   $                       105.00
Call with MW re term sheet for REDACTED post petition financing                                              0.3   $                       157.50
     11/4/2014                                                                                               1.7   $                       892.50
   Evan Blum                                                                                                 1.7   $                       892.50
Review R Langan additions to term sheet re post petition financing                                           0.2   $                       105.00

Call with MW and JC re REDACTED term sheet - review by section - and projection status                        1 $                          525.00
Review term sheet for REDACTED with R Langan (.3); review changes with CD (.2); send
to REDACTED                                                                                                  0.5   $                       262.50
     11/5/2014                                                                                                 1   $                       525.00
   Evan Blum                                                                                                   1   $                       525.00
Call with REDACTED to discuss their exit financing term sheet                                                0.6   $                       315.00
Call with REDACTED to update them on Goggin meeting; discuss terms of exit financing
further                                                                                                      0.4 $                         210.00
     11/6/2014                                                                                               0.8 $                         420.00
   Evan Blum                                                                                                 0.8 $                         420.00
Call with JC re schedule for alternative provider of post petition financing re mine visit and
meetings                                                                                                     0.3 $                         157.50
Call with R Langan to review need to update REDACTED term sheet; review updated
provisions                                                                                                   0.5 $                          262.50
     11/7/2014                                                                                               2.8 $                        1,470.00
   Evan Blum                                                                                                 2.8 $                        1,470.00
Call with MW about JAD DIP alternatives - need to go back to Porter (.3); call with Porter re
JAD DIP and need to reduce pricing (.3); follow call with Porter regarding their revised
terms (.2); review updated Porter term sheet and distribute internally (.2); email exchange re
Commercial Bank terms - legal fees proposed to be paid (.2); review emails re timing of DIP
hearing (.1)                                                                                                 1.3 $                         682.50
Call with Nixon and JC re coal off take and marketing agreement as part of post petition
financing                                                                                                    0.5 $                         262.50
Email exchange with Marquette re JAD DIP financing                                                           0.2 $                         105.00
Review term sheet for JAD DIP from Franklin - passing security on all assets; PGs                            0.2 $                         105.00
Call with company and Nixon re REDACTED coal marketing term sheet - review terms re
company response - to be negotiated in conjunction with exit financing term sheet                            0.6 $                         315.00
     11/8/2014                                                                                               0.7 $                         367.50
   Evan Blum                                                                                                 0.7 $                         367.50
Review updated DIP term sheet from Porter (.2); review updated DIP term sheet from
Franklin (.2); email exchanges with MW and Nixon re issues to examine alternatives and
questions re various terms and follow to bring each proposal to conclusion for MW (.3)                       0.7 $                          367.50
     11/10/2014                                                                                              9.6 $                        5,040.00
   Evan Blum                                                                                                 9.6 $                        5,040.00
Multiple calls with MW and Nixon re Porter and Franklin terms sheets to provide DIP
financing; address remaining issues in each ; finalize best deal from each party; address
Commercial status; counsel providing final term sheets to committee                                          1.3 $                         682.50
Meetings in Lexington with multiple parties interested in buying all or some of company's
assets; review company background and BK status, discuss capital structure, answer
questions, agree on next steps. Review with JC these potential buyers and models /
information needed to provide. (6.5) Also, discuss outstanding questions with company
related to REDACTED coal marketing agreement in order to respond to REDACTED terms
(.5); review current draft of REDACTED term sheet (.6); emails with RL and DD re terms in
current draft to be modified (.3); call with R Langan re updating REDACTED term sheet in
order to send revised draft to REDACTED (.4)                                                                 8.3 $                        4,357.50
     11/11/2014                                                                                              0.9 $                          472.50
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    Evan Blum                                                                                                0.9 $                        472.50
Follow up on meeting 11/10 meeting in Lexington with note to NAME REDACTED                                   0.1 $                         52.50
Review further updated REDACTED exit financing term sheet provided by R Langan(.2);
email exit financing term sheet with cover to REDACTED (.1); review REDACTED coal
marketing term sheet and mark up provided by JC (.2); compose email to REDACTED re
coal marketing term sheet and attach company changes (.2); email to D Drebsky re
REDACTED term sheet status (.1)                                                                              0.8 $                        420.00
     11/12/2014                                                                                              1.4 $                        735.00
    Evan Blum                                                                                                1.4 $                        735.00
Compose response to REDACTED's coal marketing proposal as part of overall post petition
financing in conjunction with JC                                                                             0.3 $                        157.50
Call with JC to discuss status of post petition alternatives; need to advance REDACTED and
REDACTED discussions;                                                                                        0.4 $                        210.00
Call with JC, SA and ML re information needed for REDACTED in order to move along
post petition financing possibility                                                                          0.4 $                        210.00
Call with S Blevins re diligence needed for REDACTED in order to get post petition term
sheet                                                                                                        0.3 $                        157.50
     11/13/2014                                                                                              1.4 $                        735.00
    Evan Blum                                                                                                1.4 $                        735.00
Pre REDACTED exit financing call with JC (.3); call with REDACTED re exit financing
terms with JC and MW(.7); follow call to update with D Drebsky (.2); follow call re
REDACTED terms with MW (.2)                                                                                  1.4   $                      735.00
     11/14/2014                                                                                              2.7   $                      967.50
    David Neyhart, CPA                                                                                       1.5   $                      337.50
Consolidate and distribute documents provided for potential investor.                                        1.5   $                      337.50
    Evan Blum                                                                                                1.2   $                      630.00
Review with D Neyhart status of REDACTED interest in post petition financing; review
diligence questions and status of responses; Neyhart to organize. Reviewed and provided
certain diligence responses to REDACTED.                                                                     1.2 $                        630.00
     11/15/2014                                                                                              1.4 $                        660.00
    Evan Blum                                                                                                0.9 $                        472.50
Call with S Allen to review REDACTED questions on company long term model re exit
financing                                                                                                    0.5 $                        262.50
Call with MW re responses to certain REDACTED questions related to a potential exit
financing                                                                                                    0.4 $                        210.00
    Sean Allen, CFA, CPA, CIRA                                                                               0.5 $                        187.50
Call with EB to review REDACTED questions on company long term model re exit
financing                                                                                                    0.5   $                       187.50
     11/17/2014                                                                                              6.1   $                     2,407.50
    David Neyhart, CPA                                                                                       1.2   $                       270.00
Review and categorize additional documents provided for distribution to potential investor                   1.2   $                       270.00
    Evan Blum                                                                                                  2   $                     1,050.00
Meet with Nixon to discuss REDACTED exit financing - updated projections; Sources/uses;
term sheet status; potential plan structure                                                                    2   $                     1,050.00
    Sean Allen, CFA, CPA, CIRA                                                                               2.9   $                     1,087.50
Meet with Nixon Peabody and discuss projections and exit financing                                           2.9   $                     1,087.50
     11/18/2014                                                                                              1.2   $                       630.00
    Evan Blum                                                                                                1.2   $                       630.00
Review final version of GR memo summarizing updated projections to REDACTED - mark
with changes - call with M Levee to finalize and have distributed                                            1.2 $                        630.00
     11/19/2014                                                                                              2.2 $                        955.00
    Evan Blum                                                                                                1.2 $                        630.00
Respond to detailed questions from REDACTED in regard to potential exit financing;
review responses from REDACTED to our answers; internal emails to prepare responses to
REDACTED follow up questions                                                                                 1.2   $                      630.00
    Marc Levee                                                                                                 1   $                      325.00
Further work on answer to potential third party financing partner's diligence questions                      0.4   $                      130.00
Respond to potential third party financing partner's diligence request                                       0.6   $                      195.00
     11/20/2014                                                                                              1.6   $                      380.00
    David Neyhart, CPA                                                                                       1.4   $                      315.00
Call with BM to discuss asset listing as requested by potential investor.                                    0.2   $                       45.00
Review additional documents provided as part of potential investor request, and prepare for
distribution.                                                                                                1.2 $                        270.00
    Marc Levee                                                                                               0.2 $                         65.00
Discuss updates and outstanding items with regards to third party financing partner with E.
Blum                                                                                                         0.2   $                        65.00
     11/21/2014                                                                                              7.5   $                     2,987.50
    Evan Blum                                                                                                2.5   $                     1,312.50
Call with JC re alternative post petition financing sources; EB to follow                                    0.3   $                       157.50
Calls with multiple P/E Funds re providing exit financing; review current status; follow with
NDAs                                                                                                         0.8 $                        420.00
Met with CEO of potential exit financing source                                                              0.5 $                        262.50
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Review and send responses to REDACTED related to questions on cost changes in 2014-
2016 related to HWM                                                                                            0.4   $                      210.00
Review updated GR presentation and model to REDACTED based on updated pricing
figures for certain coal shipped by rail                                                                       0.5   $                       262.50
   Marc Levee                                                                                                    4   $                     1,300.00
Respond to prospective third party financing partner's question re: cost assumptions                           3.3   $                     1,072.50
Review answers to prospective third party financing partner's questions with E. Bum; follow
up discussion with S. Allen re the same                                                                        0.7   $                      227.50
   Sean Allen, CFA, CPA, CIRA                                                                                    1   $                      375.00
Respond to questions from potential source of exit financing (LRR)                                               1   $                      375.00
     11/22/2014                                                                                                1.5   $                      712.50
   Evan Blum                                                                                                     1   $                      525.00
Call with D Drebsky re post petition financing scenarios; potential interested parties; discuss
treatment of HWM in GR memo to raise financing                                                                 0.5   $                      262.50
Call with S Allen re updating GR memo for post petition financing to incorporate more cost
reduction data; discuss HWM impact in 2015 at LRR in model                                                     0.5   $                      262.50
   Sean Allen, CFA, CPA, CIRA                                                                                  0.5   $                      187.50
Call with E Blum re updating GR memo for post petition financing to incorporate more cost
reduction data; discuss HWM impact in 2015 at LRR in model                                                     0.5   $                      187.50
     11/23/2014                                                                                                1.6   $                      840.00
   Evan Blum                                                                                                   1.6   $                      840.00
Review and mark with changes updated GR post petition financing memo (.6); email
exchanges with GR internal group re certain questions need to resolve for memo (.2); call
with S Allen to review updated GR memo (.4); email exchange with D Drebsky re review of
memo for counsel sign off (.1); distribute memo and model to various parties interested in
post petition transaction with LRR (.3)                                                                        1.6   $                       840.00
     11/24/2014                                                                                                4.3   $                     1,552.50
   David Neyhart, CPA                                                                                          1.6   $                       360.00

Meeting with EB to discuss DIP financing and document requests from potential investors.                      0.1    $                       22.50
Prepare document requests for potential purchaser.                                                            0.6    $                      135.00
Prepare mine by mine memo for potential investor.                                                             0.9    $                      202.50
   Evan Blum                                                                                                  1.5    $                      787.50
Email correspondence with MW and counsel re finalizing JAD DIP documents and moving
ahead to get information to Porter to get a DIP at LRR                                                        0.2 $                         105.00
Send LRR numbers to Global Metals re LRR for potential exit financing                                         0.1 $                          52.50
Send out LRR information to REDACTED re potential post petition financing                                     0.1 $                          52.50
Call with REDACTED re term sheet status; potential comments on term sheet; discuss
additional requested information (.5); follow with CD re REDACTED call (.2)                                   0.7 $                         367.50
Send NDA to REDACTED re post petition financing                                                               0.1 $                          52.50
Review secured debt at LRR - GR analysis - and send to REDACTED at their request related
to post petition financing                                                                                    0.3    $                      157.50
   Marc Levee                                                                                                 0.9    $                      292.50
Respond to prospective third party financing partner's diligence request                                      0.9    $                      292.50
   Sean Allen, CFA, CPA, CIRA                                                                                 0.3    $                      112.50
Provide mine description to exit financing source (JAD)                                                       0.3    $                      112.50
     11/25/2014                                                                                               2.8    $                      970.00
   Evan Blum                                                                                                  0.3    $                      157.50
Review and finalize NDAs for potential providers of exit financing                                            0.2    $                      105.00
Review MW emails re Porter willingness to do LRR DIP facility                                                 0.1    $                       52.50
   Marc Levee                                                                                                 2.5    $                      812.50
Continue tow work on potential financing partner's diligence request                                          1.5    $                      487.50
Respond to potential third party financing partner's diligence request                                          1    $                      325.00
     11/27/2014                                                                                               1.1    $                      577.50
   Evan Blum                                                                                                  1.1    $                      577.50
Review Debtor Motion for DIP financing at LRR                                                                 0.6    $                      315.00
Review Porter factoring Agreement for JAD DIP facility                                                        0.5    $                      262.50
     11/30/2014                                                                                               0.5    $                      262.50
   Evan Blum                                                                                                  0.5    $                      262.50
Review information from SA requested by Porter Capital for LRR DIP (.2); email to MW re
sending along info and getting DIP term sheet at LRR (.1)                                                     0.3    $                      157.50
Respond to questions from REDACTED - potential source of exit financing                                       0.2    $                      105.00
                           Claims Administration and Objections                                               1.3    $                      472.50
     11/3/2014                                                                                                0.3    $                       67.50
   David Neyhart, CPA                                                                                         0.3    $                       67.50
Calls with BM to discuss updated secured creditor claim amounts.                                              0.3    $                       67.50
     11/10/2014                                                                                               0.4    $                      210.00
   Evan Blum                                                                                                  0.4    $                      210.00
Review M Levee GUC pool summary (.1); email exchange with counsel re same (.1); call
with CD to discuss (.2)                                                                                       0.4    $                      210.00
     11/17/2014                                                                                               0.4    $                       90.00
   David Neyhart, CPA                                                                                         0.4    $                       90.00
Research general unsecured claims for top LRR leaseholders.                                                   0.4    $                       90.00
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     11/30/2014                                                                                         0.2       $                       105.00
    Evan Blum                                                                                           0.2       $                       105.00
Review GR's JAD claims analysis and address internally                                                  0.2       $                       105.00
                                 Fee/Employment Applications                                           13.9       $                     4,207.50
     11/10/2014                                                                                         2.1       $                       472.50
    David Neyhart, CPA                                                                                  2.1       $                       472.50
Draft first interim fee application.                                                                    2.1       $                       472.50
     11/11/2014                                                                                         6.8       $                     1,950.00
    David Neyhart, CPA                                                                                  5.4       $                     1,215.00
Analysis of prior monthly fee statements and invoices for consolidation into interim fee
statement.                                                                                                  1.4   $                      315.00
Meeting with EB to discuss interim fee app and prepare updates accordingly.                                 0.4   $                       90.00
Preparation of first interim fee app, and discussions with counsel regarding the same.                      3.6   $                      810.00
    Evan Blum                                                                                               1.4   $                      735.00
Review initial draft of GR interim fee app and mark with changes with DN                                    0.7   $                      367.50
Review October bill and mark with changes                                                                   0.7   $                      367.50
     11/12/2014                                                                                             2.4   $                      840.00
    David Neyhart, CPA                                                                                      1.4   $                      315.00
Meetings with EB to discuss interim fee application.                                                        0.5   $                      112.50
Prepare updates to interim fee app and distribute to counsel.                                               0.9   $                      202.50
    Evan Blum                                                                                                 1   $                      525.00
Review updated interim fee app and mark with changes (.6); discuss changes with DN (.2):
review updated to be sent to counsel (.2)                                                                 1       $                       525.00
     11/13/2014                                                                                         0.3       $                        67.50
    David Neyhart, CPA                                                                                  0.3       $                        67.50
Review fee app, and coordinate signatures and approval for filing.                                      0.3       $                        67.50
     11/16/2014                                                                                         0.6       $                       315.00
    Evan Blum                                                                                           0.6       $                       315.00
Review updated GR bill for October                                                                      0.6       $                       315.00
     11/25/2014                                                                                         1.7       $                       562.50
    David Neyhart, CPA                                                                                  1.1       $                       247.50
Finalize October fee app                                                                                1.1       $                       247.50
Review October invoice for fee app.                                                                       0       $                          -
    Evan Blum                                                                                           0.6       $                       315.00
Finalize October bill                                                                                   0.6       $                       315.00
                             Financial Analysis/Capital Structure                                       4.5       $                     1,342.50
     11/20/2014                                                                                         0.7       $                       187.50
    David Neyhart, CPA                                                                                  0.6       $                       135.00
Call with EB to discuss LRR secured debt.                                                               0.1       $                        22.50
Reserach LRR secured debt and prepare summary chart.                                                    0.5       $                       112.50
    Evan Blum                                                                                           0.1       $                        52.50
Call with DN to discuss LRR secured debt                                                                0.1       $                        52.50
     11/24/2014                                                                                         3.6       $                     1,110.00
    David Neyhart, CPA                                                                                    2       $                       450.00
Discussions with EB and counsel regarding presentation of secured debt schedule.                        0.4       $                        90.00
Prepare JAD secured creditor memo                                                                       1.6       $                       360.00
    Evan Blum                                                                                           0.4       $                       210.00
Discussions with DN and counsel regarding presentation of secured debt schedule                         0.4       $                       210.00
    Sean Allen, CFA, CPA, CIRA                                                                          1.2       $                       450.00
Prepare capital structure summary memo for LRR                                                          1.2       $                       450.00
     11/26/2014                                                                                         0.2       $                        45.00
    David Neyhart, CPA                                                                                  0.2       $                        45.00
Finalize JAD secured creditor memo                                                                      0.2       $                        45.00
                                      Financial Reporting                                              24.3       $                     6,767.50
     11/3/2014                                                                                          0.6       $                       195.00
    Marc Levee                                                                                          0.6       $                       195.00
Begin to prepare SOFA for US Coal Marketing                                                             0.6       $                       195.00
     11/4/2014                                                                                          1.4       $                       365.00
    David Neyhart, CPA                                                                                  0.9       $                       202.50
Review information provided by company for schedules of assets and liabilities for 4 newly
filed entities.                                                                                             0.9 $                        202.50
    Marc Levee                                                                                              0.5 $                        162.50
Prepare portions of SOFA for Harlan County Mining, Oak Hill, Sandlick, and US Coal
Marketing                                                                                               0.5       $                       162.50
     11/5/2014                                                                                         15.8       $                     4,365.00
    David Neyhart, CPA                                                                                  7.7       $                     1,732.50
Prepare summary schedules of assets and liabilities for Harlan county mining filing.                    1.5       $                       337.50
Prepare summary schedules of assets and liabilities for Oak Hill filing.                                1.7       $                       382.50
Prepare summary schedules of assets and liabilities for Sandlick Mining filing.                         3.1       $                       697.50
Prepare summary schedules of assets and liabilities for US Coal Marketing mining filing.                0.7       $                       157.50
Review schedules of assets and liabilities for filing and update corresponding global notes.            0.7       $                       157.50
    Marc Levee                                                                                          8.1       $                     2,632.50
Discuss various questions related to the SOFAs with the Company                                         0.2       $                        65.00
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Further review global notes,SOFAs, and Schedules, and send for review                                     0.4   $                       130.00
Prepare SOFAs for Harlan County, Sandlick, and Oak Hill                                                   3.5   $                     1,137.50
Review drafts of SOFAs for all four entities                                                              1.2   $                       390.00
Update SOFAs and review; prepare global notes to support SOFAs and Schedules; prepare to
send to counsel and Company for review                                                                    2.3   $                      747.50
Work on SOFA for Sandlick                                                                                 0.5   $                      162.50
     11/6/2014                                                                                            2.9   $                      742.50
   David Neyhart, CPA                                                                                       2   $                      450.00
Prepare business income and expense forms to file with summary of schedules of assets and
liabilities.                                                                                              1.1   $                      247.50
review counsel comments for sofa/schedules.                                                               0.6   $                      135.00
Revise Sandlick schedules of assets and liabilities.                                                      0.3   $                       67.50
   Marc Levee                                                                                             0.9   $                      292.50
Updates SOFAs for Harlan County, Oak Hill, Sandlick, and US Coal Marketing per counsel
and Company comments                                                                                      0.9   $                      292.50
     11/7/2014                                                                                            2.8   $                      740.00
   David Neyhart, CPA                                                                                     2.1   $                      472.50
Review comments from counsel regarding schedules of assets and liabilities, and make
updates accordingly.                                                                                      2.1   $                      472.50
   Evan Blum                                                                                              0.2   $                      105.00
Review variance report filed for week of October 30; email exchange with MW re same                       0.2   $                      105.00
   Marc Levee                                                                                             0.5   $                      162.50

Final changes to global notes and SOFAs and prepare for submission for Company signature                  0.5 $                        162.50
     11/10/2014                                                                                           0.2 $                         45.00
   David Neyhart, CPA                                                                                     0.2 $                         45.00
Prepare export summary of data used for schedules of assets and liabilities for claims
administrator.                                                                                            0.2 $                         45.00
     11/12/2014                                                                                           0.4 $                        210.00
   Evan Blum                                                                                              0.4 $                        210.00
Call with DD re projected revenue and operating disbursement compliance week of 11/7
(.1); follow with EG re projected numbers (.2); follow with DD re same - provide expected
results (.1)                                                                                              0.4   $                       210.00
     11/21/2014                                                                                           0.2   $                       105.00
   Evan Blum                                                                                              0.2   $                       105.00
Review variance report week ended 11/14                                                                   0.2   $                       105.00
                     Meetings of and Communications with Creditors                                        6.6   $                     3,345.00
     11/3/2014                                                                                            1.7   $                       772.50
   Evan Blum                                                                                              0.9   $                       472.50
Call with co and Cred comm to review issues of concern to committee - JC review of
operations, respond to questions                                                                          0.4   $                      210.00
Pre call with cred committee among company GR and counsel re issues to address                            0.4   $                      210.00
Review updated production analysis in preparation for committee call                                      0.1   $                       52.50
   Sean Allen, CFA, CPA, CIRA                                                                             0.8   $                      300.00
Discuss Debtors' financial performance with Nixon Peabody, John Boyd, Foley Lardner,
Management, and Committee                                                                                 0.4   $                       150.00
Internal call with Management and Nixon Peabody in preparation for call with Committee                    0.4   $                       150.00
     11/5/2014                                                                                            2.4   $                     1,260.00
   Evan Blum                                                                                              2.4   $                     1,260.00
Meet with Goggin, ECM counsel and Nixon re case status; exit financing alternatives                       2.4   $                     1,260.00
     11/7/2014                                                                                            0.2   $                       105.00
   Evan Blum                                                                                              0.2   $                       105.00
Review and respond to emails from committee FA re production figures and request for call
on go forward mine plan                                                                                   0.2   $                      105.00
     11/9/2014                                                                                            0.2   $                      105.00
   Evan Blum                                                                                              0.2   $                      105.00
Exchange emails with EG re initial work on responses to committee re insider payments                     0.2   $                      105.00
     11/10/2014                                                                                           0.5   $                      262.50
   Evan Blum                                                                                              0.5   $                      262.50
Call with JC and Boyd to respond to questions on production and mining conditions                         0.5   $                      262.50
     11/11/2014                                                                                           0.7   $                      367.50
   Evan Blum                                                                                              0.7   $                      367.50
Compose email note with GR effective date analysis to ECM                                                 0.2   $                      105.00
Review EG information on interest and principal payments to certain individuals at request
of committee (.3); call with EG to discuss and disseminate to Debtor counsel (.2)                         0.5   $                      262.50
     11/17/2014                                                                                           0.4   $                      210.00
   Evan Blum                                                                                              0.4   $                      210.00
Call with JC and Boyd to respond to questions related to production levels                                0.4   $                      210.00
     11/24/2014                                                                                           0.4   $                      210.00
   Evan Blum                                                                                              0.4   $                      210.00
Call with committee to address issues as requested                                                        0.4   $                      210.00
     11/30/2014                                                                                           0.1   $                       52.50
   Evan Blum                                                                                              0.1   $                       52.50
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                                       Time Entry                                         Billable Hours           Billable Amount
Respond to open questions from committee on actual versus budgeted results                               0.1   $                         52.50
                   Plan and Disclosure Statement (incl. Business Plan)                                243.4    $                     88,824.80
    11/1/2014                                                                                            5.2   $                      1,690.00
  Marc Levee                                                                                             5.2   $                      1,690.00
Continue projected mining forecast at LRR Division - production                                          1.8   $                        585.00
Continue to work on projected mining forecast at LRR Division - operating costs                          1.8   $                        585.00

Further work on operating costs assumptions for projected mining forecast at LRR Division                0.7   $                       227.50
Mining forecast at LRR Division from 2017 through 2022                                                   0.9   $                       292.50
    11/2/2014                                                                                            2.6   $                       845.00
   Marc Levee                                                                                            2.6   $                       845.00
Continue to work on operating costs and capital expenditures projections from 2017 through
2022 at the LRR Division                                                                                2.6 $                           845.00
    11/3/2014                                                                                          10.6 $                         3,480.00
   Marc Levee                                                                                           9.9 $                         3,217.50
Continue to work on long-term projections with S. Allen - surety bonds premium payment
and long-term payments                                                                                     0 $                            -
Continue to work on mining plan through 2022 at the LRR Division - below EBITDA line                     0.7 $                         227.50
Further updates and discussion with S. Allen regarding long-term financial projections -
production at surface and high wall miner                                                                2.5 $                         812.50
Further work on long-term projections at LRR Division - surety bonds and other operating
costs                                                                                                    2.5 $                         812.50

Prepare summary overview of long-term projections from 2017 to 2022 at the LRR Division                  1.8 $                         585.00

Review long-term projections for the LRR Division from 2017 through 2022 with S. Allen                  1.4    $                        455.00
Revise long-term projections at LRR Division - focus on production                                        1    $                        325.00
   Sean Allen, CFA, CPA, CIRA                                                                           0.7    $                        262.50
Review long term projections for third party investment with M. Levee                                   0.7    $                        262.50
Work on REDACTED model with M. Levee (Professional Development)                                           0    $                           -
     11/4/2014                                                                                         13.1    $                      4,772.50
   Evan Blum                                                                                            2.1    $                      1,102.50
Review and mark GR memo summarizing projections for REDACTED                                            0.5    $                        262.50
Review GR memo on projections for REDACTED with SA and ML - provide comments to
be addressed in updated version                                                                          0.4 $                         210.00
Call with S Blevins, J Collins and GR re REDACTED projections (.9); follow internally re
changes to model (.3)                                                                                    1.2 $                          630.00
   Marc Levee                                                                                            9.1 $                        2,957.50
Continue to review and update long-term projections at the LRR Division with S. Allen                    2.2 $                          715.00

Discuss long-term projections related to exit financing scenarios with S. Allen and E. Blum              0.3 $                          97.50
Follow up and review long-term projections at the LRR Division with E. Blum                              0.5 $                         162.50
Prepare for and participate in discussion of long-term projections with S. Allen, E. Blum,
and Management; follow up discussion internally re the same                                              1.9 $                         617.50
Revisions to long-term projection model for exit financing scenario, including discussions
with Management on production                                                                            3.4 $                        1,105.00
Updates to production schedule and surety bond payments for long-term projection model at
LRR Division                                                                                            0.8    $                        260.00
   Sean Allen, CFA, CPA, CIRA                                                                           1.9    $                        712.50
Discuss exit financing projections with E. Blum and M. Levee                                            0.3    $                        112.50
Discuss exit financing projections with Management                                                      0.8    $                        300.00
Discuss revisions to exit financing projections with E. Blum and M. Levee                               0.8    $                        300.00
Work on REDACTED model with M. Levee (Professional Development)                                           0    $                           -
    11/5/2014                                                                                          13.8    $                      5,410.00
   Evan Blum                                                                                            1.9    $                        997.50
Work with S Allen and M Levee on multiple iterations around projections requested by
REDACTED regarding exit financing proposal (1.5); call with JC, S Blevins and GR to
discuss and finalize (.4)                                                                                1.9 $                         997.50
   Marc Levee                                                                                              1 $                         325.00
Discuss long-term projection model at LRR Division with S. Allen and Management                          0.5 $                         162.50

Discussion with E. Blum and S. Allen regarding long-term projection model at LRR Division               0.5    $                        162.50
   Sean Allen, CFA, CPA, CIRA                                                                          10.9    $                      4,087.50
Discuss long term projections with M. Levee and E. Blum                                                   1    $                        375.00
Discuss projections and long term mining plans with Management                                          0.7    $                        262.50
Draft Exit Financing presentation of alternative scenario (including multiple conversations
with E. Blum)                                                                                            4.4   $                      1,650.00
Revise long term mining plan and projections per earlier call with Management                            2.2   $                        825.00
Summarize mining plan for upcoming call with Management                                                  0.5   $                        187.50
Update core operating model per recent Management discussions                                            2.1   $                        787.50
    11/6/2014                                                                                            7.3   $                      2,642.40
   Marc Levee                                                                                            1.9   $                        617.50
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Update long term-projection model for LRR Division with regards to mechanics of
production assumptions                                                                                      1.9   $                       617.50
   Sean Allen, CFA, CPA, CIRA                                                                               5.4   $                     2,024.90
Discuss Auger projections with E. Gabbert                                                                   0.3   $                       112.50
Prepare exit financing projections for distribution                                                           1   $                       375.00
Update core operating model per recent Management discussions                                               4.1   $                     1,537.40
     11/7/2014                                                                                                2   $                       650.00
   Marc Levee                                                                                                 2   $                       650.00
Continue to work on long-term model - production                                                              0   $                          -
Continue to work on long-term projections - production modeling                                             0.7   $                       227.50
Further work on financial modeling for production and revenue                                               1.3   $                       422.50
     11/10/2014                                                                                           12.7    $                     4,492.50
   Marc Levee                                                                                               5.4   $                     1,755.00
Discuss presentation with E. Blum and begin to work on presentation to potential financing
partner for the LRR Division                                                                                1.5   $                      487.50
Finalize surety bond payment forecast for long-term projection model                                        0.8   $                      260.00
Further work on forecasting surety bond payments for the long-term projection model at the
LRR Division                                                                                                0.8   $                      260.00
Review long term model draft with S. Allen                                                                  0.5   $                      162.50
Review long-term projection model with S. Allen - production, revenue, surety bonds                         0.5   $                      162.50
Review production, revenue, surety bond, and capex schedule for long-term projection
model                                                                                                       0.4   $                       130.00
Work on capital expenditure schedule for long-term projection model                                         0.9   $                       292.50
   Sean Allen, CFA, CPA, CIRA                                                                               7.3   $                     2,737.50
Review exit financing presentation with M. Levee                                                            0.5   $                       187.50
Review long term model draft with M. Levee                                                                  0.5   $                       187.50
Update core operating model for August and September results - JAD                                          4.2   $                     1,575.00
Update core operating model for consolidation work                                                          2.1   $                       787.50
     11/11/2014                                                                                           11.5    $                     4,147.50
   Marc Levee                                                                                               3.3   $                     1,072.50
Discuss and review long-term projections in conjunction with third party financing with S.
Allen                                                                                                         1   $                      325.00
Prepare summary overview presentation on LRR long-term projections through 2022                               1   $                      325.00
Updates to long-term projection model at LRR Division in conjunction with third party
financing                                                                                                   1.3   $                       422.50
   Sean Allen, CFA, CPA, CIRA                                                                               8.2   $                     3,075.00
Review long term projections in conjunction with third party capital raise                                    1   $                       375.00
Update consolidation - core JAD Model                                                                       2.9   $                     1,087.50
Update core operating model for consolidation worksheet - JAD                                               4.3   $                     1,612.50
     11/12/2014                                                                                           11.6    $                     4,250.00
   Evan Blum                                                                                                0.8   $                       420.00
Internal meetings with SA and ML re business plan projections - updating 2015/2016; LT
model adjustments; need to develop JAD.                                                                     0.8   $                       420.00
   Marc Levee                                                                                               4.4   $                     1,430.00
Discuss long-term projections with S. Allen and E. Blum; further discussions re the same
with S. Allen, E. Blum, and Company                                                                         1.2   $                      390.00
Further updates to long-term projection model and prepare for presentation of results                       1.8   $                      585.00
Prepare for and participate in discussion with S. Allen and Management re: long-term
projections assumptions related to prices and operating costs per ton                                       0.5   $                       162.50
Review long-term projection model for discussion purposes                                                     0   $                          -
Work on price and cost per ton scenario assumptions for long-term projection model                          0.9   $                       292.50
   Sean Allen, CFA, CPA, CIRA                                                                               6.4   $                     2,400.00
Discuss exit financing projections with M. Levee and E. Blum                                                1.2   $                       450.00
Update LRR core model update for August / September                                                         5.2   $                     1,950.00
     11/13/2014                                                                                             6.6   $                     2,440.00
   Marc Levee                                                                                               0.7   $                       227.50
Begin to compile presentation for long-term projection at LRR Division (2014 - 2022)                        0.7   $                       227.50
Discuss long-term projection model and deliverables with S. Allen                                             0   $                          -
   Sean Allen, CFA, CPA, CIRA                                                                               5.9   $                     2,212.50
Revise reclamation estimates                                                                                0.7   $                       262.50
Update Core LRR operating model - Coal Preparation Assumptions and results                                  2.8   $                     1,050.00
Update core operating model for royalties (JAD and LRR)                                                     1.8   $                       675.00
Update non producing mines in operating model (LRR)                                                         0.6   $                       225.00
Update revenue assumptions, mechanics and linkage between models                                              0   $                          -
     11/14/2014                                                                                           12.9    $                     4,617.50
   Marc Levee                                                                                               4.4   $                     1,430.00
Discuss long-term projection model with S. Allen and E. Blum re: changes made and related
presentation                                                                                                0.6   $                      195.00
Discuss updates to coal preparation and transportation costs with S. Allen                                  0.9   $                      292.50
Further review of long term projection model for the 2014 - 2016 period                                       1   $                      325.00
Reconcile and review long-term projections for LRR Division with S. Allen                                   1.9   $                      617.50
Research post-confirmation interest on unsecured priority tax claims and implement findings
into model                                                                                                    0   $                         -
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   Sean Allen, CFA, CPA, CIRA                                                                               8.5   $                     3,187.50
Discuss updated coal preparation, transportation and cost escalation with M. Levee                          0.9   $                       337.50
Discuss updates to LRR and exit financing discussions with M. Levee and E. Blum                             0.6   $                       225.00
Reconcile Q3 statement of cash flows to projections (LRR)                                                   2.1   $                       787.50
Research post-confirmation interest on unsecured priority tax claims and implement                          0.7   $                       262.50
Revise 2014-2016 detailed LRR model per E. Blum comments and revised mine sequencing;
revise professional fee estimates                                                                           3.2   $                     1,200.00
Update and integrate 2017-2022 LRR model                                                                      1   $                       375.00
     11/15/2014                                                                                             4.9   $                     1,737.50
   Marc Levee                                                                                                 2   $                       650.00
Review long-term projection model - diesel prices                                                           0.8   $                       260.00
Review long-term projection model and prepare related powerpoint presentation                               1.2   $                       390.00
   Sean Allen, CFA, CPA, CIRA                                                                               2.9   $                     1,087.50
Discuss latest iteration of projections with E. Blum                                                        0.8   $                       300.00
Update corporate projections for core operating model and update actual figures; reconcile
to LRR financials                                                                                       2.1       $                       787.50
     11/16/2014                                                                                         3.8       $                     1,235.00
   Marc Levee                                                                                           3.8       $                     1,235.00
Continue to work on presentation for long-term projection model at LRR Division                         0.6       $                       195.00
Prepare presentation for long-term projection model at LRR Division                                     3.2       $                     1,040.00
     11/17/2014                                                                                        13.8       $                     5,285.00
   Evan Blum                                                                                              3       $                     1,575.00
Work with ML on multiple iterations of GR memo accompanying updated LT projections to
REDACTED                                                                                                      3   $                     1,575.00
   Marc Levee                                                                                               6.8   $                     2,210.00
Edits and revisions to long-term projection presentation for LRR Division                                   1.2   $                       390.00
Final adjustments to draft presentation and send for Management and counsel review                          1.9   $                       617.50
Prepare for and participate in meeting with E. Blum and S. Allen regarding long-term
projections presentation                                                                                    0.7 $                        227.50
Review LRR presentation with E. Blum                                                                        0.7 $                        227.50
Revise long-term projections presentation per meeting with E. Bum                                             1 $                        325.00
Update LRR presentation based on meeting and discuss operating costs in the long-term
projections with S. Allen                                                                               1.3       $                       422.50
   Sean Allen, CFA, CPA, CIRA                                                                             4       $                     1,500.00
Break model into LRR only version                                                                         0       $                          -
Discuss exit financing memo with M. Levee and E. Blum                                                   0.5       $                       187.50
Prepare LRR model for distribution in connection with potential exit financing source                   2.2       $                       825.00
Review exit financing projections with M. Levee and E. Blum                                             1.3       $                       487.50
     11/18/2014                                                                                        12.9       $                     4,737.40
   Evan Blum                                                                                            0.4       $                       210.00
Call with S Allen re status of updated JAD projections needed for parties interested in exit
financing for JAD                                                                                           0.4   $                       210.00
   Marc Levee                                                                                               3.2   $                     1,040.00
Begin preparing long-term projections for the JAD Division                                                  0.4   $                       130.00
Continue to set up long-term projection model for the JAD Division                                          0.4   $                       130.00
Discuss presentation with E. Bum (0.3); further revisions per discussion (0.3)                              0.6   $                       195.00
Prepare and send projections and related presentation to potential third party financing
partner                                                                                                     0.5 $                         162.50
Updates to long-term projection presentation - various edits                                                1.3 $                         422.50
   Sean Allen, CFA, CPA, CIRA                                                                               9.3 $                       3,487.40

Update balance sheet, statement of cash flows, and income statement for Q3 results for JAD                  5.2   $                     1,950.00
Update JAD monthly shipping assumptions                                                                     4.1   $                     1,537.40
     11/19/2014                                                                                              13   $                     4,615.00
   Evan Blum                                                                                                  1   $                       525.00
Call with Company and S Allen (on site) re projections and terms in regard to REDACTED
exit financing as well as reviewing REDACTED questions on model                                               1   $                       525.00
   Marc Levee                                                                                               8.2   $                     2,665.00
Continue to work on 2017-2022 long-term projections at JAD Division                                         2.1   $                       682.50
Continue to work on cost assumptions for 2017 - 2022 at the JAD Division                                    1.6   $                       520.00
Discuss pricing and cost scenario at LRR Division and long-term projections at JAD
Division with S. Allen                                                                                      0.3 $                         97.50
Further work on cost assumptions and prepare production/revenue forecast for JAD long-
term projections                                                                                            0.8 $                        260.00
Prepare scenario based on price per ton and cost assumptions based on inflation at LRR
Division                                                                                                    0.3 $                          97.50
Work on cost assumptions for the long-term projections at the JAD Division                                  3.1 $                       1,007.50
   Sean Allen, CFA, CPA, CIRA                                                                               3.8 $                       1,425.00
Working on site; discuss JAD operations with Management; update JAD model for
discussions and in preparation of long term reserves model                                                  3.8 $                       1,425.00
     11/20/2014                                                                                             8.9 $                       3,247.50
   Marc Levee                                                                                               1.8 $                         585.00
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Continue to work on cost assumptions for JAD long-term model - R&M, tires, fuel & lube                       1.2 $                          390.00
Review secured debt file and reconcile to long-term projections at LRR Division                              0.6 $                          195.00
   Sean Allen, CFA, CPA, CIRA                                                                                7.1 $                        2,662.50
Discuss progress of financing discussions, respond to questions by potential source of
financing; update JAD summary and assumptions; discuss projections with potential source
of financing                                                                                                 7.1 $                        2,662.50
     11/21/2014                                                                                              6.8 $                        2,460.00
   Marc Levee                                                                                                1.8 $                          585.00
Call with Management and S. Allen to discuss long-term JAD production assumptions;
follow up call with S. Allen re the same                                                                     0.5 $                          162.50
Continue to work on JAD long-term projections - yards, ratios, production                                    1.3 $                          422.50
   Sean Allen, CFA, CPA, CIRA                                                                                  5 $                        1,875.00
Discuss auger projections with Management in regards to projections for sources of exit
financing                                                                                                    0.4 $                         150.00
Discuss Ivyton bridge analysis with M. Levee and E. Blum regards to projections for sources
of exit financing                                                                                            0.6 $                         225.00
Discuss JAD projections in connection with potential exit financing with M. Levee                            0.4 $                         150.00

Discuss JAD reserves with M. Levee in regards to projections for sources of exit financing                   0.4 $                         150.00
Discuss JAD reserves with Management in regards to projections for sources of exit
financing                                                                                                0.4       $                        150.00
Update exit financing projection for LRR                                                                 2.8       $                      1,050.00
     11/22/2014                                                                                          0.6       $                        225.00
   Sean Allen, CFA, CPA, CIRA                                                                            0.6       $                        225.00
Discuss LRR operations and exit financing progression with E. Blum                                       0.6       $                        225.00
     11/23/2014                                                                                          4.1       $                      1,577.50
   Evan Blum                                                                                             0.4       $                        210.00
Call with ML and SA re post petition financing memo update                                               0.4       $                        210.00
   Marc Levee                                                                                            0.4       $                        130.00
Call with EB and SA re post petition financing memo update                                               0.4       $                        130.00
   Sean Allen, CFA, CPA, CIRA                                                                            3.3       $                      1,237.50
Discuss LRR exit financing projections and presentation with M. Levee and E. Blum                        0.4       $                        150.00
Update LRR exit financing projections and presentation per comments from E. Blum                         2.9       $                      1,087.50
     11/24/2014                                                                                         10.5       $                      3,772.50
   Evan Blum                                                                                             0.9       $                        472.50
Call with counsel to discuss LRR and JAD projections                                                     0.8       $                        420.00
Email correspondence with SB re need for JAD mining projections                                          0.1       $                         52.50
   Marc Levee                                                                                              6       $                      1,950.00
Continue to work on production/revenue assumptions for JAD Division; follow up
discussion with Company                                                                                        1   $                       325.00
Further work on revenue and production assumptions at JAD Division for 2017-2022                             1.6   $                       520.00
Prepare certain charts for JAD Division's long-term projections presentation                                   2   $                       650.00
Review mine reserves at JAD Division                                                                         0.8   $                       260.00
Work on production/revenue assumptions with regards to deep mine for the 2017-2022
period                                                                                                       0.6 $                          195.00
   Sean Allen, CFA, CPA, CIRA                                                                                3.6 $                        1,350.00
Discuss JAD operations, bonding and reserves with Management (for use in exit financing
materials)                                                                                               0.5       $                        187.50
Update JAD 2014-2016 projections for reserves updates                                                    3.1       $                      1,162.50
     11/25/2014                                                                                         18.7       $                      6,427.50
   Marc Levee                                                                                           11.7       $                      3,802.50

continue to prepare first draft of JAD long-term projections presentation and send for review                0.5   $                       162.50
Discuss JAD mining reserves with S. Allen                                                                    0.3   $                        97.50
Further work on JAD long-term projections - revenue/production, reserves                                     1.2   $                       390.00
Review long-term projections at JAD Division with S. Allen                                                   0.9   $                       292.50
Work on long-term projections at JAD - 2017-2022                                                             0.3   $                        97.50

Work on long-term projections for JAD Division - coal prep assumptions, auger production                 2.5       $                        812.50
Work on presentation of long-term JAD projections                                                        4.5       $                      1,462.50
Work on surety bonds assumptions at JAD for long-term projections                                        1.5       $                        487.50
   Sean Allen, CFA, CPA, CIRA                                                                              7       $                      2,625.00
Discuss JAD reserves information with Management and M. Levee                                            0.3       $                        112.50
Prepare JAD 2014-2016 projections for distribution                                                       3.4       $                      1,275.00
Review long term JAD projections with M. Levee                                                           0.9       $                        337.50
Update auger projections (JAD)                                                                           2.4       $                        900.00
     11/26/2014                                                                                         26.2       $                     10,150.00
   Evan Blum                                                                                             5.1       $                      2,677.50
Review updated GR JAD projection memo; call with ML to review by page and make
further changes                                                                                              1.6 $                         840.00
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Work on JAD projections with SA and ML for 2014-2022 time period; address modeling
assumptions including discussions on certain issues with JC, MW and SB. Review first draft
of GR JAD projection memo; mark with changes and review with SA and ML.                                       3.5   $                      1,837.50
   Marc Levee                                                                                                 8.8   $                      2,860.00
Call with EB to review by page and make further changes                                                         1   $                        325.00
Discuss JAD long-term projections presentation with E. Blum                                                   1.2   $                        390.00
Meet with E. Blum and S. Allen to discuss exit financing projections at LRR and JAD
Divisions                                                                                                 3.9 $                            1,267.50
Work on JAD projections with EB and SA for 2014-2022 time period                                          2.7 $                              877.50
   Sean Allen, CFA, CPA, CIRA                                                                            12.3 $                            4,612.50
Meet to discuss exit financing projections and presentation thereof with M. Levee and E.
Blum                                                                                                          4.2 $                        1,575.00
Prepare fuel and lubrication bridge analysis comparing impact of multiple variables on per
ton costs at request of potential exit financing source                                                       5.4   $                      2,025.00
Work on JAD projections with EB and ML for 2014-2022 time period                                              2.7   $                      1,012.50
     11/27/2014                                                                                               1.6   $                        520.00
   Marc Levee                                                                                                 1.6   $                        520.00
Update draft presentation of long-term projections at JAD and send for review                                 1.6   $                        520.00
     11/28/2014                                                                                                 5   $                      2,215.00
   Evan Blum                                                                                                  2.8   $                      1,470.00
Call with JC to discuss JAD projections                                                                       0.2   $                        105.00
Call with M Levee to review GR JAD projection memo; update with changes; distribute
internally                                                                                                    1.6   $                       840.00
Call with MW to discuss JAD projections                                                                       0.2   $                       105.00
Review updated JAD GR projection memo                                                                         0.8   $                       420.00
   Marc Levee                                                                                                 1.6   $                       520.00
Call with EB to review GR JAD projection memo                                                                 0.8   $                       260.00

Discuss next iteration of long-term projections presentation at JAD with E. Blum and revise                   0.8   $                        260.00
   Sean Allen, CFA, CPA, CIRA                                                                                 0.6   $                        225.00
Call with EB, JC and SB re GR memo on JAD projections                                                         0.6   $                        225.00
     11/29/2014                                                                                               0.4   $                        150.00
   Sean Allen, CFA, CPA, CIRA                                                                                 0.4   $                        150.00
Discuss exit financing progress with E. Blum                                                                  0.4   $                        150.00
     11/30/2014                                                                                               2.3   $                      1,032.50
   Evan Blum                                                                                                  1.3   $                        682.50
Call with MW to discuss GR memo on JAD projections                                                            0.5   $                        262.50
Call with S Allen, JC and SB re GR memo on JAD projections                                                    0.6   $                        315.00
Review GR JAD projection memo and email to SA needed changes                                                  0.2   $                        105.00
   Marc Levee                                                                                                 0.5   $                        162.50

Update JAD long-term projections presentation for long-term contracts and send for review                     0.5   $                       162.50
   Sean Allen, CFA, CPA, CIRA                                                                                 0.5   $                       187.50
Discuss exit financing progress with E. Blum and Management                                                   0.5   $                       187.50
                    Relief from Stay/ Adequate Protection Proceedings                                         0.2   $                       105.00
     11/3/2014                                                                                                0.2   $                       105.00
   Evan Blum                                                                                                  0.2   $                       105.00
Review Court Approved Extensions for Adequate Protection Payments - Caterpillar;
Komatsu; Commercial Bank; JAD Lenders                                                                     0.2       $                        105.00
                                           Tax Issues                                                     0.5       $                        172.50
     11/2/2014                                                                                            0.1       $                         52.50
   Evan Blum                                                                                              0.1       $                         52.50
Review S Allen memo on personal property tax claim and priority in liquidation                            0.1       $                         52.50
     11/3/2014                                                                                            0.3       $                         67.50
   David Neyhart, CPA                                                                                     0.3       $                         67.50
Reserach unmined mineral tax amounts for JAD.                                                             0.3       $                         67.50
     11/9/2014                                                                                            0.1       $                         52.50
   Evan Blum                                                                                              0.1       $                         52.50
Review KY Property Tax levied on JAD - priority claim                                                     0.1       $                         52.50
                                            Valuation                                                    57.1       $                     17,107.50
     11/1/2014                                                                                            4.7       $                      2,182.50
   David Neyhart, CPA                                                                                     0.3       $                         67.50
Call with EB to discuss valuation analysis and liquidation waterfall                                      0.3       $                         67.50
   Evan Blum                                                                                              3.1       $                      1,627.50
Email exchange with counsel re treatment of reclamation claims and severance taxes in
liquidation scenario                                                                                          0.1 $                          52.50
Review Oct 30 Resource Tech appraisal report (.8); review GR report summarizing orderly
liquidation based on report (.6); call with D Neyhart to discuss memo (.3); call with D
Drebsky to discuss certain issues(.2); call with S Allen to discuss certain issues (.2); write
additional pages to GR memo (.4); meet with S Allen in NJ to discuss and review updated
GR memo (.5)                                                                                                    3 $                        1,575.00
   Sean Allen, CFA, CPA, CIRA                                                                                 1.3 $                          487.50
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                                          Time Entry                                        Billable Hours           Billable Amount
Discuss valuation, various scenarios, and valuation memo with E. Blum                                      0.7   $                       262.50
Revise valuation memo per earlier meeting                                                                  0.6   $                       225.00
     11/2/2014                                                                                             4.3   $                     1,237.50
   David Neyhart, CPA                                                                                      3.4   $                       765.00
Call with EB to discuss changes to valuation and liquidation analysis.                                     0.2   $                        45.00
Update liquidation analysis based on comments from EB and SA.                                              2.7   $                       607.50
Update liquidation presentation after call with EB.                                                        0.5   $                       112.50
   Evan Blum                                                                                               0.9   $                       472.50
Email exchange with counsel re valuation of pre April 2008 equipment                                       0.1   $                        52.50
Review updated GR memo on orderly liquidation value (.6); call with D Neyhart regarding
changes (.2)                                                                                               0.8   $                       420.00
     11/3/2014                                                                                           18.5    $                     5,677.50
   David Neyhart, CPA                                                                                       11   $                     2,475.00
Calculate equity/deficiency amounts for each secured creditor based on revised balance
sheet figures.                                                                                             0.8   $                      180.00
Discussions with MG re analysis of DCF and going concern assumptions in the valuation
report.                                                                                                    0.4   $                       90.00
Meeting with EB to discuss updates to liquidation and valuation analysis.                                  0.3   $                       67.50
Review going concern assumptions from Resource Technologies report and discussions with
MG and SA regarding same.                                                                                  2.8   $                      630.00
Update liquidation analysis based on revised balance sheet info from company.                              2.7   $                      607.50
Update liquidation analysis to include going concern assumptions.                                          2.8   $                      630.00
Update liquidation presentation based on going concern assumptions and updated account
balances.                                                                                                  1.2   $                       270.00
   Evan Blum                                                                                               2.6   $                     1,365.00
Call with D Drebsky re reclamation impact on Resource Tech appraisal (.2); follow with
MW re details of company's reclamation and bonding program to assess impact of
reclamation liability on Resource Tech appraisal (.5)                                                      0.7   $                      367.50
Call with Laura Day re reclamation impact on valuation analysis                                            0.5   $                      262.50
Review further updated GR memo on liquidation value based on Resource Tech report (.3);
call with S Allen to discuss changes to memo (.2); call with MW to discuss draft memo re
same to be sent for his comments(.2)                                                                       0.7   $                      367.50
Review valuation assumptions re waterfall with MW based upon Resource Tech appraisal                       0.2   $                      105.00
Work with S Allen on recovery spreadsheet based on Resource Tech appraisal                                 0.5   $                      262.50
Marshall Glade, CPA                                                                                        2.6   $                      975.00
Analyze updated resource technologies going concern report; calls with D Neyhart to discuss
various issues                                                                                             1.7   $                      637.50
Call with DN and E B to discuss going concern analysis and follow up with DN re same                       0.5   $                      187.50
Discussions with DN re analysis of DCF and going concern assumptions in the valuation
report                                                                                                     0.4   $                       150.00
   Sean Allen, CFA, CPA, CIRA                                                                              2.3   $                       862.50
Correspondence with Management re: valuation issues                                                        0.6   $                       225.00
Discuss reclamation liability with D. Drebsky and E. Blum                                                  0.2   $                        75.00
Discuss reclamation with M. Windisch and E. Blum                                                           0.5   $                       187.50
Discuss valuation in orderly liquidation scenario with D. Neyhart                                          0.5   $                       187.50
Internal GR Meeting re: cash flow projections and valuation                                                0.5   $                       187.50
     11/4/2014                                                                                           12.3    $                     3,667.50
   David Neyhart, CPA                                                                                      8.1   $                     1,822.50
Call with MG and EB to discuss going concern analysis and follow up with MG regarding
same.                                                                                                      0.5   $                      112.50
Follow up with JK regarding going concern appraisal analysis.                                              0.7   $                      157.50
Meeting with GR team to discuss updating valuation analysis and impact of liquidation
analysis.                                                                                                  0.6   $                      135.00
Prepare analysis of going concern assumptions used in appraisal report.                                    2.8   $                      630.00
Prepare isolated waterfall analysis for each entity.                                                       1.9   $                      427.50
Update valuation and liquidation analysis with isolated waterfall analysis.                                1.6   $                      360.00
   Evan Blum                                                                                               1.8   $                      945.00
Call with MG and DN re going concern portion of Resource Tech appraisal and open
questions (.5); review initial GR analysis (.2)                                                            0.7   $                      367.50
Call with MW and S Allen re valuation of HWM 37                                                            0.4   $                      210.00
Work with D Neyhart in updating GR valuation analysis for orderly liquidation based on
appraisal; counsel comments; additional waterfall analysis                                                 0.7   $                       367.50
Marshall Glade, CPA                                                                                          2   $                       750.00
Liquidation analysis and review; summarize resource technology assumptions and analyze                       2   $                       750.00
   Sean Allen, CFA, CPA, CIRA                                                                              0.4   $                       150.00
Discuss capital expenditures and equipment valuation with Management and E. Blum                           0.4   $                       150.00
     11/5/2014                                                                                             4.2   $                     1,215.00
   David Neyhart, CPA                                                                                      2.9   $                       652.50
Call with EB, Counsel, and the Company to discuss valuation analysis.                                      0.5   $                       112.50

Meeting with EB and SA to discuss projections used in valuation models and follow up after.                0.4 $                         90.00
Review going concern analysis prepared by Resource Technologies.                                             2 $                        450.00
  Evan Blum                                                                                                0.5 $                        262.50
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                                        Time Entry                                         Billable Hours           Billable Amount
Review GR memo on orderly liquidation based on appraisal with Nixon Del Cotto & Co                        0.5   $                      262.50
Marshall Glade, CPA                                                                                       0.4   $                      150.00
Discuss projections and valuation with DN, SA and EB                                                      0.4   $                      150.00
   Sean Allen, CFA, CPA, CIRA                                                                             0.4   $                      150.00
Discuss projections and valuation with D. Neyhart, M. Glade, and E. Blum                                  0.4   $                      150.00
    11/6/2014                                                                                             3.1   $                      697.50
   David Neyhart, CPA                                                                                     3.1   $                      697.50
Update going concern analysis with revised appraisal estimate which included terminal
value.                                                                                                    3.1   $                      697.50
    11/7/2014                                                                                             2.1   $                      472.50
   David Neyhart, CPA                                                                                     2.1   $                      472.50
Review DCF model used by appraiser and identify equipment classifications (needed for
ops/not needed for ops)                                                                                   1.4   $                       315.00
Update going concern slides with equipment info.                                                          0.7   $                       157.50
    11/19/2014                                                                                            5.6   $                     1,440.00
   David Neyhart, CPA                                                                                       5   $                     1,125.00

Meetings with EB to discuss going concern analysis and resource technologies DCF model.                   0.6 $                        135.00
Review and update going concern analysis and presenation.                                                   1 $                        225.00
Review resource technologies final appraisal report.                                                      2.8 $                        630.00
Update exhibit showing equipment needed/not needed as determined in resource
technologies final appraisal report.                                                                      0.6 $                        135.00
   Evan Blum                                                                                              0.6 $                        315.00

Meetings with DN to discuss going concern analysis and resource technologies DCF model                    0.6   $                      315.00
    11/20/2014                                                                                            2.3   $                      517.50
  David Neyhart, CPA                                                                                      2.3   $                      517.50
Review final resource technologies appraisal report.                                                      1.8   $                      405.00
Update going concern analysis based on final appraisal report.                                            0.5   $                      112.50

                                      Grand Total                                                      437.4 $                    159,929.80
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                                                                   Expense Detail for November Fee Statement

Transaction Date        Category for Court               Professional Full Name                                    Description                            Billable Slip Value
       11/1/2014 Local Travel                      Marc Levee                         Car from NYC office to LGA airport for S. Allen and M. Levee on                      $75.88
                                                                                      10/20/14 for flight to Lexinginton
         11/1/2014 Local Travel                    Marc Levee                         Car from EWR airport to home on 10/23/14 (12:50am pick-up) -                       $132.02
                                                                                      flight back from Lexington
         11/1/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (working breakfast with E. Blum)                                   $5.75
         11/3/2014     Local Travel                Evan Blum                          Car N Caldwell- NWK airport 10/22 trip                                             $135.56
         11/3/2014     Meals (local)               David Neyhart, CPA                 Late night dinner at office in NY.                                                  $10.00
         11/3/2014     Local Travel                David Neyhart, CPA                 Cab home after 10 in NY.                                                            $22.00
         11/3/2014     Meals (local)               Marc Levee                         Dinner in NYC office                                                                 $8.50
         11/4/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Late night transportation from office to home (after 9:00 PM)                      $118.18
         11/4/2014     Meals (local)               Marc Levee                         Dinner in NYC office for M. Levee, S. Allen, and D. Neyhart                         $35.21
         11/7/2014     Local Travel                Marc Levee                         Late night car home from NYC office (12:00 AM pick-up on                           $132.74
                                                                                      morning of 11/4)
         11/9/2014     (a) Transportation          Evan Blum                          Airfare LAG-LEX                                                                   $611.10
         11/9/2014     Local Travel                Evan Blum                          Park NYC Sunday to prepare for trip to Lex                                          $35.00
        11/10/2014     (c) Meals                   Evan Blum                          Lex airport dinner                                                                   $7.37
        11/10/2014     (d) Ground Transportation   Evan Blum                          Car rental lex visit                                                               $128.02
        11/10/2014     (b) Hotel                   Evan Blum                          Hotel Lex - 11/9 visit                                                            $104.35
        11/10/2014     Local Travel                Evan Blum                          Taxi Nwk airport - home                                                             $66.00
        11/10/2014     (a) Transportation          Evan Blum                          Airfare LEX-NWK                                                                   $383.60
        11/13/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Late night transportation from office to home (after 9:00 PM)                      $118.18
        11/15/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (working breakfast with E. Blum)                                   $8.50
        11/19/2014     (a) Transportation          Sean Allen, CFA, CPA, CIRA         Round trip coach airfare from Newark, NJ to Louisville, KY                       $1,364.20
        11/19/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                           $9.23
        11/19/2014     (b) Hotel                   Sean Allen, CFA, CPA, CIRA         One night lodging in Lexington, KY                                                $104.35
        11/19/2014     (a) Transportation          Evan Blum                          Airfare LAG-LEX                                                                   $586.10
        11/19/2014     (d) Ground Transportation   Evan Blum                          Taxi Lex airport - hotel                                                            $51.18
        11/19/2014     (b) Hotel                   Evan Blum                          Hotel visit to lex                                                                $169.00
        11/19/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Tolls ($3.60) + mileage to airport (2014 IRS mileage rate $0.56 x                   $18.16
                                                                                      26 miles)
        11/19/2014     (c) Meals                   Evan Blum                          Dinner LAG airport prior to flight to lex                                           $39.33
        11/19/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                           $7.10
        11/20/2014     (c) Meals                   Evan Blum                          Dinner in Lex - MW and EG with EB                                                   $95.73
        11/20/2014     (b) Hotel                   Evan Blum                          Hotel visit to lex                                                                 $134.97
        11/20/2014     (c) Meals                   Sean Allen, CFA, CPA, CIRA         Meal for S. Allen (travel)                                                          $20.94
        11/20/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Tolls ($3.60) + mileage to airport (2014 IRS mileage rate $0.56 x                   $18.16
                                                                                      26 miles)
        11/20/2014     (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA         Fuel                                                                                $19.12
        11/20/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Parking (2 days)                                                                    $66.00
        11/20/2014     (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA         Rental car                                                                         $163.24
        11/21/2014     (a) Transportation          Evan Blum                          Airfare Lex-LAG                                                                    $586.10
        11/25/2014     Meals (local)               Marc Levee                         Dinner in NYC office                                                                 $7.19
        11/25/2014     Local Travel                Sean Allen, CFA, CPA, CIRA         Late night transportation from office to home (after 9:00 PM)                      $118.18

                                                                                      Total                                                                            $5,716.24
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                                                                                                                    Hours

            Assumption/Rejection of Leases and Contracts

  12/1/2014 E. Blum      Review and compose emails re Kolmar contract for fuel - accept/reject (.3); call           0.70
                         with CD (.2); follow with D Drebsky (.2)
  12/2/2014 E. Blum      Call with MW and SA regarding assumption/rejection of Kolmar contracts                     0.50
            E. Blum      Call with CD regarding assumption / rejection of Kolmar contracts                          0.40
            E. Blum      Review Motion to Enforce Sequoia agreement; email comments to CD                           0.20
            E. Blum      Call with Nixon and management on Kolmar agreements ; proposed response                    0.80
                         regarding changes to existing agreement
  12/3/2014 E. Blum      Review mark up to Kolmar email in regard to fuel and coal contracts going                  0.10
                         forward
            E. Blum      Review spreadsheets and emails over several days related to assumption -                   0.30
                         rejection of leases at LRR re Motion to be filed with Court
 12/15/2014 E. Blum      Review emails on status of sequoia settlement; issue to be heard in Court                  0.20
 12/19/2014 E. Blum      Review emails around Sequoia order compelling compliance with Sequoia                      0.20
                         counsel
 12/21/2014 E. Blum      Review emails around Jones Oil fuel costs and contract; compose emails to MW               0.20
                         re next steps on rejection motion and negotiations
            E. Blum      Review Motion to reject Jones Oil contract                                                 0.20
 12/22/2014 E. Blum      Review various emails re Jones Oil fuel offer; discuss alternatives; agree with co         0.40
                         to move ahead at LRR

            SUBTOTAL:                                                                     [         4.20        2,205.00]

            Business Operations

  12/1/2014 E. Blum      Call with MW re alternative fuel suppliers and pricing at LRR and JAD (.4);                0.80
                         review emails re same prior to call (.1). Review GR fuel sensitivity analysis and
                         discuss with SA (.3)
            S. Allen     Discuss fuel vendor relations with Management and Nixon Peabody                            0.40
            S. Allen     Discuss potential auger economics at LRR Division with S. Blevins                          0.30
            S. Allen     Analyze impact of fuel pricing at both divisions                                           0.60
  12/2/2014 E. Blum      Discuss JAD operations with DD and JC                                                      0.40
            E. Blum      Review quality specs of Sequoia coal deliveries in preparation for Motion to               0.10
                         compel
            S. Allen     Discuss fuel pricing with M. Windisch and E. Blum                                          0.50
            E. Blum      Discuss fuel pricing with M Windisch and S Allen                                           0.50
  12/3/2014 E. Blum      Call with MW to discuss current state of operations at JAD and LRR                         0.50
            E. Blum      Review historical production and cost data                                                 0.20
            E. Blum      Review short term cash flows and detailed analysis of timing issues and                    1.40
                         payments with SA (.8); call with MW re cash flows (.2); call with EG, MW and SA
                         re cash flows (.4)
            S. Allen     Review liquidity of debtors with E. Blum                                                   1.40
  12/5/2014 E. Blum      Work with GR team to prepare GR memo summarizing company operations and                    4.50
                         outline of current status for meeting with counsel
            E. Blum      Meet with counsel re status of operations - case going forward                             1.00
            M. Levee     Prepare current state of the case presentation for counsel - includes internal GR          6.50
                         team meeting to discuss content of presentation and work on and finalize draft
                         presentation
            D. Neyhart   Prepare a summary financial presentation for presentation to Debtor's counsel.             5.70
            D. Neyhart   Meetings with GR team to discuss financial summary presentation, case status               1.40
                         and case strategy.
            S. Allen     Discuss short term liquidity with E. Blum                                                  0.40
            S. Allen     Analyze short term liquidity at both divisions                                             0.90
            S. Allen     Discuss short term liquidity with E. Gabbert                                               0.40
            E. Blum      Discuss short term liquidity with S Allen                                                  0.40
            S. Allen     Meet with counsel re status of operations                                                  1.00
  12/7/2014 E. Blum      Call with S Allen to review GR memo on operations; reorganize and update                   0.60
                         contents on co operations - case status
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  12/7/2014 S. Allen     Call with E Blum to review GR memo on operations - reorganize and update                  0.60
                         contents on co operations - case status
  12/8/2014 E. Blum      Call with JC to discuss go forward alternatives                                           0.40
            S. Allen     Discuss equipment and local JAD management comments with Management                       0.30
  12/9/2014 S. Allen     Multiple discussions with Management concerning LRR and JAD operations,                   8.90
                         analyzing equipment payments, alternative operating scenarios and other
                         alternatives
 12/10/2014 E. Blum      Meet in Lex with SB, EG and SA to review operations - detailed cash analysis;             8.50
                         review asset values - calls with Great American and Resource Tech and
                         internal; work with S Allen on alternative exit models and issues; address
                         operating issues such as fuel, HWM operations with SB and JC
            D. Neyhart   Prepare JAD liquidity forecast, and call with SA to discuss the same.                     1.80
            S. Allen     Multiple discussions with Management and E. Blum concerning LRR and JAD                   8.50
                         operations, analyzing equipment payments, alternative operating scenarios and
                         other alternatives, and analyzing liquidity position
 12/11/2014 E. Blum      Call with JC regarding JAD operational issues                                             0.40
            D. Neyhart   Update LRR liquidity projections based on actual results and adjusted                     1.40
                         projections.
            S. Allen     Discuss further operating scenarios with S. Blevins                                       0.80
            S. Allen     Investigate and analyze multiple operating scenarios and combinations of assets          12.30
                         and operations at both divisions; extend analysis to long term projections
                         (2017-2022)
 12/12/2014 S. Allen     Summarize scenario analysis and incorporate in GR presentation                            3.80
 12/15/2014 S. Allen     Discuss restructuring scenarios with Management                                           0.60
            S. Allen     Meet with Nixon Peabody to discuss alternatives                                           1.50
            S. Allen     Update GR status memo for counsel                                                         2.10
            E. Blum      Discuss operating alternatives at LRR and JAD with JC, MW and SA                          0.60
            E. Blum      Review various go forward operating / financing models for LRR and JAD with               1.50
                         SA and Nixon
            E. Blum      Review and mark with comments GR memo to counsel re alternative operating /               0.60
                         financing scenarios
 12/16/2014 S. Allen     Discuss short term liquidity at LRR with Management                                       0.50
 12/17/2014 E. Blum      Update with company, Nixon and DelCotto in Lexington on cash situation at LRR             6.00
                         and JAD; status of operations at LRR and JAD, post petition financing status
                         and alternatives (4.5); continue discussions with company in regard to operating
                         alternatives; review additional potential sources of financing (1.5)
            S. Allen     Analyze liquidity at both divisions (including 2.4 hour discussion with E. Gabbert)       5.70
 12/18/2014 S. Allen     Discuss LRR operations with S. Blevins                                                    0.40
            S. Allen     Revise short term liquidity projections                                                   3.20
 12/19/2014 E. Blum      Call with JC to review prior day meeting with committee FA                                0.70
            E. Blum      Review Jan- March numbers and assumptions with SA (.5); review with Counsel               1.40
                         (.5); review with Boyd (.4)
            E. Blum      Review further refined JAD analysis with SA in terms of Jan- March projections;           0.70
                         discuss preparation of overview for counsel
            E. Blum      Call with Reclamation counsel re KY law on topic                                          0.30
            E. Blum      Call with JC re JAD ratios near term                                                      0.30
            E. Blum      Review further updated JAD Jan- march numbers and summary powerpoint with                 0.60
                         SA
            S. Allen     Summarize liquidity projections for E. Blum                                               0.50
            S. Allen     Discuss status with M. Windisch and E. Blum                                               0.20
            S. Allen     Discuss status and liquidity with Nixon Peabody and E. Blum                               0.50
            S. Allen     Draft JAD liquidity presentation (including revisions)                                    5.20
            S. Allen     Discuss JAD production assumptions with Management                                        0.80
 12/20/2014 E. Blum      Review GR memo on ST liquidity (.4); call with SA and management to discuss               1.10
                         and mark with changes (.7)
            S. Allen     Discuss status with E. Blum and Management                                                0.70
            S. Allen     Revise JAD liquidity figures and presentation                                             4.20
 12/22/2014 E. Blum      Discussed business operations with D Drebsky and GR memo (.1); sent                       0.20
                         information to committee (.1)
            E. Blum      Review JAD sensitivity analysis and discuss with SA (.5); discuss with counsel            0.80
                         (.2); distribute to Boyd and Comm counsel (.1)
            E. Blum      Review GR memo on JAD short term liquidity forecast                                       0.30
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 12/22/2014 S. Allen        Run sensitivities to JAD liquidity analysis                                                1.00
            S. Allen        Run LRR fuel sensitivity                                                                   0.50
            S. Allen        Discuss LRR liquidity with Management                                                      1.30
            S. Allen        Revise LRR liquidity analysis and presentation per Management comments                     3.50
 12/23/2014 E. Blum         Review GR memo on LRR short term operations and liquidity                                  0.30
            E. Blum         Call with JC and D Drebsky re operations at JAD                                            0.50
            E. Blum         Call with SA and management regarding LRR short term budget and GR memo                    0.50
                            re same
              E. Blum       Review Gr power point on LRR short term projections (.3); call with co                     0.60
                            management to review (.3)
            S. Allen        LRR liquidity call with Management and E. Blum                                             0.50
            S. Allen        Discuss JAD operations with Management                                                     0.80
 12/26/2014 E. Blum         Call with JC re business operations and management changes at JAD (.5);                    0.60
                            email follow to counsel (.1)
            S. Allen        Revise model for new LRR contingency with altered debt financing                           2.60
 12/29/2014 E. Blum         Follow Boyd call with call with JC on LRR and JAD operations and near term                 0.40
                            scenarios
            S. Allen        Discuss operating models with Management                                                   0.50
            S. Allen        Discuss status with NIxon Peabody                                                          0.30
 12/30/2014 S. Allen        Discuss WARN implications with Nixon Peabody and Management                                0.70
            S. Allen        Discuss revised LRR assumptions and projections with Management                            0.90
 12/31/2014 S. Allen        Calculate impact of shift changes on production, cost per ton and cash flows per           1.90
                            Management request (including discussions with Management)

              SUBTOTAL:                                                                      [       136.20       54,860.00]

              Case Administration

  12/2/2014 D. Neyhart      Review docket for 11/25-12/2.                                                              0.30
  12/5/2014 E. Blum         Calls with JC post meeting with Nixon to discuss case status; timing of Lex visit          0.70
  12/7/2014 E. Blum         Call with S Allen re open issues in case - next steps and responsibilities to              0.50
                            address
              E. Blum       Call with JC re case issues to be addressed in upcoming week                               0.50
              S. Allen      Discuss case status with E. Blum                                                           0.50
  12/8/2014   E. Blum       Update MW on case matters                                                                  0.40
              E. Blum       Internal meetings on GR to do list re open case issues                                     0.70
              D. Neyhart    Review docket entries for 12/2-12/7.                                                       0.30
              D. Neyhart    Review payments to professionals and prepare summary analysis.                             0.50
              M. Levee      Internal status meeting with GR team                                                       0.70
              S. Allen      Internal status meeting with GR team                                                       0.70
 12/12/2014   D. Neyhart    Review fee apps for UCC professionals.                                                     0.60
 12/17/2014   D. Neyhart    review docket for 12/15-12/17                                                              0.40
 12/20/2014   E. Blum       Call with SA, JC and MW to update on prior day call with comm counsel and FA               0.80
 12/22/2014   E. Blum       Review lazard industry update                                                              0.20
              D. Neyhart    review docket for 12/17-12/22.                                                             0.30
 12/29/2014   D. Neyhart    Review Docket for 12/22-12/29                                                              0.30

              SUBTOTAL:                                                                      [         8.40        3,280.00]

              Cash Collateral and Post Petition Financing

  12/1/2014 E. Blum         Send historical numbers to Canyon (.1); call with Canyon re exit financing at              0.50
                            LRR (.4)
              E. Blum       Update call with Mercuria regarding post petition financing at LRR                         0.30
              E. Blum       Provide NDA to Noble re post petition financing at LRR; multiple follow up emails          0.20
                            with counsel regarding comments
              E. Blum       Review DIP financing docs at JAD (.4); email correspondence with CD and MW                 0.60
                            re issues to be addressed (.2)
  12/3/2014 E. Blum         Follow up with potential providers of post petition financing at LRR re interest           0.40
            E. Blum         Finalize NDA with Noble re post petition financing                                         0.20
            E. Blum         Review and discuss internally response of Canyon in regard to potential LRR                0.10
                            transaction
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  12/3/2014 M. Levee      Discuss exit financing alternatives at LRR and JAD with S. Allen and E. Blum                   0.70
  12/8/2014 E. Blum       Call with Noble re potentially providing exit financing                                        0.60
            E. Blum       Finalize NDA with BlackHawk re potential post petition financing                               0.20
 12/11/2014 E. Blum       Call with Mercuria re their term sheet mark on post petition financing (.7); call              1.20
                          with D Drebsky following call with Mercuria re update and potential ways to
                          restructure the Mercuria post petition financing (.5)
 12/14/2014 E. Blum       Discuss with SA alternative post petition financing structures                                 0.50
 12/15/2014 E. Blum       Review PC objection to DIP financing (.3); review Debtors response (.3)                        0.60
            E. Blum       Call with Mercuria to discuss detailed requirements of post petition financing                 0.90
                          given Friday ECM meeting (.7); follow with counsel (.2)
            E. Blum       Review emails on status of DIP financing at LRR                                                0.10
            E. Blum       Finalize NDA with BlackHawk on JAD                                                             0.20
 12/16/2014 E. Blum       Call with Mercuria on revised post petition financing structure                                0.60
 12/17/2014 E. Blum       Call with Globe regarding post petition financing at LRR and JAD; email follow                 0.50
            E. Blum       Prepare for hearing in meeting at DelCotto office (1.0); attend hearing on DIP                 2.50
            E. Blum       Compiled and sent more info on US Coal to Peninsula Pacific re post petition                   0.20
                          financing
 12/18/2014 E. Blum       Send JAD information to BlackHawk                                                              0.20
 12/19/2014 E. Blum       Review LRR DIP financing emails                                                                0.30
            E. Blum       Calls with Noble in regard to providing post petition financing at LRR                         0.60
            E. Blum       Call with JC and MW re status of discussions with Boyd; with Noble, next steps                 0.40
                          re issues to address
            E. Blum       Call with Mercuria to follow on GR bullet point update re potential modified terms             0.40
                          of post petition financing
            E. Blum       Review and update internal schedules of potential parties re post petition                     0.30
                          financing
            E. Blum       Call with Industrial Assets re post petition financing                                         0.20
 12/21/2014 E. Blum       Review proposed Motion and Order for Porter DIP facility at LRR; email to                      0.60
                          counsel re timing
            E. Blum       Call with SA re Mercuria post petition financing structure and send Mercuria                   1.00
                          updated model and assumptions
            E. Blum       Compose update memo to counsel re status of discussions on post petition                       0.10
                          financing
 12/22/2014 E. Blum       Call with MW to discuss various post petition alternatives                                     0.40
            E. Blum       Call with potential interested party re exit financing at LRR; discuss timing, terms           1.40
                          (.7); follow with JC on this party and on other potential parties on GR list (.5);
                          follow with D Drebsky (.2)
            S. Allen      Discuss deal discussions with Management                                                       0.70
 12/23/2014 E. Blum       Call with Mercuria re their internal discussions on providing post petition                    1.60
                          financing (.6); follow internally with SA in terms of alternative structures (.4);
                          follow with JC and MW (.6)
            E. Blum       Call with JC and Revelation re providing post petition financing at LRR and JAD                0.60
                          - discuss potential deal structures and issues
            E. Blum       Call with Noble re potentially providing post petition financing at LRR - potential            1.00
                          structures; key issues; timing
            S. Allen      Discuss financing of LRR with exit financing source and E. Blum                                0.50
 12/28/2014 E. Blum       Compose extensive emails on post petition financing scenarios at LRR for                       1.30
                          counsel and company (.5); correspond via email with SA re details of multiple
                          scenarios (.4); continue correspondence with company and counsel in late PM
                          re results of modeling various scenarios - company to follow with SA (.4)

            SUBTOTAL:                                                                        [        22.70       11,597.50]

            Claims Administration and Objections

  12/2/2014 D. Neyhart    Review filed proof of claims for high value admin claim amounts.                               1.30
  12/4/2014 D. Neyhart    Review updated proof of claim summary provided by epiq.                                        0.50

            SUBTOTAL:                                                                        [         1.80            405.00]
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              Fee/Employment Applications

 12/10/2014   D. Neyhart    Prepare historical invoices in LEDES format for trustee.                                     0.70
 12/11/2014   D. Neyhart    Consolidate June/July invoice info into excel for trustee.                                   0.80
 12/20/2014   E. Blum       Initial mark of GR November bill                                                             0.80
 12/22/2014   E. Blum       Continue work on November bill                                                               0.60
 12/29/2014   D. Neyhart    Prepare Fee App for November.                                                                2.20

              SUBTOTAL:                                                                       [         5.10        1,567.50]

              Financial Analysis/Capital Structure

  12/1/2014 D. Neyhart      Review and update JAD debt memo.                                                             0.30

              SUBTOTAL:                                                                       [         0.30            67.50]

              Financial Reporting

  12/2/2014 E. Blum         Review Nov 21 variance report and OK to send                                                 0.20
  12/4/2014 M. Levee        Discuss Assistant US Trustee request re: Sandlick's SOFA 17C, with the                       0.20
                            Company
  12/7/2014 E. Blum         Review 11/28 variance report                                                                 0.20
 12/13/2014 E. Blum         Review week ended 12/5 variance report                                                       0.20
 12/16/2014 D. Neyhart      Discussions with Debtor and Debtor's counsel regarding updating schedules to                 0.50
                            include mining permits
 12/18/2014 D. Neyhart      Review permits for LRR and amend schedule B to include permits.                              0.70
            D. Neyhart      Review permits for Sandlick and amend Schedule B to include permits.                         0.50
            D. Neyhart      Review sandlick and LRR schedule B amendments.                                               0.30
 12/19/2014 E. Blum         Review final SOFA updates and amendments with ML                                             0.20
            M. Levee        Amendments to SOFA/Schedules of LRR and Sandlick                                             0.30
 12/23/2014 M. Levee        Review historical production versus projected production at the JAD Division and             1.60
                            prepare variance analysis
            D. Neyhart      Review actual vs projected production amounts per variance reports.                          0.30
            E. Blum         review variance report wk ended 12/12                                                        0.10
 12/30/2014 E. Blum         Review variance for week ended 12/19                                                         0.20

              SUBTOTAL:                                                                       [         5.50        1,777.50]

              Meetings of and Communications with Creditors

 12/10/2014 E. Blum         Meet with JC in Lex pre meet with cred comm FA for mine tour (1.0); meet with                2.00
                            JC and Boyd pre mine tour re company operations; potential exit; status (1.0)
              S. Allen      Provide status update to Committee Financial Advisor and discuss mining                      0.50
                            operations
 12/12/2014 E. Blum         Prepare for call with JAD counsel on topics they requested to cover (.4); call with          0.90
                            Nixon, co and JAD counsel (.5)
              E. Blum       Prepare for meeting with ECM and ECM counsel by reviewing GR memo on                         1.30
                            current status of company and go forward alternatives with SA
            E. Blum         Meet with Nixon prior to meeting with ECM and ECM counsel                                    0.50
            E. Blum         Meet with Nixon, ECM and ECM counsel                                                         1.50
            S. Allen        Discuss status with JAD Seller Counsel and Nixon Peabody                                     0.60
            S. Allen        Prepare for ECM meeting and discuss strategic alternatives with E. Blum                      1.80
            S. Allen        Meet with Nixon Peabody, ECM, Luskin Stern & Eisler to discuss status of case                1.50
 12/15/2014 E. Blum         Call with company and counsel prior to scheduled committee call (.7); call with              1.10
                            committee to discuss issues of concern to creditors (.4)
              E. Blum       Call with Boyd to provide cash and operational update; discuss meeting later in              0.60
                            week
 12/18/2014 E. Blum         Meeting with committee FA in Pittsburgh to review cash; operations; equipment                4.00
                            values; third party discussions; go forward alternatives
 12/19/2014 E. Blum         Call with committee counsel, FA and Debtor counsel re business operations                    0.70
                            jan-march (.5); follow with D Drebsky (.2)
 12/23/2014 E. Blum         Call with Nixon and Cred Comm counsel regarding JAD operations and budgets                   1.00
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 12/23/2014 S. Allen      Call with Foley Lardner, Nixon Peabody, and JT Boyd                                       0.80
            S. Allen      Follow up discussion with Nixon Peabody and E. Blum concerning earlier                    0.50
                          Committee call
            E. Blum       Follow up discussion with Nixon Peabody and S Allen concerning earlier                    0.50
                          committee call
 12/29/2014 E. Blum       Call with Boyd and JC re operations at JAD and LRR                                        0.40

            SUBTOTAL:                                                                     [        20.20        9,750.00]

            Plan and Disclosure Statement (incl. Business Plan)

  12/1/2014 E. Blum       Work on and review JAD mining ratios / long term projections with SA (1.5); call          1.80
                          with JC and SB to review (.3)
            M. Levee      Discuss free cash flow on mine by mine basis at JAD with S. Allen - LT proj               0.50
            M. Levee      Mine cash flow allocation analysis at JAD - LT proj                                       2.10
            M. Levee      Finalize first draft of cash flow allocation at JAD - LT proj                             1.20
            M. Levee      Discuss the JAD cash flow analysis by mine with S. Allen - LT proj                        0.50
            M. Levee      Further work on cash flow allocation at JAD Division - LT proj                            1.00
            M. Levee      Further discussion regarding cash flow allocation and ratios at JAD Division with         0.40
                          S. Allen - LT proj
            M. Levee      Revise charts and update JAD presentation for long-term projections                       1.90
            S. Allen      Discuss mine level cash flow at JAD with M. Levee related to exit financing               0.50
                          discussions
            S. Allen      Review JAD consolidation with M. Levee - LT proj                                          0.20
            S. Allen      Review JAD cash flow allocations with M. Levee - LT proj                                  0.50
            S. Allen      Review JAD cash flow allocations and presentation with M. Levee - LT proj                 0.70
            S. Allen      Review JAD financial projections with M. Levee - LT proj                                  0.50
  12/2/2014 E. Blum       Review and discuss with ML the GR updated JAD memo based on updated                       1.10
                          projections from company
            E. Blum       Review further updated GR memo on JAD projections; make changes (.4);                     1.10
                          discuss outstanding issues with SA (.3); call with JC to discuss and resolve re
                          model and presentation (.4)
            M. Levee      Review draft of JAD long-term projections presentation with updated charts and            1.10
                          numbers with E. Blum
            M. Levee      Revise JAD long-term projections and presentation based on E Blum meeting                 2.20
            M. Levee      Review updated JAD ong-term projections presentation with S. Allen                        1.00
            M. Levee      Further updates to draft presentation and prepare to send for Company review              1.10
            M. Levee      Review Carbon Partners contract for Balder Mine and incorporate into JAD                  0.60
                          long-term projections presentation
            M. Levee      Further updates to JAD presentation related to long-term contract scenarios and           1.30
                          send for Company and counsel review
            S. Allen      Review JAD presentation with M. Levee and E. Blum                                         0.50
            S. Allen      Review JAD exit financing memo with M. Levee                                              1.00
            S. Allen      Discuss updated JAD presentation with E. Blum and M. Levee                                0.30
            S. Allen      Discuss projected JAD capital expenditures and revenues with Management -                 0.40
                          LT proj
            S. Allen      Discuss projected JAD capital expenditures and revenues with E. Blum and M.               0.40
                          Levee - LT proj
  12/3/2014 E. Blum       Finalize GR memo on JAD projections (.4); discuss language with D Drebsky                 0.80
                          (.2); discuss with JC re confidentiality (.2); send to JD to review
  12/4/2014 M. Levee      Conference call with JAD management and CEO, including GR team, to discuss                1.50
                          JAD long-term projections; follow up discussion after call with GR team re the
                          same
            E. Blum       Call with JC, SB and JAD management re JAD projections                                    1.50
            E. Blum       Discuss with SA the JAD LT model in detail after group call with JAD                      1.60
                          management
            E. Blum       Multiple follow up calls with JC regarding JAD projections following group calls-         1.30
                          discuss updated numbers based on JAD management changes
            S. Allen      Discuss JAD exit financing projections with Management                                    1.50
            S. Allen      Discuss JAD exit financing projections and earlier meeting with M. Levee and E.           1.60
                          Blum
            S. Allen      Update JAD exit financing projections per Management comments in earlier call             1.80
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  12/5/2014 S. Allen       Respond to question from local JAD Management re: revenue assumptions                         1.40
  12/8/2014 E. Blum        Call with JC and SB on JAD projections                                                        0.30
            M. Levee       Work on free cash flow analysis by mine at the LRR Division - LT proj                         3.40
            M. Levee       Finalize first draft of cash flow by mine for the LRR Division for the 2015 - 2016            2.80
                           period
            S. Allen       Reconcile JAD figures in model to income statement for presentation - LT proj                 1.00
            S. Allen       Reconcile LRR figures in model to income statement for presentation - LT proj                 2.40
            S. Allen       Update JAD exit financing projections per recent changes                                      1.80
  12/9/2014 M. Levee       Updates to JAD long-term projection presentation                                              2.40
            M. Levee       Continue to revise JAD long-term projection presentation and model for 2017 -                 2.00
                           2022; submit draft presentation for senior review
 12/11/2014 E. Blum        Work with SA re alternative post petition structure alternatives (.6); discuss                0.80
                           certain alternatives with D Drebsky (.2)
 12/14/2014 S. Allen       Update JAD exit financing presentation for new scenario and operational                       2.00
                           configuration
 12/15/2014 S. Allen       Revise JAD presentation per earlier meeting with E. Blum                                      1.20
 12/17/2014 S. Allen       Model alternate deal scenarios and capital structures at LRR                                  4.20
 12/18/2014 S. Allen       Discuss exit financing alternatives with E. Blum                                              0.30
            E. Blum        Discuss exit financing alternatives with S Allen                                              0.30
 12/21/2014 S. Allen       Discuss exit financing projections with E. Blum                                               0.50
            S. Allen       Revise and summarize exit financing projections                                               0.90
            E. Blum        Call with SA re GR memo on JAD projections; distribute to management (.5);                    0.80
                           calls with JC re same after management review of updated GR memo(.3)
            E. Blum        Review LRR shipping projections                                                               0.10
 12/24/2014 E. Blum        Call with D Drebsky re ECM flexibility on structure of ultimate LRR / Jad plan;               0.50
                           discuss alternative scenarios
 12/28/2014 S. Allen       Run various operating scenarios to optimize recoveries and operating                          6.30
                           configurations - LRR LT model for Mercuria & Noble
            S. Allen       Revise model for new LRR / Mercuria contingency                                               2.60
 12/29/2014 S. Allen       Run various operating scenarios to optimize recoveries and operating                          5.50
                           configurations - LRR LT model for Mercuria & Noble

              SUBTOTAL:                                                                      [        79.00       30,075.00]

              Tax Issues

  12/8/2014 E. Blum        Review open tax matters with SA and review GR memo -severance, personal                       0.60
                           property (.3); review issue on call with Nixon and DelCotto (.2); review emails
                           with committee re same (.1)
 12/21/2014 E. Blum        Review emails around payment of KDNR amounts                                                  0.10

              SUBTOTAL:                                                                      [         0.70            367.50]

              Valuation

  12/1/2014 D. Neyhart     Review appraisal DCF                                                                          0.40
  12/2/2014 D. Neyhart     Consolidate equipment listing for presentation appendix.                                      0.30
  12/3/2014 D. Neyhart     Review detail for land and timber value included in appraisal report.                         0.50
  12/5/2014 S. Allen       Discuss JAD assets valuations with D. Neyhart and E. Blum                                     0.50
            E. Blum        Discuss JAD assets valuations with S Allen and D Neyhart                                      0.50
            D. Neyhart     Discuss JAD assets valuations with E Blum and S Allen                                         0.50
  12/9/2014 D. Neyhart     Call with SA to discuss additional equipment analysis.                                        0.30
            D. Neyhart     Prepare equipment summary based on discussion with SA.                                        2.90
            D. Neyhart     Review equipment listing per Debtor's records, and research values for specific               1.60
                           items based on appraisal analysis.
            M. Levee       Analysis of OLV and FLV for certain equipment at LRR                                          2.00
            S. Allen       Call with D Neyhart to discuss additional equipment analysis                                  0.30
 12/10/2014 M. Levee       Prepare for and participate in conference call with appraiser to discuss                      0.70
                           equipment values at both divisions
              M. Levee     Various discussions with GR team regarding equipment values at both divisions                 0.50
              D. Neyhart   Call with GR team and resource technologies to discuss prep plant and load out                0.50
                           valuations.
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 12/10/2014 D. Neyhart    Call with Great American Group to discuss valuation appraisal, and follow up             1.00
                          regarding specific pieces of equipment.
            D. Neyhart    Follow up with Great American and Resource Technologies regarding appraisal              0.50
                          values.
            D. Neyhart    Update valuation summary presentation to include FLV.                                    1.70
            D. Neyhart    Update waterfall analysis and valuation analysis to incorporate FLV values.              3.40
 12/11/2014 D. Neyhart    Review updated valuation presentation.                                                   1.10
            D. Neyhart    Update valuation analysis for FLV values.                                                2.50
            S. Allen      Analyze value of contracts at JAD                                                        1.40
            S. Allen      Discuss asset value with D. Drebsky and E. Blum                                          0.40
            E. Blum       Discuss asset value with D Drebsky and S Allen                                           0.40
 12/12/2014 E. Blum       Review updated GR memo on valuation with DN and SA (0.6); mark changes by                1.20
                          page and review analysis and conclusions (0.6)
            D. Neyhart    Review of liquidation scenarios, and discussions with EB and SA regarding the            0.60
                          same.
            D. Neyhart    Update valuation presentation to highlight HWM valuations.                               1.50
            D. Neyhart    Update valuation report based on comments from EB and SA                                 0.60
            S. Allen      Discuss valuation with D. Neyhart and E. Blum                                            0.60
 12/30/2014 S. Allen      Assess liens and appraised values of certain pieces of equiopment at LRR                 1.00

            SUBTOTAL:                                                                  [        29.40        8,195.00]


                                                                                             Total               313.50


                                                                                            Total Fees    $124,147.50




 GlassRatner Advisory & Capital Group LLC
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                                                                           Expense Detail for December Fee Statement
     Transaction Date               Category for Court          Professional Full Name                                           Description                               Billable Slip Value
                12/1/2014     (d) Ground Transportation   Evan Blum                            Taxi 11/21 visit - Lex hotel to airport 11/21                                     $44.00
                12/1/2014     (d) Ground Transportation   Evan Blum                            11/21 visit to lex - taxi LAG to office 11/21                                     $41.70
                12/1/2014     (d) Ground Transportation   Evan Blum                            Taxi 11/19 visit to Lex - NY office to LAG (11/19)                                $75.88
                12/1/2014     (d) Ground Transportation   Evan Blum                            11/9 Lex visit - N Caldwell - LAG 11/9                                           $180.09
                12/5/2014     Local Travel                Marc Levee                           Late night car home from NYC office (1:30am pick up on morning of                $130.38
                                                                                               11/26/14)
                  12/8/2014   Meals (local)               Marc Levee                           Dinner in NYC office                                                               $7.83
                  12/8/2014   (b) Hotel                   Sean Allen, CFA, CPA, CIRA           Two nights lodging in Lexington, KY                                              $256.45
                  12/8/2014   (a) Transportation          Sean Allen, CFA, CPA, CIRA           Round trip coach airfare from New York, NY to Lexington, KY                      $988.20
                  12/8/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA           Meal for S. Allen (travel)                                                        $23.16
                  12/9/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA           Meal for S. Allen (travel)                                                        $15.21
                  12/9/2014   (b) Hotel                   Evan Blum                            taxi - Lex airport to hotel                                                       $45.00
                  12/9/2014   (a) Transportation          Evan Blum                            Airfare Philadelphia- Lex                                                        $444.10
                 12/10/2014   (c) Meals                   Sean Allen, CFA, CPA, CIRA           Meal for S. Allen (travel)                                                        $12.08
                 12/10/2014   (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA           Transportation from LGA to Dumont, NJ                                            $125.00
                 12/10/2014   (c) Meals                   Evan Blum                            Dinner - Lex airport                                                               $6.31
                 12/10/2014   (a) Transportation          Evan Blum                            Airfare Lex - NWK                                                                $452.10
                 12/10/2014   (b) Hotel                   Evan Blum                            Hotel Lex meetings                                                               $140.64
                 12/10/2014   (d) Ground Transportation   Evan Blum                            Taxi Newark Airport - home after 12/10 trip to lex                                $70.00
                 12/11/2014   (a) Transportation          Evan Blum                            Park NYC Lex trip                                                                $125.00
                 12/12/2014   Local Travel                Marc Levee                           Late night car home from NYC office (10pm pick-up on 12/8/14)                    $134.43
                 12/16/2014   (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA           Rental car (two days)                                                            $238.14
                 12/16/2014   (a) Transportation          Evan Blum                            Airfare Philadelphia - Lex for man meetings                                      $444.10
                 12/18/2014   (a) Transportation          Evan Blum                            Airfare Cinc - Pittsburgh (Boyd meet)                                            $538.10
                 12/18/2014   (d) Ground Transportation   Evan Blum                            Taxi Boyd office - Pittsburgh airport                                             $66.06
                 12/18/2014   (d) Ground Transportation   Evan Blum                            Taxi Pittsburgh office - Boyd Office                                              $68.17
                 12/18/2014   (d) Ground Transportation   Evan Blum                            Taxi NWK airport - home after Lex/Boyd visits                                     $68.00
                 12/18/2014   (a) Transportation          Evan Blum                            Gas - Lex meetings                                                                $13.90
                 12/18/2014   (b) Hotel                   Evan Blum                            Hotel 12/16-12/18 Lex meetings                                                   $279.75
                 12/18/2014   (d) Ground Transportation   Evan Blum                            Auto rental pick up lex; drop off cinc                                           $211.15
                 12/18/2014   (a) Transportation          Evan Blum                            Airfare Pitts - NWK after Boyd meet                                              $676.10
                 12/18/2014   (c) Meals                   Evan Blum                            Dinner Pittsburgh airport boyd visit                                               $4.55
                 12/22/2014   Local Travel                Sean Allen, CFA, CPA, CIRA           Late night transportation (parking)                                               $45.00
                 12/31/2014   Telephone                   Copying, Teleconference & General Ch Conference calls: E Blum - 11/3 -12/2                                             $54.03

                                                                                                                                                                   Total       $6,024.61
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            Asset Disposition

   1/3/2015 E. Blum       Review JAD Bid Procedure Motion with Committee comments and timeline                   0.40
   1/5/2015 E. Blum       Call with JC and MW re JAD and LRR asset sale process                                  0.40
            E. Blum       Call with Globe re their potential interest in JAD                                     0.20
   1/6/2015 E. Blum       Review Bid procedure Motion objections - JAD; Huntington                               0.20
   1/8/2015 M. Levee      Prepare for JAD sale process - sale update chart, organize information                 3.50
                          requested/distributed by/to prospective buyers
   1/9/2015 E. Blum       Multiple calls and emails with CD re specific questions on set up of data room -       0.60
                          information included; how certain items should be noted; permit packages
                          required as separate given size (.4); calls with SB and JC re permit packages
                          and how to be made available (.2)
            E. Blum       Call with MW, BM and ML re asset listing - detailed discussion re items                0.50
                          included/excluded; consistency with bid procedure schedules
            E. Blum       Call with JC re detailed discussion of JAD process - sending out order, NDA,           0.50
                          data room entry; coordination of lists with company; timing
            E. Blum       Call with T Glassman of Republic Financial re JAD asset sale                           0.30
            M. Levee      Review executory contracts for JAD                                                     1.10
            M. Levee      Call with Counsel and Company regarding cure amounts at JAD; follow up call            0.40
                          with Company regarding the same
            M. Levee      Multiple calls with Company regarding equipment/asset listing at JAD as it             1.00
                          relates to preparing for sale process of JAD Division
            M. Levee      Discuss cure amounts for JAD Division with Company and D. Neyhart and                  2.40
                          prepare related schedule to send to counsel for review
            D. Neyhart    Call with counsel and the Debtor re cure claims and follow up with the Debtor          0.40
                          regarding the same - JAD sale
            D. Neyhart    Calls with ML and BM to discuss update of cure claim amounts - JAD sale                0.50
            D. Neyhart    Emails with the Debtor and Debtor's Counsel regarding cure claim balances,             0.70
                          and updates to cure claim analysis accordingly - JAD sale
  1/11/2015 E. Blum       Review updated GR memo on Admin claims requested by committee and mark                 0.40
                          with questions - JAD sale
            E. Blum       Emails with Orders and NDAs to all parties who had previously declared interest        2.50
                          in JAD and others who might have interest; includes many emails with company
                          to follow on their contacts
            D. Neyhart    Update cure claim analysis to include updated financial detail and discussions         1.50
                          with EB and SA regarding the same - JAD sale
            M. Levee      Review updated prospective buyer list for the JAD sale process and discuss with        0.50
                          E. Blum
            M. Levee      Updates to prospective buyer list based on documents sent and new interested           0.70
                          parties
            M. Levee      Update proposed data room summary and send for internal review                         1.00
            E. Blum       Review updated prospective buyer list for the JAD sale process and discuss with        0.50
                          M Levee
  1/12/2015 E. Blum       Review GR updated memo on end of case JAD claims with SA and DN; DN to                 0.50
                          update memo with SA research on certain items - JAD sale
            E. Blum       Call with AccuVal re JAD sale                                                          0.10
            E. Blum       Continue work on GR updated admin memo - calls with counsel; discuss                   0.40
                          changes with DN - JAD sale
            E. Blum       Call with Cedarview Capital re JAD sale                                                0.10
            E. Blum       Send out 12 bid notice packages to potential interested parties in JAD; extensive      1.10
                          email correspondence with potential interested parties re NDAs; timing re data
                          room; information requests
            E. Blum       Call with CD and ML to review data room folder set up - get counsel OK                 0.50
            E. Blum       Call with S Kopman at Hackman Capital re JAD                                           0.30
            E. Blum       Call with company management to walk through data room - info loaded; info we          0.70
                          have and info we need
            D. Neyhart    Update end of case presentation and discussions with EB and SA regarding the           0.70
                          same - JAD sale
            D. Neyhart    Additional discussions with SA and EB, and edits to end of case presentation           2.80
                          accordingly - JAD sale
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  1/12/2015 D. Neyhart   Update end of case presentation based on Debtors Counsel comments - JAD                 0.50
                         sale
            D. Neyhart   Review JAD asset listing with the Debtor - JAD sale                                     0.30
            S. Allen     Discuss and review Effective Date payment analysis with D. Neyhart and E.               1.50
                         Blum (for distribution to Committee per request)
            S. Allen     Discuss marketing of agreement assignment with E. Blum, C. Desiderio and A.             0.50
                         Adams
            S. Allen     Discuss data room and documents to populate with M. Levee, E. Blum and                  0.80
                         Management
            S. Allen     Organize files for inclusion in data room                                               1.20
            M. Levee     Send bidding procedures to parties and update prospective buyer list re the             2.10
                         same
            M. Levee     Review JAD asset list with the Company                                                  0.40
            M. Levee     Prepare certain files for uploading to data room                                        1.20
            M. Levee     Conference call with Company and GR team to discuss files to be uploaded to             0.80
                         data room
            M. Levee     Continue to prepare files to be uploaded to data room and initial set-up                2.20
            M. Levee     Conference call with counsel and E. Blum regarding status of data room and              0.50
                         documents to be uploaded
            E. Blum      Discuss marketing of agreement assignment with S Allen, C Desiderio and A               0.50
                         Adams
            E. Blum      Discuss data room and documents to populate with M Levee, S Allen and                   0.80
                         Management
            S. Allen     Review GR updated memo on end of case JAD claims with E Blum and D                      0.50
                         Neyhart; D Neyhart to update memo with S Allen research on certain items -
                         JAD sale
            D. Neyhart   Review GR updated memo on end of case JAD claims with E Blum and S Allen;               0.50
                         D Neyhart to update memo with S Allen research on certain items - JAD sale
  1/13/2015 E. Blum      Sign and get notarized affidavit to Court on service of Sale Motion                     0.30
            E. Blum      Emails with counsel in regard to financial information to be included in data room      0.10
            E. Blum      Review cure claim filing; confirm with ML that detail by party re consistent            0.20
                         between filing and updated GR admin analysis - JAD sale
            E. Blum      Review existing summary JAD claims memo with CD to put in data room and                 0.40
                         get comments (.2); review changes with DN (.1); review updated GR JAD
                         claims memo with DN and send to CD to mark(.1)
            E. Blum      Review historical presentations prepared on JAD for inclusion of information into       0.20
                         data room
            E. Blum      Review existing JAD LT projection model with CD and discuss modifications for           1.00
                         data room (.3); discuss proposed changes with JC (.1); review existing memo by
                         page with SA and make changes (.3); call with SA to make further modifications
                         in order to focus on 2015 and 2016 and separate out 2014 (.3)
            E. Blum      Review JAD ratios and mining data for data room(.2); discuss with JC and SB re          0.30
                         appropriate mining data to include (.1) and have ML load into data room
            E. Blum      Review audited and un-audited year end data to include in data room with JC;            0.30
                         review 2013 and 2014 monthly JAD financials; review monthly detailed operating
                         data 2014 and get approval to include (.3)
            E. Blum      Review JAD executory contracts to go in data room with ML                               0.20
            E. Blum      Send out notices to 4 new parties; respond to many inquiries around timing of           0.30
                         additional data in data room
            D. Neyhart   Multiple calls with BM to discuss JAD asset listing and reconciliation needed -         1.20
                         JAD sale
            D. Neyhart   Reconcile Debtor SAP output of asset listing with appraisal - JAD sale                  2.90
            D. Neyhart   Review and update JAD claims summary memo and discussions with EB                       1.30
                         regarding the same - JAD sale
            D. Neyhart   Update JAD asset listing or presentation to potential auction bidders - JAD sale        1.70
            S. Allen     Revise JAD projections for 2015 / 2016 budget for going concern sale                    4.70
                         (documents requested by several potential bidders)
            E. Blum      Review and discuss tax issues with SA related to GR claims memo to be                   0.40
                         uploaded to JAD data room
            E. Blum      Review and discuss internally and with MW/JC presentation of summary and                0.40
                         detailed 2013 and 2014 financial and operating data for JAD to be included in
                         JAD data room
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  1/13/2015 M. Levee     Invite JAD data room users and update buyer list as appropriate                           1.30
            M. Levee     Prepare list of parties served the Notice of Bid Procedures for the JAD sale              0.80
                         process and send for counsel review
            M. Levee     Various uploads to the JAD data room; includes review of documents and                    1.20
                         requests/discussions with Company
            M. Levee     Upload historical financial data for JAD into the data room                               0.30
            S. Allen     Review and discuss tax issues with E Blum related to GR claims memo to be                 0.40
                         uploaded to JAD data room
  1/14/2015 E. Blum      Call with ML, MW and JC to review data room status; contact status re                     0.50
                         interested parties; information still need to put in data room and responsibility re
                         same
            E. Blum      Review and mark GR updated memo on 2015-2016 to give to co for approval                   0.50
                         and then into data room
            E. Blum      Call with K Griffin - CSJE - re JAD interest; respond to questions on company,            0.60
                         process
            E. Blum      Review asset list to go into data room internally - make certain correct re any           0.40
                         required adjustments - JAD only; review presentation
            E. Blum      Review GR claims memo for data room - discuss various figures - categorization            0.60
                         - and presentation with DN
            S. Allen     Discuss status of data room and related with Management and E. Blum                       0.40
            S. Allen     Review 2015/2016 projection presentation for JAD sale process with E. Blum                0.50
            S. Allen     Prepare 2014 YTD JAD figures for data room                                                0.50
            D. Neyhart   Reconcile JAD asset listing with Debtor's records; prepare asset listing for data         1.90
                         room and for court filing; update listing based on comments from counsel
            D. Neyhart   Review comments per Debtors counsel, and perform research needed to update                2.80
                         JAD claims analysis including: updated tax estimates, secured vs unsecured
                         portions of creditors claims, and discussions with BM, EB and SA regarding the
                         same - JAD sale
            D. Neyhart   Update equipment reconciliation from appraisal to Debtor's asset listing - JAD            0.40
                         sale
            M. Levee     Updates to data room summary chart and send to counsel and updates to                     1.00
                         prospective buyer list for the JAD sale process
            M. Levee     Review 2014 financial data for JAD Division to be uploaded into data room                 1.00
            M. Levee     Provide access to the data room for various parties who have signed NDAs                  0.50
            M. Levee     Initial review of: (i) JAD asset list and corresponding pictures from Great               1.10
                         American; and (ii) coal lease agreements
            M. Levee     Work on JAD asset list for data room                                                      1.00
            M. Levee     Discuss contracts, prep plant flow chart and JAD asset list with Company and              1.20
                         internally; and upload to data room
            M. Levee     Update buyer list and data room summary chart for JAD sale process                        0.70
            D. Neyhart   Review GR claims memo for data room - discuss various figures - categorization            0.60
                         and presentation with E Blum
            E. Blum      Discuss status of data room and related with Management and S Allen                       0.40
  1/15/2015 E. Blum      Call with MW to provide data room update; information still needed                        0.50
            E. Blum      Review updated GR claims memo for data room; review additional language on                0.40
                         taxes and re work tax language / information provided
            E. Blum      Call with MW and JC to review contact list for JAD sale and address GR open               0.60
                         questions
            E. Blum      Review updated GR claims memo re JAD with CD - review camofi figures; tax                 0.20
                         issues
            E. Blum      Finalize GR memo on claims at JAD to go into data room                                    0.20
            E. Blum      Call with JC and SA re finalizing memo on 15/16 projections at JAD to go into             0.50
                         data room - update Q1 and Q2 numbers
            E. Blum      Call with Cedarview capital re JAD sale - addressed WARN, claims, 2015,                   0.50
                         equipment questions
            S. Allen     Finalize 2015/2016 JAD presentation for data room                                         2.10
            S. Allen     Discuss JAD claims summary with E. Blum                                                   0.20
            S. Allen     Discuss UMM taxes and cure claims with D. Neyhart                                         0.90
            S. Allen     Analyze JAD production projections in budget and 2015/2016                                0.50
            S. Allen     Final review of 2015/2016 JAD presentation for data room with E. Blum and J.              0.50
                         Collins
            D. Neyhart   Update JAD asset listing for court - JAD sale                                             0.30
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  1/15/2015 D. Neyhart   Update tax amounts for JAD claims summary memo and discussions with SA                  1.70
                         and EB regarding the same - related to JAD sale
            D. Neyhart   Research issues surrounding specific lease terms for equipment liens - JAD sale         2.00
            D. Neyhart   Finalize JAD summary claims memo with comments from the Debtor and                      1.00
                         Debtors counsel, and discussions with EB regarding the same - JAD sale
            D. Neyhart   Review filed claim amounts by secured lenders, and discussions with SA                  0.40
                         regarding the same JAD sale
            M. Levee     Review prospective buyer list for the JAD sale process with the Company and E.          1.00
                         Blum
            M. Levee     Review and upload all lease agreements and certain maps                                 0.40
            M. Levee     Review reclamation documents and deeds for data room                                    0.50
            M. Levee     Internal discussions related to the asset lists for the JAD Division                    0.60
            D. Neyhart   Discuss UMM taxes and cure claims with S Allen for JAD claims memo                      0.90
            S. Allen     Review filed claim amounts by secured lenders, and discussions with D Neyhart           0.40
                         regarding the same JAD sale
  1/16/2015 S. Allen     Final review of 2015/2016 JAD presentation for data room with Management                0.80
            E. Blum      Calls with SB and JC re mechanics of getting permit data into data room for JAD         0.20
            E. Blum      Review with ML summary deed overview requested by MW for JAD data room;                 0.20
                         discuss information to be placed in those folders
            E. Blum      Finalize Bennett NDA (.1); finalize EnviroEnergy NDA (.1); finalize Nally Hamilton      0.40
                         NDA (.1); finalize Alpha NDA (.1)
            E. Blum      Emails and calls with CD and ML re disclaimer language on asset list                    0.20
                         information in JAD data room
            E. Blum      Call with Globe re state of data room information upload and process in JAD sale        0.20
            E. Blum      Discuss with ML the vehicle leases at USC listed under JAD; review and                  0.20
                         respond to emails re same from counsel
            M. Levee     Internal meetings and updates to prospective buyer list for the JAD sale process        1.00
            M. Levee     Reach out to prospective buyers for interest and to schedule mine tours at JAD          0.50
            M. Levee     Review and upload certain documents into JAD data room - equipment notes,               2.60
                         geological data, financial projections
            D. Neyhart   Prepare schedule tying appraisal asset listing to secured lenders claims - related      1.20
                         to JAD sale
  1/17/2015 E. Blum      Call with M Levee re asset list detail to be put in JAD data room                       0.20
            D. Neyhart   Continue to prepare schedule tying appraisal asset listing to secured lenders           1.80
                         claims - related to JAD sale
            M. Levee     Call with E Blum re asset list detail to be put in JAD data room                        0.20
  1/18/2015 E. Blum      Email correspondence with D Drebsky re asset valuation information included in          0.10
                         asset list for JAD data room
            M. Levee     Prepare JAD deed summary chart for data room                                            1.00
            M. Levee     Discuss lien holders and picture numbers with JAD asset list with D. Neyhart            0.30
            D. Neyhart   Update schedule tying appraisal asset listing to secured lenders claims and call        0.90
                         with ML to discuss - related to JAD sale
            D. Neyhart   Discuss lien holders and picture numbers with JAD asset list with M Levee               0.30
  1/19/2015 E. Blum      Discussions with ML and SB re additional information GR is putting in data room         0.30
                         and timing thereof
            E. Blum      Call with JC re status of data room - items uploaded and those still needed;            0.40
                         discuss site visits; interested parties
            E. Blum      Call with SB re status of permit data for JAD to be put in data room                    0.20
            M. Levee     Prepare for and participate in call with Company and D. Neyhart to discuss asset        0.60
                         list and lien holders at JAD
            M. Levee     Review data room and upload equipment financing documents                               0.30
            M. Levee     Sale process update meeting with E. Blum - data room uploads and prospective            0.30
                         buyers
            M. Levee     View outstanding items with regard to sale process; send follow up emails to            0.40
                         Company and Counsel
            M. Levee     Discuss JAD deed summary with Company                                                   0.20
            M. Levee     Prepare JAD asset list with photo #'s for uploading to data room and upload list        1.70
                         with pictures
            M. Levee     Update data room summary and send internally; update prospective buyer chart            1.30
                         based on interest and type of buyer and send for review
            D. Neyhart   Review schedule tying appraisal asset listing to secured lenders claims and call        0.80
                         with ML and the Company to discuss - related to JAD sale
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  1/20/2015 E. Blum    Call with JC to review contacts made by category in regard to JAD sale; discuss        0.40
                       most interested parties; set up additional tours; discuss companies need to go
                       back to
            E. Blum    Send reminders to all parties who were sent but haven't signed NDAs                    0.40
            E. Blum    Call with JC as follow to JC meeting with May at Licking River re JAD interest         0.30
            E. Blum    Send Hilco NDA; email communication re data room                                       0.10
            E. Blum    Call with Reich Bros re JAD asset sale process with MW                                 0.30
            E. Blum    Call with CD re questions around lien information being added to asset list in         0.50
                       data room (.2); follow with MW (.2); follow with ML(.1)
            M. Levee   Review JAD asset list with lien holders with the Company                               0.30
            M. Levee   Update prospective buyer list                                                          0.90
            M. Levee   Multiple discussions regarding first liens on JAD equipment with Company and           1.10
                       internally
            M. Levee   Reach out to prospective buyers to gauge interest                                      1.00
            M. Levee   Internal call as well as a call with the Company regarding the JAD asset list and      0.40
                       lien holders
            M. Levee   Finalize asset list with lien holders and upload to data room                          1.70
  1/21/2015 M. Levee   Prepare a one page summary overview of JAD for data room                               1.40
            M. Levee   Review buyer list with E. Blum and make updates per discussion                         0.80
            M. Levee   Review responses to diligence requests from prospective buyer regarding JAD            1.10
            E. Blum    Emails NDA and data room correspondence with potential JAD interested                  0.90
                       parties - Revelation, Nally Hamilton, Contract Highwall Mining, Mohawk, NRP,
                       Gordon Brothers, many others; update counsel and company; review contact
                       lists internally
            E. Blum    Review with ML responses to extensive list of questions from K Griffin at              1.10
                       Broadbranch and OK to send
            E. Blum    Review emails on title policies related to fee property at JAD re JAD sellers not      0.20
                       making available
            E. Blum    Review buyer list with ML                                                              0.40
  1/22/2015 E. Blum    Multiple calls with ML on teaser for JAD interested party outside NDA/data room        0.20
                       process
            E. Blum    Review multiple emails around CSX contact potentially related to JAD sale              0.20
            E. Blum    Review emails from JAD re their claims as stated in JAD sale material (.1);            0.20
                       discuss with SA (.1)
            M. Levee   Prepare additional answers to prospective buyer's diligence questions and send         0.70
                       for Company review
            M. Levee   Discuss diligence questions and proposed answers with Company, finalize, and           0.50
                       send to prospective buyer
            M. Levee   Finalize one page summary of buyer list activity and send for review                   0.60
            M. Levee   Call with Company and counsel to discuss potential executory contract                  0.20
            M. Levee   Upload diligence items, sent to prospective buyer, into the data room                  0.40
  1/23/2015 E. Blum    Call with JC after mine tour by interested party re reaction and interest              0.20
            E. Blum    Call with J Hoops of Revelation re JAD auction - diligence questions, process,         0.80
                       information requests
            E. Blum    Update call with MW on JAD sale process                                                0.20
            E. Blum    Review letter sent to Griffin re 15+ JAD diligence questions - review responses        0.40
                       with ML and review pdf attachments on various JAD operational topics which are
                       uploaded to data room
            E. Blum    Review ML summary update list of contacts / NDAs at JAD to be sent to                  0.30
                       committee - add commentary to various interested parties and then review final
                       for distribution
            E. Blum    Work with SA and ML and updating GR claims memo in JAD data room in                    0.70
                       response to JAD counsel questions (.3); also involved internal discussion around
                       GR internal review of cure claims (..3) and questions to counsel re same (.1)
            E. Blum    Review Mining Operations by Lessor spreadsheet for JAD data room; address              0.20
                       questions to Ella at JAD; ML to upload
            E. Blum    Call with Cedarview re mining ops by lessor and other questions re potential bid       0.20
            E. Blum    Finalize CSX contract issue re JAD sale as not in force - multiple emails with         0.10
                       counsel and company
            E. Blum    Continued discussion around JAD purchase price related to questoins raised by          0.10
                       JAD counsel on information in JAD data room
            S. Allen   Discuss bid analysis with E. Blum                                                      0.30
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  1/23/2015 S. Allen     Discuss JAD updated claims summary with D. Neyhart and E. Blum                            0.50
            S. Allen     Revise claims summary per earlier meeting's comments                                      2.20
            M. Levee     Update buyer list summary chart for the JAD sale process                                  1.00
            M. Levee     Various internal discussions regarding claims reconciliation and outstanding              0.70
                         diligence requests from a prospective buyer of JAD
  1/24/2015 E. Blum      Call with SA re GR claims analysis update and classification of certain claims -          0.50
                         review and continue email dialogue with counsel re certain classifications
            S. Allen     Call with E Blum re GR claims analysis update and classification of certain               0.50
                         claims - review and continue email dialogue with counsel re certain
                         classifications
  1/26/2015 E. Blum      Call with Great American in regard to JAD sale process                                    0.50
            E. Blum      Daily call with MW, JC and MT on JAD sale process - site visits, issues /                 0.60
                         reactions, info status
            E. Blum      Call with Broad Branch after visit to JAD re impressions/process                          0.60
            E. Blum      Call with JC re sale process - need for daily calls with MT; Great American               0.40
                         interest and potential combinations with operators; tour schedule
            E. Blum      Call with Nixon Del cotto and company on open items in JAD sale process - data            0.50
                         room; contracts need to locate. Update on interested parties. Discuss stalking
                         horse concept. Update on LRR.
            M. Levee     Prepare packet of information on the LRR Division for an interested party                 1.10
            M. Levee     Prepare for and discussion with S. Blevins regarding environmental and permit             0.50
                         packages at JAD
            S. Allen     Discuss JAD sale and other matters with Nixon Peabody and DelCotto Law                    0.50
                         Group
            S. Allen     Discuss JAD claims summary memo with E. Blum                                              0.40
            S. Allen     Revise JAD claims summary per comments from E. Blum                                       1.20
            E. Blum      Discuss JAD claims summary memo with S Allen                                              0.50
  1/27/2015 E. Blum      Compose emails re JAD sale - additional NDAs for interested parties; respond to           0.40
                         permit availability; respond to Dean employment agreement to get into data
                         room; respond to parties indicating no interest; respond to email on
                         Hackman-Hilco bid hookup
            E. Blum      Calls with SA to review and update GR memo on JAD claims for JAD data room                0.80
                         (.6); call with D Drebsky to review and get sign off (.2)
            E. Blum      Call with MW re asset list for LRR sale and December financials for JAD data              0.20
                         room
            E. Blum      Call with Hackman/Hilco combined entity for JAD bid - discuss questions on                0.60
                         assets and on process
            E. Blum      Daily call with JC MW MT re sale process - visits; issues raised by various               0.40
                         parties; update on EB calls
            E. Blum      Call with CD re potential 363 of LRR                                                      0.20
            D. Neyhart   Follow up with additional potential parties regarding sale process.                       0.30
            M. Levee     Upload certain documents to the JAD data room - core hole information and                 0.60
                         employment agreements
            M. Levee     Update prospective buyer list with NDAs received and data room access granted             0.40
                         to certain prospective buyers
            M. Levee     Calls to prospective buyers of JAD                                                        0.40
            S. Allen     Discuss JAD claims summary memo with E. Blum                                              0.60
            S. Allen     Revise JAD claims summary per comments from E. Blum                                       0.80
  1/28/2015 E. Blum      Review LRR asset list - parameters; included/excluded - with ML - need to                 0.30
                         provide with LRR sale motion later in week
            E. Blum      Daily update call with JC, MW and MT re visits to JAD; GR total follow through            0.50
                         with all parties; parties for JC and MT to follow on
            E. Blum      Review data room summary with ML - items still required; resolve open items;              0.30
                         offer permits electronically;distribute updated data room summary
            E. Blum      Followed with all parties re JAD sale - not yet returned NDA and returned NDA -           4.00
                         over 50 parties; set up calls with int parties for TH and FRI; emails and calls with
                         interested parties (Revelation; Cedarview) re process and need to put thoughts
                         on paper -
            D. Neyhart   Review of LRR asset listing and calls with ML and EB regarding the same.                  0.90
            M. Levee     Review LRR asset list provided by Company and Great American                              0.50
            M. Levee     Review and upload certain documents to the JAD data room                                  1.10
            M. Levee     Internal meeting with E. Blum regarding prospective buyer list for JAD and the            0.30
                         LRR asset list
                                                                                              2/17/2015
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  1/28/2015 M. Levee     Continue to call prospective buyers regarding the sale of JAD; update                    0.40
                         prospective buyer list and print for review
            M. Levee     Discuss JAD's reclamation liability with Management and begin to prepare                 0.60
                         analysis re the same
            M. Levee     Upload various documents to the JAD data room including title docs and update            1.00
                         data room summary index to reflect new uploads
            M. Levee     Various updates to prospective buyer list for JAD - comments section per                 0.50
                         meetings/discussions with E. Blum and Management
            M. Levee     Discuss LRR asset list with D. Neyhart in preparation for a sale motion                  0.40
  1/29/2015 E. Blum      Detailed call with Ted from Nalley & Hamilton re JAD - thoughts on Foresters             0.60
                         Creek after mine tour - tough to see bid; Underground and Fee property - would
                         re look - had info requests
            E. Blum      Call with MW and Ryan at Evans Equipment re JAD sale process - focused on                0.50
                         equipment
            E. Blum      Daily call with JC MW MT re discussions during day; potential buyers as going            0.50
                         concern; discuss follow up by party
            D. Neyhart   Update LRR asset list to include executory contracts, and conversations with BM          1.40
                         and ML regarding other updates needed.
            M. Levee     Compile and review LRR asset list based on information provided by the                   0.70
                         Company to be used in the sale motion and distributed to the Committee
            M. Levee     Update prospective buyer list per permit packages requested                              0.90
            M. Levee     Discussions with D. Neyhart regarding the LRR asset list                                 0.50
            M. Levee     Continue to compile the LRR asset list                                                   1.10
            M. Levee     Multiple calls with all Debtor professionals and Company to discuss LRR sale             1.00
                         notice, status of certain contracts, and prospective buyer list for the JAD sale
  1/30/2015 E. Blum      Review draft LRR Motion re Bid Procedures                                                0.60
            E. Blum      Provide AA with comments on LRR Motion on Bid Procedures (.4); follow on                 0.50
                         additional responses to AA questions (.1)
            E. Blum      Call with Ritchie Brothers re JAD auction                                                0.20
            E. Blum      Call with management and counsel re LRR bid procedures hearing                           0.60
            E. Blum      Call with Reich to follow on JAD equipment sale                                          0.20
            E. Blum      Respond with ML to JAD financial questions from Frost Brown Todd for MHS re              0.20
                         JAD sale
            E. Blum      Call with Cranks Creek re JAD sale process                                               0.30
            E. Blum      Daily call with MW JC MT re JAD sales process - focus on potential buyers as             0.80
                         going concern - review and agree on next steps
            E. Blum      Call to discuss LRR filings re Bid procedures with JC                                    0.50
            E. Blum      Respond to Alliance request for NDA and bid docs                                         0.10
            E. Blum      Email CD re Ritchie Brothers questions and respond to Ritchie; email MT re               0.20
                         Ritchie JAD tour schedule
            E. Blum      Many follow up emails to potentially interested parties on going concern basis           0.30
                         after daily group call - request calls next week
            E. Blum      Call from Ted from Nalley Hamilton re his questions on buying fee property - NH          0.40
                         focus at this time
            D. Neyhart   Finalize LRR Asset listing, and discussions with BM, ML and Debtors counsel              2.20
                         regarding the same.
            M. Levee     Call with prospective buyer of JAD to discuss bidding process                            0.30
            M. Levee     Review LRR asset list with D. Neyhart                                                    0.50
            M. Levee     Update JAD prospectie buyer list                                                         0.80
            M. Levee     Prepare for and participate in various calls with Company and Counsel regarding          1.10
                         LRR asset list
            M. Levee     Finalize LRR asset list and send to counsel for review                                   0.60
            M. Levee     Prepare for and participate in call with management to discuss prospective               0.80
                         buyers of JAD
            M. Levee     Various meetings regarding the JAD sale process: respond to diligence                    1.50
                         questions from prospective buyer, update buyer list, prepare permit packages to
                         be sent to requested prospective buyers
  1/31/2015 E. Blum      Respond to Frost Brown Todd for MHS re operational questions related to JAD              0.10
                         in regard to JAD sale process
            M. Levee     Analyze 2014 reclamation liability at JAD                                                1.00

            SUBTOTAL:                                                                   [       182.80       66,980.00]
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            Assumption/Rejection of Leases and Contracts

   1/4/2015 E. Blum      Email counsel re assumption/rejection Kolmar contract                                       0.10
  1/12/2015 E. Blum      Call with counsel and company in regard to remaining Kolmar contracts and                   0.20
                         company approach
  1/29/2015 E. Blum      Call with company and counsel re SCANA contract termination issue                           0.60
  1/30/2015 E. Blum      Review multiple email chains on SCANA loading next train; need to negotiate                 0.20
                         resolution re termination

            SUBTOTAL:                                                                    [         1.10            577.50]

            Business Operations

   1/1/2015 E. Blum      Review multiple 12/30 and 12/31 emails chains (50+ emails) regarding Sequoia                0.60
                         relationship with USC - option agreement issue at LRR; coal deliveries and
                         remaining amounts owed under settlement and proposed timing of delivery;
                         penalties/fees paid and reimbursed; $250K owed/sent; next steps re Court
            E. Blum      Review proposed Warn Act filing language and internal emails with company                   0.20
                         and counsel around same
            E. Blum      Call with JC and MW re Sequoia issues                                                       0.50
   1/8/2015 E. Blum      Call with Nixon, JC and MW re issues to deal with today - Kolmar, Sequoia, 13               0.40
                         week cf update
            S. Allen     Discuss details of Sequoia settlement status with Nixon Peabody, Management                 0.40
                         and E. Blum
            E. Blum      Discuss details of Sequoia settlement status with Nixon Peabody, Management                 0.40
                         and S Allen
   1/9/2015 E. Blum      Multiple calls re WARN notice - timing of expected inflows per contracts / cash             1.10
                         balances with EG (.5); notice and language and EG follow with CD (.4); follow
                         with MW (.2)
  1/12/2015 E. Blum      Call with company and counsel re status of Sequoia settlement - delivery of coal            0.40
                         - need to price; need to determine if receive $250K.
  1/23/2015 S. Allen     Discuss equipment configuration changes at JAD with S. Blevins                              0.50
  1/27/2015 E. Blum      Call with JC and SA to discuss updating LRR through March re implications of                0.20
                         Right Oakley - as requested by committee; SA and JC to follow on redo
            S. Allen     Begin updating LRR budget per Committee Financial Advisor's request for                     3.40
                         updated financial forecast
  1/28/2015 S. Allen     Finalize updated LRR budget per Committee Financial Advisor's request for                   4.20
                         updated financial forecast
            S. Allen     Discuss LRR budget with Management                                                          0.80
            S. Allen     Summarize assumptions and changes to LRR budget for distribution                            1.40
  1/29/2015 E. Blum      Review updated LRR short term cash flows developed by JC and SA                             0.20
  1/30/2015 E. Blum      Review LRR updated liquidity analysis through March with detailed assumptions               0.30
            E. Blum      call with JC and MW regarding LRR short term liquidity/operating model                      0.60
            E. Blum      Further calls with JC regarding LRR liquidity; follow with sunday call                      0.40
  1/31/2015 E. Blum      Respond to counsel questions re WARN act timing at LRR                                      0.10

            SUBTOTAL:                                                                    [        16.10        6,847.50]

            Case Administration

   1/6/2015 E. Blum      Pre hearing meeting at company in Lexington with counsel and Management                     2.00
            S. Allen     Meet with Management, Nixon Peabody, and Delcotto Law Group to discuss                      2.00
                         upcoming hearing
   1/7/2015 E. Blum      Attend court hearing - various motions, including JAD bid procedures (incl pre              2.70
                         meet at Del Cotto)
            E. Blum      Meet with MW, JC and EG with SA in Lexington following hearing re                           1.00
                         coordination on JAD sale; update of 13 week cash flow, other matters (Kolmar,
                         Sequoia)
            S. Allen     Meet with MW, JC and EG along with E Blum in Lexington following hearing re                 1.00
                         coordination on JAD sale; update of 13 week cash flow, other matter (Kolmar,
                         Sequoia)
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            SUBTOTAL:                                                                         [         8.70        4,117.50]

            Cash Collateral and Post Petition Financing

   1/3/2015 E. Blum       Call with Mercuria re LRR interest; discuss updated projections and updated                     0.40
                          structure; sent updated materials
            E. Blum       Review NYMEX futures curve with S Allen in response to Noble questions on LT                    0.20
                          projections - for Noble investment in LRR
   1/4/2015 E. Blum       Compose detailed email to Mercuria summarizing structure issues in 1/3 model                    0.30
                          as compared to prior - discuss with SA prior to sending
   1/5/2015 E. Blum       Send Mercuria - after OK from management - detailed operational summary of                      0.10
                          1/3 model with comparison to prior
   1/6/2015 E. Blum       Call with Noble re providing post petition financing at LRR; discuss model and                  0.50
                          structure
   1/7/2015 E. Blum       Call with JC and Noble in Lexington to review operating model re potential                      1.40
                          providing exit financing at LRR
            S. Allen      Discuss updates to cash collateral budget with E. Blum and Management                           1.10
            S. Allen      Begin preparation of cash collateral budget for the thirteen weeks ended March                  2.70
                          27, 2015 for all three reporting entities
   1/8/2015 E. Blum       Review updated short term cash collateral budget with SA - update of previous                   0.50
                          work to serve as required updated cash collateral budget - and approval to
                          distribute
            E. Blum       Review and distribute requested scenario 2 to Noble for consideration of LRR                    0.40
                          post petition financing
            S. Allen      Continue preparation of cash collateral budget for the thirteen weeks ended                     4.80
                          March 27, 2015 for all three reporting entities
            S. Allen      Discuss figures related to updated cash collateral budget with Management and                   0.50
                          E Blum
   1/9/2015 E. Blum       Call with Mercuria re status of post petition financing for LRR - Mercuria to make              0.80
                          final proposal now that all questions responded to; discuss Scana contract and
                          ability to use own prep plant in proposal. (.6); follow with JC to provide update (.2)
            E. Blum       Call with JC. MW and Noble Americas re their interest in providing post petition                0.60
                          financing at LRR - focus on revenue assumptions, specific proposal requested
            S. Allen      Finalize preparation of cash collateral budget for the thirteen weeks ended                     1.10
                          March 27, 2015 for all three reporting entities
  1/13/2015 S. Allen      Review and discuss cash collateral budget figures and summary with E. Blum                      0.60
            E. Blum       Review and discuss cash collateral budget figures and summary with S Allen                      0.60
  1/16/2015 E. Blum       Call with Mercuria as to whether can get approval on LRR post petition financing                0.80
                          - can't do in current market (.6); follow with JC (.2)
            E. Blum       Call with Noble re ability to do LRR post petition financing deal - discuss                     0.50
                          structure still under consideration; EB to meet next week in Stamford (.4); follow
                          with JC (.1)
  1/27/2015 E. Blum       Email Revelation 2016 and 2016 LRR model and explanation at their request re                    0.20
                          potential post petition investment in LRR
  1/30/2015 E. Blum       Call with JC re Noble financing LRR post petition re JC call with Matt at Noble;                0.30
                          call on sunday to follow

            SUBTOTAL:                                                                         [        18.40        8,040.00]

            Claims Administration and Objections

   1/7/2015 S. Allen      Prepare administrative claim summary for counsel in preparation of hearing                      1.00

            SUBTOTAL:                                                                         [         1.00            375.00]

            Fee/Employment Applications

  1/26/2015 E. Blum       Work on GR December bill                                                                        0.40
  1/28/2015 E. Blum       Finalize December bill                                                                          0.50
            D. Neyhart    Review December invoice and prepare monthly fee notice                                          1.60
  1/29/2015 D. Neyhart    Finalize December fee notice with comments from counsel.                                        0.50
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              SUBTOTAL:                                                                     [         3.00            945.00]

              Financial Reporting

   1/5/2015   E. Blum       Review variance report wk ended 12/26                                                       0.20
  1/12/2015   E. Blum       Review variance report week ended 1/2                                                       0.10
  1/19/2015   E. Blum       Discuss variance reporting against 1/31 or 3/31 budgets with EG (.1); CD (.1)               0.20
  1/20/2015   E. Blum       Review 1/9 variance analysis (.2); call with EG to discuss DIP draws and how                0.30
                            reflected in variance report (.1)

              SUBTOTAL:                                                                     [         0.80            420.00]

              Meetings of and Communications with Creditors

   1/3/2015 E. Blum         In response to JAD counsel questions, email correspondence with company re                  0.30
                            classification of HWM 37 re whether included as asset; timing of lease payments
                            and reduction of ECM note
   1/5/2015 E. Blum         Pre comm call, discussion of current issues with management and counsel (.4);               0.80
                            call with committee re operational and strategic issues (.4)
   1/7/2015 S. Allen        Revise summary of liquidity for Committee professionals                                     1.00
   1/9/2015 E. Blum         Call with comm professionals re JAD sale process and potential LRR plan (.9);               1.10
                            follow with D Drebsky (.2)
              S. Allen      Discuss case status, auction, and LRR plan with Committee Counsel,                          0.90
                            Committee Financial Advisor, Management, and Nixon Peabody
  1/12/2015 E. Blum         Call with Boyd and JC re ratios, mining conditions, recent contracts/market                 0.50
  1/14/2015 E. Blum         Prepare response to committee questions on budget and review counsel's                      0.50
                            responses
  1/19/2015 E. Blum         Call with Boyd re budget through 3/31 (.4); follow on production question with EG           0.60
                            (.1); revert to Boyd (.1)
            E. Blum         Call with J Weiss re JAD '15 and '16 projections in data room                               0.20
            S. Allen        Discuss budget with Boyd                                                                    0.40
            S. Allen        Prepare for budget discussion with Boyd                                                     0.30
  1/20/2015 E. Blum         Pre call with JC (.2); call with cred comm counsel and FA re JAD status, LRR                1.10
                            status, LRR potential investors; ECM/JAD seller next steps (.9)
              E. Blum       Call with Boyd re asset listing and value/lien information available by asset               0.10
              S. Allen      Discuss auction status of JAD and plan discussions re: LRR with Foley Lardner,              0.90
                            Boyd, and Nixon Peabody
  1/22/2015 S. Allen        Research JAD Seller request regarding transaction proceeds and secured debt                 1.70
                            balances
  1/26/2015 E. Blum         Call with JC and Boyd re right Oakley issues; coal sales status; JAD status                 0.40
            S. Allen        Discuss LRR business operations with Committee Financial Advisor and                        0.40
                            Management
  1/27/2015 E. Blum         Call with DN re Kern appraisal report requested by Boyd                                     0.10
            S. Allen        Discuss Committee Financial Advisor's request for updated financial information             0.30
                            with J. Collins and E. Blum
              E. Blum       Discuss Committee Financial Advisor's request for updated financial information             0.30
                            with J Collins and S Allen
              D. Neyhart    Call with E Blum re Kern appraisal report requested by Boyd                                 0.10

              SUBTOTAL:                                                                     [        12.00        5,385.00]

              Plan and Disclosure Statement (incl. Business Plan)

   1/2/2015 S. Allen        Review new LRR business plan assumptions with Management for Noble                          1.10
   1/3/2015 S. Allen        Revise model per discussions with Management and discuss with E. Blum for                   3.20
                            Noble
              S. Allen      Work on longer term LRR projections for potential financing and discuss with                6.20
                            Management
              E. Blum       Review updated financing projections - plan - and discuss with SA; to be sent               0.40
                            out to remaining interested parties at LRR
   1/5/2015 S. Allen        Summarize Jan 3 version of Plan of Reorg model for potential exit financing                 0.80
                            source cover letter
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   1/9/2015 S. Allen      Compare potential source exit financing's assumptions with model assumptions                   0.50
                          and summarize
  1/19/2015 E. Blum       Review LRR projections with SA to determine whether plan doable without                        0.40
                          outside financing
            E. Blum       Work with S Allen on updating LRR model to evaluate impact without outside                     0.60
                          capital
            E. Blum       Call with CD re LRR projections re ability to structure Plan without outside capital           0.30
            S. Allen      Discuss LRR plan of reorganization alternatives with E. Blum                                   0.40
            S. Allen      Revise plan of reorganization model per UCC request to analyze feasibility of                  3.10
                          various scenarios
  1/20/2015 E. Blum       Call with D Drebsky re LRR ability to emerge without post petition financing;                  0.50
                          review overview of GR model
            S. Allen      Revise plan of reorganization model per UCC request to analyze feasibility of                  6.30
                          various scenarios without post petition financing
  1/21/2015 S. Allen      Revise plan of reorganization model per UCC request to analyze feasibility of                  3.20
                          various scenarios without post petition financing
            S. Allen      Discuss recent UCC POR projections with EB; revise per comments                                0.40
  1/22/2015 S. Allen      Prepare preliminary claims schedule for plan of reorganization at request of                   4.50
                          Counsel
  1/23/2015 D. Neyhart    Research JAD and LRR secured amounts for plan discussions with EB and SA                       2.90
  1/27/2015 E. Blum       Review,mark up and discuss on multiple calls with SA re LRR claims analysis                    0.60
                          for plan of reorganization prepared for counsel to review with comm counsel
            S. Allen      Revise LRR claims summary per comments from E. Blum                                            0.70
            S. Allen      Discuss LRR claims summary memo with E. Blum                                                   0.60

            SUBTOTAL:                                                                        [        36.70       13,747.50]


                                                                                                   Total               280.60




 GlassRatner Advisory & Capital Group LLC
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     Transaction Date           Category for Court          Professional Full Name                                                  Description                                       Billable Slip Value
1/13/2015                Meals (local)               David Neyhart, CPA                   Dinner late night in NYC office.                                                        $9.00
1/12/2015                Meals (local)               Marc Levee                           Dinner in NYC office                                                                    $8.48
1/12/2015                Local Travel                Marc Levee                           Late night car home from NYC office (10:40pm pick-up)                                   $112.92
1/5/2015                 (a) Transportation          Sean Allen, CFA, CPA, CIRA           Round trip coach airfare                                                                $844.20
1/6/2015                 (b) Hotel                   Sean Allen, CFA, CPA, CIRA           Lodging                                                                                 $257.18
1/6/2015                 (c) Meals                   Sean Allen, CFA, CPA, CIRA           Meal for S. Allen and E. Blum                                                           $27.66
1/6/2015                 (c) Meals                   Sean Allen, CFA, CPA, CIRA           Meal for S. Allen                                                                       $17.95
1/6/2015                 (c) Meals                   Sean Allen, CFA, CPA, CIRA           Meal for S. Allen                                                                       $14.16
1/7/2015                 (c) Meals                   Sean Allen, CFA, CPA, CIRA           Meal for S. Allen                                                                       $14.73
1/7/2015                 (c) Meals                   Sean Allen, CFA, CPA, CIRA           Parking ($66) and tolls ($3.60 x 2)                                                     $73.20
1/13/2015                Local Travel                Sean Allen, CFA, CPA, CIRA           Late night transportation from office to home                                           $118.18
1/26/2015                Local Travel                Sean Allen, CFA, CPA, CIRA           Late night transportation from office to home (tolls; 12/22/14)                         $11.75
1/26/2015                (d) Ground Transportation   Sean Allen, CFA, CPA, CIRA           Transportation from office to LGA (12/8/14)                                             $75.88
1/29/2015                Other (specify)             Marc Levee                           Thumb drives to make copies of the JAD permit packages for prospective buyers           $217.64
1/6/2015                 (c) Meals                   Evan Blum                            Breakfast NWK airport Lex trip                                                          $16.02
1/7/2015                 (b) Hotel                   Evan Blum                            Hotel Lex trip                                                                          $228.79
1/7/2015                 (d) Ground Transportation   Evan Blum                            Car rental Lex trip                                                                     $120.22
1/7/2015                 (c) Meals                   Evan Blum                            Dinner Charlotte airport - Lex trip - EB & SA                                           $36.76
1/7/2015                 (a) Transportation          Evan Blum                            Airfare RT NWK-Lex                                                                      $795.20
1/7/2015                 (d) Ground Transportation   Evan Blum                            Parking NWK airport Lex trip                                                            $66.00
1/7/2015                 (d) Ground Transportation   Evan Blum                            Taxi Lexington                                                                          $7.00
1/31/2015                Telephone                   Copying, Teleconference & General ChaConference calls: E Blum - December 2014                                                $77.95

                                                                                                                                                                          Total           $3,150.87
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 Transaction    Professional Full                                                                                         Billable Slip
    Date             Name                GR Reference                                     Description                         Value
    2/3/2015 Evan Blum               (a) Transportation   Airfare LAG‐Lex                                                       $586.10
    2/3/2015 Evan Blum               (c) Meals            Dinner LAG                                                             $21.89
                                     (d) Ground
    2/3/2015 Evan Blum               Transportation       Taxi Lex airport‐hotel                                                $42.00
    2/4/2015 Evan Blum               (b) Hotel            Hotel 2/3‐4 Lex                                                      $157.44
    2/5/2015 Evan Blum               (b) Hotel            Hotel Kingsport. TN                                                  $185.24
    2/5/2015 Evan Blum               (a) Transportation   Airfare Knox‐NWK                                                     $256.60
                                     (d) Ground
    2/5/2015 Evan Blum               Transportation       Taxi NWK airport‐ home                                                $86.00
                                     (d) Ground
    2/5/2015 Evan Blum               Transportation       park NYC while in KY                                                $135.00
    2/9/2015 David Neyhart, CPA      Meals (local)        Late night dinner in office                                           $23.67
    2/9/2015 David Neyhart, CPA      Local Travel         Late night cab home (after 10 pm).                                    $24.36
    2/9/2015 Sean Allen, CFA, CPA, C (a) Transportation   Round trip coach airfare from New York, NY to Cincinnati, OH       $1,362.20
   2/10/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                             $6.01
   2/10/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                            $13.93
   2/11/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                            $25.92
                                     (d) Ground
   2/11/2015 Sean Allen, CFA, CPA, C Transportation       Rental car and fuel                                                  $247.60
                                     (d) Ground
   2/11/2015 Sean Allen, CFA, CPA, C Transportation       Airport parking and tolls                                             $73.20
   2/12/2015 Sean Allen, CFA, CPA, C (b) Hotel            Lodging                                                              $134.01
   2/16/2015 Evan Blum               (a) Transportation   Airfare LAG ‐ lex 2/16                                               $609.10
   2/17/2015 Evan Blum               (c) Meals            LAG airport dinner                                                     $4.90
                                     (d) Ground
   2/17/2015 Evan Blum               Transportation       Taxi ‐ N Caldwell ‐ LAG                                              $140.00
   2/18/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                            $32.59
                                     (d) Ground
   2/18/2015 Sean Allen, CFA, CPA, C Transportation       Transportation from Dumont, NJ to LGA                                $166.97
   2/19/2015 Sean Allen, CFA, CPA, C (a) Transportation   Round trip coach airfare from New York, NY to Lexington, KY          $873.70
                                     (d) Ground
   2/19/2015 Sean Allen, CFA, CPA, C Transportation       Rental car                                                           $213.53
   2/19/2015 Sean Allen, CFA, CPA, C (b) Hotel            Two nights lodging in Lexington, KY                                  $222.30
                                     (d) Ground
   2/19/2015 Sean Allen, CFA, CPA, C Transportation       Fuel                                                                   $6.99
                                     (d) Ground
   2/20/2015 Sean Allen, CFA, CPA, C Transportation       Parking for auction                                                   $10.50
   2/20/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                            $18.40
                                     (d) Ground
   2/20/2015 Sean Allen, CFA, CPA, C Transportation       Transportation from LGA to Dumont, NJ                                 $87.81
   2/20/2015 Evan Blum               (c) Meals            Dinner with DD and CD after auction JAD                               $72.48
                                     (d) Ground
   2/20/2015 Evan Blum               Transportation       Parking Lex                                                           $10.50
   2/21/2015 Evan Blum               (b) Hotel            Hotel Lex 2/16‐2/21                                                  $548.89
   2/21/2015 Evan Blum               (a) Transportation   Airfare Louisville ‐ LGA                                             $586.10
                                     (d) Ground
   2/21/2015 Evan Blum               Transportation       Car rental Lex 2/16‐21                                               $562.26
   2/21/2015 Evan Blum               (c) Meals            Airport breakfast                                                      $3.13
   2/27/2015 Copying, Teleconferenc Telephone             Conference calls: E Blum ‐ 1.5.15 _ 2.3.15                            $97.51
    4/2/2015 Sean Allen, CFA, CPA, C Local Travel         Late night transportation from office to home (after 9:00 PM)        $139.20
    4/7/2015 Evan Blum               (b) Hotel            Hotel Lex for hearing                                                $153.03
                                     (d) Ground
    4/7/2015 Evan Blum               Transportation       Car rental hearing Lex                                               $201.24
    4/7/2015 Evan Blum               (a) Transportation   Airfare LAG ‐ Lex for hearing                                        $380.60
    4/8/2015 Evan Blum               (a) Transportation   Airfare Lex‐ Philadelphia                                            $454.10
                                     (d) Ground
    4/8/2015 Evan Blum               Transportation       Taxis and trains from Philadelphia to NWK airport (car)              $108.65
                                     (d) Ground
    4/8/2015 Evan Blum               Transportation       Parking NWK airport                                                   $66.00
   4/19/2015 Evan Blum               (a) Transportation   Airfare LAG‐Lex for hearing                                          $668.10
   4/21/2015 Evan Blum               (b) Hotel            Hotel in Lex for hearing (4/20‐21)                                   $426.60
                                     (d) Ground
   4/21/2015 Evan Blum               Transportation       Taxi hotel to Lex airport                                             $27.00
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    3/1/2015 Evan Blum               (c) Meals            Dinner LAG airport 2/18                                                     $18.25
                                     (d) Ground
    3/1/2015 Evan Blum               Transportation       Gas KY visit 2/21                                                           $11.45
                                     (d) Ground
    3/1/2015 Evan Blum               Transportation       Car LAG‐ N Caldwell 2/21 return from Lex                                   $181.63
                                     (d) Ground
    3/1/2015 Evan Blum               Transportation       Car Office ‐ LAG 2/3 trip to lex                                            $75.88
   3/16/2015 Evan Blum               (a) Transportation   Airfare LAG‐Lex                                                            $634.60
   3/16/2015 Evan Blum               (c) Meals            Lunch LAG airport                                                            $2.07
   3/17/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                                  $11.00
                                     (d) Ground
   3/17/2015 Sean Allen, CFA, CPA, C Transportation       Transportation from office to LGA                                           $75.88
   3/18/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                                  $36.05
                                     (d) Ground
   3/19/2015 Sean Allen, CFA, CPA, C Transportation       Parking for LRR auction                                                     $10.50
   3/19/2015 Sean Allen, CFA, CPA, C (b) Hotel            Lodging ‐ two nights in Lexington, KY                                      $296.49
                                     (d) Ground
   3/19/2015 Sean Allen, CFA, CPA, C Transportation       Car rental                                                                 $289.06
                                     (d) Ground
   3/19/2015 Sean Allen, CFA, CPA, C Transportation       Transportation from LGA to Dumont, NJ                                      $101.13
   3/19/2015 Sean Allen, CFA, CPA, C (a) Transportation   Round trip coach airfare from New York, NY to Lexington, KY               $1,316.20
   3/19/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                                   $11.93
   3/19/2015 Sean Allen, CFA, CPA, C (c) Meals            Meal for S. Allen (travel)                                                   $13.93
   3/19/2015 Evan Blum               (a) Transportation   Airfare Lex‐Nwk                                                            $634.60
   3/19/2015 Evan Blum               (c) Meals            Dinner airport                                                               $28.89
                                     (d) Ground
   3/19/2015 Evan Blum               Transportation       Car rental                                                                 $197.45
                                     (d) Ground
   3/19/2015 Evan Blum               Transportation       Taxi airport‐home                                                           $70.00
                                     (d) Ground
   3/20/2015 Evan Blum               Transportation       NYC park ‐ lex trip                                                        $215.00
   3/30/2015 Evan Blum               (a) Transportation   Airfare NWK‐Lex                                                            $332.60
                                     (d) Ground
   3/31/2015 Evan Blum               Transportation       Car rental                                                                 $105.66
   3/31/2015 Evan Blum               (a) Transportation   Airfare Lex‐ NWK 3/31                                                      $400.10
   3/31/2015 Evan Blum               (c) Meals            Dinner Lex airport                                                          $37.03
                                     (d) Ground
   3/31/2015 Evan Blum               Transportation       NWK airport park                                                            $66.00
   3/31/2015 Evan Blum               (b) Hotel            Hotel 3/30 visit Lex                                                       $292.62
   3/31/2015 Copying, Teleconferenc Telephone             Conference calls ‐ February: E Blum                                         $63.69

                                                                                                                  Total Expenses   $15,803.04
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Transaction     Professional Full                                                                                                                                                      Billable      Rate      Billable Slip
   Date              Name                  Reference Nickname 1                                                        Description                                                    Time Spent     Value         Value
1/3/2015      Evan Blum              Asset Disposition            Review JAD Bid Procedure Motion with Committee comments and timeline                                                0.40         $525.00   $210.00
1/5/2015      Evan Blum              Asset Disposition            Call with JC and MW re JAD and LRR asset sale process                                                               0.40         $525.00   $210.00
1/5/2015      Evan Blum              Asset Disposition            Call with Globe re their potential interest in JAD                                                                  0.20         $525.00   $105.00
1/6/2015      Evan Blum              Asset Disposition            Review Bid procedure Motion objections ‐ JAD; Huntington                                                            0.20         $525.00   $105.00
1/8/2015      Marc Levee             Asset Disposition            Prepare for JAD sale process ‐ sale update chart, organize information requested/distributed by/to prospective 3.50              $325.00   $1,137.50
                                                                  buyers
1/9/2015      Marc Levee             Asset Disposition            Discuss cure amounts for JAD Division with Company and D. Neyhart and prepare related schedule to send to 2.40                   $325.00   $780.00
                                                                  counsel for review
1/9/2015      Marc Levee             Asset Disposition            Review executory contracts for JAD                                                                                  1.10         $325.00   $357.50
1/9/2015      Marc Levee             Asset Disposition            Multiple calls with Company regarding equipment/asset listing at JAD as it relates to preparing for sale process 1.00            $325.00   $325.00
                                                                  of JAD Division
1/9/2015      David Neyhart, CPA     Asset Disposition            Emails with the Debtor and Debtor's Counsel regarding cure claim balances, and updates to cure claim analysis 0.70               $225.00   $157.50
                                                                  accordingly ‐ JAD sale
1/9/2015      Evan Blum              Asset Disposition            Multiple calls and emails with CD re specific questions on set up of data room ‐ information included; how          0.60         $525.00   $315.00
                                                                  certain items should be noted; permit packages required as separate given size (.4); calls with SB and JC re
                                                                  permit packages and how to be made available (.2)
1/9/2015      Evan Blum              Asset Disposition            Call with MW, BM and ML re asset listing ‐ detailed discussion re items included/excluded; consistency with bid 0.50             $525.00   $262.50
                                                                  procedure schedules
1/9/2015      Evan Blum              Asset Disposition            Call with JC re detailed discussion of JAD process ‐ sending out order, NDA, data room entry; coordination of lists 0.50         $525.00   $262.50
                                                                  with company; timing
1/9/2015      David Neyhart, CPA     Asset Disposition            Calls with ML and BM to discuss update of cure claim amounts ‐ JAD sale                                             0.50         $225.00   $112.50
1/9/2015      Marc Levee             Asset Disposition            Call with Counsel and Company regarding cure amounts at JAD; follow up call with Company regarding the same 0.40                 $325.00   $130.00

1/9/2015      David Neyhart, CPA     Asset Disposition            Call with counsel and the Debtor re cure claims and follow up with the Debtor regarding the same ‐ JAD sale       0.40           $225.00   $90.00

1/9/2015      Evan Blum              Asset Disposition            Call with T Glassman of Republic Financial re JAD asset sale                                                      0.30           $525.00   $157.50
1/11/2015     Evan Blum              Asset Disposition            Emails with Orders and NDAs to all parties who had previously declared interest in JAD and others who might       2.50           $525.00   $1,312.50
                                                                  have interest; includes many emails with company to follow on their contacts
1/11/2015     David Neyhart, CPA     Asset Disposition            Update cure claim analysis to include updated financial detail and discussions with EB and SA regarding the       1.50           $225.00   $337.50
                                                                  same ‐ JAD sale
1/11/2015     Marc Levee             Asset Disposition            Update proposed data room summary and send for internal review                                                    1.00           $325.00   $325.00
1/11/2015     Marc Levee             Asset Disposition            Updates to prospective buyer list based on documents sent and new interested parties                              0.70           $325.00   $227.50
1/11/2015     Marc Levee             Asset Disposition            Review updated prospective buyer list for the JAD sale process and discuss with E. Blum                           0.50           $325.00   $162.50
1/11/2015     Evan Blum              Asset Disposition            Review updated prospective buyer list for the JAD sale process and discuss with M Levee                           0.50           $525.00   $262.50
1/11/2015     Evan Blum              Asset Disposition            Review updated GR memo on Admin claims requested by committee and mark with questions ‐ JAD sale                  0.40           $525.00   $210.00

1/12/2015     David Neyhart, CPA      Asset Disposition           Additional discussions with SA and EB, and edits to end of case presentation accordingly ‐ JAD sale               2.80           $225.00   $630.00
1/12/2015     Marc Levee              Asset Disposition           Continue to prepare files to be uploaded to data room and initial set‐up                                          2.20           $325.00   $715.00
1/12/2015     Marc Levee              Asset Disposition           Send bidding procedures to parties and update prospective buyer list re the same                                  2.10           $325.00   $682.50
1/12/2015     Sean Allen, CFA, CPA, C Asset Disposition           Discuss and review Effective Date payment analysis with D. Neyhart and E. Blum (for distribution to Committee     1.50           $375.00   $562.50
                                                                  per request)
1/12/2015     Sean Allen, CFA, CPA, C Asset Disposition           Organize files for inclusion in data room                                                                         1.20           $375.00   $450.00
1/12/2015     Marc Levee              Asset Disposition           Prepare certain files for uploading to data room                                                                  1.20           $325.00   $390.00
1/12/2015     Evan Blum               Asset Disposition           Send out 12 bid notice packages to potential interested parties in JAD; extensive email correspondence with       1.10           $525.00   $577.50
                                                                  potential interested parties re NDAs; timing re data room; information requests
1/12/2015     Sean Allen, CFA, CPA, C Asset Disposition           Discuss data room and documents to populate with M. Levee, E. Blum and Management                                 0.80           $375.00   $300.00
1/12/2015     Marc Levee              Asset Disposition           Conference call with Company and GR team to discuss files to be uploaded to data room                             0.80           $325.00   $260.00
1/12/2015     Evan Blum               Asset Disposition           Discuss data room and documents to populate with M Levee, S Allen and Management                                  0.80           $525.00   $420.00
1/12/2015     Evan Blum               Asset Disposition           Call with company management to walk through data room ‐ info loaded; info we have and info we need               0.70           $525.00   $367.50

1/12/2015     David Neyhart, CPA     Asset Disposition            Update end of case presentation and discussions with EB and SA regarding the same ‐ JAD sale                      0.70           $225.00   $157.50
1/12/2015     Evan Blum              Asset Disposition            Review GR updated memo on end of case JAD claims with SA and DN; DN to update memo with SA research on            0.50           $525.00   $262.50
                                                                  certain items ‐ JAD sale
1/12/2015     Evan Blum               Asset Disposition           Call with CD and ML to review data room folder set up ‐ get counsel OK                                            0.50           $525.00   $262.50
1/12/2015     David Neyhart, CPA      Asset Disposition           Update end of case presentation based on Debtors Counsel comments ‐ JAD sale                                      0.50           $225.00   $112.50
1/12/2015     Sean Allen, CFA, CPA, C Asset Disposition           Discuss marketing of agreement assignment with E. Blum, C. Desiderio and A. Adams                                 0.50           $375.00   $187.50
1/12/2015     Marc Levee              Asset Disposition           Conference call with counsel and E. Blum regarding status of data room and documents to be uploaded               0.50           $325.00   $162.50

1/12/2015     Evan Blum               Asset Disposition           Discuss marketing of agreement assignment with S Allen, C Desiderio and A Adams                                0.50              $525.00   $262.50
1/12/2015     Sean Allen, CFA, CPA, C Asset Disposition           Review GR updated memo on end of case JAD claims with E Blum and D Neyhart; D Neyhart to update memo           0.50              $375.00   $187.50
                                                                  with S Allen research on certain items ‐ JAD sale
1/12/2015     David Neyhart, CPA     Asset Disposition            Review GR updated memo on end of case JAD claims with E Blum and S Allen; D Neyhart to update memo with S 0.50                   $225.00   $112.50
                                                                  Allen research on certain items ‐ JAD sale
1/12/2015     Evan Blum               Asset Disposition           Continue work on GR updated admin memo ‐ calls with counsel; discuss changes with DN ‐ JAD sale                0.40              $525.00   $210.00
1/12/2015     Marc Levee              Asset Disposition           Review JAD asset list with the Company                                                                         0.40              $325.00   $130.00
1/12/2015     Evan Blum               Asset Disposition           Call with S Kopman at Hackman Capital re JAD                                                                   0.30              $525.00   $157.50
1/12/2015     David Neyhart, CPA      Asset Disposition           Review JAD asset listing with the Debtor ‐ JAD sale                                                            0.30              $225.00   $67.50
1/12/2015     Evan Blum               Asset Disposition           Call with AccuVal re JAD sale                                                                                  0.10              $525.00   $52.50
1/12/2015     Evan Blum               Asset Disposition           Call with Cedarview Capital re JAD sale                                                                        0.10              $525.00   $52.50
1/13/2015     Sean Allen, CFA, CPA, C Asset Disposition           Revise JAD projections for 2015 / 2016 budget for going concern sale (documents requested by several potential 4.70              $375.00   $1,762.50
                                                                  bidders)
1/13/2015     David Neyhart, CPA     Asset Disposition            Reconcile Debtor SAP output of asset listing with appraisal ‐ JAD sale                                         2.90              $225.00   $652.50
1/13/2015     David Neyhart, CPA     Asset Disposition            Update JAD asset listing or presentation to potential auction bidders ‐ JAD sale                               1.70              $225.00   $382.50
1/13/2015     David Neyhart, CPA     Asset Disposition            Review and update JAD claims summary memo and discussions with EB regarding the same ‐ JAD sale                1.30              $225.00   $292.50
1/13/2015     Marc Levee             Asset Disposition            Invite JAD data room users and update buyer list as appropriate                                                1.30              $325.00   $422.50
1/13/2015     David Neyhart, CPA     Asset Disposition            Multiple calls with BM to discuss JAD asset listing and reconciliation needed ‐ JAD sale                       1.20              $225.00   $270.00
1/13/2015     Marc Levee             Asset Disposition            Various uploads to the JAD data room; includes review of documents and requests/discussions with Company 1.20                    $325.00   $390.00

1/13/2015     Evan Blum              Asset Disposition            Review existing JAD LT projection model with CD and discuss modifications for data room (.3); discuss proposed 1.00              $525.00   $525.00
                                                                  changes with JC (.1); review existing memo by page with SA and make changes (.3); call with SA to make further
                                                                  modifications in order to focus on 2015 and 2016 and separate out 2014 (.3
1/13/2015     Marc Levee             Asset Disposition            Prepare list of parties served the Notice of Bid Procedures for the JAD sale process and send for counsel review 0.80            $325.00   $260.00

1/13/2015     Evan Blum              Asset Disposition            Review existing summary JAD claims memo with CD to put in data room and get comments (.2); review changes 0.40                   $525.00   $210.00
                                                                  with DN (.1); review updated GR JAD claims memo with DN and send to CD to mark(.1)
1/13/2015     Evan Blum              Asset Disposition            Review and discuss tax issues with SA related to GR claims memo to be uploaded to JAD data room           0.40                   $525.00   $210.00




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1/13/2015     Evan Blum              Asset Disposition    Review and discuss internally and with MW/JC presentation of summary and detailed 2013 and 2014 financial           0.40    $525.00   $210.00
                                                          and operating data for JAD to be included in JAD data room
1/13/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review and discuss tax issues with E Blum related to GR claims memo to be uploaded to JAD data room                 0.40    $375.00   $150.00

1/13/2015     Evan Blum              Asset Disposition    Sign and get notarized affidavit to Court on service of Sale Motion                                                 0.30    $525.00   $157.50
1/13/2015     Evan Blum              Asset Disposition    Review JAD ratios and mining data for data room(.2); discuss with JC and SB re appropriate mining data to           0.30    $525.00   $157.50
                                                          include (.1) and have ML load into data room
1/13/2015     Evan Blum              Asset Disposition    Review audited and un‐audited year end data to include in data room with JC; review 2013 and 2014 monthly           0.30    $525.00   $157.50
                                                          JAD financials; review monthly detailed operating data 2014 and get approval to include (.3
1/13/2015     Evan Blum              Asset Disposition    Send out notices to 4 new parties; respond to many inquiries around timing of additional data in data room          0.30    $525.00   $157.50

1/13/2015     Marc Levee             Asset Disposition    Upload historical financial data for JAD into the data room                                                         0.30    $325.00   $97.50
1/13/2015     Evan Blum              Asset Disposition    Review cure claim filing; confirm with ML that detail by party re consistent between filing and updated GR          0.20    $525.00   $105.00
                                                          admin analysis ‐ JAD sale
1/13/2015     Evan Blum              Asset Disposition    Review historical presentations prepared on JAD for inclusion of information into data room                         0.20    $525.00   $105.00
1/13/2015     Evan Blum              Asset Disposition    Review JAD executory contracts to go in data room with ML                                                           0.20    $525.00   $105.00
1/13/2015     Evan Blum              Asset Disposition    Emails with counsel in regard to financial information to be included in data room                                  0.10    $525.00   $52.50
1/14/2015     David Neyhart, CPA     Asset Disposition    Review comments per Debtors counsel, and perform research needed to update JAD claims analysis including: 2.80              $225.00   $630.00
                                                          updated tax estimates, secured vs unsecured portions of creditors claims, and discussions with BM, EB and SA
                                                          regarding the same ‐ JAD sale
1/14/2015     David Neyhart, CPA     Asset Disposition    Reconcile JAD asset listing with Debtor's records; prepare asset listing for data room and for court filing; update 1.90    $225.00   $427.50
                                                          listing based on comments from counsel
1/14/2015     Marc Levee             Asset Disposition    Discuss contracts, prep plant flow chart and JAD asset list with Company and internally; and upload to data room 1.20       $325.00   $390.00

1/14/2015     Marc Levee             Asset Disposition    Initial review of: (i) JAD asset list and corresponding pictures from Great American; and (ii) coal lease           1.10    $325.00   $357.50
                                                          agreements
1/14/2015     Marc Levee             Asset Disposition    Updates to data room summary chart and send to counsel and updates to prospective buyer list for the JAD sale       1.00    $325.00   $325.00
                                                          process
1/14/2015     Marc Levee             Asset Disposition    Review 2014 financial data for JAD Division to be uploaded into data room                                           1.00    $325.00   $325.00
1/14/2015     Marc Levee             Asset Disposition    Work on JAD asset list for data room                                                                                1.00    $325.00   $325.00
1/14/2015     Marc Levee             Asset Disposition    Update buyer list and data room summary chart for JAD sale process                                                  0.70    $325.00   $227.50
1/14/2015     Evan Blum              Asset Disposition    Call with K Griffin ‐ CSJE ‐ re JAD interest; respond to questions on company, process                              0.60    $525.00   $315.00
1/14/2015     Evan Blum              Asset Disposition    Review GR claims memo for data room ‐ discuss various figures ‐ categorization ‐ and presentation with DN           0.60    $525.00   $315.00

1/14/2015     David Neyhart, CPA     Asset Disposition    Review GR claims memo for data room ‐ discuss various figures ‐ categorization and presentation with E Blum         0.60    $225.00   $135.00

1/14/2015     Evan Blum              Asset Disposition    Call with ML, MW and JC to review data room status; contact status re interested parties; information still need 0.50       $525.00   $262.50
                                                          to put in data room and responsibility re same
1/14/2015     Evan Blum               Asset Disposition   Review and mark GR updated memo on 2015‐2016 to give to co for approval and then into data room                  0.50       $525.00   $262.50
1/14/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review 2015/2016 projection presentation for JAD sale process with E. Blum                                       0.50       $375.00   $187.50
1/14/2015     Sean Allen, CFA, CPA, C Asset Disposition   Prepare 2014 YTD JAD figures for data room                                                                       0.50       $375.00   $187.50
1/14/2015     Marc Levee              Asset Disposition   Provide access to the data room for various parties who have signed NDAs                                         0.50       $325.00   $162.50
1/14/2015     Evan Blum               Asset Disposition   Review asset list to go into data room internally ‐ make certain correct re any required adjustments ‐ JAD only; 0.40       $525.00   $210.00
                                                          review presentation
1/14/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss status of data room and related with Management and E. Blum                                              0.40       $375.00   $150.00
1/14/2015     David Neyhart, CPA      Asset Disposition   Update equipment reconciliation from appraisal to Debtor's asset listing ‐ JAD sale                              0.40       $225.00   $90.00
1/14/2015     Evan Blum               Asset Disposition   Discuss status of data room and related with Management and S Allen                                              0.40       $525.00   $210.00
1/15/2015     Sean Allen, CFA, CPA, C Asset Disposition   Finalize 2015/2016 JAD presentation for data room                                                                2.10       $375.00   $787.50
1/15/2015     David Neyhart, CPA      Asset Disposition   Research issues surrounding specific lease terms for equipment liens ‐ JAD sale                                  2.00       $225.00   $450.00
1/15/2015     David Neyhart, CPA      Asset Disposition   Update tax amounts for JAD claims summary memo and discussions with SA and EB regarding the same ‐ related 1.70             $225.00   $382.50
                                                          to JAD sale
1/15/2015     David Neyhart, CPA     Asset Disposition    Finalize JAD summary claims memo with comments from the Debtor and Debtors counsel, and discussions with 1.00               $225.00   $225.00
                                                          EB regarding the same ‐ JAD sale
1/15/2015     Marc Levee              Asset Disposition   Review prospective buyer list for the JAD sale process with the Company and E. Blum                              1.00       $325.00   $325.00
1/15/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss UMM taxes and cure claims with D. Neyhart                                                                0.90       $375.00   $337.50
1/15/2015     David Neyhart, CPA      Asset Disposition   Discuss UMM taxes and cure claims with S Allen for JAD claims memo                                               0.90       $225.00   $202.50
1/15/2015     Evan Blum               Asset Disposition   Call with MW and JC to review contact list for JAD sale and address GR open questions                            0.60       $525.00   $315.00
1/15/2015     Marc Levee              Asset Disposition   Internal discussions related to the asset lists for the JAD Division                                             0.60       $325.00   $195.00
1/15/2015     Evan Blum               Asset Disposition   Call with MW to provide data room update; information still needed                                               0.50       $525.00   $262.50
1/15/2015     Evan Blum               Asset Disposition   Call with JC and SA re finalizing memo on 15/16 projections at JAD to go into data room ‐ update Q1 and Q2       0.50       $525.00   $262.50
                                                          numbers
1/15/2015     Evan Blum               Asset Disposition   Call with Cedarview capital re JAD sale ‐ addressed WARN, claims, 2015, equipment questions                      0.50       $525.00   $262.50
1/15/2015     Sean Allen, CFA, CPA, C Asset Disposition   Analyze JAD production projections in budget and 2015/2016                                                       0.50       $375.00   $187.50
1/15/2015     Sean Allen, CFA, CPA, C Asset Disposition   Final review of 2015/2016 JAD presentation for data room with E. Blum and J. Collins                             0.50       $375.00   $187.50
1/15/2015     Marc Levee              Asset Disposition   Review reclamation documents and deeds for data room                                                             0.50       $325.00   $162.50
1/15/2015     Evan Blum               Asset Disposition   Review updated GR claims memo for data room; review additional language on taxes and re work tax language / 0.40            $525.00   $210.00
                                                          information provided
1/15/2015     David Neyhart, CPA      Asset Disposition   Review filed claim amounts by secured lenders, and discussions with SA regarding the same JAD sale               0.40       $225.00   $90.00
1/15/2015     Marc Levee              Asset Disposition   Review and upload all lease agreements and certain maps                                                          0.40       $325.00   $130.00
1/15/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review filed claim amounts by secured lenders, and discussions with D Neyhart regarding the same JAD sale        0.40       $375.00   $150.00

1/15/2015     David Neyhart, CPA      Asset Disposition   Update JAD asset listing for court ‐ JAD sale                                                                        0.30   $225.00   $67.50
1/15/2015     Evan Blum               Asset Disposition   Review updated GR claims memo re JAD with CD ‐ review camofi figures; tax issues                                     0.20   $525.00   $105.00
1/15/2015     Evan Blum               Asset Disposition   Finalize GR memo on claims at JAD to go into data room                                                               0.20   $525.00   $105.00
1/15/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD claims summary with E. Blum                                                                              0.20   $375.00   $75.00
1/16/2015     Marc Levee              Asset Disposition   Review and upload certain documents into JAD data room ‐ equipment notes, geological data, financial                 2.60   $325.00   $845.00
                                                          projections
1/16/2015     David Neyhart, CPA      Asset Disposition   Prepare schedule tying appraisal asset listing to secured lenders claims ‐ related to JAD sale                       1.20   $225.00   $270.00
1/16/2015     Marc Levee              Asset Disposition   Internal meetings and updates to prospective buyer list for the JAD sale process                                     1.00   $325.00   $325.00
1/16/2015     Sean Allen, CFA, CPA, C Asset Disposition   Final review of 2015/2016 JAD presentation for data room with Management                                             0.80   $375.00   $300.00
1/16/2015     Marc Levee              Asset Disposition   Reach out to prospective buyers for interest and to schedule mine tours at JAD                                       0.50   $325.00   $162.50
1/16/2015     Evan Blum               Asset Disposition   Finalize Bennett NDA (.1); finalize EnviroEnergy NDA (.1); finalize Nally Hamilton NDA (.1); finalize Alpha NDA (.1) 0.40   $525.00   $210.00

1/16/2015     Evan Blum              Asset Disposition    Calls with SB and JC re mechanics of getting permit data into data room for JAD                                     0.20    $525.00   $105.00
1/16/2015     Evan Blum              Asset Disposition    Review with ML summary deed overview requested by MW for JAD data room; discuss information to be placed            0.20    $525.00   $105.00
                                                          in those folders
1/16/2015     Evan Blum              Asset Disposition    Emails and calls with CD and ML re disclaimer language on asset list information in JAD data room                   0.20    $525.00   $105.00
1/16/2015     Evan Blum              Asset Disposition    Call with Globe re state of data room information upload and process in JAD sale                                    0.20    $525.00   $105.00
1/16/2015     Evan Blum              Asset Disposition    Discuss with ML the vehicle leases at USC listed under JAD; review and respond to emails re same from counsel       0.20    $525.00   $105.00




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1/17/2015     David Neyhart, CPA     Asset Disposition    Continue to prepare schedule tying appraisal asset listing to secured lenders claims ‐ related to JAD sale          1.80    $225.00   $405.00

1/17/2015     Evan Blum              Asset Disposition    Call with M Levee re asset list detail to be put in JAD data room                                                   0.20    $525.00   $105.00
1/17/2015     Marc Levee             Asset Disposition    Call with E Blum re asset list detail to be put in JAD data room                                                    0.20    $325.00   $65.00
1/18/2015     Marc Levee             Asset Disposition    Prepare JAD deed summary chart for data room                                                                        1.00    $325.00   $325.00
1/18/2015     David Neyhart, CPA     Asset Disposition    Update schedule tying appraisal asset listing to secured lenders claims and call with ML to discuss ‐ related to    0.90    $225.00   $202.50
                                                          JAD sale
1/18/2015     Marc Levee             Asset Disposition    Discuss lien holders and picture numbers with JAD asset list with D. Neyhart                                        0.30    $325.00   $97.50
1/18/2015     David Neyhart, CPA     Asset Disposition    Discuss lien holders and picture numbers with JAD asset list with M Levee                                           0.30    $225.00   $67.50
1/18/2015     Evan Blum              Asset Disposition    Email correspondence with D Drebsky re asset valuation information included in asset list for JAD data room         0.10    $525.00   $52.50

1/19/2015     Marc Levee             Asset Disposition    Prepare JAD asset list with photo #'s for uploading to data room and upload list with pictures                      1.70    $325.00   $552.50
1/19/2015     Marc Levee             Asset Disposition    Update data room summary and send internally; update prospective buyer chart based on interest and type of          1.30    $325.00   $422.50
                                                          buyer and send for review
1/19/2015     David Neyhart, CPA     Asset Disposition    Review schedule tying appraisal asset listing to secured lenders claims and call with ML and the Company to         0.80    $225.00   $180.00
                                                          discuss ‐ related to JAD sale
1/19/2015     Marc Levee             Asset Disposition    Prepare for and participate in call with Company and D. Neyhart to discuss asset list and lien holders at JAD       0.60    $325.00   $195.00

1/19/2015     Evan Blum              Asset Disposition    Call with JC re status of data room ‐ items uploaded and those still needed; discuss site visits; interested parties 0.40   $525.00   $210.00

1/19/2015     Marc Levee             Asset Disposition    View outstanding items with regard to sale process; send follow up emails to Company and Counse                     0.40    $325.00   $130.00
1/19/2015     Evan Blum              Asset Disposition    Discussions with ML and SB re additional information GR is putting in data room and timing thereof                  0.30    $525.00   $157.50
1/19/2015     Marc Levee             Asset Disposition    Review data room and upload equipment financing documents                                                           0.30    $325.00   $97.50
1/19/2015     Marc Levee             Asset Disposition    Sale process update meeting with E. Blum ‐ data room uploads and prospective buyers                                 0.30    $325.00   $97.50
1/19/2015     Evan Blum              Asset Disposition    Call with SB re status of permit data for JAD to be put in data room                                                0.20    $525.00   $105.00
1/19/2015     Marc Levee             Asset Disposition    Discuss JAD deed summary with Company                                                                               0.20    $325.00   $65.00
1/20/2015     Marc Levee             Asset Disposition    Finalize asset list with lien holders and upload to data room                                                       1.70    $325.00   $552.50
1/20/2015     Marc Levee             Asset Disposition    Multiple discussions regarding first liens on JAD equipment with Company and internally                             1.10    $325.00   $357.50
1/20/2015     Marc Levee             Asset Disposition    Reach out to prospective buyers to gauge interest                                                                   1.00    $325.00   $325.00
1/20/2015     Marc Levee             Asset Disposition    Update prospective buyer list                                                                                       0.90    $325.00   $292.50
1/20/2015     Evan Blum              Asset Disposition    Call with CD re questions around lien information being added to asset list in data room (.2); follow with MW       0.50    $525.00   $262.50
                                                          (.2); follow with ML(.1)
1/20/2015     Evan Blum              Asset Disposition    Call with JC to review contacts made by category in regard to JAD sale; discuss most interested parties; set up     0.40    $525.00   $210.00
                                                          additional tours; discuss companies need to go back to
1/20/2015     Evan Blum              Asset Disposition    Send reminders to all parties who were sent but haven't signed NDAs                                                 0.40    $525.00   $210.00
1/20/2015     Marc Levee             Asset Disposition    Internal call as well as a call with the Company regarding the JAD asset list and lien holders                      0.40    $325.00   $130.00
1/20/2015     Evan Blum              Asset Disposition    Call with JC as follow to JC meeting with May at Licking River re JAD interest                                      0.30    $525.00   $157.50
1/20/2015     Evan Blum              Asset Disposition    Call with Reich Bros re JAD asset sale process with MW                                                              0.30    $525.00   $157.50
1/20/2015     Marc Levee             Asset Disposition    Review JAD asset list with lien holders with the Company                                                            0.30    $325.00   $97.50
1/20/2015     Evan Blum              Asset Disposition    Send Hilco NDA; email communication re data room                                                                    0.10    $525.00   $52.50
1/21/2015     Marc Levee             Asset Disposition    Prepare a one page summary overview of JAD for data room                                                            1.40    $325.00   $455.00
1/21/2015     Marc Levee             Asset Disposition    Review responses to diligence requests from prospective buyer regarding JAD                                         1.10    $325.00   $357.50
1/21/2015     Evan Blum              Asset Disposition    Review with ML responses to extensive list of questions from K Griffin at Broadbranch and OK to send                1.10    $525.00   $577.50
1/21/2015     Evan Blum              Asset Disposition    Emails NDA and data room correspondence with potential JAD interested parties ‐ Revelation, Nally Hamilton,         0.90    $525.00   $472.50
                                                          Contract Highwall Mining, Mohawk, NRP, Gordon Brothers, many others; update counsel and company; review
                                                          contact lists internally
1/21/2015     Marc Levee             Asset Disposition    Review buyer list with E. Blum and make updates per discussion                                                      0.80    $325.00   $260.00
1/21/2015     Evan Blum              Asset Disposition    Review buyer list with ML                                                                                           0.40    $525.00   $210.00
1/21/2015     Evan Blum              Asset Disposition    Review emails on title policies related to fee property at JAD re JAD sellers not making available                  0.20    $525.00   $105.00
1/22/2015     Marc Levee             Asset Disposition    Prepare additional answers to prospective buyer's diligence questions and send for Company review                   0.70    $325.00   $227.50
1/22/2015     Marc Levee             Asset Disposition    Finalize one page summary of buyer list activity and send for review                                                0.60    $325.00   $195.00
1/22/2015     Marc Levee             Asset Disposition    Discuss diligence questions and proposed answers with Company, finalize, and send to prospective buyer              0.50    $325.00   $162.50

1/22/2015     Marc Levee              Asset Disposition   Upload diligence items, sent to prospective buyer, into the data room                                             0.40      $325.00   $130.00
1/22/2015     Evan Blum               Asset Disposition   Multiple calls with ML on teaser for JAD interested party outside NDA/data room process                           0.20      $525.00   $105.00
1/22/2015     Evan Blum               Asset Disposition   Review multiple emails around CSX contact potentially related to JAD sale                                         0.20      $525.00   $105.00
1/22/2015     Evan Blum               Asset Disposition   Review emails from JAD re their claims as stated in JAD sale material (.1); discuss with SA (.1)                  0.20      $525.00   $105.00
1/22/2015     Marc Levee              Asset Disposition   Call with Company and counsel to discuss potential executory contract                                             0.20      $325.00   $65.00
1/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise claims summary per earlier meeting's comments                                                              2.20      $375.00   $825.00
1/23/2015     Marc Levee              Asset Disposition   Update buyer list summary chart for the JAD sale process                                                          1.00      $325.00   $325.00
1/23/2015     Evan Blum               Asset Disposition   Call with J Hoops of Revelation re JAD auction ‐ diligence questions, process, information requests               0.80      $525.00   $420.00
1/23/2015     Evan Blum               Asset Disposition   Work with SA and ML and updating GR claims memo in JAD data room in response to JAD counsel questions (.3); 0.70            $525.00   $367.50
                                                          also involved internal discussion around GR internal review of cure claims (..3) and questions to counsel re same
                                                          (.1)
1/23/2015     Marc Levee             Asset Disposition    Various internal discussions regarding claims reconciliation and outstanding diligence requests from a            0.70      $325.00   $227.50
                                                          prospective buyer of JAD
1/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD updated claims summary with D. Neyhart and E. Blum                                                    0.50      $375.00   $187.50
1/23/2015     Evan Blum               Asset Disposition   Review letter sent to Griffin re 15+ JAD diligence questions ‐ review responses with ML and review pdf            0.40      $525.00   $210.00
                                                          attachments on various JAD operational topics which are uploaded to data room
1/23/2015     Evan Blum              Asset Disposition    Review ML summary update list of contacts / NDAs at JAD to be sent to committee ‐ add commentary to various 0.30            $525.00   $157.50
                                                          interested parties and then review final for distribution
1/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss bid analysis with E. Blum                                                                                 0.30      $375.00   $112.50
1/23/2015     Evan Blum               Asset Disposition   Call with JC after mine tour by interested party re reaction and interest                                         0.20      $525.00   $105.00
1/23/2015     Evan Blum               Asset Disposition   Update call with MW on JAD sale process                                                                           0.20      $525.00   $105.00
1/23/2015     Evan Blum               Asset Disposition   Review Mining Operations by Lessor spreadsheet for JAD data room; address questions to Ella at JAD; ML to         0.20      $525.00   $105.00
                                                          upload
1/23/2015     Evan Blum              Asset Disposition    Call with Cedarview re mining ops by lessor and other questions re potential bid                                  0.20      $525.00   $105.00
1/23/2015     Evan Blum              Asset Disposition    Finalize CSX contract issue re JAD sale as not in force ‐ multiple emails with counsel and company                0.10      $525.00   $52.50
1/23/2015     Evan Blum              Asset Disposition    Continued discussion around JAD purchase price related to questoins raised by JAD counsel on information in 0.10            $525.00   $52.50
                                                          JAD data room
1/24/2015     Evan Blum              Asset Disposition    Call with SA re GR claims analysis update and classification of certain claims ‐ review and continue email        0.50      $525.00   $262.50
                                                          dialogue with counsel re certain classifications
1/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Call with E Blum re GR claims analysis update and classification of certain claims ‐ review and continue email    0.50      $375.00   $187.50
                                                          dialogue with counsel re certain classifications
1/26/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise JAD claims summary per comments from E. Blum                                                               1.20      $375.00   $450.00
1/26/2015     Marc Levee              Asset Disposition   Prepare packet of information on the LRR Division for an interested party                                         1.10      $325.00   $357.50
1/26/2015     Evan Blum               Asset Disposition   Daily call with MW, JC and MT on JAD sale process ‐ site visits, issues / reactions, info status                  0.60      $525.00   $315.00
1/26/2015     Evan Blum               Asset Disposition   Call with Broad Branch after visit to JAD re impressions/process                                                  0.60      $525.00   $315.00
1/26/2015     Evan Blum               Asset Disposition   Call with Great American in regard to JAD sale process                                                            0.50      $525.00   $262.50




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1/26/2015     Evan Blum              Asset Disposition    Call with Nixon Del cotto and company on open items in JAD sale process ‐ data room; contracts need to locate. 0.50                $525.00   $262.50
                                                          Update on interested parties. Discuss stalking horse concept. Update on LRR.
1/26/2015     Marc Levee              Asset Disposition   Prepare for and discussion with S. Blevins regarding environmental and permit packages at JAD                   0.50               $325.00   $162.50
1/26/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD sale and other matters with Nixon Peabody and DelCotto Law Group                                    0.50               $375.00   $187.50
1/26/2015     Evan Blum               Asset Disposition   Discuss JAD claims summary memo with S Allen                                                                    0.50               $525.00   $262.50
1/26/2015     Evan Blum               Asset Disposition   Call with JC re sale process ‐ need for daily calls with MT; Great American interest and potential combinations 0.40               $525.00   $210.00
                                                          with operators; tour schedule
1/26/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD claims summary memo with E. Blum                                                                    0.40               $375.00   $150.00
1/27/2015     Evan Blum               Asset Disposition   Calls with SA to review and update GR memo on JAD claims for JAD data room (.6); call with D Drebsky to review 0.80                $525.00   $420.00
                                                          and get sign off (.2)
1/27/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise JAD claims summary per comments from E. Blum                                                             0.80               $375.00   $300.00
1/27/2015     Evan Blum               Asset Disposition   Call with Hackman/Hilco combined entity for JAD bid ‐ discuss questions on assets and on process                0.60               $525.00   $315.00
1/27/2015     Marc Levee              Asset Disposition   Upload certain documents to the JAD data room ‐ core hole information and employment agreements                 0.60               $325.00   $195.00
1/27/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD claims summary memo with E. Blum                                                                    0.60               $375.00   $225.00
1/27/2015     Evan Blum               Asset Disposition   Compose emails re JAD sale ‐ additional NDAs for interested parties; respond to permit availability; respond to 0.40               $525.00   $210.00
                                                          Dean employment agreement to get into data room; respond to parties indicating no interest; respond to email
                                                          on Hackman‐Hilco bid hookup
1/27/2015     Evan Blum              Asset Disposition    Daily call with JC MW MT re sale process ‐ visits; issues raised by various parties; update on EB calls         0.40               $525.00   $210.00
1/27/2015     Marc Levee             Asset Disposition    Update prospective buyer list with NDAs received and data room access granted to certain prospective buyers 0.40                   $325.00   $130.00

1/27/2015     Marc Levee             Asset Disposition    Calls to prospective buyers of JAD                                                                                  0.40           $325.00   $130.00
1/27/2015     David Neyhart, CPA     Asset Disposition    Follow up with additional potential parties regarding sale process.                                                 0.30           $225.00   $67.50
1/27/2015     Evan Blum              Asset Disposition    Call with MW re asset list for LRR sale and December financials for JAD data room                                   0.20           $525.00   $105.00
1/27/2015     Evan Blum              Asset Disposition    Call with CD re potential 363 of LRR                                                                                0.20           $525.00   $105.00
1/28/2015     Evan Blum              Asset Disposition    Followed with all parties re JAD sale ‐ not yet returned NDA and returned NDA ‐ over 50 parties; set up calls with 4.00            $525.00   $2,100.00
                                                          int parties for TH and FRI; emails and calls with interested parties (Revelation; Cedarview) re process and need
                                                          to put thoughts on paper ‐
1/28/2015     Marc Levee             Asset Disposition    Review and upload certain documents to the JAD data room                                                            1.10           $325.00   $357.50
1/28/2015     Marc Levee             Asset Disposition    Upload various documents to the JAD data room including title docs and update data room summary index to 1.00                      $325.00   $325.00
                                                          reflect new uploads
1/28/2015     David Neyhart, CPA     Asset Disposition    Review of LRR asset listing and calls with ML and EB regarding the same.                                            0.90           $225.00   $202.50
1/28/2015     Marc Levee             Asset Disposition    Discuss JAD's reclamation liability with Management and begin to prepare analysis re the same                       0.60           $325.00   $195.00
1/28/2015     Evan Blum              Asset Disposition    Daily update call with JC, MW and MT re visits to JAD; GR total follow through with all parties; parties for JC and 0.50           $525.00   $262.50
                                                          MT to follow on
1/28/2015     Marc Levee             Asset Disposition    Review LRR asset list provided by Company and Great American                                                        0.50           $325.00   $162.50
1/28/2015     Marc Levee             Asset Disposition    Various updates to prospective buyer list for JAD ‐ comments section per meetings/discussions with E. Blum and 0.50                $325.00   $162.50
                                                          Management
1/28/2015     Marc Levee             Asset Disposition    Continue to call prospective buyers regarding the sale of JAD; update prospective buyer list and print for review 0.40             $325.00   $130.00

1/28/2015     Marc Levee             Asset Disposition    Discuss LRR asset list with D. Neyhart in preparation for a sale motion                                           0.40             $325.00   $130.00
1/28/2015     Evan Blum              Asset Disposition    Review LRR asset list ‐ parameters; included/excluded ‐ with ML ‐ need to provide with LRR sale motion later in 0.30               $525.00   $157.50
                                                          week
1/28/2015     Evan Blum              Asset Disposition    Review data room summary with ML ‐ items still required; resolve open items; offer permits                        0.30             $525.00   $157.50
                                                          electronically;distribute updated data room summary
1/28/2015     Marc Levee             Asset Disposition    Internal meeting with E. Blum regarding prospective buyer list for JAD and the LRR asset list                     0.30             $325.00   $97.50
1/29/2015     David Neyhart, CPA     Asset Disposition    Update LRR asset list to include executory contracts, and conversations with BM and ML regarding other            1.40             $225.00   $315.00
                                                          updates needed.
1/29/2015     Marc Levee             Asset Disposition    Continue to compile the LRR asset list                                                                            1.10             $325.00   $357.50
1/29/2015     Marc Levee             Asset Disposition    Multiple calls with all Debtor professionals and Company to discuss LRR sale notice, status of certain contracts, 1.00             $325.00   $325.00
                                                          and prospective buyer list for the JAD sale
1/29/2015     Marc Levee             Asset Disposition    Update prospective buyer list per permit packages requested                                                       0.90             $325.00   $292.50
1/29/2015     Marc Levee             Asset Disposition    Compile and review LRR asset list based on information provided by the Company to be used in the sale motion 0.70                  $325.00   $227.50
                                                          and distributed to the Committee
1/29/2015     Evan Blum              Asset Disposition    Detailed call with Ted from Nalley & Hamilton re JAD ‐ thoughts on Foresters Creek after mine tour ‐ tough to     0.60             $525.00   $315.00
                                                          see bid; Underground and Fee property ‐ would re look ‐ had info requests
1/29/2015     Evan Blum              Asset Disposition    Call with MW and Ryan at Evans Equipment re JAD sale process ‐ focused on equipment                               0.50             $525.00   $262.50
1/29/2015     Evan Blum              Asset Disposition    Daily call with JC MW MT re discussions during day; potential buyers as going concern; discuss follow up by party 0.50             $525.00   $262.50

1/29/2015     Marc Levee             Asset Disposition    Discussions with D. Neyhart regarding the LRR asset list                                                         0.50              $325.00   $162.50
1/30/2015     David Neyhart, CPA     Asset Disposition    Finalize LRR Asset listing, and discussions with BM, ML and Debtors counsel regarding the same.                  2.20              $225.00   $495.00
1/30/2015     Marc Levee             Asset Disposition    Various meetings regarding the JAD sale process: respond to diligence questions from prospective buyer, update 1.50                $325.00   $487.50
                                                          buyer list, prepare permit packages to be sent to requested prospective buyers
1/30/2015     Marc Levee             Asset Disposition    Prepare for and participate in various calls with Company and Counsel regarding LRR asset list                   1.10              $325.00   $357.50
1/30/2015     Evan Blum              Asset Disposition    Daily call with MW JC MT re JAD sales process ‐ focus on potential buyers as going concern ‐ review and agree on 0.80              $525.00   $420.00
                                                          next steps
1/30/2015     Marc Levee             Asset Disposition    Update JAD prospectie buyer list                                                                                 0.80              $325.00   $260.00
1/30/2015     Marc Levee             Asset Disposition    Prepare for and participate in call with management to discuss prospective buyers of JAD                         0.80              $325.00   $260.00
1/30/2015     Evan Blum              Asset Disposition    Review draft LRR Motion re Bid Procedures                                                                        0.60              $525.00   $315.00
1/30/2015     Evan Blum              Asset Disposition    Call with management and counsel re LRR bid procedures hearing                                                   0.60              $525.00   $315.00
1/30/2015     Marc Levee             Asset Disposition    Finalize LRR asset list and send to counsel for review                                                           0.60              $325.00   $195.00
1/30/2015     Evan Blum              Asset Disposition    Provide AA with comments on LRR Motion on Bid Procedures (.4); follow on additional responses to AA              0.50              $525.00   $262.50
                                                          questions (.1)
1/30/2015     Evan Blum              Asset Disposition    Call to discuss LRR filings re Bid procedures with JC                                                            0.50              $525.00   $262.50
1/30/2015     Marc Levee             Asset Disposition    Review LRR asset list with D. Neyhart                                                                            0.50              $325.00   $162.50
1/30/2015     Evan Blum              Asset Disposition    Call from Ted from Nalley Hamilton re his questions on buying fee property ‐ NH focus at this time               0.40              $525.00   $210.00
1/30/2015     Evan Blum              Asset Disposition    Call with Cranks Creek re JAD sale process                                                                       0.30              $525.00   $157.50
1/30/2015     Evan Blum              Asset Disposition    Many follow up emails to potentially interested parties on going concern basis after daily group call ‐ request  0.30              $525.00   $157.50
                                                          calls next week
1/30/2015     Marc Levee             Asset Disposition    Call with prospective buyer of JAD to discuss bidding process                                                    0.30              $325.00   $97.50
1/30/2015     Evan Blum              Asset Disposition    Call with Ritchie Brothers re JAD auction                                                                        0.20              $525.00   $105.00
1/30/2015     Evan Blum              Asset Disposition    Call with Reich to follow on JAD equipment sale                                                                  0.20              $525.00   $105.00
1/30/2015     Evan Blum              Asset Disposition    Respond with ML to JAD financial questions from Frost Brown Todd for MHS re JAD sale                             0.20              $525.00   $105.00
1/30/2015     Evan Blum              Asset Disposition    Email CD re Ritchie Brothers questions and respond to Ritchie; email MT re Ritchie JAD tour schedule             0.20              $525.00   $105.00
1/30/2015     Evan Blum              Asset Disposition    Respond to Alliance request for NDA and bid docs                                                                 0.10              $525.00   $52.50
1/31/2015     Marc Levee             Asset Disposition    Analyze 2014 reclamation liability at JAD                                                                        1.00              $325.00   $325.00
1/31/2015     Evan Blum              Asset Disposition    Respond to Frost Brown Todd for MHS re operational questions related to JAD in regard to JAD sale process        0.10              $525.00   $52.50

2/1/2015      Marc Levee             Asset Disposition    Prepare for and participate in call with E.Blum to discuss reclamation cost at JAD (0.4); Revise reclamation analysis based 0.80   $325.00   $260.00
                                                          on Company provided information (0.4)
2/1/2015      Marc Levee             Asset Disposition    Update prospective buyer list for JAD                                                                                       0.80   $325.00   $260.00




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2/1/2015      Evan Blum              Asset Disposition    Review spreadsheet and comments on reclamation liability with ML ‐ review in context of JAD sale; ML to follow on                0.40    $525.00   $210.00
                                                          questions with MW
2/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Revise detailed income statement to include fourth quarter 2014 for JAD data room                                                2.20    $375.00   $825.00
2/2/2015      Marc Levee              Asset Disposition   Respond to diligence request from prospective buyer of the JAD Division                                                          1.50    $325.00   $487.50
2/2/2015      Marc Levee              Asset Disposition   Update the JAD prospective buyer summary overview page per Committee request                                                     0.80    $325.00   $260.00
2/2/2015      Marc Levee              Asset Disposition   Review NDA received and send invite to data room; update prospective buyer list re the same                                      0.70    $325.00   $227.50
2/2/2015      Evan Blum               Asset Disposition   Call with Dan Ruskin re JAD sale ‐ Anchor Holdings ‐ investor behind EnviroEnergy                                                0.60    $525.00   $315.00
2/2/2015      Evan Blum               Asset Disposition   Review questions of Nalley Hamilton re JAD sale with JC and MW                                                                   0.40    $525.00   $210.00
2/2/2015      Marc Levee              Asset Disposition   Call with CFO, Counsel, and E. Blum regarding reclamation liability at JAD                                                       0.40    $325.00   $130.00
2/2/2015      Evan Blum               Asset Disposition   Call with CFO, Counsel and M Levee regarding reclamation liability at JAD                                                        0.40    $525.00   $210.00
2/3/2015      Evan Blum               Asset Disposition   Meet with ML re updates to tracking list ‐ ML to distribute summary and detailed lists (1.0); call with JC re sale process ‐     1.20    $525.00   $630.00
                                                          May out; Kiscaden TH; Nalley TH (.2)
2/3/2015      Marc Levee             Asset Disposition    Amend asset list for LRR Division per emails from Counsel                                                                        1.20    $325.00   $390.00
2/3/2015      Marc Levee             Asset Disposition    Discussions and updates to JAD prospective buyer list with E. Blum                                                               1.00    $325.00   $325.00
2/3/2015      Evan Blum              Asset Disposition    Call with Ted of Nalley Hamilton ‐ further discussion on JAD assets‐ looking beyond fee now ‐ discuss SCANA contract; fee        0.90    $525.00   $472.50
                                                          issues; mine tour wed ‐ meet Thurs in TN (.7); follow with D Drebsky (.2)
2/3/2015      Evan Blum              Asset Disposition    Call with MW on Nalley Hamilton questions ‐ review certain responses; need to address more questions. Discuss scana              0.60    $525.00   $315.00
                                                          contract as it relates to sale (.4); follow with D Drebsky and CD (.2)
2/3/2015      Evan Blum              Asset Disposition    Call with JC on Nalley Hamilton expanded interest; discuss Thursday meetings in TN; wed night with D Ruskin Kingsport;           0.50    $525.00   $262.50
                                                          Scana contract relative to sale and timing to address further ‐ after 9th
2/3/2015      Marc Levee             Asset Disposition    Update buyer list for JAD with NDA received and updates per discussions with buyers                                              0.50    $325.00   $162.50
2/3/2015      Evan Blum              Asset Disposition    Call with Alpha re their interest in scana contract in JAD sale; how to pursue                                                   0.30    $525.00   $157.50
2/3/2015      Evan Blum              Asset Disposition    Respond to questions from RB Auction re JAD sale                                                                                 0.10    $525.00   $52.50
2/4/2015      Evan Blum              Asset Disposition    Meet with JC re JAD sale process; JAD mine tour with J Weiss ‐ Boyd; review status of potential buyers with J Weiss;             13.00   $525.00   $6,825.00
                                                          continue after Boyd meeting to meet with JC, MT and J Dean re detailed status of each buyer; dinner with D Ruskin of
                                                          Anchor and JC, MT re potential JAD purchase in Kingsport; continue meeting with JC on sale process (8AM‐ 9PM)

2/4/2015      Marc Levee             Asset Disposition    Discuss and prepare updates to JAD prospective buyer list per recent discussions and developments (0.8); answer data             0.90    $325.00   $292.50
                                                          room request from a JAD prospective buyer (0.1)
2/4/2015      Marc Levee             Asset Disposition    Begin preparation of cure list exhibit for LRR Division                                                                          0.60    $325.00   $195.00
2/5/2015      Evan Blum              Asset Disposition    Meetings with JC, MT and various potential buyers ‐ Kiscaden in VA; Nalley Hamilton in TN; discussions with JC re JAD            8.00    $525.00   $4,200.00
                                                          process; calls to numerous parties who had expressed interest re process for Monday (7am‐3pm)
2/5/2015      Marc Levee             Asset Disposition    Discuss preliminary cure list exhibit for the LRR Division with the Company (0.2); update preliminary LRR cure list and          0.70    $325.00   $227.50
                                                          prepare for call with Counsel re: the same (0.5)
2/5/2015      Marc Levee             Asset Disposition    Discussion with Company and Counsel regarding LRR Division cure list; prepare updates per discussion and send to                 0.60    $325.00   $195.00
                                                          Company
2/6/2015      David Neyhart, CPA     Asset Disposition    Prepare detailed reconciliation summary of appraisal asset listings to asset listing provided in JAD data room.                  3.40    $225.00   $765.00

2/6/2015      Marc Levee             Asset Disposition    Update JAD prospective buyer list; call with counsel and E. Blum to discuss update                                                1.00   $325.00   $325.00
2/6/2015      Evan Blum              Asset Disposition    Calls with CD and D Drebsky re issues surrounding Resource Tech appraisal relative to other information on equipment              0.80   $525.00   $420.00
                                                          and land in data room; put in data room
2/6/2015      Evan Blum              Asset Disposition    Work on responses to Nalley Hamilton on questions re fee property at JAD ‐ regarding 2/9 bid                                      0.60   $525.00   $315.00
2/6/2015      Marc Levee             Asset Disposition    Prepare addendum to RTC appraisal report and upload RTC appraisal report to the JAD data room; prepare placeholder for 0.60              $325.00   $195.00
                                                          equipment reconciliation and upload to JAD data room
2/6/2015      Evan Blum              Asset Disposition    Meet with ML re status of interest in JAD sale as going concern                                                                   0.40   $525.00   $210.00
2/6/2015      Evan Blum              Asset Disposition    Call with K Griffin from BroadBranch re JAD interest ‐ difficult market economics re going concern ‐ tough for financing          0.30   $525.00   $157.50
                                                          partner ‐ discussed letter without financing tied up
2/6/2015      Marc Levee             Asset Disposition    Further updates to JAD prospective buyer list per discussions                                                                     0.30   $325.00   $97.50
2/6/2015      Evan Blum              Asset Disposition    Call with Great American re JAD sale ‐ process                                                                                    0.20   $525.00   $105.00
2/7/2015      Marc Levee             Asset Disposition    Review equipment appraisal reconciliation and make minor adjustments ‐ send for review                                            0.20   $325.00   $65.00
2/8/2015      Evan Blum              Asset Disposition    Review equipment reconciliation prepared by GR ‐ asset list in data room to Great American and Resource Tech appraisals 0.40             $525.00   $210.00
                                                          (.3); email with counsel (.1);l
2/9/2015      David Neyhart, CPA     Asset Disposition    Review terms of each bid received, and prepare summary of key terms and analysis of which specific assets each bidder 4.70               $225.00   $1,057.50
                                                          bid on.
2/9/2015      Evan Blum              Asset Disposition    Multiple calls with MW, JC and CD re JAD bid process ‐ bids due today; review status of each potential bidder; review             1.20   $525.00   $630.00
                                                          initial bids coming in
2/9/2015      David Neyhart, CPA     Asset Disposition    Update effective date analysis for JAD to include accrued expenses as part of JAD sale process.                                   0.70   $225.00   $157.50
2/9/2015      Evan Blum              Asset Disposition    Call with M Rafter of canary re reasons declined to bid on JAD ‐ discussion of mining conditions ‐ JC to follow                   0.50   $525.00   $262.50
2/9/2015      Evan Blum              Asset Disposition    Call with LD re implications of JAD sale on taxes / reclamation / admin expenses                                                  0.50   $525.00   $262.50
2/9/2015      Evan Blum              Asset Disposition    Call with MW on JAD sale process                                                                                                  0.40   $525.00   $210.00
2/9/2015      Evan Blum              Asset Disposition    Call with Great American on JAD sale/bid process                                                                                  0.40   $525.00   $210.00
2/9/2015      Evan Blum              Asset Disposition    Call with Ritchie on JAD sale and bid process                                                                                     0.40   $525.00   $210.00
2/9/2015      David Neyhart, CPA     Asset Disposition    Call with counsel and EB to discuss potential auction proceeds.                                                                   0.40   $225.00   $90.00
2/10/2015     David Neyhart, CPA     Asset Disposition    Meeting with EB and counsel at Nixon Peabody to discuss results of JAD auction; analyze bids; and communicate findings 2.20              $225.00   $495.00
                                                          to the committee.
2/10/2015     Evan Blum              Asset Disposition    Meet with Nixon and DN re summarizing JAD bids; adjust and add to summaries; discuss strategies to increase bids and 1.50                $525.00   $787.50
                                                          next calls; impact of credit bids; status of land potential sale separately
2/10/2015     David Neyhart, CPA     Asset Disposition    Prepare analysis combining credit bids and equipment bids to show max. potential benefit to the estate.                           1.50   $225.00   $337.50
2/10/2015     Evan Blum              Asset Disposition    Review all written offers for JAD (.8); review with DN a GR spreadsheet summarizing offers and discuss additions to               1.30   $525.00   $682.50
                                                          spreadsheet (.3); review updated spreadsheet summarizing bids (.2)
2/10/2015     Evan Blum              Asset Disposition    Call with DN, Nixon and company to review bids; next steps re bid process and next calls                                          0.70   $525.00   $367.50
2/10/2015     David Neyhart, CPA     Asset Disposition    Prepare memo on contingencies and key terms included in JAD equipment bids                                                        0.70   $225.00   $157.50
2/10/2015     David Neyhart, CPA     Asset Disposition    Update summary bid analysis.                                                                                                      0.50   $225.00   $112.50
2/10/2015     Evan Blum              Asset Disposition    Calls to follow on JAD sale ‐ email J Bennett re additional time (.1); email K Griffin re setting up next day call to discuss bid 0.40   $525.00   $210.00
                                                          (.1); call with Myron Bowling to clarify bid; revert to counsel re same (.2)
2/10/2015     Evan Blum              Asset Disposition    Call with JC re Canary (Rafter) conversation on JAD; JC to follow re Canary mining issues                                         0.30   $525.00   $157.50
2/10/2015     David Neyhart, CPA     Asset Disposition    Call with BM to discuss assets from Ritchie Bros bid that were not on Debtor asset list                                           0.30   $225.00   $67.50
2/10/2015     Evan Blum              Asset Disposition    Call with JC re extension of Bennett bid                                                                                          0.10   $525.00   $52.50
2/10/2015     Evan Blum              Asset Disposition    Review CAT credit bid                                                                                                             0.10   $525.00   $52.50
2/10/2015     Evan Blum              Asset Disposition    Review Commercial Bank credit bid                                                                                                 0.10   $525.00   $52.50
2/11/2015     David Neyhart, CPA     Asset Disposition    Discussions with potential bidders and EB, and update of JAD bid analysis based on discussions.                                   1.50   $225.00   $337.50
2/11/2015     Evan Blum              Asset Disposition    Call with JC to discuss Nally Hamilton offer for JAD in detail (.5); discuss with CD as Nalley wanted follow call (.2); follow 0.80      $525.00   $420.00
                                                          with JC (.1)
2/11/2015     Evan Blum              Asset Disposition    At counsel request, call with JC to discuss reclamation in context of a JAD sale; alternative scenarios; discuss ability to sell 0.60    $525.00   $315.00
                                                          certain permits,leases and liability in small package ‐ to be followed up on further (.4); follow with counsel (.2)

2/11/2015     David Neyhart, CPA     Asset Disposition    Update bid analysis based on hackman revised JAD bid.                                                                            0.60    $225.00   $135.00
2/11/2015     Evan Blum              Asset Disposition    Call with CD and K Griffin re CJSE bid for JAD                                                                                   0.50    $525.00   $262.50
2/11/2015     David Neyhart, CPA     Asset Disposition    Call with counsel EB and Broadbranch to discuss potential JAD going concern bid.                                                 0.50    $225.00   $112.50
2/11/2015     Evan Blum              Asset Disposition    Call with DN and CD re updated summary of bids that includes analysis of credit bids                                             0.40    $525.00   $210.00
2/11/2015     Evan Blum              Asset Disposition    Call with Hilco/Hackman to review their bid ‐ ask clarifying questions; they are to revert back; discuss stalking horse          0.40    $525.00   $210.00
                                                          possibility
2/11/2015     Evan Blum              Asset Disposition    Call with Ritchie Bros re questions and clarifications on their bid for JAD                                                      0.30    $525.00   $157.50
2/11/2015     Evan Blum              Asset Disposition    Call with Myron Bowling to review their JAD bid and ask for clarifications                                                       0.30    $525.00   $157.50




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                                                                                                                     2015    05/15/15 15:57:57                                                        Desc
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2/11/2015     David Neyhart, CPA     Asset Disposition    Research bidder question re. generator at HWM as part of JAD auction.                                                           0.30   $225.00   $67.50
2/11/2015     Evan Blum              Asset Disposition    Review with DN updated Hilco bid that removed Komatsu asserts; improved bid                                                     0.20   $525.00   $105.00
2/12/2015     Evan Blum              Asset Disposition    Multiple calls with Hilco re their interest as Initial Bid; discuss numbers and process; do not desire to be so named           0.60   $525.00   $315.00

2/12/2015     Evan Blum               Asset Disposition   Call with JC concerning bid scenarios on mining assets ‐ permit/lease /reclamation liability alternatives                       0.50   $525.00   $262.50
2/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Assist JAD Debtors in reconciling books and records to claims asserted in credit bids (including correspodence with             0.50   $375.00   $187.50
                                                          Debtors and Counsel)
2/12/2015     Evan Blum              Asset Disposition    Call with Myron Bowling to clarify their JAD offer                                                                              0.30   $525.00   $157.50
2/12/2015     Evan Blum              Asset Disposition    call with Great American to clarify certain items in their bid                                                                  0.30   $525.00   $157.50
2/12/2015     David Neyhart, CPA     Asset Disposition    Update JAD bid analysis based on revised bids by commercial bank.                                                               0.30   $225.00   $67.50
2/13/2015     Evan Blum              Asset Disposition    Call with Nalley Hamilton re their bid with counsel and company                                                                 0.50   $525.00   $262.50
2/13/2015     David Neyhart, CPA     Asset Disposition    Research questions from potential JAD bidder re asset list and any taxes due.                                                   0.40   $225.00   $90.00
2/13/2015     Evan Blum              Asset Disposition    Review revised Commercial credit bid                                                                                            0.10   $525.00   $52.50
2/15/2015     Evan Blum              Asset Disposition    Call with Hackman/Hilco re JAD sale process; equipment bids; the status of their bid                                            0.50   $525.00   $262.50
2/15/2015     Evan Blum              Asset Disposition    Call with DN to set up spreadsheets looking at various recovery analyses re JAD sale                                            0.30   $525.00   $157.50
2/15/2015     Evan Blum              Asset Disposition    Review DeanMcAfee bidders credit bid for certain JAD assets                                                                     0.30   $525.00   $157.50
2/15/2015     David Neyhart, CPA     Asset Disposition    Call with EB to discuss JAD sale process                                                                                        0.30   $225.00   $67.50
2/16/2015     Marc Levee             Asset Disposition    Review results of JAD auction and update buyer list accordingly                                                                 1.50   $325.00   $487.50
2/16/2015     Evan Blum              Asset Disposition    Call with Nalley Hamilton and JC re Nalley bid (.5); follow with JC (.2); CD & D Drebsky (.2) in regard to status and Nalley    0.90   $525.00   $472.50
                                                          requests
2/16/2015     Evan Blum              Asset Disposition    Review draft sale order for JAD (.4)‐ review related emails from Debtor and committee counsel re comments on same (.2)          0.90   $525.00   $472.50
                                                          and discuss with CD (.2); review ECM counsel comments (.1)
2/16/2015     Evan Blum              Asset Disposition    Compose and send emails to all qualifying bidders laying out process & timing; respond to emails re same re mechanics           0.80   $525.00   $420.00

2/16/2015     David Neyhart, CPA     Asset Disposition    prepare schedule for reclamation liability per location per lease in prep for JAD auction                                       0.60   $225.00   $135.00
2/16/2015     Evan Blum              Asset Disposition    Call with Myron re their JAD bid; respond to questions on process; asset breakdowns                                             0.40   $525.00   $210.00
2/16/2015     Evan Blum              Asset Disposition    Call with JC and D Neyhart re segregation of bids for mining assets of JAD ‐ by permit/lease/reclamation liability to be able   0.40   $525.00   $210.00
                                                          to compare potential bidders on pieces
2/16/2015     David Neyhart, CPA     Asset Disposition    Call with JC and E Blum re segregation of bids for mining assets of JAD ‐ by permit/lease/reclamation liability to be able to   0.40   $225.00   $90.00
                                                          compare potential bidders on pieces
2/16/2015     Evan Blum               Asset Disposition   Discussions with D Drebsky re connecting Komatsu and Hilco (.2); follow with Hilco (.1)                                         0.30   $525.00   $157.50
2/16/2015     David Neyhart, CPA      Asset Disposition   follow up with specific jad bidders regarding specific assets bid on                                                            0.30   $225.00   $67.50
2/16/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss customer negotiations and upcoming auction with C. Desiderio and E. Blum                                                0.30   $375.00   $112.50
2/16/2015     Evan Blum               Asset Disposition   Discuss customer negotiations and upcoming auction with C. Desiderio and S Allen                                                0.30   $525.00   $157.50
2/16/2015     Evan Blum               Asset Disposition   Call with J Bennett re potential JAD bid; status of internal discussions and possible interest                                  0.20   $525.00   $105.00
2/17/2015     David Neyhart, CPA      Asset Disposition   Prepare schedule for amounts of cash collateral, bond values, and reclamation liability for each permit at JAD for JAD          2.90   $225.00   $652.50
                                                          Auction. Discussions with the Debtor and SA and EB regarding the same.
2/17/2015     Marc Levee             Asset Disposition    Review and update LRR cure claim list for filing exhibit and discuss with Company                                               1.90   $325.00   $617.50
2/17/2015     Marc Levee             Asset Disposition    Prepare for and participate in discussion with Company regarding the LRR cure claim exhibit for the LRR sale process            1.40   $325.00   $455.00

2/17/2015     Marc Levee              Asset Disposition   Further updates to the JAD buyer list based on all parties that did not submit bids or attend auction                           1.20   $325.00   $390.00
2/17/2015     Marc Levee              Asset Disposition   Prepare notice of sale service list for the JAD Division and send notice to qualified bidders of the JAD assets                 0.90   $325.00   $292.50
2/17/2015     David Neyhart, CPA      Asset Disposition   Call with bm and ml re updating cure claim listing in preparation for lrr auction                                               0.60   $225.00   $135.00
2/17/2015     Evan Blum               Asset Disposition   Call LD re LRR and JAD sale processes; LRR issues and timing                                                                    0.50   $525.00   $262.50
2/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss analysis of reclamation and other mining liabilities by permit with D. Neyhart (in preparation for auction)             0.50   $375.00   $187.50

2/17/2015     David Neyhart, CPA     Asset Disposition    Discuss analysis of reclamation and other mining liabilities Allen (in preparation for auction)                                 0.50   $225.00   $112.50
2/17/2015     David Neyhart, CPA     Asset Disposition    Call with ritchie bros and follow up regarding differences in the exhibit/asset list that they provided                         0.40   $225.00   $90.00
2/17/2015     David Neyhart, CPA     Asset Disposition    Meeting with SA and EB to discuss amount of bonds and reclamation liability by permit in preparation of JAD auction.            0.40   $225.00   $90.00

2/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss bonds and permits with D. Neyhart and E. Gabbert                                                                        0.40   $375.00   $150.00
2/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Meeting with E Blum and D Neyhart to discuss amount of bonds and reclamation liability by permit in preparation of JAD          0.40   $375.00   $150.00
                                                          auction
2/17/2015     Evan Blum              Asset Disposition    Meeting with S Allen and D Neyhart to discuss amount of bonds and reclamation liability by permit in preparation of JAD         0.40   $525.00   $210.00
                                                          auction
2/17/2015     David Neyhart, CPA      Asset Disposition   Discuss bonds and permits with S Allen and E Gabbert                                                                            0.40   $225.00   $90.00
2/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review JAD bids in preparation of auction                                                                                       0.30   $375.00   $112.50
2/17/2015     Evan Blum               Asset Disposition   Emails with Hilco and company to set up JAD visit tomorrow                                                                      0.20   $525.00   $105.00
2/18/2015     Evan Blum               Asset Disposition   All day pre hearing meeting at Del Cotto with Nixon ‐ review bids, calls with bidders; get escrows and deposits; review GR      9.00   $525.00   $4,725.00
                                                          asset list; review tax and other sale issues; review JAD wind down of operations with company and review overview
                                                          model of same; review auction process and strategy
2/18/2015     Marc Levee             Asset Disposition    Discuss mining classifications with regards to reclamation cost at JAD with S. Allen, in preparation fo rcall with Company      0.90   $325.00   $292.50
                                                          (0.1); follow up discussion with S. Allen regarding permits, lessor, and reclamation cost at JAD
2/18/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss permits, leases, reclamation liabilities with Management and M. Levee                                                   0.90   $375.00   $337.50
2/18/2015     Marc Levee              Asset Disposition   Review LRR cure claim list internally                                                                                           0.50   $325.00   $162.50
2/18/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review JAD bids in preparation of auction                                                                                       0.50   $375.00   $187.50
2/19/2015     Evan Blum               Asset Disposition   Work at company in Lexington to prepare for next day auction ‐ compile final asset list with adjustments from prior;            6.40   $525.00   $3,360.00
                                                          review final SCANA negotiations with JC; call all bid parties and discuss process / answer questions ‐ Ritchie, Reich/Great
                                                          American, Hilco with counsel multiple calls, Myron with counsel multiple calls, CJSE/Broadbranch multiple calls, Nalley.
                                                          Work on and finalize reclamation and tax schedule by category of assets ‐ determine cure amounts and tax amounts by
                                                          permit; discuss with counsel the assumptions underlying reclamation amounts. Finalize JAD wind down budget with
                                                          company and have distributed to all counsel.

2/19/2015     Sean Allen, CFA, CPA, C Asset Disposition   Meet with Management and E. Blum in preparation of upcoming JAD auction; create and refine analytic tools for            6.40          $375.00   $2,400.00
                                                          comparison of potential bids
2/19/2015     Evan Blum              Asset Disposition    Meet at DelCotto with S Allen, A Adams and CD to review by credit bidder the specific equipment and credit bid and claim 1.80          $525.00   $945.00
                                                          in order to create schedules; also review the GR reclamation and tax summary by category of assets to be auctioned

2/19/2015     Sean Allen, CFA, CPA, C Asset Disposition   Meet at DelCotto with E Blum, A Adams and DC to review by credit bidder the specific equipment and credit bid and claim 1.80           $375.00   $675.00
                                                          in order to create schedules; also review the GR reclamation and tax summary by category of assets to be auctioned

2/19/2015     Marc Levee             Asset Disposition    Call with LRR and Management to discuss documents to be uploaded into the LRR data room; follow up discussions with             1.30   $325.00   $422.50
                                                          Company re the same
2/19/2015     Marc Levee             Asset Disposition    Review LRR asset list, prepare revisions, and send to counsel                                                                   1.00   $325.00   $325.00
2/19/2015     Evan Blum              Asset Disposition    Multiple calls in evening with Globe re their interest to bid (discuss with counsel and OK) and follow calls with Hilco re      0.50   $525.00   $262.50
                                                          next day JAD auction
2/20/2015     Sean Allen, CFA, CPA, C Asset Disposition   Attend JAD Section 363 Auction                                                                                                  9.30   $375.00   $3,487.50
2/20/2015     Evan Blum               Asset Disposition   Assist in conducting JAD auction in Lexington (830‐530)                                                                         9.00   $525.00   $4,725.00
2/20/2015     Marc Levee              Asset Disposition   Begin to prepare various documents for the LRR data room                                                                        1.80   $325.00   $585.00
2/20/2015     Evan Blum               Asset Disposition   Post auction download with counsel (1.5); calls with JC re relevation discussions on remaining assets (.2)                      1.70   $525.00   $892.50
2/20/2015     Marc Levee              Asset Disposition   Prepare asset list for LRR data room                                                                                            1.00   $325.00   $325.00
2/21/2015     Evan Blum               Asset Disposition   Call with JC re revelation interest in remaining assets; discuss details around his bid and competing bids for remaining        0.80   $525.00   $420.00
                                                          assets
2/21/2015     Evan Blum              Asset Disposition    Call with MW to recap auction and discuss revelation bid on remaining assets; next steps to conclude JAD                        0.40   $525.00   $210.00




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                                                                                                                     2015    05/15/15 15:57:57                                                         Desc
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2/22/2015     Evan Blum               Asset Disposition   Review JAD auction summary with S Allen ‐ make changes and have sent to co and counsel to review                                 0.30   $525.00   $157.50
2/22/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review JAD auction summary with E Blum ‐ make changes and have sent to co and counsel to review                                  0.30   $375.00   $112.50
2/22/2015     Evan Blum               Asset Disposition   Review status of LRR data room with ML                                                                                           0.20   $525.00   $105.00
2/22/2015     Marc Levee              Asset Disposition   Review status of LRR data room with E Blum                                                                                       0.20   $325.00   $65.00
2/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Detail credit bids, deficiency claims, etc. at counsel's request related to sale motion                                          3.80   $375.00   $1,425.00
2/23/2015     Marc Levee              Asset Disposition   Continue to prepare LRR data room ‐ reviewing and uploading documents, updates to internal summary                               3.10   $325.00   $1,007.50
2/23/2015     Evan Blum               Asset Disposition   Prepare for call with counsel to review non equipment assets still for sale at JAD including reviewing bids from Globe and       2.50   $525.00   $1,312.50
                                                          Nalley, writing detailed email summarizing bids for such assets (.9); call with A Adams to confirm bid details (.3); call with
                                                          Nixon and Del Cotto re status of JAD non‐ equipment (.8); follow with JC (.2); follow with various bidders ‐ Globe, Nalley,
                                                          Revelation, Broadbranch (.3)
2/23/2015     Marc Levee             Asset Disposition    Review documents received from Synergy, including various discussions with the Company                                           1.60   $325.00   $520.00
2/23/2015     Evan Blum              Asset Disposition    Multiple calls with JC and CD regarding JC potential involvement in LRR auction; steps to take, timing of discussions with       0.70   $525.00   $367.50
                                                          partners for JC
2/23/2015     Evan Blum               Asset Disposition   Respond point by point to Revelation offer in order to clarify JAD bid ‐ discuss with SA, JC and CD                              0.60   $525.00   $315.00
2/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD auction and follow up with DelCotto Law Group, Nixon Peabody, Management, and E. Blum                                0.60   $375.00   $225.00
2/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD fee property with C. Desiderio, J Collins and E. Blum                                                                0.60   $375.00   $225.00
2/23/2015     Evan Blum               Asset Disposition   Discuss JAD fee property wit C Desiderio, J Collins and S Allen                                                                  0.60   $525.00   $315.00
2/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Reconcile ECM credit bid and related correspondence with DLG, Nixon Peabody, and Management                                      0.50   $375.00   $187.50
2/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD fee property with J. Collins and E. Blum                                                                             0.40   $375.00   $150.00
2/23/2015     Evan Blum               Asset Disposition   Call with Reich re JAD sale process ‐ respond to their issues                                                                    0.30   $525.00   $157.50
2/23/2015     Evan Blum               Asset Disposition   Continue email correspondence with revelation regarding the terms under which they would do a deal for remaining                 0.30   $525.00   $157.50
                                                          assets of JAD (.2); discuss with JC (.1)
2/23/2015     Evan Blum              Asset Disposition    Review emails around adjustments to GR's final auction analysis based on conforming with ECM spreadsheets; SA to                 0.30   $525.00   $157.50
                                                          update and finalize (.2); discuss with SA (.1)
2/23/2015     Marc Levee              Asset Disposition   Discuss LRR data room with E. Blum                                                                                               0.30   $325.00   $97.50
2/23/2015     Marc Levee              Asset Disposition   Review documents received and request additional documents from the Company for LRR data room                                    0.30   $325.00   $97.50
2/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss response to JAD bidder with M. Windisch and E. Blum                                                                      0.30   $375.00   $112.50
2/23/2015     Evan Blum               Asset Disposition   Discuss LRR data room with M Levee                                                                                               0.30   $525.00   $157.50
2/23/2015     Evan Blum               Asset Disposition   Discuss response to JAD bidder with M Windisch and S Allen                                                                       0.30   $525.00   $157.50
2/23/2015     Evan Blum               Asset Disposition   Review emails around Komatsu credit bid and re open of auction on certain items                                                  0.10   $525.00   $52.50
2/24/2015     Evan Blum               Asset Disposition   Review email correspondence and have numerous calls with CD and JC in regard to Revelation emails around potentially             3.10   $525.00   $1,627.50
                                                          buying remaining JAD assets (2.3); follow call with JC re this potential transaction and need to be determined if can be
                                                          done in accordance with BK and auction (.8)
2/24/2015     Marc Levee             Asset Disposition    Upload various items to LRR data room ‐ deeds and executory contracts (2.0); reconcile and send follow up emails for             2.90   $325.00   $942.50
                                                          open requests to Company regarding the LRR data room (0.9)
2/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Reconcile auction results and prepare attachments per counsel's request                                                          2.90   $375.00   $1,087.50
2/24/2015     Marc Levee              Asset Disposition   Prepare email and serve notice of bidding procedures and sale motion to various parties for the LRR sale                         2.40   $325.00   $780.00
2/24/2015     Evan Blum               Asset Disposition   Call with Nixon Del Cotto and company on sale of JAD ‐ current status of JAD Seller and Pocahontus discussions; discuss          1.50   $525.00   $787.50
                                                          wind down JAD and LRR; discuss motion re cash collateral from ECM (1.2); follow with D Drebsky re same ‐ Pocahontus
                                                          response to clarification request from Nixon (.3)
2/24/2015     Evan Blum               Asset Disposition   Work on spreadsheet / Sources ‐ uses ‐ for JAD and LRR                                                                           1.20   $525.00   $630.00
2/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD auction, case status and alternatives with Nixon Peabody, DLG, and Management                                        1.20   $375.00   $450.00
2/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Finalize summary of JAD auction results and distribute                                                                           1.00   $375.00   $375.00
2/24/2015     Marc Levee              Asset Disposition   Prepare list of auction attendees for servicing of JAD sale motion                                                               0.80   $325.00   $260.00
2/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss terms of updated bid for remaining JAD assets with E. Blum, C. Desiderio and J. Collins                                  0.70   $375.00   $262.50
2/24/2015     Marc Levee              Asset Disposition   Continue to serve bidding procedures notice to prospective buyers of LRR                                                         0.60   $325.00   $195.00
2/24/2015     Evan Blum               Asset Disposition   Pre call with comm counsel, discuss sale results with Nixon (.2); call with comm counsel re sale update (.3)                     0.50   $525.00   $262.50
2/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss resolution of administrative and secured claims at JAD with E. Blum                                                      0.50   $375.00   $187.50
2/24/2015     David Neyhart, CPA      Asset Disposition   Review JAD Gap and 503b9 amounts and prepare summary for EB in regards to JAD auction.                                           0.40   $225.00   $90.00
2/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Analyze bid and discuss with E. Blum                                                                                             0.40   $375.00   $150.00
2/24/2015     Evan Blum               Asset Disposition   Analyze bid and discuss with S Allen                                                                                             0.40   $525.00   $210.00
2/24/2015     Evan Blum               Asset Disposition   Call with CD re Revelation bid; CD to respond                                                                                    0.20   $525.00   $105.00
2/24/2015     Marc Levee              Asset Disposition   Discuss LRR data room documents with Company                                                                                     0.20   $325.00   $65.00
2/24/2015     Evan Blum               Asset Disposition   Review continued emails around auction of certain Komatsu equipment and resolution thereof                                       0.10   $525.00   $52.50
2/25/2015     Evan Blum               Asset Disposition   All day calls and meetings with JC, LD, CD, DD, SA in regard to Revelation terms for remainder of JAD; review and discuss        4.50   $525.00   $2,362.50
                                                          Revelation proposal with JC; negotiate terms with Revelation and JC ;negotiate with JAD Sellers with LD; update Nixon.
                                                          Discuss strategy of overall resolution of JAD and LRR ‐ create and review updated sources and uses internally and with LD,
                                                          CD and DD. (10:30‐3:00)
2/25/2015     Marc Levee              Asset Disposition   Upload geoglogical data from Synergy to the LRR data room ‐ mine maps and core hole information                                  2.30   $325.00   $747.50
2/25/2015     Marc Levee              Asset Disposition   Review LRR asset list; discuss asset list with Company, along with permits and leases at LRR                                     2.10   $325.00   $682.50
2/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss potential bid for JAD assets with Revelation, J. Collins, and E. Blum                                                    0.80   $375.00   $300.00
2/25/2015     Evan Blum               Asset Disposition   Update LD on status of Revelation offer and negotiations; strategize re implications for arriving at deal with JAD Sellers       0.70   $525.00   $367.50

2/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss potential bid for JAD assets with E. Blum                                                                                0.50   $375.00   $187.50
2/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss potential bid for JAD assets with L. DelCotto and E. Blum                                                                0.20   $375.00   $75.00
2/25/2015     Evan Blum               Asset Disposition   Review proposed sale order for JAD assets                                                                                        0.20   $525.00   $105.00
2/26/2015     Marc Levee              Asset Disposition   Open up LRR data room and notify all prospective buyers who have signed NDAs of access                                           2.00   $325.00   $650.00
2/26/2015     Marc Levee              Asset Disposition   LRR data room uploads                                                                                                            1.80   $325.00   $585.00
2/26/2015     Evan Blum               Asset Disposition   Work with ML on detailed proposed sources and uses of funds including detailed proposed wind down budget post close              1.30   $525.00   $682.50
                                                          in order to meet with M Luskin to discuss re proceeds of JAD sale including resolution of JAD sellers / estate split on
                                                          revelation bid for remainder of JAD assets
2/26/2015     Marc Levee             Asset Disposition    Meet with E. Blum to discuss proposed sources & uses schedule and related liquidation budget for JAD and begin to                1.30   $325.00   $422.50
                                                          prepare same
2/26/2015     Evan Blum              Asset Disposition    Call with LD and JAD sellers counsel re settlement plan details around JAD sale of remaining assets to Revelation                0.80   $525.00   $420.00

2/26/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss potential bid for JAD assets with E. Blum and Nixon Peabody                                                              0.50   $375.00   $187.50
2/26/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD wind down memo with E. Gabbert                                                                                       0.50   $375.00   $187.50
2/26/2015     Evan Blum               Asset Disposition   Discuss potential bid for JAD assets with S Allen and Nixon Peabody                                                              0.50   $525.00   $262.50
2/26/2015     Evan Blum               Asset Disposition   Discuss with LD the JAD sale to Revelation and negotiations on proceeds split between JAD sellers and estate                     0.40   $525.00   $210.00

2/26/2015     Evan Blum               Asset Disposition   Pre call with JAD seller counsel, call with LD re Debtor approach and detailed offer on remaining JAD assets                     0.20   $525.00   $105.00
2/26/2015     Evan Blum               Asset Disposition   Review emails re tax rules for 2015 on equipment and who is going to pick up obligation                                          0.20   $525.00   $105.00
2/27/2015     David Neyhart, CPA      Asset Disposition   Prepare summary for LRR waterfall and recoveries based on estimated LRR credit bid scenarios.                                    2.40   $225.00   $540.00
2/27/2015     David Neyhart, CPA      Asset Disposition   Discussions with SA, and updates to summary for LRR waterfall based on estimated LRR credit bid scenarios                        2.30   $225.00   $517.50
2/27/2015     Marc Levee              Asset Disposition   Various discussions and edits to draft JAD liquidation budget and proposed sources & uses resolution                             1.80   $325.00   $585.00
2/27/2015     Marc Levee              Asset Disposition   Additional updates to the JAD liquidation budget concerning fee accruals                                                         1.10   $325.00   $357.50
2/27/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss credit bid projections for LRR auction with D. Neyhart                                                                   0.60   $375.00   $225.00
2/27/2015     David Neyhart, CPA      Asset Disposition   Discuss potential credit bid resolutions for JAD auction with GR team                                                            0.50   $225.00   $112.50
2/27/2015     David Neyhart, CPA      Asset Disposition   Meeting with GR team to discuss delineation of tasks for LRR asset disposition.                                                  0.50   $225.00   $112.50
2/27/2015     Marc Levee              Asset Disposition   Discuss sale and liquidation budget for JAD and discuss sale strategy for LRR with D. Neyhart, E. Blum, S. Allen                 0.50   $325.00   $162.50

2/27/2015     Marc Levee              Asset Disposition   Discuss potential credit bid resolutions with GR team                                                                            0.50   $325.00   $162.50
2/27/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss analysis necessary for LRR auction with D. Neyhart, M. Levee, and E. Blum                                                0.50   $375.00   $187.50
2/27/2015     Evan Blum               Asset Disposition   Discuss analysis necessary for LRR auction with D Neyhart, M Levee and S Allen                                                   0.50   $525.00   $262.50




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                                                                                                                     2015    05/15/15 15:57:57                                                     Desc
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2/27/2015     Marc Levee              Asset Disposition   Work on liquidation budget for JAD; begin same for LRR                                                                       0.40   $325.00   $130.00
2/27/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss upcoming hearing with Nixon Peabody and E. Blum                                                                      0.40   $375.00   $150.00
2/27/2015     Evan Blum               Asset Disposition   Discuss upcoming hearing with Nixon Peabody and S Allen                                                                      0.40   $525.00   $210.00
2/28/2015     Evan Blum               Asset Disposition   Review updated GR JAD liquidation budget post march (.3); discuss with SA (.1); discuss with ML re updates (.2); discuss     1.20   $525.00   $630.00
                                                          with MW and send to company (.2); email correspondence with EG re questions/changes (.2); discuss with JC (.2)

2/28/2015     Marc Levee             Asset Disposition    Discuss JAD liquidation budget with E. Blum                                                                            0.30         $325.00   $97.50
2/28/2015     Evan Blum              Asset Disposition    Discuss JAD liquidation budget with M Levee                                                                            0.30         $525.00   $157.50
3/1/2015      Marc Levee             Asset Disposition    Update JAD liquidation budget and proposed sources & uses resolution; begin to prepare LRR version and send to E. Blum 1.20         $325.00   $390.00

3/1/2015      Marc Levee             Asset Disposition    Various discussions with E. Blum regarding JAD liquidation budget and proposed sources & uses resolution; make various 1.20         $325.00   $390.00
                                                          revisions per discussions
3/1/2015      Evan Blum              Asset Disposition    Call with ML re JAD Liquidation Budget; continued correspondence with counsel on multiple questions re GR assumptions 0.80          $525.00   $420.00
                                                          on liquidation budget; distribute revised version internally
3/1/2015      Evan Blum              Asset Disposition    Call with ML re GR sources / uses at JAD sale confirm (.4); continued correspondence with counsel on various issues         0.70    $525.00   $367.50
                                                          related to GR assumptions (.3)
3/1/2015      Evan Blum              Asset Disposition    Call with EG to update certain items in JAD Liquidation budget; distribute for review internally                            0.30    $525.00   $157.50
3/2/2015      David Neyhart, CPA     Asset Disposition    Meetings with EB and SA to discuss LRR auction credit bids and creditor recovery scenarious; updates to financial           3.70    $225.00   $832.50
                                                          projections and preparation of memo regarding the same.
3/2/2015      David Neyhart, CPA     Asset Disposition    Prepare LRR memo detailing projected auction proceeds, credit bids, potential cash bids, and creditor recoveries.           3.70    $225.00   $832.50
                                                          Meetings and discussins with EB regarding the same.
3/2/2015      Evan Blum              Asset Disposition    Work with ML to prepare liquidation budgets (including carve outs) for LRR and JAD to review with ECM counsel; review 1.60          $525.00   $840.00
                                                          required liquidation costs by category by entity
3/2/2015      Evan Blum              Asset Disposition    Meet with Nixon following meeting with ECM counsel re LRR and JAD wind down and liquidation budgets; review carve 1.60              $525.00   $840.00
                                                          out issues; review next steps and strategy in case
3/2/2015      Marc Levee             Asset Disposition    Continue to revise the LRR sources & uses resolution ‐ UMM taxes, royalties                                                 1.30    $325.00   $422.50
3/2/2015      Marc Levee             Asset Disposition    Discussions with E. Blum and S. Allen regarding JAD sources & uses resolution and liquidation budget; prepare revisions to 1.20     $325.00   $390.00
                                                          both and resend for review
3/2/2015      Marc Levee             Asset Disposition    Update LRR sources & uses resolution and discuss with E. Blum; further discussions with S. Allen re the same                1.00    $325.00   $325.00
3/2/2015      Evan Blum              Asset Disposition    Call with CD, D Drebsky and SA re JAD sale, wind down budget, liquidation and sources / uses to close JAD (.6); follow with 0.80    $525.00   $420.00
                                                          SA re same (.2)
3/2/2015      Marc Levee             Asset Disposition    Discuss LRR liquidation budget with S. Allen and make related changes                                                       0.80    $325.00   $260.00
3/2/2015      Marc Levee             Asset Disposition    Revise LRR liquidation budget and proposed sources & uses resolution; prepare for internal meeting re the same              0.70    $325.00   $227.50

3/2/2015      Evan Blum               Asset Disposition   Meetings with DN and SA to discuss LRR auction credit bids and creditor recovery scenarios                                   0.70   $525.00   $367.50
3/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Meetings with DN and EB to discuss LRR auction credit bids and creditor recovery scenarios                                   0.70   $375.00   $262.50
3/2/2015      Marc Levee              Asset Disposition   Review open items for LRR data room and prospective buyer list to prepare for intenral meeting; discuss the same with E.     0.50   $325.00   $162.50
                                                          Blum
3/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Review LRR sources and uses / liquidation budget with M. Levee                                                               0.50   $375.00   $187.50
3/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Asset analysis of JAD Auction per counsel's request (related to JAD Seller settlement)                                       0.50   $375.00   $187.50
3/2/2015      Marc Levee              Asset Disposition   Discuss UMM taxes, royalties, cure claims for LRR with the Company                                                           0.40   $325.00   $130.00
3/2/2015      Evan Blum               Asset Disposition   Review updated liquidation models for JAD and LRR based on updated carve out discussions and send to counsel                 0.30   $525.00   $157.50

3/2/2015      Evan Blum              Asset Disposition    Call with A Silfin of Arent Fox re Globe interest in JAD                                                                     0.20   $525.00   $105.00
3/2/2015      Evan Blum              Asset Disposition    Call with Great American re interest in LRR                                                                                  0.20   $525.00   $105.00
3/2/2015      Evan Blum              Asset Disposition    Discuss D&O coverage issues with MW for inclusion in liquidation budgets ‐ open item re dollars for wind own coverage;       0.20   $525.00   $105.00
                                                          MW following
3/3/2015      Marc Levee             Asset Disposition    Multiple calls with Company to discuss admin claims at LRR and update LRR sources & uses resolution per discussions          1.90   $325.00   $617.50

3/3/2015      Marc Levee             Asset Disposition    Update sources & uses resolution for LRR per discussions, including outstanding adequate protection payments                 1.70   $325.00   $552.50

3/3/2015      Evan Blum              Asset Disposition    Meet with SA and ML to review updates to LRR and JAD liquidation and sources/uses figures by line item related to            1.60   $525.00   $840.00
                                                          dispositions of both entities, including clarification calls to CD; update spreadsheets
3/3/2015      Marc Levee              Asset Disposition   Review sale process at LRR ‐ data room summary and review buyer list; update both                                            1.20   $325.00   $390.00
3/3/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss LRR and JAD claims with E. Blum and M. Levee                                                                         0.90   $375.00   $337.50
3/3/2015      Marc Levee              Asset Disposition   Review LRR and JAD claims memos and prepare any updates                                                                      0.60   $325.00   $195.00
3/3/2015      Marc Levee              Asset Disposition   Discuss LRR sources & uses resoltuion with S. Allen                                                                          0.50   $325.00   $162.50
3/3/2015      Marc Levee              Asset Disposition   Discuss wind‐down budget at both JAD and LRR as well as the sources & uses resolution at LRR with E. Blum and S. allen       0.50   $325.00   $162.50

3/3/2015      Sean Allen, CFA, CPA, C Asset Disposition   Review LRR sources and uses / liquidation budget with M. Levee                                                               0.50   $375.00   $187.50
3/3/2015      Sean Allen, CFA, CPA, C Asset Disposition   Asset analysis concerning liens of equipment being bid on by JAD Sellers                                                     0.50   $375.00   $187.50
3/3/2015      Marc Levee              Asset Disposition   Further updates to LRR sources & uses and liquidation budgets per internal discussion                                        0.40   $325.00   $130.00
3/3/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss LRR auction preparation with D. Neyhart and E. Blum                                                                  0.40   $375.00   $150.00
3/3/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss adequate protection and liquidation budget with M. Levee                                                             0.40   $375.00   $150.00
3/3/2015      Evan Blum               Asset Disposition   Calls with D Drebsky re ECM position on carve out ‐ review pro rata figures (.2); discuss with ML re impact on liquidation   0.30   $525.00   $157.50
                                                          budget (.1)
3/3/2015      Evan Blum              Asset Disposition    Email correspondence with LD re status of JAD discussions with Revelation on APA for JAD (.1); emails with JC re same (.1)   0.20   $525.00   $105.00

3/3/2015      Evan Blum              Asset Disposition    Call with A Silfin re Globe interest in JAD ‐ term sheet discussion                                                          0.10   $525.00   $52.50
3/4/2015      Marc Levee             Asset Disposition    Updates to claims memos from both divisions per internal meetings                                                            3.20   $325.00   $1,040.00
3/4/2015      David Neyhart, CPA     Asset Disposition    Review LRR reclamation liabilities per summit engineering report; tie amounts and permit numbers; and prepare                2.00   $225.00   $450.00
                                                          summary analysis in preparation for LRR auction.
3/4/2015      Sean Allen, CFA, CPA, C Asset Disposition   Update auction summary for JAD creditor negotiations                                                                         1.20   $375.00   $450.00
3/4/2015      Evan Blum               Asset Disposition   Discuss in detail update of GR claims memo re obligations which would exist at LRR and JAD ‐ discuss various claims, how     0.90   $525.00   $472.50
                                                          to treat;updated numbers ‐ as per counsel request to update and in prep for upcoming hearing
3/4/2015      Marc Levee              Asset Disposition   Multiple discussions with E. Blum and S. Allen regarding claims memos at both divisions                                      0.90   $325.00   $292.50
3/4/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss claims at LRR and JAD with M. Levee                                                                                  0.90   $375.00   $337.50
3/4/2015      Marc Levee              Asset Disposition   Meet with S. Allen and E. Blum to discuss wind‐down budget and sources & uses / liquidation budgets at both divisions        0.70   $325.00   $227.50
                                                          (0.5); prepare revisions to S&U and liquidation budget based on discussions (0.2)
3/4/2015      Evan Blum              Asset Disposition    Call with LD re JAD sale ‐ terms of Revelation and how to make a deal between comm and JAD sellers ‐ discuss                 0.50   $525.00   $262.50
                                                          strategically and propose outline; EB to follow on certain issues
3/4/2015      Evan Blum              Asset Disposition    Review updated GR analysis of Liquidation budget for JAD and LRR with SA and ML ‐ in prep for upcoming hearing               0.50   $525.00   $262.50

3/4/2015      Sean Allen, CFA, CPA, C Asset Disposition   Meet with ML and EB to discuss wind‐down budget and sources and uses/liquidation budgets at both divisions                   0.50   $375.00   $187.50

3/4/2015      Evan Blum               Asset Disposition   Call with Hilco (.2) and Great American (.2) re upcoming auction for LRR ‐ discuss process                                   0.40   $525.00   $210.00
3/4/2015      Marc Levee              Asset Disposition   Prepare for discussion with S. Allen regarding claims memos for both divisions                                               0.40   $325.00   $130.00
3/4/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss permits and reclamation analysis for auction with D. Neyhart                                                         0.40   $375.00   $150.00
3/4/2015      Evan Blum               Asset Disposition   Review Myron Bowling offer for remaining assets; SA to revert back on updated list                                           0.20   $525.00   $105.00
3/4/2015      Evan Blum               Asset Disposition   Follow with counsel re conversations with Globe ‐ interest at JAD                                                            0.20   $525.00   $105.00
3/4/2015      Evan Blum               Asset Disposition   Request and review updated JAD auction proceeds spreadsheet with SA (with updated assets by lien holder)‐ re how to          0.20   $525.00   $105.00
                                                          negotiate final resolution re FLV of different buckets of assets
3/4/2015      Sean Allen, CFA, CPA, C Asset Disposition   Request and review updated JAD auction proceeds spreadsheet with EB (with updated assets by lien holder ) ‐ re how to        0.20   $375.00   $75.00
                                                          negotiate final resolution re FLY of different buckets of assets




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3/4/2015      Evan Blum              Asset Disposition    Review and compose emails re status of Revelation sale in JAD matter                                                        0.10   $525.00   $52.50
3/5/2015      Marc Levee             Asset Disposition    Revise both claims memos per internal discussions                                                                           3.20   $325.00   $1,040.00
3/5/2015      David Neyhart, CPA     Asset Disposition    call with JC to discuss categories for individual LRR mining permits and corresponding reclamation liability in preparation 1.30   $225.00   $292.50
                                                          for LRR sale, and updates to summary analysis accordingly.
3/5/2015      Marc Levee              Asset Disposition   Update sources & uses resolution and liquidation budgets for both divisions                                                 1.10   $325.00   $357.50
3/5/2015      Marc Levee              Asset Disposition   Prepare for and participate in meeting with S. Allen regarding claims memos for both divisions                              1.00   $325.00   $325.00
3/5/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss claims memo with M. Levee related to auction                                                                        1.00   $375.00   $375.00
3/5/2015      Sean Allen, CFA, CPA, C Asset Disposition   Reconcile JAD Seller credit bid equipment                                                                                   0.70   $375.00   $262.50
3/5/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss negotiations concerning Revelation bid for JAD mining assets with E. Blum                                           0.50   $375.00   $187.50
3/5/2015      Evan Blum               Asset Disposition   Discuss negotiations concerning Revelation bid for JAD mining assets with S Allen                                           0.50   $525.00   $262.50
3/6/2015      Marc Levee              Asset Disposition   Prepare schedule of outstanding royalty payments by division by month                                                       1.80   $325.00   $585.00
3/6/2015      David Neyhart, CPA      Asset Disposition   Review LRR summary of reclamation liability by specific permit and update with revised cure claim estimates for key         1.80   $225.00   $405.00
                                                          lessors.
3/6/2015      Marc Levee              Asset Disposition   Updates to JAD claims memo ‐ comparison chart based on assumption of claims by prospective buyer                            1.20   $325.00   $390.00
3/6/2015      Evan Blum               Asset Disposition   Work on claims memos related to sale of JAD (.6) and LRR (.6)                                                               1.20   $525.00   $630.00
3/6/2015      Marc Levee              Asset Disposition   Discuss LRR auction and claims analysis at both divisions with E. Blum and S. Allen                                         1.00   $325.00   $325.00
3/6/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss LRR auction and claims analysis with E. Blum and M. Levee                                                           1.00   $375.00   $375.00
3/6/2015      Marc Levee              Asset Disposition   Update sources & uses schedules for both divisions                                                                          0.90   $325.00   $292.50
3/6/2015      Marc Levee              Asset Disposition   Updates to LRR data room ‐ review data room summary and upload new documents                                                0.90   $325.00   $292.50
3/6/2015      Marc Levee              Asset Disposition   Various updates and discussions regarding the JAD liquidation budget and claims                                             0.80   $325.00   $260.00
3/6/2015      Evan Blum               Asset Disposition   Update liquidation analysis for LRR and JAD with ML                                                                         0.80   $525.00   $420.00
3/6/2015      Evan Blum               Asset Disposition   Review unmined minerals Tax Revelation needs to pick up re Pohahontus on JAD sale to revelation                             0.60   $525.00   $315.00
3/6/2015      Evan Blum               Asset Disposition   Review spreadsheet on equipment vendors property tax and AP not made as backup schedules to Sources Uses analysis in 0.60          $525.00   $315.00
                                                          JAD sale
3/6/2015      Evan Blum              Asset Disposition    Review with ML updated GR liquidation budget and sources/uses upon sale for LRR and JAD                                     0.40   $525.00   $210.00
3/6/2015      Evan Blum              Asset Disposition    Update call with MW re missing numbers for Liquidation model at JAD and LRR; provide update on JAD sale process             0.40   $525.00   $210.00

3/6/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD negotiations with M. Windisch and E. Blum                                                                      0.40    $375.00   $150.00
3/6/2015      Sean Allen, CFA, CPA, C Asset Disposition   Revise schedules for JAD assets                                                                                            0.30    $375.00   $112.50
3/6/2015      Marc Levee              Asset Disposition   Update JAD sources & uses resolution ‐ non‐GUC claims                                                                      0.20    $325.00   $65.00
3/7/2015      Evan Blum               Asset Disposition   Review updated GR spreadsheets on liquidation and sources/uses for JAD and LRR upon sales of divisions and mark with       0.50    $525.00   $262.50
                                                          questions for CD
3/7/2015      Evan Blum              Asset Disposition    Call with CD to review GR updated Liquidation and sources / uses spreadsheets for JAD sale                                 0.40    $525.00   $210.00
3/8/2015      Marc Levee             Asset Disposition    Revise LRR sources & uses and liquidation budget ‐ admin and priority unsecured claims                                     1.20    $325.00   $390.00
3/8/2015      Marc Levee             Asset Disposition    Discuss JAD S&U and Liquidation Budget with E. Blum; make adjustments as discussed ‐ admin and priority unsecured          1.00    $325.00   $325.00
                                                          claims
3/8/2015      Evan Blum              Asset Disposition    Call with ML to review changes to GR spreadsheets on liquidation and sources / uses in JAD sale (.4); review updated       0.80    $525.00   $420.00
                                                          version (.2); call with ML to review further updated version ‐ send to CD(.2)
3/9/2015      Evan Blum               Asset Disposition   Calls and emails to over 50 potential bidders for LRR regarding whether interested in participating in auction             3.20    $525.00   $1,680.00
3/9/2015      Sean Allen, CFA, CPA, C Asset Disposition   Update JAD Auction analysis                                                                                                1.70    $375.00   $637.50
3/9/2015      Marc Levee              Asset Disposition   Update JAD sources & uses, liquidation budget, and claims memo                                                             1.50    $325.00   $487.50
3/9/2015      Marc Levee              Asset Disposition   Further updates to LRR and JAD claims memos ‐ adequate protection, potential buyer assumption of certain claims            1.50    $325.00   $487.50

3/9/2015      Marc Levee             Asset Disposition    Review company comments to JAD sources & uses and make revisions; additional updates to JAD claims memo based on 1.20              $325.00   $390.00
                                                          changes made to S&U
3/9/2015      Marc Levee             Asset Disposition    Reach out to prospective buyers for LRR ‐ calls and emails to buyers unable to make contact with                         1.00      $325.00   $325.00
3/9/2015      Evan Blum              Asset Disposition    Finalize with SA, ML and CD the JAD liquidation and sources/uses analysis upon sale and distribute internally for review 0.60      $525.00   $315.00

3/9/2015      Marc Levee              Asset Disposition   Update LRR prospective buyer list per recent emails/calls                                                                  0.60    $325.00   $195.00
3/9/2015      Sean Allen, CFA, CPA, C Asset Disposition   Finalize with EB, ML and CD the JAD liquidation and sources/uses analysis upon sale                                        0.60    $375.00   $225.00
3/9/2015      Evan Blum               Asset Disposition   Update MW on LRR sale process                                                                                              0.40    $525.00   $210.00
3/9/2015      Evan Blum               Asset Disposition   Review revised APA from Revelation for remaining JAD assets                                                                0.40    $525.00   $210.00
3/9/2015      Evan Blum               Asset Disposition   Call with JC re open items in Revelation purchase of JAD assets                                                            0.30    $525.00   $157.50
3/9/2015      Evan Blum               Asset Disposition   Review company comments to JAD liquidation and sources/uses spreadsheets and follow with Nixon                             0.30    $525.00   $157.50
3/10/2015     David Neyhart, CPA      Asset Disposition   Review LRR cure claim and tax amounts for lessors by mine in preparation for sale                                          2.80    $225.00   $630.00
3/10/2015     Marc Levee              Asset Disposition   Update prospective buyer list for LRR and the LRR asset list as it relates to coal lease agreements                        2.00    $325.00   $650.00
3/10/2015     Evan Blum               Asset Disposition   Contact over 20 parties re LRR sale ‐ discussions re process with various parties                                          1.60    $525.00   $840.00
3/10/2015     David Neyhart, CPA      Asset Disposition   In preparation of LRR auction, review Boyd asset list and lien analysis, compare to GR asset list and lien analysis, and   1.60    $225.00   $360.00
                                                          discuss variances internally and with debtor's counsel.
3/10/2015     Marc Levee             Asset Disposition    Updates to both LRR and JAD claims memos and sources & uses/liquidation budget per meeting                                 1.50    $325.00   $487.50
3/10/2015     Evan Blum              Asset Disposition    Review final issues on GR memo internally (.3); review final issues on GR liquidation and claims spreadsheets ‐ JAD and    0.60    $525.00   $315.00
                                                          LRR with Counsel (.3) and send internally
3/10/2015     Evan Blum              Asset Disposition    Work with ML and SA on updating and finalizing LRR liquidation and sources/uses spreadsheets; LRR claims memo and          0.50    $525.00   $262.50
                                                          distribute internally
3/10/2015     Marc Levee              Asset Disposition   Discuss LRR claims memo and sources & uses/liquidation budget with S. Allen and E. Blum                                    0.50    $325.00   $162.50
3/10/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review and discuss unpaid 2014 unmined mineral taxes at LRR with W. Manning                                                0.50    $375.00   $187.50
3/10/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review and discuss revised LRR sources and uses statement, liquidation budget and LRR memo                                 0.50    $375.00   $187.50
3/10/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise Pocahontas cure claim amounts; JAD seller related taxes and correspondence with L. DelCotto                         0.50    $375.00   $187.50
3/10/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss taxes at JAD with E. Blum regarding sale                                                                           0.40    $375.00   $150.00
3/10/2015     Evan Blum               Asset Disposition   Discuss taxes at JAD with S Allen regarding sale                                                                           0.40    $525.00   $210.00
3/10/2015     Marc Levee              Asset Disposition   Further updates to prospective buyer list for LRR to distribute per Committee's request                                    0.30    $325.00   $97.50
3/10/2015     Evan Blum               Asset Disposition   Review with ML and send list of interested parties ‐ LRR sale                                                              0.30    $525.00   $157.50
3/10/2015     Marc Levee              Asset Disposition   Update LRR asset list for data room                                                                                        0.20    $325.00   $65.00
3/10/2015     Marc Levee              Asset Disposition   update LRR claims memo per counsel comments                                                                                0.20    $325.00   $65.00
3/10/2015     Evan Blum               Asset Disposition   Review and send memo on LRR re reclamation liability by category as requested by committee for sale                        0.20    $525.00   $105.00
3/11/2015     Marc Levee              Asset Disposition   Review and reconcile all bids to asset lists for the LRR Division asset sale                                               4.20    $325.00   $1,365.00
3/11/2015     David Neyhart, CPA      Asset Disposition   Review initial bids to asset lists for LRR auction and prepare summary analysis.                                           4.20    $225.00   $945.00
3/11/2015     Evan Blum               Asset Disposition   Review and respond to various email correspondence on bid issues from many parties ‐ bids due today on LRR                 1.00    $525.00   $525.00

3/11/2015     Evan Blum              Asset Disposition    Call with Co, Nixon and Del Cotto on JAD sale status re revelation ‐ strategy to move ahead; review GR JAD spreadsheets    0.80    $525.00   $420.00

3/11/2015     Evan Blum               Asset Disposition   Review all cash bids and credit bids at LRR                                                                              0.60      $525.00   $315.00
3/11/2015     Marc Levee              Asset Disposition   Update buyer lists with new notes; send wiring instructions to prospective buyers                                        0.50      $325.00   $162.50
3/11/2015     Evan Blum               Asset Disposition   Call with JC re Hoops latest emails on changing credit amount against $7MM ‐ JAD transaction                             0.40      $525.00   $210.00
3/11/2015     Marc Levee              Asset Disposition   Review/prepare documents to be used for potential schedules to an APA for the sale of JAD                                0.40      $325.00   $130.00
3/11/2015     Sean Allen, CFA, CPA, C Asset Disposition   Provide counsel with new equipment listing for JAD                                                                       0.40      $375.00   $150.00
3/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Begin compiling JAD APA schedules                                                                                        4.70      $375.00   $1,762.50
3/12/2015     David Neyhart, CPA      Asset Disposition   Update LRR bid analysis and waterfall to creditors based on comments from SA and EB, and to include lien analysis        3.60      $225.00   $810.00
                                                          provided by the UCC.
3/12/2015     Evan Blum              Asset Disposition    Internal meeting with SA and DN on GR spreadsheet of LRR bids (.6); review updated spreadsheet prior to call with        1.30      $525.00   $682.50
                                                          counsel (.2); call with Nixon, DelCotto and co on spreadsheet summarizing LRR bids (.5)
3/12/2015     David Neyhart, CPA     Asset Disposition    Review bids received for LRR auction and prepare summary of bid terms.                                                   1.30      $225.00   $292.50
3/12/2015     David Neyhart, CPA     Asset Disposition    Call with Debtors counsel to discuss LRR bid summary ‐ and prepare updates to bid summary to reflect assets not included 0.90      $225.00   $202.50
                                                          in a credit bid.




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                                                                                                                     2015    05/15/15 15:57:57                                                          Desc
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3/12/2015     Evan Blum              Asset Disposition    Review LRR claims memo at request of counsel in order to prepare ECM specific claim analysis (.5); call with SA and EG to 0.80           $525.00   $420.00
                                                          discuss interest mechanics re Revelation deal on HWM impacting ECM numbers (.3)
3/12/2015     Evan Blum              Asset Disposition    Additional work post call with counsel on ECM claims and relation to JAD and LRR sales; provide schedule to counsel       0.60           $525.00   $315.00

3/12/2015     David Neyhart, CPA      Asset Disposition   Meeting with SA and EB to discuss LRR bid analysis                                                                                0.60   $225.00   $135.00
3/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss qualified bids and upcoming LRR auction with D. Neyhart and E. Blum                                                       0.60   $375.00   $225.00
3/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss bids received with DLG, Nixon Peabody, D. Neyhart, E. Blum and E. Gabbert                                                 0.60   $375.00   $225.00
3/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Analyze application of Revelation payment to ECM claims                                                                           0.50   $375.00   $187.50
3/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Sequoia inquiry regarding unmined minerals and prepaid royalties related to JAD fee property                                      0.50   $375.00   $187.50
3/12/2015     Evan Blum               Asset Disposition   Call with CD re LRR and JAD sales process                                                                                         0.40   $525.00   $210.00
3/12/2015     Evan Blum               Asset Disposition   Call with Great American re bifurcating their LRR bid relative to equipment notes; follow emails                                  0.40   $525.00   $210.00
3/12/2015     Marc Levee              Asset Disposition   Update LRR prospective buyer list based on results from bid deadline                                                              0.40   $325.00   $130.00
3/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss revelation lease payments and ECM claims with E. Blum and E. Gabbert                                                      0.30   $375.00   $112.50
3/12/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss APA schedules with DLG and E. Gabbert                                                                                     0.30   $375.00   $112.50
3/12/2015     Marc Levee              Asset Disposition   Update LRR data room ‐ January MOR                                                                                                0.20   $325.00   $65.00
3/13/2015     Sean Allen, CFA, CPA, C Asset Disposition   Continue compiling JAD APA schedules                                                                                              5.50   $375.00   $2,062.50
3/13/2015     Evan Blum               Asset Disposition   Meet with D Drebsky re LRR and JAD sales (.7); follow with EG (.1); follow with MW (.1)                                           0.90   $525.00   $472.50
3/13/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss claims with A. Adams                                                                                                      0.90   $375.00   $337.50
3/13/2015     Sean Allen, CFA, CPA, C Asset Disposition   Call with E. Gabbert and W. Manning concerning JAD APA schedules                                                                  0.90   $375.00   $337.50
3/13/2015     Evan Blum               Asset Disposition   Follow up call with Hilco/Hackman re their LRR bid and credit bid concerns                                                        0.50   $525.00   $262.50
3/13/2015     Evan Blum               Asset Disposition   Review with SA re updated Sources and Uses on JAD sale related to lower UMM 2104 taxes re Pocahontus and Fee                      0.50   $525.00   $262.50
                                                          property; Sequoia owed amounts on fee ‐ review impact on cash flows in revelation deal
3/13/2015     David Neyhart, CPA      Asset Disposition   Consolidate LRR bids and serve notice to qualified bidders and prepare exhibit for filing of notice.                              0.50   $225.00   $112.50
3/13/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss upcoming LRR auction with E. Blum                                                                                         0.50   $375.00   $187.50
3/13/2015     Sean Allen, CFA, CPA, C Asset Disposition   Prepare for claims discussion with counsel                                                                                        0.50   $375.00   $187.50
3/13/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review with EB re updated sources and uses on JAD sale related to lower UMM 2014 taxes re Pocahontas and Fee                      0.50   $375.00   $187.50
                                                          property; Sequoia owed amounts on fee ‐ review impact on cash flows in revelation deal
3/13/2015     Evan Blum              Asset Disposition    Discuss upcoming LRR auction with SA                                                                                              0.50   $525.00   $262.50
3/13/2015     Evan Blum              Asset Disposition    Call with D Drebsky re revelation deal economics and open issues                                                                  0.30   $525.00   $157.50
3/13/2015     Evan Blum              Asset Disposition    Call with Hilco re LRR bid                                                                                                        0.30   $525.00   $157.50
3/13/2015     David Neyhart, CPA     Asset Disposition    Research outstanding whayne supply questions re mechanics lien on assets and reconciliation of secured amount in                  0.30   $225.00   $67.50
                                                          regards to potential LRR credit bid.
3/14/2015     Sean Allen, CFA, CPA, C Asset Disposition   Continue compiling JAD APA schedules                                                                                              2.50   $375.00   $937.50
3/14/2015     David Neyhart, CPA      Asset Disposition   Review personalty taxes allocable to each piece of equipment as part of the LRR sale process.                                     1.40   $225.00   $315.00
3/14/2015     David Neyhart, CPA      Asset Disposition   Tie personalty taxes to specific pieces of equipment for the LRR auction.                                                         0.90   $225.00   $202.50
3/14/2015     Evan Blum               Asset Disposition   Call with D Drebsky to discuss status of LRR and JAD sale matters                                                                 0.20   $525.00   $105.00
3/15/2015     Sean Allen, CFA, CPA, C Asset Disposition   Continue compiling JAD APA schedules                                                                                              4.20   $375.00   $1,575.00
3/15/2015     Evan Blum               Asset Disposition   Calls with CD re LRR and JAD sale processes                                                                                       0.60   $525.00   $315.00
3/15/2015     David Neyhart, CPA      Asset Disposition   Review creditors claims in preparation for lrr auction.                                                                           0.60   $225.00   $135.00
3/15/2015     David Neyhart, CPA      Asset Disposition   prepare schedule for pending litigation at JAD for sale schedules                                                                 0.40   $225.00   $90.00
3/16/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise APA schedules                                                                                                              4.20   $375.00   $1,575.00
3/16/2015     Marc Levee              Asset Disposition   Updates to JAD and LRR sources and uses resolutions and liquidation budgets                                                       2.40   $325.00   $780.00
3/16/2015     David Neyhart, CPA      Asset Disposition   revise lrr aucttion scenarios to reflect property taxes; discussions with CD regarding the same                                   1.60   $225.00   $360.00
3/16/2015     Marc Levee              Asset Disposition   Call with Company to discuss LRR royalty payments and LRR credit bidder claim amounts                                             1.00   $325.00   $325.00
3/16/2015     Marc Levee              Asset Disposition   Follow on emails ‐ claim amounts for credit bidders, prospective LRR buyer communications, cure claims for LRR                    0.90   $325.00   $292.50

3/16/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise personal property tax analysis                                                                                             0.90   $375.00   $337.50
3/16/2015     Evan Blum               Asset Disposition   Multiple calls with SA and ML in regard to finalizing GR update to sources and uses and liquidation spreadsheet analyses          0.80   $525.00   $420.00
                                                          of both LRR and JAD to review with all parties in Lexington meetings
3/16/2015     Marc Levee              Asset Disposition   Discuss JAD and LRR sources and uses resolutions and liquidation budgets with S. Allen                                            0.80   $325.00   $260.00
3/16/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD and LRR sources and uses resolutions and liquidations budgets with M Levee                                            0.80   $375.00   $300.00
3/16/2015     Evan Blum               Asset Disposition   Call with DN, LD and JC to review Revelation schedules to APA JAD                                                                 0.70   $525.00   $367.50
3/16/2015     Marc Levee              Asset Disposition   Continue to review emails ‐ Ivyton permits and related violations                                                                 0.70   $325.00   $227.50
3/16/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss APA schedules with J. Collins, L. DelCotto, and E. Blum                                                                   0.70   $375.00   $262.50
3/16/2015     Evan Blum               Asset Disposition   Call with MW and SA re JAD APA schedules to review for revelation deal                                                            0.60   $525.00   $315.00
3/16/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss APA schedules with M. Windisch and E. Blum                                                                                0.60   $375.00   $225.00
3/16/2015     Evan Blum               Asset Disposition   Call with Hilco/Hackman in regard to LRR sale process and their bid                                                               0.50   $525.00   $262.50
3/16/2015     David Neyhart, CPA      Asset Disposition   Review personalty taxes allocable to each piece of equipment as part of the lrr sale process                                      0.50   $225.00   $112.50
3/17/2015     Marc Levee              Asset Disposition   Update LRR sources and uses per January royalties                                                                                 2.30   $325.00   $747.50
3/17/2015     Marc Levee              Asset Disposition   Update JAD and begin to update LRR claim memos                                                                                    2.30   $325.00   $747.50
3/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review LRR auction bid support files                                                                                              2.20   $375.00   $825.00
3/17/2015     Evan Blum               Asset Disposition   Meet with Nixon, Del Cotto, JC and counsel re JC bid for LRR assets                                                               2.00   $525.00   $1,050.00
3/17/2015     Evan Blum               Asset Disposition   Review Revelation APA and prepare for detailed negotiation over their bid for JAD (1.4); call with JC to discuss strategy re      1.70   $525.00   $892.50
                                                          issues to be raised(.3)
3/17/2015     Marc Levee              Asset Disposition   Prepare support pages for LRR sources and uses and liquidation budget, for internal use and provide to EB                         1.00   $325.00   $325.00
3/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Update LRR claim by permit number for January historical figures for auction                                                      0.90   $375.00   $337.50
3/17/2015     Evan Blum               Asset Disposition   Discuss Ember offer with JC following group meeting                                                                               0.70   $525.00   $367.50
3/17/2015     Marc Levee              Asset Disposition   Further discussions with S. Allen regarding LRR cure claims                                                                       0.70   $325.00   $227.50
3/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review LRR claims with M. Levee                                                                                                   0.70   $375.00   $262.50
3/17/2015     Marc Levee              Asset Disposition   Discuss LRR cure claims with S. Allen                                                                                             0.50   $325.00   $162.50
3/17/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss updated LRR cure claims with M. Levee                                                                                     0.50   $375.00   $187.50
3/17/2015     Evan Blum               Asset Disposition   Update call with Hilco/Hackman in regard to their LRR bid and the sale process                                                    0.20   $525.00   $105.00
3/18/2015     Evan Blum               Asset Disposition   Meet at Del Cotto with Nixon in prep for JAD auction ‐ review bids, call various bidders; review process; review auction          5.00   $525.00   $2,625.00
                                                          procedures; get all escrows and deposits; review JAD wind down with company; review GR spreadsheet on assets to be
                                                          sold (9‐2)
3/18/2015     Sean Allen, CFA, CPA, C Asset Disposition   On‐site preparation at U.S. Coal for auction                                                                                      4.30   $375.00   $1,612.50
3/18/2015     Evan Blum               Asset Disposition   Resolve impasse with Revelation in regard to bid for JAD assets ‐ prior to negotiations with J Hoops at Revelation calls          3.30   $525.00   $1,732.50
                                                          internally with D Drebsky; JC and LD (.9); initial call with JC and J Hoops (.9); follow internally with LD and D Drebsky (.5);
                                                          follow call with JC and J Hoops (.5); follow calls with LD (.4) and CD/D Drebsky (.1)
3/18/2015     Sean Allen, CFA, CPA, C Asset Disposition   Analyze Ember Energy bid (lease analysis and associated liabilities)                                                              1.80   $375.00   $675.00
3/18/2015     Marc Levee              Asset Disposition   Update LRR claims memo                                                                                                            1.30   $325.00   $422.50
3/18/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss prior day's negotiations and necessary analysis for auction with E. Blum                                                  0.50   $375.00   $187.50
3/18/2015     Evan Blum               Asset Disposition   Calls with Hilco/Hackman (.2) and Great American/Reich (.2) in regard to LRR bids and sale process                                0.40   $525.00   $210.00
3/19/2015     Evan Blum               Asset Disposition   Participate in LRR auction; work with LD is discussions with JAD seller counsel re Revelation deal for JAD assets; meetings       7.30   $525.00   $3,832.50
                                                          with committee and ECM counsel re case sources/uses ‐ how to conclude (9AM‐415PM)
3/19/2015     Sean Allen, CFA, CPA, C Asset Disposition   Various analyses, discussions, and negotiations with various creditors concern case exit strategy                                 4.30   $375.00   $1,612.50
3/19/2015     Sean Allen, CFA, CPA, C Asset Disposition   Prepare for and attend LRR auction                                                                                                2.00   $375.00   $750.00
3/20/2015     Marc Levee              Asset Disposition   Review and assess gap claims at both divisions                                                                                    1.60   $325.00   $520.00
3/20/2015     Evan Blum               Asset Disposition   Work on revised sources and uses for JAD and LRR to convert case with SA (.6); call with D Drebsky to discuss (.2)                0.80   $525.00   $420.00

3/20/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss alternative resolution strategies with E. Blum                                                                            0.60   $375.00   $225.00
3/20/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise APA schedules for JAD transaction per earlier discussion with Counsel                                                      0.50   $375.00   $187.50
3/20/2015     Evan Blum               Asset Disposition   Call with JC re LRR sale situation; potential alternatives                                                                        0.50   $525.00   $262.50
3/20/2015     Sean Allen, CFA, CPA, C Asset Disposition   Update professional fee analysis requested by counsel                                                                             0.40   $375.00   $150.00




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3/20/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss APA schedules for JAD transaction with DelCotto Law Group                                                                0.30   $375.00   $112.50
3/20/2015     Evan Blum               Asset Disposition   Review professional fee spreadsheet including cure claims and retainers requested by counsel                                     0.20   $525.00   $105.00
3/20/2015     Evan Blum               Asset Disposition   Correspondence on value of unencumbered assets at LRR; GR to follow up                                                           0.20   $525.00   $105.00
3/21/2015     Evan Blum               Asset Disposition   Review and respond to correspondence from committee counsel on status of LRR sale process after auction                          0.20   $525.00   $105.00
3/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Segregate LRR assets by bid for LRR auction summary                                                                              3.80   $375.00   $1,425.00
3/23/2015     Marc Levee              Asset Disposition   Prepare gap claim analysis ‐ base to high range by division by vendor                                                            3.00   $325.00   $975.00
3/23/2015     Marc Levee              Asset Disposition   Break out 503b9 claims by division (and entity) by vendor                                                                        2.30   $325.00   $747.50
3/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise JAD APA schedules                                                                                                         1.20   $375.00   $450.00
3/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Analyze April budget expenses for JAD sources and uses                                                                           1.00   $375.00   $375.00
3/23/2015     Marc Levee              Asset Disposition   Discuss proposed conversion sources & uses with E. Blum and prepare                                                              0.90   $325.00   $292.50
3/23/2015     Evan Blum               Asset Disposition   Prep for call with LD re JAD contract issues (.2); call with LD and SA re JAD contract issues ‐ revelation deal (.3); post call 0.80    $525.00   $420.00
                                                          follow ‐ emails/calls ‐ on open issues (.3)
3/23/2015     Evan Blum               Asset Disposition   Continued work on sources uses with SA, ML, EG, counsel                                                                          0.50   $525.00   $262.50
3/23/2015     Marc Levee              Asset Disposition   Internal meeting regarding the status of the case and auctions                                                                   0.50   $325.00   $162.50
3/23/2015     Evan Blum               Asset Disposition   Review GR gap claim analysis with ML as requested; distribute to counsel                                                         0.40   $525.00   $210.00
3/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review reclamation breakdown provided by debtors related to LRR sale                                                             0.40   $375.00   $150.00
3/23/2015     Evan Blum               Asset Disposition   Follow call with D Drebsky re status of sale discussions with ECM and committee counsel; update on status of Revelation 0.30            $525.00   $157.50
                                                          sale docs for JAD sale
3/23/2015     David Neyhart, CPA      Asset Disposition   Research backup detail for additional potential gap claims as part of JAD sale process.                                          0.30   $225.00   $67.50
3/23/2015     Marc Levee              Asset Disposition   Prepare updates to proposed conversion sources & uses                                                                            0.30   $325.00   $97.50
3/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD APA with L. DelCotto and E. Blum                                                                                     0.30   $375.00   $112.50
3/23/2015     Sean Allen, CFA, CPA, C Asset Disposition   Follow‐up discussion re: APA with L. DelCotto                                                                                    0.30   $375.00   $112.50
3/23/2015     Evan Blum               Asset Disposition   Call with D Drebsky re LRR sale situation; review his call with ECM counsel                                                      0.20   $525.00   $105.00
3/23/2015     Evan Blum               Asset Disposition   Review updated GR sources and uses for LRR and JAD sales with ML and send to counsel                                             0.20   $525.00   $105.00
3/23/2015     Evan Blum               Asset Disposition   Call with JC re JAD sale status re revelation                                                                                    0.20   $525.00   $105.00
3/23/2015     Evan Blum               Asset Disposition   Review Sale Status Report to be filed with Court                                                                                 0.10   $525.00   $52.50
3/23/2015     Evan Blum               Asset Disposition   Call with A Reich from Great American/Reich bid re status of LRR sale                                                            0.10   $525.00   $52.50
3/23/2015     Marc Levee              Asset Disposition   Adjustments conversion sources & uses schedule                                                                                   0.10   $325.00   $32.50
3/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise JAD APA schedules per earlier group discussion                                                                            1.90   $375.00   $712.50
3/24/2015     Evan Blum               Asset Disposition   In prep for LRR calls, review Ember sales agreement (.3); review emails on open LRR issues that need to be addressed as 1.40            $525.00   $735.00
                                                          part of transaction (.2); review issues with SA (.3); call with A Adams to discuss LRR sale to Ember (.6) ‐ EB to follow with JC

3/24/2015     Evan Blum              Asset Disposition    Call with LD and EG after Revelation call re JAD and LRR sale process ‐ next steps; alternatives re Court process;           1.20       $525.00   $630.00
                                                          discussions with other interested parties (.9); follow re same with D Drebsky (.3)
3/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Revise auction summary and supporting schedules                                                                              1.10       $375.00   $412.50
3/24/2015     Evan Blum               Asset Disposition   Call with D Drebsky re status of conversations on LRR and JAD sale; EB to follow on LRR with JC (.5); EB call with JC on LRR 1.00       $525.00   $525.00
                                                          sale and possible solutions (.5)
3/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss schedules with potential purchaser for JAD, DLG and E. Blum                                                          0.90       $375.00   $337.50
3/24/2015     Evan Blum               Asset Disposition   Call with Revelation CEO and counsel; LD; LG; EB and SA to review APA schedules re JAD transaction                           0.60       $525.00   $315.00
3/24/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review LRR auction summary and supporting schedules with E. Blum                                                             0.60       $375.00   $225.00
3/24/2015     Evan Blum               Asset Disposition   Call with JC re LRR sale and alternative methods to close; source and use discussion                                         0.50       $525.00   $262.50
3/25/2015     Evan Blum               Asset Disposition   Call with LD and D Drebsky re LRR and JAD updated sources and uses upon transactions at each entity                          1.20       $525.00   $630.00
3/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   2014 property tax recalculation for equipment purchasers and correspondence with DLG and Nixon Peabody; discussion of1.00               $375.00   $375.00
                                                          same with E. Blum
3/25/2015     Evan Blum              Asset Disposition    Call with LD regarding local discussions between committee and ECM on potential resolution on JAD and LRR sales              0.50       $525.00   $262.50

3/25/2015     Evan Blum              Asset Disposition    Call with LD and JC re Carbon Partners contract as it relates to status in JAD sale and Hoops comments re willingness to        0.50    $525.00   $262.50
                                                          reject as part of sale
3/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD and potential transaction with L. DelCotto, E. Blum and J. Collins                                                  0.50    $375.00   $187.50
3/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss JAD transaction with E. Blum                                                                                            0.50    $375.00   $187.50
3/25/2015     Evan Blum               Asset Disposition   Discuss JAD transaction with SA                                                                                                 0.50    $525.00   $262.50
3/25/2015     Evan Blum               Asset Disposition   Discuss JAD transaction with S Allen                                                                                            0.50    $525.00   $262.50
3/25/2015     Evan Blum               Asset Disposition   Review updated Ember APA for LRR assets                                                                                         0.40    $525.00   $210.00
3/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss potential plan process with D. Drebsky and E. Blum                                                                      0.40    $375.00   $150.00
3/25/2015     Evan Blum               Asset Disposition   Discuss potential plan process with D Drebsky and S Allen                                                                       0.40    $525.00   $210.00
3/25/2015     Evan Blum               Asset Disposition   Review with SA KY letter re increased taxes and implications on numbers in sale sources and uses                                0.30    $525.00   $157.50
3/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review Ember Energy APA schedules in preparation for upcoming call.                                                             0.30    $375.00   $112.50
3/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss Ember Energy transaction with J. Collins and E. Blum                                                                    0.30    $375.00   $112.50
3/25/2015     Sean Allen, CFA, CPA, C Asset Disposition   Review with EB KY letter re increased taxes and implications on numbers in sale sources and uses                                0.30    $375.00   $112.50
3/25/2015     Evan Blum               Asset Disposition   Discuss Ember Energy transaction with J Collins and S Allen                                                                     0.30    $525.00   $157.50
3/26/2015     Evan Blum               Asset Disposition   Call with SA, EG, LD, D Drebsky re status of LRR and JAD sale discussions ‐ local discussions; M&A discussions with             1.00    $525.00   $525.00
                                                          Revelation and Ember; review current sources and uses in potential conversion or plan on LRR and JAD
3/26/2015     Sean Allen, CFA, CPA, C Asset Disposition   Discuss plan discussions and creditor negotiations with DLG, Nixon Peabody and E. Gabbert                                       1.00    $375.00   $375.00
3/26/2015     Evan Blum               Asset Disposition   Work on updating sources and uses for conversion and for plan re LRR and JAD prior to call with counsel                         0.50    $525.00   $262.50
3/26/2015     Evan Blum               Asset Disposition   Call with JC re interest in unencumbered assets at LRR and send list                                                            0.30    $525.00   $157.50
3/29/2015     Evan Blum               Asset Disposition   Call with Del Cotto and Nixon to discuss case status re sales of LRR and JAD; next day meeting in Lex                           0.60    $525.00   $315.00
3/29/2015     Evan Blum               Asset Disposition   Call with D Drebsky re sale and case alternatives prior to call with Del Cotto                                                  0.40    $525.00   $210.00
3/30/2015     Evan Blum               Asset Disposition   Work with SA on various sources and uses scenarios ‐ review all amounts owed ‐ LRR and JAD                                      1.20    $525.00   $630.00
3/30/2015     Sean Allen, CFA, CPA, C Asset Disposition   Work with EB on various sources and uses scenarios ‐ review all amounts owed ‐ LRR and JAD                                      1.20    $375.00   $450.00
3/30/2015     Evan Blum               Asset Disposition   Review updated docs from revelation ‐ APA; royalty agreement; throughput agreement ‐ regarding JAD sale                         0.70    $525.00   $367.50
3/30/2015     Evan Blum               Asset Disposition   Speak with Reich re bid for unencumbered assets at LRR                                                                          0.20    $525.00   $105.00
4/1/2015      Sean Allen, CFA, CPA, C Asset Disposition   Reconcile APA terms with APA schedules                                                                                          2.10    $375.00   $787.50
4/1/2015      Evan Blum               Asset Disposition   Review tax issues in Revelation APA (.2); review Stoll Kenan comments to Revelation APA (.3); call with LD and SA on all        1.30    $525.00   $682.50
                                                          open issues of Revelation docs for remaining JAD assets (.8)
4/1/2015      Sean Allen, CFA, CPA, C Asset Disposition   Revise schedules for revised cure estimates and other                                                                           1.10    $375.00   $412.50
4/1/2015      Marc Levee              Asset Disposition   Update JAD data room for deeds received                                                                                         1.00    $325.00   $325.00
4/1/2015      Sean Allen, CFA, CPA, C Asset Disposition   Discuss status of JAD APA with L. DelCotto and E. Blum                                                                          0.80    $375.00   $300.00
4/1/2015      Sean Allen, CFA, CPA, C Asset Disposition   Revise JAD APA schedules per local counsel's request                                                                            0.70    $375.00   $262.50
4/1/2015      Sean Allen, CFA, CPA, C Asset Disposition   Correspondence with DLG and E. Blum concerning differences in schedules provided to Revelation and APA terms                    0.50    $375.00   $187.50

4/1/2015      Evan Blum              Asset Disposition    Call with CD re call with Lexon on release of cash collateral to estate in LRR sale & potential interest in LRR by Revelation   0.30    $525.00   $157.50

4/1/2015      Evan Blum              Asset Disposition    Review emails re Sequoia lease issue as part of JAD sale to revelation (.1); call with JC to discuss and follow (.1)            0.20    $525.00   $105.00

4/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Reconcile bids, liens and assets auctioned for court filing                                                                    3.70     $375.00   $1,387.50
4/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Analyze the terms of the Ember deal; review the Ember asset purchase agreement, and analyze schedules received from 2.70                $375.00   $1,012.50
                                                          Ember's counsel
4/2/2015      Evan Blum              Asset Disposition    Calls with LD re Revelation contention on Sequoia lease ‐ attempt to change terms given amendment. Calls with JC and LD 2.60            $525.00   $1,365.00
                                                          re prior discussions with Hoops on this topic. Discuss email from LD to Revelation counsel. Calls with LD after her calls with
                                                          Revelation counsel; attempt to resolve. call with DD to discuss same. Follow with LD re disucssion on reduction of interest
                                                          to 4%; JAD sellers give OK.
4/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Revise Ember APA schedules (including analysis assumed liabilities, excluded liabilities, purchased assets, excluded assets, 2.40       $375.00   $900.00
                                                          permitted encumbrances)
4/2/2015      Sean Allen, CFA, CPA, C Asset Disposition   Initial LRR cure analysis for Ember in consideration of transaction                                                            1.90     $375.00   $712.50




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US Coal ‐ Bankruptcy   Case 14-10201-tnw                                   Doc 1372-2       Filed
                                                                                    Time Detail           05/15/15
                                                                                                for February 1, 2015 through April 24,Entered
                                                                                                                                      2015    05/15/15 15:57:57                                                        Desc
                                                                                  Exhibit B Page 112 of 131
4/2/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Discuss APAs,schedules, bids, auction results, and necessary court filing with DLG and E. Gabbert                   0.80               $375.00   $300.00
4/2/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Review Debtor's auction status report and provide comment                                                           0.70               $375.00   $262.50
4/3/2015      Evan Blum               Asset Disposition                    Review drafts from Dinsmore ‐ Revelation of Real Estate Mortgage, Security Agreement, Overriding Royalty Agreement, 0.90               $525.00   $472.50
                                                                           Throughput Agreement and APA marked against prior marked versions of SKO and Del Cotto for remainder of JAD assets

4/3/2015      Evan Blum              Asset Disposition                     Call with LD re details of outstanding issues on Revelation documents related to JAD purchase; set calls Accounting             0.60   $525.00   $315.00
                                                                           Services for the month of re APA and schedules
4/3/2015      Evan Blum              Asset Disposition                     Review Debtor report of auction of LR assets to be submitted to Court (.2); call with AA to discuss certain point (.2)          0.40   $525.00   $210.00

4/3/2015      Evan Blum              Asset Disposition                     Review emails re potential settlement on JAD assets ‐ review against GR schedules (.1) and discuss with DD (.1)                 0.20   $525.00   $105.00

4/3/2015      Evan Blum              Asset Disposition                     Review emails on Ember potentially pulling bid on LRR given deal with bonding company and proposed response (.1); call 0.20            $525.00   $105.00
                                                                           with Nixon to discuss (.1)
4/3/2015      Evan Blum              Asset Disposition                     Review emails on revised offer from Revelation on JAD assets (.1); call with LD to discuss terms proposed and reaction (.1) 0.20       $525.00   $105.00

4/4/2015      Evan Blum              Asset Disposition                     Call with CD to discuss JAD sale status to Revelation and LRR status with Ember given demands which can't be met on             0.20   $525.00   $105.00
                                                                           releases, bonding
4/6/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Prepare revisions to the Revelation APA schedules                                                                               1.80   $375.00   $675.00
4/6/2015      Sean Allen, CFA, CPA, C Asset Disposition                    JAD Auction summary and asset analysis revisions                                                                                1.00   $375.00   $375.00
4/6/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Reconcile Ember APA assets on request of counsel                                                                                0.80   $375.00   $300.00
4/6/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Reconcile draft asset list from JAD Sellers against Debtor records                                                              0.60   $375.00   $225.00
4/6/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Discuss Revelation APA schedules with M. Thomas, E. Gabbert and DLG                                                             0.40   $375.00   $150.00
4/6/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Discuss JAD Seller equipment in context of Revelation APA with DLG                                                              0.30   $375.00   $112.50
4/7/2015      Marc Levee              Asset Disposition                    Prepare summaries of data rooms for both JAD and LRR divisions as well as a list of parties who were provided access to         2.40   $325.00   $780.00
                                                                           each
4/7/2015      Marc Levee              Asset Disposition                    Various discussions with E. Bum regarding sale process summaries for both JAD and LRR and prepare same                          2.20   $325.00   $715.00
4/7/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Finalize JAD and LRR bid summaries                                                                                              0.90   $375.00   $337.50
4/7/2015      Marc Levee              Asset Disposition                    Update prospective buyer summary pages for both divisions ‐ based on results of both bid deadlines and auctions ‐ in            0.50   $325.00   $162.50
                                                                           preparation for hearing
4/8/2015      Evan Blum              Asset Disposition                     Review Debtors Report of Auction of Licking River Assets; Debtors First Supplement to motion to authorize sale of LRR           1.20   $525.00   $630.00
                                                                           assets ‐ credit bids to Equipment lenders; Debtors second Supplement to motion to authorize sale of LRR assets ‐ credit
                                                                           bid LR lenders; Debtors third Supplement to motion to authorize sale of LRR assets ‐ Ember; Objection by Committee;
                                                                           Debtors Second Supplement for order to sell JAD ‐ all in preparation for hearing

4/8/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Discuss cure claims at both divisions, Revelation APA terms, Ember APA terms, administrative claims, and tax obligations        0.80   $375.00   $300.00
                                                                           of both divisions with E. Blum in preparation for hearing
4/8/2015      Evan Blum              Asset Disposition                     Discuss cure claims at both divisions, Revelation APA terms, Ember APA terms, administrative claims and tax obligations         0.80   $525.00   $420.00
                                                                           of both divisions with S Allen in preparation for hearing
4/9/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Prepare JAD Cure claim summary for Revelation                                                                                   2.40   $375.00   $900.00
4/9/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Discuss cure amounts with E. Gabbart, B. Manning, and E. Blum re JAD APA                                                        0.80   $375.00   $300.00
4/9/2015      Evan Blum               Asset Disposition                    Discuss cure amounts with E Gabbart, B Manning and S Allen re JAD APA                                                           0.80   $525.00   $420.00
4/9/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Discuss Bailey Blanton settlement and Revelation APA with E. Gabbert                                                            0.40   $375.00   $150.00
4/9/2015      Sean Allen, CFA, CPA, C Asset Disposition                    Discuss cure claims with E. Blum, E. Gabbert, and A. Adams in context of Revelation APA                                         0.30   $375.00   $112.50
4/9/2015      Evan Blum               Asset Disposition                    Discuss cure claims with S Allen, E Gabbart, and A Adams in context of Revelations APA                                          0.30   $525.00   $157.50
4/10/2015     Sean Allen, CFA, CPA, C Asset Disposition                    Analyze and reconcile cure claims at LRR with regards to Ember Bid (including multiple conversations with B. Manning)           4.50   $375.00   $1,687.50

4/10/2015     Evan Blum              Asset Disposition                     Calls on JAD sale to revelation prior to ct hearing later in day ‐ Multiple calls with AA and LD re revelation no longer taking 2.70   $525.00   $1,417.50
                                                                           settlement agreement with Bailey Blanton and wanting offset; review GR memo with them; call with comm counsel and
                                                                           JAD counsel re revelation issue and settlement between JAD and committee; calls with AA and LD re camofi assets and
                                                                           ECM assets in Revelation deal; emails re same; calls with DD to update; call with Lexon counsel re revelation status; call
                                                                           with JC re revelation status; calls with AA and LD re JAD agree to offset and final committee ‐ JAD settlement (note ‐ all
                                                                           calls were consecutive while in car do not have breakout)

4/10/2015     Sean Allen, CFA, CPA, C Asset Disposition                    Review and respond to counsel's questions concerning ECM and CAMOFI liens in context of JAD Revelation APA                      0.70   $375.00   $262.50

4/13/2015     Sean Allen, CFA, CPA, C Asset Disposition                    Begin finalizing property tax figures related to Komatsu request                                                                2.80   $375.00   $1,050.00
4/13/2015     Evan Blum               Asset Disposition                    Review order selling LRR equipment to Komatsu (.1); review order selling LRR equipment to Cat (.1); review order selling        0.50   $525.00   $262.50
                                                                           LRR equipment to ECM (.1); review Huntington Bank Order re LRR equipment (.1); review order selling LRR equipment to
                                                                           Whayne supply (.1)
4/13/2015     Evan Blum              Asset Disposition                     Review JAD order to sell assets to ECM (.1); review JAD order to sell assets to Komatsu (.1); review JAD order to sell assets   0.40   $525.00   $210.00
                                                                           to Goodwin/Goggin (.1); review JAD order to sell assets to Whayne (.1)
4/14/2015     Sean Allen, CFA, CPA, C Asset Disposition                    Continue finalizing personal property tax payoff figures (including multiple discussions with B. Manning)                       6.50   $375.00   $2,437.50
4/15/2015     Sean Allen, CFA, CPA, C Asset Disposition                    Itemize personal property taxes for credit bidders                                                                              1.00   $375.00   $375.00
4/17/2015     Evan Blum               Asset Disposition                    Cal with LD to get update on JAD hearing of prior day; preview LRR hearing 4/20                                                 0.20   $525.00   $105.00
10/2/2014     David Neyhart, CPA      Assumption/Rejection of Leases and   Update listing of executory contracts to reflect schedule amendments.                                                           0.40   $225.00   $90.00
10/3/2014     David Neyhart, CPA      Assumption/Rejection of Leases and   Update listing of executory contracts for assumption/rejection of leases                                                        0.80   $225.00   $180.00
10/6/2014     David Neyhart, CPA      Assumption/Rejection of Leases and   Populate real property list with claim amounts and additional payments.                                                         3.20   $225.00   $720.00
10/6/2014     David Neyhart, CPA      Assumption/Rejection of Leases and   Update executory contract listing and prepare for call with AA regarding tracking of executory contracts and                    0.70   $225.00   $157.50
                                                                           cure claims.
10/6/2014     David Neyhart, CPA     Assumption/Rejection of Leases and    Call with AA to discuss tracking of executory contracts and cure claims.                                                        0.20   $225.00   $45.00
10/6/2014     Evan Blum              Assumption/Rejection of Leases and    Review proposed order to reject Kolmar cyrus river contract                                                                     0.10   $525.00   $52.50
10/7/2014     David Neyhart, CPA     Assumption/Rejection of Leases and    Populate counsel's real property list with claim amounts to track status of leases.                                             3.10   $225.00   $697.50
10/8/2014     David Neyhart, CPA     Assumption/Rejection of Leases and    Update lease tracker with post petition payments made.                                                                          2.30   $225.00   $517.50
10/8/2014     David Neyhart, CPA     Assumption/Rejection of Leases and    Populate counsel's real property list with claim amounts.                                                                       1.30   $225.00   $292.50
10/8/2014     David Neyhart, CPA     Assumption/Rejection of Leases and    Update lease tracker with gap claims.                                                                                           0.90   $225.00   $202.50
10/10/2014    Evan Blum              Assumption/Rejection of Leases and    Call with M Windisch to discuss Kolmar contracts                                                                                0.50   $525.00   $262.50
10/12/2014    Evan Blum              Assumption/Rejection of Leases and    Review emails from JAD counsel concerning potential rejection of certain Kolmar contracts; review internal                      0.40   $525.00   $210.00
                                                                           emails addressing these issues and set up of call with JAD counsel
10/13/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Call with BM to discuss lease schedule tracker                                                                                  0.50   $225.00   $112.50
10/15/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Update lease tracker based on comments from BM.                                                                                 0.50   $225.00   $112.50
10/24/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Research terms of Sequioa 9019 settlement agreement                                                                             0.30   $225.00   $67.50
10/27/2014    Evan Blum               Assumption/Rejection of Leases and   Review Court Order to allow rejection of kolmar cyrus river contract                                                            0.10   $525.00   $52.50
10/28/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Call with counsel and company to discuss assumption/rejection of leases.                                                        0.50   $225.00   $112.50
10/28/2014    Sean Allen, CFA, CPA, C Assumption/Rejection of Leases and   Discuss Kolmar negotiations with E. Blum, C. Desiderio and J. Collins                                                           0.50   $375.00   $187.50
10/30/2014    Evan Blum               Assumption/Rejection of Leases and   Call with MW and CD to discuss Kolmar contracts and appropriate response to their demands                                       0.50   $525.00   $262.50
10/30/2014    Evan Blum               Assumption/Rejection of Leases and   Call with MW re Kolmar contractual demands and USC response                                                                     0.40   $525.00   $210.00
10/31/2014    Evan Blum               Assumption/Rejection of Leases and   Call with counsel and company re Kolmar contracts                                                                               0.50   $525.00   $262.50
10/31/2014    Evan Blum               Assumption/Rejection of Leases and   Call re Kolmar contracts with MW                                                                                                0.40   $525.00   $210.00
10/31/2014    Evan Blum               Assumption/Rejection of Leases and   Review emails exchange re Kolmar non payment on amounts owed and next steps                                                     0.20   $525.00   $105.00
11/3/2014     Evan Blum               Assumption/Rejection of Leases and   Call with CD re Kolmar contracts and go forward approach                                                                        0.10   $525.00   $52.50
11/4/2014     Evan Blum               Assumption/Rejection of Leases and   Review emails related to Kolmar acceptance of coal; other contractual relationships                                             0.10   $525.00   $52.50
11/7/2014     Evan Blum               Assumption/Rejection of Leases and   Call with CD re Kolmar contracts and need to focus on potential rejection                                                       0.20   $525.00   $105.00
11/12/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Prepare detailed analysis of specific royalty holders and their various claim amounts.                                          1.80   $225.00   $405.00




                                                                                                                                                                                                                                        12 of 31
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                                                                                                                                      2015    05/15/15 15:57:57                                                        Desc
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11/12/2014    Evan Blum               Assumption/Rejection of Leases and   Call with CD to discuss Kolmar fuel contract and Kolmar relationship re acceptance ‐ rejection of contracts (.2); post group 0.70      $525.00   $367.50
11/12/2014    Evan Blum               Assumption/Rejection of Leases and   Call with JC to discuss key conversations around rejection ‐ renegotiation of leases; GR to follow with spreadsheet of key pa0.40      $525.00   $210.00
11/12/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Call with EB and SA to discuss breakout of royalty amounts.                                                                   0.20     $225.00   $45.00
11/12/2014    Sean Allen, CFA, CPA, C Assumption/Rejection of Leases and   Call with EB and DN to discuss breakout of royalty amounts                                                                    0.20     $375.00   $75.00
11/14/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Update analysis for top LRR lease holders including calculating any potential cure claim, any post petition payments made 3.90         $225.00   $877.50
11/14/2014    Evan Blum               Assumption/Rejection of Leases and   Reviewed with D Neyhart the GR memo on key leases at LRR to be addressed by JC; review and mark with comments multi0.90                $525.00   $472.50
11/14/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Meeting with EB to discuss top LRR royalty holders claim amounts.                                                             0.30     $225.00   $67.50
11/20/2014    David Neyhart, CPA      Assumption/Rejection of Leases and   Status call with Company and counsel to discuss assumption/rejection of leases.                                               0.50     $225.00   $112.50
11/24/2014    Evan Blum               Assumption/Rejection of Leases and   Call with counsel re Kolmar matters; Sequoia settlement ‐ lack of adherence                                                   0.70     $525.00   $367.50
11/24/2014    Evan Blum               Assumption/Rejection of Leases and   Follow counsel call with MW call on Kolmar & Sequoia                                                                          0.30     $525.00   $157.50
11/24/2014    Evan Blum               Assumption/Rejection of Leases and   Analysis of Kolmar and other fuel costs at LRR and JAD ‐ review and compose emails                                            0.20     $525.00   $105.00
11/25/2014    Evan Blum               Assumption/Rejection of Leases and   Review JC email correspondence re Kolmar contracts after discussion with Kolmar management                                    0.10     $525.00   $52.50
11/26/2014    Evan Blum               Assumption/Rejection of Leases and   Review multiple emails and participate in multiple calls related to potential resolution of Kolmar contract issues JC, and Nix0.90     $525.00   $472.50
11/30/2014    Evan Blum               Assumption/Rejection of Leases and   Review Motion requesting authority to assume leases and requesting approval of cure claim payments; email to AA re any 0.30            $525.00   $157.50
12/1/2014     Evan Blum               Assumption/Rejection of Leases and   Review and compose emails re Kolmar contract for fuel ‐ accept/reject (.3); call with CD (.2); follow with D                  0.70     $525.00   $367.50
                                                                           Drebsky (.2)
12/2/2014     Evan Blum              Assumption/Rejection of Leases and Call with Nixon and management on Kolmar agreements ; proposed response regarding changes to existing                             0.80    $525.00   $420.00
                                                                           agreement
12/2/2014     Evan Blum              Assumption/Rejection of Leases and    Call with MW and SA regarding assumption/rejection of Kolmar contracts                                                         0.50    $525.00   $262.50
12/2/2014     Evan Blum              Assumption/Rejection of Leases and    Call with CD regarding assumption / rejection of Kolmar contracts                                                              0.40    $525.00   $210.00
12/2/2014     Evan Blum              Assumption/Rejection of Leases and    Review Motion to Enforce Sequoia agreement; email comments to CD                                                               0.20    $525.00   $105.00
12/3/2014     Evan Blum              Assumption/Rejection of Leases and    Review spreadsheets and emails over several days related to assumption ‐ rejection of leases at LRR re Motion                  0.30    $525.00   $157.50
                                                                           to be filed with Court
12/3/2014     Evan Blum              Assumption/Rejection of Leases and    Review mark up to Kolmar email in regard to fuel and coal contracts going forward                                              0.10    $525.00   $52.50
12/15/2014    Evan Blum              Assumption/Rejection of Leases and    Review emails on status of sequoia settlement; issue to be heard in Court                                                      0.20    $525.00   $105.00
12/19/2014    Evan Blum              Assumption/Rejection of Leases and    Review emails around Sequoia order compelling compliance with Sequoia counse                                                   0.20    $525.00   $105.00
12/21/2014    Evan Blum              Assumption/Rejection of Leases and    Review emails around Jones Oil fuel costs and contract; compose emails to MW re next steps on rejection                        0.20    $525.00   $105.00
                                                                           motion and negotiations
12/21/2014    Evan Blum               Assumption/Rejection of Leases and   Review Motion to reject Jones Oil contract                                                                0.20                         $525.00   $105.00
12/22/2014    Evan Blum               Assumption/Rejection of Leases and   Review various emails re Jones Oil fuel offer; discuss alternatives; agree with co to move ahead at LRR   0.40                         $525.00   $210.00
1/4/2015      Evan Blum               Assumption/Rejection of Leases and   Email counsel re assumption/rejection Kolmar contract                                                     0.10                         $525.00   $52.50
1/12/2015     Evan Blum               Assumption/Rejection of Leases and   Call with counsel and company in regard to remaining Kolmar contracts and company approach                0.20                         $525.00   $105.00
1/29/2015     Evan Blum               Assumption/Rejection of Leases and   Call with company and counsel re SCANA contract termination issue                                         0.60                         $525.00   $315.00
1/30/2015     Evan Blum               Assumption/Rejection of Leases and   Review multiple email chains on SCANA loading next train; need to negotiate resolution re termination     0.20                         $525.00   $105.00
2/2/2015      Evan Blum               Assumption/Rejection of Leases and   Review emails on Enterprise lease ‐ re JAD sale potential objection ‐ follow with counsel                 0.10                         $525.00   $52.50
2/26/2015     Evan Blum               Assumption/Rejection of Leases and   Review scana settlement and 9019 motion for approval                                                      0.20                         $525.00   $105.00
10/1/2014     Evan Blum               Business Operations                  Review August financials by division                                                                      0.30                         $525.00   $157.50
10/1/2014     Evan Blum               Business Operations                  Review proposed order to pay KDNR regulatory fees                                                         0.10                         $525.00   $52.50
10/3/2014     Evan Blum               Business Operations                  Call with S Allen re insurance renewals                                                                   0.30                         $525.00   $157.50
10/3/2014     Sean Allen, CFA, CPA, C Business Operations                  Call with E Blum re insurance renewals                                                                    0.30                         $375.00   $112.50
10/3/2014     Evan Blum               Business Operations                  Follow call with counsel to review status of insurance renewals                                           0.20                         $525.00   $105.00
10/5/2014     Evan Blum               Business Operations                  Continued correspondence on insurance policy renewals                                                     0.10                         $525.00   $52.50
10/15/2014    Evan Blum               Business Operations                  Call with J Collins re market pricing situation, review current discussions with buyers                   0.50                         $525.00   $262.50
10/15/2014    Evan Blum               Business Operations                  Review email correspondence related to insurance needs and programs; payment terms under discussion. Also 0.40                         $525.00   $210.00
                                                                           addressed accounting/cash treatment.
10/22/2014    Sean Allen, CFA, CPA, C Business Operations                  Discuss insurance status with M. Windisch                                                                     0.40                     $375.00   $150.00
10/23/2014    Evan Blum               Business Operations                  Review emails related to insurance coverage and financing of 10/21 and 10/23; discuss details with M Windisch 0.70                     $525.00   $367.50

10/23/2014    Evan Blum              Business Operations                   Review emails from company and counsel on KY reclamation claims on Sandlick ‐ 9/21; 9/22; 9/23 ‐ and discuss                   0.70    $525.00   $367.50
                                                                           with M Windisch ‐ conclude to pay at KY amount
10/27/2014    Evan Blum              Business Operations                   Review various emails related to extension of various insurance policies through 12/31 so that no Court motion                 0.20    $525.00   $105.00
                                                                           will be required
10/29/2014    Evan Blum               Business Operations                  Discuss Letter of Credit/Bonding Requirements with S Allen, company, counse                                                    0.30    $525.00   $157.50
10/29/2014    Sean Allen, CFA, CPA, C Business Operations                  Discuss automatic stay in context of letters of credit and surety with Nixon Peabody, Delcotto Law Group and                   0.30    $375.00   $112.50
                                                                           Management
10/29/2014    Evan Blum               Business Operations                  Review Court Order approving paying KDNR regulatory fees (but not penalties)                                                    0.10   $525.00   $52.50
10/30/2014    Evan Blum               Business Operations                  Discuss vendor relations with Management and S. Allen                                                                           0.40   $525.00   $210.00
10/30/2014    Sean Allen, CFA, CPA, C Business Operations                  Discuss vendor relations with Management and E. Blum                                                                            0.40   $375.00   $150.00
10/31/2014    Evan Blum               Business Operations                  Review emails on production at JAD                                                                                              0.10   $525.00   $52.50
11/3/2014     Evan Blum               Business Operations                  Review September operating financial statements                                                                                 0.10   $525.00   $52.50
11/4/2014     Evan Blum               Business Operations                  Review extensive internal emails on bonding and surety payments on new bonds                                                    0.20   $525.00   $105.00
11/4/2014     Evan Blum               Business Operations                  Review Motion to Continue Surety Bond Program                                                                                   0.10   $525.00   $52.50
11/7/2014     Evan Blum               Business Operations                  Call with company and counsel re US Bank action on Letters of Credit; how to respond to relief from stay request; alternati 0.50       $525.00   $262.50
11/7/2014     Evan Blum               Business Operations                  Review emails re US Bank desire for stay relief re US Bank non renewal of Letters of Credit in preparation for call re same 0.20       $525.00   $105.00
11/9/2014     Evan Blum               Business Operations                  Review follow up emails with company and counsel re moving collateral account funds to Lexon and cancelling Letters of C0.10           $525.00   $52.50
11/12/2014    Evan Blum               Business Operations                  Call with MW re cash flow situation at LRR, steps to take to address timing of inflows                                          0.30   $525.00   $157.50
11/18/2014    Sean Allen, CFA, CPA, C Business Operations                  Discuss surety bonds with M. Windisch                                                                                           0.20   $375.00   $75.00
11/21/2014    Evan Blum               Business Operations                  Discuss Kolmar fuel sale offer at JAD with JC (.2); CD (.1); SA (.2) ‐ call set up to discuss Monday                            0.50   $525.00   $262.50
11/24/2014    Evan Blum               Business Operations                  Call with SA, MW and JC to discuss all alternatives re increasing cash flow ‐ royalty issues by key lessor; fuel and other key v1.00   $525.00   $525.00
11/24/2014    Sean Allen, CFA, CPA, C Business Operations                  Discuss operations at LRR with Management and E. Blum                                                                           1.00   $375.00   $375.00
11/24/2014    Evan Blum               Business Operations                  Call with MW re details around moving HWM to LRR (.4); follow call including D Drebsky to discuss issue (.4)                    0.80   $525.00   $420.00
11/24/2014    Evan Blum               Business Operations                  Discuss operational alternatives internally to improve cash flow; discuss margins; impact on margins of various alternatives0.80       $525.00   $420.00
11/24/2014    Evan Blum               Business Operations                  Call with JC re potential changes to business operations in order to improve operating results (.3); follow with SA and MW 0.60        $525.00   $315.00
11/24/2014    Evan Blum               Business Operations                  Discuss Sequoia lack of compliance with JC and counsel re settlement agreement approved by Court; counsel to draft moti 0.20           $525.00   $105.00
11/24/2014    Evan Blum               Business Operations                  Email correspondence with counsel re any update on Dyno contract matter                                                         0.10   $525.00   $52.50
11/25/2014    Evan Blum               Business Operations                  Discuss business strategy with counsel and management re go forward alternatives                                                0.50   $525.00   $262.50
11/25/2014    Evan Blum               Business Operations                  Call with D Drebsky re operational issues facing company; alternatives                                                          0.30   $525.00   $157.50
11/25/2014    Evan Blum               Business Operations                  Call with JC re operational issues facing company and alternatives                                                              0.20   $525.00   $105.00
12/1/2014     Evan Blum               Business Operations                  Call with MW re alternative fuel suppliers and pricing at LRR and JAD (.4); review emails re same prior to call (.1). 0.80             $525.00   $420.00
                                                                           Review GR fuel sensitivity analysis and discuss with SA (.3)
12/1/2014     Sean Allen, CFA, CPA, C Business Operations                  Analyze impact of fuel pricing at both divisions                                                                               0.60    $375.00   $225.00
12/1/2014     Sean Allen, CFA, CPA, C Business Operations                  Discuss fuel vendor relations with Management and Nixon Peabody                                                                0.40    $375.00   $150.00
12/1/2014     Sean Allen, CFA, CPA, C Business Operations                  Discuss potential auger economics at LRR Division with S. Blevins                                                              0.30    $375.00   $112.50
12/2/2014     Sean Allen, CFA, CPA, C Business Operations                  Discuss fuel pricing with M. Windisch and E. Blum                                                                              0.50    $375.00   $187.50
12/2/2014     Evan Blum               Business Operations                  Discuss fuel pricing with M Windisch and S Allen                                                                               0.50    $525.00   $262.50
12/2/2014     Evan Blum               Business Operations                  Discuss JAD operations with DD and JC                                                                                          0.40    $525.00   $210.00
12/2/2014     Evan Blum               Business Operations                  Review quality specs of Sequoia coal deliveries in preparation for Motion to compe                                             0.10    $525.00   $52.50
12/3/2014     Evan Blum               Business Operations                  Review short term cash flows and detailed analysis of timing issues and payments with SA (.8); call with MW re                 1.40    $525.00   $735.00
                                                                           cash flows (.2); call with EG, MW and SA re cash flows (.4)
12/3/2014     Sean Allen, CFA, CPA, C Business Operations                  Review liquidity of debtors with E. Blum                                                                                       1.40    $375.00   $525.00
12/3/2014     Evan Blum               Business Operations                  Call with MW to discuss current state of operations at JAD and LRR                                                             0.50    $525.00   $262.50
12/3/2014     Evan Blum               Business Operations                  Review historical production and cost data                                                                                     0.20    $525.00   $105.00




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12/5/2014     Marc Levee             Business Operations    Prepare current state of the case presentation for counsel ‐ includes internal GR team meeting to discuss         6.50   $325.00   $2,112.50
                                                            content of presentation and work on and finalize draft presentation
12/5/2014     David Neyhart, CPA     Business Operations    Prepare a summary financial presentation for presentation to Debtor's counsel.                                    5.70   $225.00   $1,282.50
12/5/2014     Evan Blum              Business Operations    Work with GR team to prepare GR memo summarizing company operations and outline of current status for             4.50   $525.00   $2,362.50
                                                            meeting with counsel
12/5/2014     David Neyhart, CPA      Business Operations   Meetings with GR team to discuss financial summary presentation, case status and case strategy.                   1.40   $225.00   $315.00
12/5/2014     Evan Blum               Business Operations   Meet with counsel re status of operations ‐ case going forward                                                    1.00   $525.00   $525.00
12/5/2014     Sean Allen, CFA, CPA, C Business Operations   Meet with counsel re status of operations                                                                         1.00   $375.00   $375.00
12/5/2014     Sean Allen, CFA, CPA, C Business Operations   Analyze short term liquidity at both divisions                                                                    0.90   $375.00   $337.50
12/5/2014     Sean Allen, CFA, CPA, C Business Operations   Discuss short term liquidity with E. Blum                                                                         0.40   $375.00   $150.00
12/5/2014     Sean Allen, CFA, CPA, C Business Operations   Discuss short term liquidity with E. Gabbert                                                                      0.40   $375.00   $150.00
12/5/2014     Evan Blum               Business Operations   Discuss short term liquidity with S Allen                                                                         0.40   $525.00   $210.00
12/7/2014     Evan Blum               Business Operations   Call with S Allen to review GR memo on operations; reorganize and update contents on co operations ‐ case         0.60   $525.00   $315.00
                                                            status
12/7/2014     Sean Allen, CFA, CPA, C Business Operations   Call with E Blum to review GR memo on operations ‐ reorganize and update contents on co operations ‐ case         0.60   $375.00   $225.00
                                                            status
12/8/2014     Evan Blum               Business Operations   Call with JC to discuss go forward alternatives                                                                   0.40   $525.00   $210.00
12/8/2014     Sean Allen, CFA, CPA, C Business Operations   Discuss equipment and local JAD management comments with Management                                               0.30   $375.00   $112.50
12/9/2014     Sean Allen, CFA, CPA, C Business Operations   Multiple discussions with Management concerning LRR and JAD operations, analyzing equipment payments,             8.90   $375.00   $3,337.50
                                                            alternative operating scenarios and other alternatives
12/10/2014    Evan Blum              Business Operations    Meet in Lex with SB, EG and SA to review operations ‐ detailed cash analysis; review asset values ‐ calls with    8.50   $525.00   $4,462.50
                                                            Great American and Resource Tech and internal; work with S Allen on alternative exit models and issues;
                                                            address operating issues such as fuel, HWM operations with SB and JC
12/10/2014    Sean Allen, CFA, CPA, C Business Operations   Multiple discussions with Management and E. Blum concerning LRR and JAD operations, analyzing equipment           8.50   $375.00   $3,187.50
                                                            payments, alternative operating scenarios and other alternatives, and analyzing liquidity position

12/10/2014    David Neyhart, CPA      Business Operations   Prepare JAD liquidity forecast, and call with SA to discuss the same.                                           1.80     $225.00   $405.00
12/11/2014    Sean Allen, CFA, CPA, C Business Operations   Investigate and analyze multiple operating scenarios and combinations of assets and operations at both          12.30    $375.00   $4,612.50
                                                            divisions; extend analysis to long term projections (2017‐2022)
12/11/2014    David Neyhart, CPA      Business Operations   Update LRR liquidity projections based on actual results and adjusted projections                               1.40     $225.00   $315.00
12/11/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss further operating scenarios with S. Blevins                                                             0.80     $375.00   $300.00
12/11/2014    Evan Blum               Business Operations   Call with JC regarding JAD operational issues                                                                   0.40     $525.00   $210.00
12/12/2014    Sean Allen, CFA, CPA, C Business Operations   Summarize scenario analysis and incorporate in GR presentation                                                  3.80     $375.00   $1,425.00
12/15/2014    Sean Allen, CFA, CPA, C Business Operations   Update GR status memo for counsel                                                                               2.10     $375.00   $787.50
12/15/2014    Sean Allen, CFA, CPA, C Business Operations   Meet with Nixon Peabody to discuss alternatives                                                                 1.50     $375.00   $562.50
12/15/2014    Evan Blum               Business Operations   Review various go forward operating / financing models for LRR and JAD with SA and Nixon                        1.50     $525.00   $787.50
12/15/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss restructuring scenarios with Management                                                                 0.60     $375.00   $225.00
12/15/2014    Evan Blum               Business Operations   Discuss operating alternatives at LRR and JAD with JC, MW and SA                                                0.60     $525.00   $315.00
12/15/2014    Evan Blum               Business Operations   Review and mark with comments GR memo to counsel re alternative operating / financing scenarios                 0.60     $525.00   $315.00
12/16/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss short term liquidity at LRR with Management                                                             0.50     $375.00   $187.50
12/17/2014    Evan Blum               Business Operations   Update with company, Nixon and DelCotto in Lexington on cash situation at LRR and JAD; status of operations at 6.00      $525.00   $3,150.00
                                                            LRR and JAD, post petition financing status and alternatives (4.5); continue discussions with company in regard
                                                            to operating alternatives; review additional potential sources of financing (1.5)
12/17/2014    Sean Allen, CFA, CPA, C Business Operations   Analyze liquidity at both divisions (including 2.4 hour discussion with E. Gabbert)                             5.70     $375.00   $2,137.50
12/18/2014    Sean Allen, CFA, CPA, C Business Operations   Revise short term liquidity projections                                                                         3.20     $375.00   $1,200.00
12/18/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss LRR operations with S. Blevins                                                                          0.40     $375.00   $150.00
12/19/2014    Sean Allen, CFA, CPA, C Business Operations   Draft JAD liquidity presentation (including revisions)                                                          5.20     $375.00   $1,950.00
12/19/2014    Evan Blum               Business Operations   Review Jan‐ March numbers and assumptions with SA (.5); review with Counsel (.5); review with Boyd (.4)         1.40     $525.00   $735.00

12/19/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss JAD production assumptions with Management                                                                0.80   $375.00   $300.00
12/19/2014    Evan Blum               Business Operations   Call with JC to review prior day meeting with committee FA                                                        0.70   $525.00   $367.50
12/19/2014    Evan Blum               Business Operations   Review further refined JAD analysis with SA in terms of Jan‐ March projections; discuss preparation of overview   0.70   $525.00   $367.50
                                                            for counsel
12/19/2014    Evan Blum               Business Operations   Review further updated JAD Jan‐ march numbers and summary powerpoint with SA                                      0.60   $525.00   $315.00
12/19/2014    Sean Allen, CFA, CPA, C Business Operations   Summarize liquidity projections for E. Blum                                                                       0.50   $375.00   $187.50
12/19/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss status and liquidity with Nixon Peabody and E. Blum                                                       0.50   $375.00   $187.50
12/19/2014    Evan Blum               Business Operations   Call with Reclamation counsel re KY law on topic                                                                  0.30   $525.00   $157.50
12/19/2014    Evan Blum               Business Operations   Call with JC re JAD ratios near term                                                                              0.30   $525.00   $157.50
12/19/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss status with M. Windisch and E. Blum                                                                       0.20   $375.00   $75.00
12/20/2014    Sean Allen, CFA, CPA, C Business Operations   Revise JAD liquidity figures and presentation                                                                     4.20   $375.00   $1,575.00
12/20/2014    Evan Blum               Business Operations   Review GR memo on ST liquidity (.4); call with SA and management to discuss and mark with changes (.7)            1.10   $525.00   $577.50

12/20/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss status with E. Blum and Management                                                                       0.70    $375.00   $262.50
12/22/2014    Sean Allen, CFA, CPA, C Business Operations   Revise LRR liquidity analysis and presentation per Management comments                                           3.50    $375.00   $1,312.50
12/22/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss LRR liquidity with Management                                                                            1.30    $375.00   $487.50
12/22/2014    Sean Allen, CFA, CPA, C Business Operations   Run sensitivities to JAD liquidity analysis                                                                      1.00    $375.00   $375.00
12/22/2014    Evan Blum               Business Operations   Review JAD sensitivity analysis and discuss with SA (.5); discuss with counsel (.2); distribute to Boyd and Comm 0.80    $525.00   $420.00
                                                            counsel (.1)
12/22/2014    Sean Allen, CFA, CPA, C Business Operations   Run LRR fuel sensitivity                                                                                         0.50    $375.00   $187.50
12/22/2014    Evan Blum               Business Operations   Review GR memo on JAD short term liquidity forecast                                                              0.30    $525.00   $157.50
12/22/2014    Evan Blum               Business Operations   Discussed business operations with D Drebsky and GR memo (.1); sent information to committee (.1)                0.20    $525.00   $105.00
12/23/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss JAD operations with Management                                                                           0.80    $375.00   $300.00
12/23/2014    Evan Blum               Business Operations   Review Gr power point on LRR short term projections (.3); call with co management to review (.3)                 0.60    $525.00   $315.00
12/23/2014    Evan Blum               Business Operations   Call with JC and D Drebsky re operations at JAD                                                                  0.50    $525.00   $262.50
12/23/2014    Evan Blum               Business Operations   Call with SA and management regarding LRR short term budget and GR memo re same                                  0.50    $525.00   $262.50
12/23/2014    Sean Allen, CFA, CPA, C Business Operations   LRR liquidity call with Management and E. Blum                                                                   0.50    $375.00   $187.50
12/23/2014    Evan Blum               Business Operations   Review GR memo on LRR short term operations and liquidity                                                        0.30    $525.00   $157.50
12/26/2014    Sean Allen, CFA, CPA, C Business Operations   Revise model for new LRR contingency with altered debt financing                                                 2.60    $375.00   $975.00
12/26/2014    Evan Blum               Business Operations   Call with JC re business operations and management changes at JAD (.5); email follow to counsel (.1)             0.60    $525.00   $315.00
12/29/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss operating models with Management                                                                         0.50    $375.00   $187.50
12/29/2014    Evan Blum               Business Operations   Follow Boyd call with call with JC on LRR and JAD operations and near term scenarios                             0.40    $525.00   $210.00
12/29/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss status with NIxon Peabody                                                                                0.30    $375.00   $112.50
12/30/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss revised LRR assumptions and projections with Management                                                  0.90    $375.00   $337.50
12/30/2014    Sean Allen, CFA, CPA, C Business Operations   Discuss WARN implications with Nixon Peabody and Management                                                      0.70    $375.00   $262.50
12/31/2014    Sean Allen, CFA, CPA, C Business Operations   Calculate impact of shift changes on production, cost per ton and cash flows per Management request (including 1.90      $375.00   $712.50
                                                            discussions with Management)
1/1/2015      Evan Blum              Business Operations    Review multiple 12/30 and 12/31 emails chains (50+ emails) regarding Sequoia relationship with USC ‐ option 0.60         $525.00   $315.00
                                                            agreement issue at LRR; coal deliveries and remaining amounts owed under settlement and proposed timing of
                                                            delivery; penalties/fees paid and reimbursed; $250K owed/sent; next steps re Court
1/1/2015      Evan Blum              Business Operations    Call with JC and MW re Sequoia issues                                                                            0.50    $525.00   $262.50




                                                                                                                                                                                                           14 of 31
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                                                                     Time Detail           05/15/15
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                                                                                                                       2015    05/15/15 15:57:57                                                    Desc
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1/1/2015      Evan Blum               Business Operations   Review proposed Warn Act filing language and internal emails with company and counsel around same                           0.20   $525.00   $105.00
1/8/2015      Evan Blum               Business Operations   Call with Nixon, JC and MW re issues to deal with today ‐ Kolmar, Sequoia, 13 week cf update                                0.40   $525.00   $210.00
1/8/2015      Sean Allen, CFA, CPA, C Business Operations   Discuss details of Sequoia settlement status with Nixon Peabody, Management and E. Blum                                     0.40   $375.00   $150.00
1/8/2015      Evan Blum               Business Operations   Discuss details of Sequoia settlement status with Nixon Peabody, Management and S Allen                                     0.40   $525.00   $210.00
1/9/2015      Evan Blum               Business Operations   Multiple calls re WARN notice ‐ timing of expected inflows per contracts / cash balances with EG (.5); notice and           1.10   $525.00   $577.50
                                                            language and EG follow with CD (.4); follow with MW (.2)
1/12/2015     Evan Blum              Business Operations    Call with company and counsel re status of Sequoia settlement ‐ delivery of coal ‐ need to price; need to                   0.40   $525.00   $210.00
                                                            determine if receive $250K.
1/23/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss equipment configuration changes at JAD with S. Blevins                                                              0.50   $375.00   $187.50
1/27/2015     Sean Allen, CFA, CPA, C Business Operations   Begin updating LRR budget per Committee Financial Advisor's request for updated financial forecast                          3.40   $375.00   $1,275.00
1/27/2015     Evan Blum               Business Operations   Call with JC and SA to discuss updating LRR through March re implications of Right Oakley ‐ as requested by                 0.20   $525.00   $105.00
                                                            committee; SA and JC to follow on redo
1/28/2015     Sean Allen, CFA, CPA, C Business Operations   Finalize updated LRR budget per Committee Financial Advisor's request for updated financial forecast                        4.20   $375.00   $1,575.00
1/28/2015     Sean Allen, CFA, CPA, C Business Operations   Summarize assumptions and changes to LRR budget for distribution                                                            1.40   $375.00   $525.00
1/28/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss LRR budget with Management                                                                                          0.80   $375.00   $300.00
1/29/2015     Evan Blum               Business Operations   Review updated LRR short term cash flows developed by JC and SA                                                             0.20   $525.00   $105.00
1/30/2015     Evan Blum               Business Operations   call with JC and MW regarding LRR short term liquidity/operating mode                                                       0.60   $525.00   $315.00
1/30/2015     Evan Blum               Business Operations   Further calls with JC regarding LRR liquidity; follow with sunday cal                                                       0.40   $525.00   $210.00
1/30/2015     Evan Blum               Business Operations   Review LRR updated liquidity analysis through March with detailed assumptions                                               0.30   $525.00   $157.50
1/31/2015     Evan Blum               Business Operations   Respond to counsel questions re WARN act timing at LRR                                                                      0.10   $525.00   $52.50
2/1/2015      Evan Blum               Business Operations   Call with SA, MW and JC to discuss short term LRR cash flow ‐ review specific issues of management concern                  0.50   $525.00   $262.50
2/1/2015      Sean Allen, CFA, CPA, C Business Operations   Discuss budget with Management and E. Blum                                                                                  0.50   $375.00   $187.50
2/1/2015      Sean Allen, CFA, CPA, C Business Operations   Summary of budget and correspondence with Management for upcoming discussion                                                0.50   $375.00   $187.50
2/1/2015      Evan Blum               Business Operations   Review updated reclamation liability summary ‐ discuss with ML and have sent to co to review                                0.20   $525.00   $105.00
2/2/2015      Sean Allen, CFA, CPA, C Business Operations   Revise short term LRR budget per discussion                                                                                 1.50   $375.00   $562.50
2/2/2015      Evan Blum               Business Operations   Call with CD re WARN timing at LRR                                                                                          0.20   $525.00   $105.00
2/2/2015      Evan Blum               Business Operations   Call with SA re reclamation liability figures                                                                               0.10   $525.00   $52.50
2/2/2015      Sean Allen, CFA, CPA, C Business Operations   Call with E Blum re reclamation liability figures                                                                           0.10   $375.00   $37.50
2/5/2015      Evan Blum               Business Operations   Call with MW re LRR operational issues                                                                                      0.60   $525.00   $315.00
2/6/2015      Evan Blum               Business Operations   Multiple calls with MW and CD re operating results at LRR and need to reforecast                                            1.20   $525.00   $630.00
2/6/2015      Sean Allen, CFA, CPA, C Business Operations   Estimate WARN liability at LRR                                                                                              1.00   $375.00   $375.00
2/6/2015      Evan Blum               Business Operations   Further discussions with MW on LRR liquidity (.4); call with JC to discuss same (.3)                                        0.70   $525.00   $367.50
2/7/2015      Evan Blum               Business Operations   Call with JC, MW EG and SA re evaluation of LRR numbers ST through 3/27 (.8); follow with SA (.2)                           1.00   $525.00   $525.00
2/7/2015      Sean Allen, CFA, CPA, C Business Operations   Discuss LRR budget and updates with Management and E. Blum                                                                  1.00   $375.00   $375.00
2/7/2015      Evan Blum               Business Operations   Correspondence with MW re employee costs through 3/15; pass along questions to counsel; SA to put in spreadsheet;           0.30   $525.00   $157.50
                                                            review spreadsheet
2/7/2015      Evan Blum               Business Operations   Discuss LRR go forward numbers with JC prior to group call                                                                  0.30   $525.00   $157.50
2/9/2015      Sean Allen, CFA, CPA, C Business Operations   Update LRR short term budget including multiple discussions and correspondence with Management                              6.10   $375.00   $2,287.50
2/9/2015      Sean Allen, CFA, CPA, C Business Operations   Revise WARN analysis per counsel's request (including correspondence with Counsel and revisions)                            1.10   $375.00   $412.50
2/9/2015      Evan Blum               Business Operations   Call with DN and EG on LRR and JAD operations; cash flows; production status                                                0.50   $525.00   $262.50
2/10/2015     Sean Allen, CFA, CPA, C Business Operations   Update LRR short term budget including multiple discussions and correspondence with Management                              4.90   $375.00   $1,837.50
2/10/2015     Sean Allen, CFA, CPA, C Business Operations   Revise LRR short term budget for accounts receivable factoring assumptions                                                  2.70   $375.00   $1,012.50
2/10/2015     Evan Blum               Business Operations   Discuss operational situation at JAD and LRR with EG                                                                        0.50   $525.00   $262.50
2/10/2015     Evan Blum               Business Operations   Discuss operational situation at LRR and JAD with management and Nixon (.3); follow with Nixon (.2)                         0.50   $525.00   $262.50
2/10/2015     Evan Blum               Business Operations   Discuss SCANA situation re next train delivery and ultimate contract resolution with CD after his call with SCANA counsel   0.40   $525.00   $210.00

2/10/2015     Evan Blum               Business Operations   Review emails related to scana contract; draft motion to compel compliance                                                  0.40   $525.00   $210.00
2/10/2015     Evan Blum               Business Operations   Call with JC re updated LRR short term model being worked on with SA                                                        0.30   $525.00   $157.50
2/11/2015     Sean Allen, CFA, CPA, C Business Operations   Review and revise preliminary LRR short term budget with Management                                                         6.70   $375.00   $2,512.50
2/11/2015     Evan Blum               Business Operations   Review updated LRR short term model with SA (.4); follow re specific questions with Nixon (.3)                              0.70   $525.00   $367.50
2/11/2015     Evan Blum               Business Operations   Call with JC re LRR and JAD short term liquidity numbers                                                                    0.30   $525.00   $157.50
2/11/2015     Evan Blum               Business Operations   Update call with SA re updated short term LRR model ‐ updated cash flows to be reviewed with counsel tomorrow               0.20   $525.00   $105.00

2/11/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss LRR short term budget with E. Blum                                                                                  0.20   $375.00   $75.00
2/12/2015     Evan Blum               Business Operations   Meet with SA to review LRR and JAD short term cash flows after SA meetings in Lexington                                     0.50   $525.00   $262.50
2/12/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss analysis of operations and implications of shut down timing with E. Blum                                            0.50   $375.00   $187.50
2/12/2015     Evan Blum               Business Operations   Call with CD re LRR cash analysis                                                                                           0.20   $525.00   $105.00
2/13/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss and revise LRR shipping forecast with Management and E Blum                                                         1.70   $375.00   $637.50
2/13/2015     Sean Allen, CFA, CPA, C Business Operations   Review Debtor's projections for high wall mining scenario and short term JAD forecast; provide comment on same              1.00   $375.00   $375.00

2/13/2015     Evan Blum               Business Operations   Call with counsel, company and SA re LRR short term operations and cash flow assumptions                                    0.50   $525.00   $262.50
2/13/2015     Evan Blum               Business Operations   Call with counsel around LRR operations ; cash flow issues                                                                  0.30   $525.00   $157.50
2/16/2015     Sean Allen, CFA, CPA, C Business Operations   Summarize debtors short term JAD cash flow forecast                                                                         1.10   $375.00   $412.50
2/16/2015     Sean Allen, CFA, CPA, C Business Operations   Review JAD highwall miner projections                                                                                       0.40   $375.00   $150.00
2/16/2015     Sean Allen, CFA, CPA, C Business Operations   Review and discuss JAD short term forecast prepared by the Debtors with E. Blum                                             0.40   $375.00   $150.00
2/16/2015     Evan Blum               Business Operations   Review and discuss JAD short term forecast prepared by the Debtors with S Allen                                             0.40   $525.00   $210.00
2/17/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss highwall mining forecast with E. Blum                                                                               0.50   $375.00   $187.50
2/17/2015     Evan Blum               Business Operations   Discuss high wall miner operations with S Allen re spreadsheet detailing underlying assumptions and break even analysis;    0.40   $525.00   $210.00
                                                            S Allen to follow with EG
2/17/2015     Evan Blum               Business Operations   Call with JC re Scana call and settlement discussions; various scenarios reviewed (.3); follow with CD (.1)          0.40          $525.00   $210.00
2/17/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss short term cash flow forecast at JAD with E. Blum and Management                                             0.40          $375.00   $150.00
2/17/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss revisions to JAD short term forecast with M. Windisch                                                        0.40          $375.00   $150.00
2/17/2015     Evan Blum               Business Operations   Discuss short term cash flow forecast at JAD with S Allen and Management                                             0.40          $525.00   $210.00
2/17/2015     Sean Allen, CFA, CPA, C Business Operations   Discuss highwall mining cash flow forecast with E. Gabbert                                                           0.20          $375.00   $75.00
2/21/2015     Evan Blum               Business Operations   Email correspondence with EG re scana payment timing; relay to nixon                                                 0.10          $525.00   $52.50
10/1/2014     David Neyhart, CPA      Case Administration   Review docket for 9/23‐9/30.                                                                                         0.30          $225.00   $67.50
10/1/2014     Evan Blum               Case Administration   Review Court Order re non debtor affiliates requiring additional information to be filed                             0.10          $525.00   $52.50
10/6/2014     Evan Blum               Case Administration   Call with M Windisch on various case issues ‐ financing discussions; Forge/NRP; plan negotiations                    0.50          $525.00   $262.50
10/12/2014    Evan Blum               Case Administration   Review J Collins affidavit regarding filing of non‐debtor entities                                                   0.30          $525.00   $157.50
10/13/2014    Evan Blum               Case Administration   Call with Delcotto and Nixon on case status ‐ exit financing; contract issues; appraisals                            0.70          $525.00   $367.50
10/13/2014    Evan Blum               Case Administration   GR internal meeting re case status                                                                                   0.50          $525.00   $262.50
10/13/2014    David Neyhart, CPA      Case Administration   status meeting with GR team to discuss outstanding items and timeline                                                0.50          $225.00   $112.50
10/13/2014    Marc Levee              Case Administration   Internal status update meeting with GR team ‐ DIP, projections, amendments to SOFAs/Schedules                        0.50          $325.00   $162.50
10/13/2014    David Neyhart, CPA      Case Administration   review docket from 10/1‐10/10                                                                                        0.40          $225.00   $90.00
10/15/2014    David Neyhart, CPA      Case Administration   Review docket for 10/14 and 10/13.                                                                                   0.20          $225.00   $45.00
10/16/2014    David Neyhart, CPA      Case Administration   Review docket for 10/15                                                                                              0.20          $225.00   $45.00
10/21/2014    David Neyhart, CPA      Case Administration   Review docket for 10/20.                                                                                             0.30          $225.00   $67.50
10/23/2014    David Neyhart, CPA      Case Administration   Review docket for 10/21 and 10/22.                                                                                   0.30          $225.00   $67.50
10/27/2014    David Neyhart, CPA      Case Administration   Review docket for 10/25                                                                                              0.30          $225.00   $67.50
10/28/2014    David Neyhart, CPA      Case Administration   review docket for 10/27                                                                                              0.20          $225.00   $45.00
10/30/2014    David Neyhart, CPA      Case Administration   Review docket for 10/28 and 10/29                                                                                    0.20          $225.00   $45.00
11/2/2014     Evan Blum               Case Administration   Review Debtors motion for continued use of cash management system (.2) and Debtors motion for continued use of surety0.40          $525.00   $210.00
11/2/2014     Evan Blum               Case Administration   Review JC declaration for new debtors first days (.2); provide comments to L Harrington(.1)                          0.30          $525.00   $157.50




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11/3/2014     Evan Blum               Case Administration              Call with JC re various on going maters ‐ Mercuria projections; Mercuria term sheet; appraisal liquidation value; appraisal o0.40     $525.00   $210.00
11/3/2014     David Neyhart, CPA      Case Administration              Review docket for 10/30 and 10/31.                                                                                           0.20     $225.00   $45.00
11/4/2014     Evan Blum               Case Administration              Internal GR meeting re valuation memo status; term sheet status; projection status                                           0.50     $525.00   $262.50
11/4/2014     Marc Levee              Case Administration              Internal GR team meeting to discuss long term projections and valuation                                                      0.50     $325.00   $162.50
11/4/2014     Sean Allen, CFA, CPA, C Case Administration              Discuss valuation, status of term sheet, third party financing discussions with E. Blum and M. Levee                         0.50     $375.00   $187.50
11/4/2014     David Neyhart, CPA      Case Administration              Review EB affidavit for first day motions for 4 newly filed entities.                                                        0.40     $225.00   $90.00
11/5/2014     Evan Blum               Case Administration              Call with JC to update on Goggin meeting, Mercuria discussions, status of alternative scenarios                              0.40     $525.00   $210.00
11/10/2014    David Neyhart, CPA      Case Administration              Review docket for 11/5 and 11/6.                                                                                             0.30     $225.00   $67.50
11/11/2014    Sean Allen, CFA, CPA, C Case Administration              Correspondence with Nixon Peabody and discussions with Management re: holdbacks for professionals                            0.40     $375.00   $150.00
11/11/2014    Sean Allen, CFA, CPA, C Case Administration              Discuss 20% holdback for professional fees with E. Gabbert                                                                   0.30     $375.00   $112.50
11/15/2014    Evan Blum               Case Administration              Call with MW to update re various case matters ‐ DIP; exit financing; etc                                                    0.50     $525.00   $262.50
11/16/2014    Evan Blum               Case Administration              Call with JC re current case issues                                                                                          0.30     $525.00   $157.50
11/19/2014    David Neyhart, CPA      Case Administration              Review docket for 11/14‐11/19.                                                                                               0.40     $225.00   $90.00
11/24/2014    Sean Allen, CFA, CPA, C Case Administration              Status call with Nixon Peabody                                                                                               0.90     $375.00   $337.50
11/25/2014    David Neyhart, CPA      Case Administration              Review docket for 11/19‐11/25.                                                                                               0.40     $225.00   $90.00
11/27/2014    Evan Blum               Case Administration              Review November ind memo from Lazard                                                                                         0.20     $525.00   $105.00
11/29/2014    Evan Blum               Case Administration              Review J McAfee deposition                                                                                                   1.80     $525.00   $945.00
11/29/2014    Evan Blum               Case Administration              Review J Dean deposition                                                                                                     0.50     $525.00   $262.50
12/2/2014     David Neyhart, CPA      Case Administration              Review docket for 11/25‐12/2.                                                                                                0.30     $225.00   $67.50
12/5/2014     Evan Blum               Case Administration              Calls with JC post meeting with Nixon to discuss case status; timing of Lex visit                                            0.70     $525.00   $367.50
12/7/2014     Evan Blum               Case Administration              Call with S Allen re open issues in case ‐ next steps and responsibilities to address                                        0.50     $525.00   $262.50
12/7/2014     Evan Blum               Case Administration              Call with JC re case issues to be addressed in upcoming week                                                                 0.50     $525.00   $262.50
12/7/2014     Sean Allen, CFA, CPA, C Case Administration              Discuss case status with E. Blum                                                                                             0.50     $375.00   $187.50
12/8/2014     Evan Blum               Case Administration              Internal meetings on GR to do list re open case issues                                                                       0.70     $525.00   $367.50
12/8/2014     Marc Levee              Case Administration              Internal status meeting with GR team                                                                                         0.70     $325.00   $227.50
12/8/2014     Sean Allen, CFA, CPA, C Case Administration              Internal status meeting with GR team                                                                                         0.70     $375.00   $262.50
12/8/2014     David Neyhart, CPA      Case Administration              Review payments to professionals and prepare summary analysis.                                                               0.50     $225.00   $112.50
12/8/2014     Evan Blum               Case Administration              Update MW on case matters                                                                                                    0.40     $525.00   $210.00
12/8/2014     David Neyhart, CPA      Case Administration              Review docket entries for 12/2‐12/7.                                                                                         0.30     $225.00   $67.50
12/12/2014    David Neyhart, CPA      Case Administration              Review fee apps for UCC professionals.                                                                                       0.60     $225.00   $135.00
12/17/2014    David Neyhart, CPA      Case Administration              review docket for 12/15‐12/17                                                                                                0.40     $225.00   $90.00
12/20/2014    Evan Blum               Case Administration              Call with SA, JC and MW to update on prior day call with comm counsel and FA                                                 0.80     $525.00   $420.00
12/22/2014    David Neyhart, CPA      Case Administration              review docket for 12/17‐12/22.                                                                                               0.30     $225.00   $67.50
12/22/2014    Evan Blum               Case Administration              Review lazard industry update                                                                                                0.20     $525.00   $105.00
12/29/2014    David Neyhart, CPA      Case Administration              Review Docket for 12/22‐12/29                                                                                                0.30     $225.00   $67.50
1/6/2015      Evan Blum               Case Administration              Pre hearing meeting at company in Lexington with counsel and Management                                                      2.00     $525.00   $1,050.00
1/6/2015      Sean Allen, CFA, CPA, C Case Administration              Meet with Management, Nixon Peabody, and Delcotto Law Group to discuss upcoming hearing                                      2.00     $375.00   $750.00
1/7/2015      Evan Blum               Case Administration              Attend court hearing ‐ various motions, including JAD bid procedures (incl pre meet at Del Cotto                             2.70     $525.00   $1,417.50
1/7/2015      Evan Blum               Case Administration              Meet with MW, JC and EG with SA in Lexington following hearing re coordination on JAD sale; update of 13 week 1.00                    $525.00   $525.00
                                                                       cash flow, other matters (Kolmar, Sequoia)
1/7/2015      Sean Allen, CFA, CPA, C Case Administration              Meet with MW, JC and EG along with E Blum in Lexington following hearing re coordination on JAD sale; update 1.00                     $375.00   $375.00
                                                                       of 13 week cash flow, other matter (Kolmar, Sequoia)
2/6/2015      Evan Blum              Case Administration               Update call with Nixon ‐ JAD sale ; LRR operating issues                                                                       0.60   $525.00   $315.00
2/7/2015      Evan Blum              Case Administration               Call with Nixon various issues ‐ JAD sale issues; LRR operational and cash flow issues (.5); follow up questions and answers   0.70   $525.00   $367.50
                                                                       to issues internally (.2)
2/9/2015      Sean Allen, CFA, CPA, C Case Administration              Discuss recent developments at JAD and LRR with E. Blum                                                                        0.50   $375.00   $187.50
2/9/2015      Evan Blum               Case Administration              Discuss recent developments at JAD and LRR with S Allen                                                                        0.50   $525.00   $262.50
2/12/2015     Evan Blum               Case Administration              Call with Nixon and company re JAD sale process; LRR short term cash flows; JAD ST operating assumptions; scana                1.80   $525.00   $945.00
                                                                       contract issues
2/12/2015     Sean Allen, CFA, CPA, C Case Administration              Meet with Nixon Peabody to discuss upcoming auction and LRR short term cash forecast                                           1.80   $375.00   $675.00
3/17/2015     Evan Blum               Case Administration              Pre hearing meeting at Del Cotto (.5); attend sale / Scana motion hearing (1.5); post hearing meet with Nixon and Del          2.50   $525.00   $1,312.50
                                                                       Cotto re next steps on case issues (.5)
3/17/2015     Evan Blum              Case Administration               In Lex, after hearing, meet with JAD and ECM counsel with Nixon/Del Cotto re liquidation and sources uses spreadsheets;        2.50   $525.00   $1,312.50
                                                                       discuss case issues and mechanics to solve case issues / sell LRR and JAD
3/31/2015     Evan Blum              Case Administration               Attend hearing in Lex re LRR and JAD sale status                                                                               2.00   $525.00   $1,050.00
3/31/2015     Evan Blum              Case Administration               Post hearing meeting at DelCotto with Nixon and company re next steps on JAD and LRR sales                                     1.70   $525.00   $892.50
4/7/2015      Evan Blum              Case Administration               Meeting at Del Cotto with Nixon and EG prior to sale / conversion hearing on JAD and LRR. Discuss motions; debtor              5.00   $525.00   $2,625.00
                                                                       positions. Prepare proffers on JAD and LRR internally; review iterations with counsel. Review and discuss with ML on
                                                                       multiple calls updated GR sale summary pages for JAD and LRR to be submitted to Court. Review and discuss Revelation
                                                                       APA docs with LD; review and discuss comm/JAD seller negotiation emails and discuss

4/8/2015      Evan Blum              Case Administration               Pre hearing meeting at Del Cotto to prepare for hearing with co and counsel (1.5) attend and provide testimony at LRR          9.30   $525.00   $4,882.50
                                                                       and JAD hearing on sale, stay relief and conversion (6.0); follow at Del Cotto with EG (1.8)
4/10/2015     Evan Blum              Case Administration               Attend hearing telephonically re JAD and LRR sale motions (.3); follow with Nixon and Del Cotto on schedule and next           0.60   $525.00   $315.00
                                                                       steps (.3)
4/13/2015     Evan Blum              Case Administration               Review 9019 motion re settlement motion with JAD sellers and committee                                                         0.20   $525.00   $105.00
4/20/2015     Evan Blum              Case Administration               Review latest Ember documents in preparation for LRR sale hearing (.6); review ember document questions with CD prior          8.60   $525.00   $4,515.00
                                                                       to LRR sale hearing (.3); meet at DelCotto with Nixon and EG to review LRR sale hearing (.5); attend and testify at LRR sale
                                                                       hearing (6.0); post hearing meeting at Del Cotto with EG, Nixon and Del Cotto (1.2)

10/1/2014     David Neyhart, CPA      Cash Collateral and Post Petition Fina Prepare updates to line of credit/DIP financing presentation.                                                            0.50   $225.00   $112.50
10/1/2014     Evan Blum               Cash Collateral and Post Petition Fina Review financing alternatives with J Collins and M Windisch                                                              0.50   $525.00   $262.50
10/1/2014     Evan Blum               Cash Collateral and Post Petition Fina Review and discuss internally updated 10/1 GR memo for JAD DIP financing                                                 0.40   $525.00   $210.00
10/1/2014     Evan Blum               Cash Collateral and Post Petition Fina Call with M Windisch re JAD DIP financing ‐ review memo and list; M Windisch to make initial calls                       0.30   $525.00   $157.50
10/1/2014     David Neyhart, CPA      Cash Collateral and Post Petition Fina Meeting with EB and MW to discuss line of credit/DIP financing presentation.                                             0.30   $225.00   $67.50
10/1/2014     Evan Blum               Cash Collateral and Post Petition Fina Review and update potential financing source list for JAD DIP facility                                                   0.20   $525.00   $105.00
10/1/2014     Evan Blum               Cash Collateral and Post Petition Fina Review counsel comments on GR financing memo and respond                                                                 0.10   $525.00   $52.50
10/2/2014     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Review financing memoranda and provide comment                                                                           0.60   $375.00   $225.00
10/2/2014     Evan Blum               Cash Collateral and Post Petition Fina Call with M Windisch re status of calls and memo                                                                         0.40   $525.00   $210.00
10/2/2014     Evan Blum               Cash Collateral and Post Petition Fina Call with J Collins re sources of financing                                                                              0.40   $525.00   $210.00
10/2/2014     David Neyhart, CPA      Cash Collateral and Post Petition Fina Update memo for potential financing                                                                                      0.30   $225.00   $67.50
10/3/2014     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss bankruptcy with potential financing source                                                                       0.80   $375.00   $300.00
10/3/2014     Evan Blum               Cash Collateral and Post Petition Fina Meet with potential financing source/purchaser for USC                                                                   0.80   $525.00   $420.00
10/3/2014     Evan Blum               Cash Collateral and Post Petition Fina Mark final version of GR memo for JAD financing and distribute to CFO and counse                                         0.70   $525.00   $367.50
10/3/2014     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Review financing memoranda and provide comment                                                                           0.50   $375.00   $187.50
10/6/2014     Evan Blum               Cash Collateral and Post Petition Fina Review and mark multiple drafts of memo to potential financing sources; review with M Levee; distribute to               1.60   $525.00   $840.00
                                                                       counsel and company
10/6/2014     Marc Levee             Cash Collateral and Post Petition Fina Review and update presentation on LRR Division for financing opportunities                                                1.30   $325.00   $422.50
10/7/2014     Evan Blum              Cash Collateral and Post Petition Fina Meeting with J Collins, M Windisch and Mercuria to discuss post petition financing                                        5.00   $525.00   $2,625.00
10/7/2014     Evan Blum              Cash Collateral and Post Petition Fina Pre meeting with Mercuria, call with J Collins and M Windisch to prepare                                                  0.40   $525.00   $210.00
10/8/2014     Evan Blum              Cash Collateral and Post Petition Fina Call with management and BTG re exit financing;l review assumptions and need; respond to questions. Follow                0.80   $525.00   $420.00
                                                                       with management.




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                                                                                              for February 1, 2015 through April 24,Entered
                                                                                                                                    2015    05/15/15 15:57:57                                                  Desc
                                                                                Exhibit B Page 117 of 131
10/9/2014     Marc Levee             Cash Collateral and Post Petition Fina Continue to prepare financial projections for distribution to prospective financing provide                            3.10   $325.00   $1,007.50
10/9/2014     Marc Levee             Cash Collateral and Post Petition Fina Review financial projections model and clean up for distribution to prospective financing provide                      1.20   $325.00   $390.00
10/9/2014     Evan Blum              Cash Collateral and Post Petition Fina Call with CD to outline Mercuria term sheet                                                                            0.70   $525.00   $367.50
10/9/2014     Evan Blum              Cash Collateral and Post Petition Fina Update counsel re prior night meeting with Mercuria                                                                    0.50   $525.00   $262.50
10/9/2014     Marc Levee             Cash Collateral and Post Petition Fina Final review of financial projections for distribution to prospective financing provider and send for senior review    0.50   $325.00   $162.50

10/9/2014     Evan Blum              Cash Collateral and Post Petition Fina Call with M Levee re projections to be sent to Mercuria; discuss and distribute                                        0.50   $525.00   $262.50
10/12/2014    Evan Blum              Cash Collateral and Post Petition Fina Review and compose email correspondence with M Windisch and Nixon re Commercial Bank issues to be                      0.30   $525.00   $157.50
                                                                         addressed in context of DIP financing for JAD
10/12/2014    Evan Blum               Cash Collateral and Post Petition Fina Email exchange with M Windisch re status of various potential DIP financing sources                                   0.20   $525.00   $105.00
10/13/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss potential equity raise and term sheet with E. Blum                                                            0.50   $375.00   $187.50
10/13/2014    Evan Blum               Cash Collateral and Post Petition Fina Following group call, call with M Windisch on exit financing process and issues related to a Mercuria financing       0.40   $525.00   $210.00

10/13/2014    Evan Blum               Cash Collateral and Post Petition Fina Discuss exit financing with S. Allen                                                                                  0.40   $525.00   $210.00
10/13/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss exit financing with E. Blum and M. Windisch                                                                   0.40   $375.00   $150.00
10/13/2014    Marc Levee              Cash Collateral and Post Petition Fina Review files sent to prospective exit financing provider and finalize an internal memo summarizing same               0.30   $325.00   $97.50

10/14/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss Company response to exit financing source with J. Collins and prepare materials for response                  2.00   $375.00   $750.00
10/14/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Begin forecasting JAD shipping schedules                                                                              1.50   $375.00   $562.50
10/14/2014    Evan Blum               Cash Collateral and Post Petition Fina Discuss and review (multiple iterations) with S Allen the GR response to Mercuria's questions on mode                 0.70   $525.00   $367.50
10/14/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss LRR G&A with E. Gabbert(exit financing source request)                                                        0.30   $375.00   $112.50
10/14/2014    Evan Blum               Cash Collateral and Post Petition Fina Review impact of Ivyton only model on LRR exit and required financing                                                 0.30   $525.00   $157.50
10/15/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Continue to update shipping projections and September figures; roll forecast forward; update adequate                 2.80   $375.00   $1,050.00
                                                                         protection forecast
10/15/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Update professional fee estimates                                                                                     2.20   $375.00   $825.00
10/15/2014    Evan Blum               Cash Collateral and Post Petition Fina Review status of DIP financing for JAD with M Windisch; email correspondence re need for term sheet from              0.60   $525.00   $315.00
                                                                         Commercial to move ahead
10/15/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Summarize equipment by location in connection with exit financing discussions                                         0.40   $375.00   $150.00
10/15/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss information request with E. Gabbert                                                                           0.30   $375.00   $112.50
10/15/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss adequate protection payments with E. Gabbert                                                                  0.20   $375.00   $75.00
10/16/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Begin preparation of JAD disbursement forecast                                                                        1.90   $375.00   $712.50
10/16/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Multiple discussions with M Levee regarding exit financing scenario analysis                                          1.50   $375.00   $562.50
10/16/2014    Marc Levee              Cash Collateral and Post Petition Fina Multiple discussions with S. Allen regarding exit financing scenario analysis; Begin to prepare summary overview      1.50   $325.00   $487.50
                                                                         re the same
10/16/2014    Marc Levee              Cash Collateral and Post Petition Fina Continue to prepare summary of exit financing scenario analysis                                                       0.50   $325.00   $162.50
10/16/2014    Evan Blum               Cash Collateral and Post Petition Fina Work on and review additional responses to Mercuria information requests                                              0.50   $525.00   $262.50
10/16/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with GR and management re Mercuria information requests and implications on mode                                 0.40   $525.00   $210.00
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Create summary analyses for JAD and LRR for cash collateral model through 1/31                                        2.20   $375.00   $825.00
10/17/2014    Marc Levee              Cash Collateral and Post Petition Fina Continue to work on exit financing summary presentation ‐ post‐confirmation period                                    1.80   $325.00   $585.00
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Update LRR shipping forecast for cash collateral model through 1/31                                                   1.40   $375.00   $525.00
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Update JAD shipping forecast for cash collateral model through 1/31                                                   1.30   $375.00   $487.50
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Update JAD production estimates for cash collateral model through 1/31                                                1.20   $375.00   $450.00
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss LRR production and operations with Management for cash collateral model through 1/31                          0.80   $375.00   $300.00
10/17/2014    Marc Levee              Cash Collateral and Post Petition Fina Prepare first draft of exit financing scenario analysis presentation                                                  0.60   $325.00   $195.00
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss JAD production update with Management for cash collateral model through 1/31                                  0.50   $375.00   $187.50
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss exit financing scenarios with M. Levee                                                                        0.40   $375.00   $150.00
10/17/2014    Marc Levee              Cash Collateral and Post Petition Fina Discuss exit financing scenarios summary presentation with S. Allen                                                   0.40   $325.00   $130.00
10/17/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with Mercuria personnel re potential structure of post petition financing; discuss issues related to providing   0.40   $525.00   $210.00
                                                                         such financing
10/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss holiday pay and production with E. Gabbert for cash collateral model through 1/31                             0.30   $375.00   $112.50
10/19/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with S Allen and M Levee re Mercuria post petition financing ‐ with model adjusted for Mercuria                  0.90   $525.00   $472.50
                                                                         assumptions
10/19/2014    Marc Levee              Cash Collateral and Post Petition Fina Discuss exit financing scenarios with E. Blum and S. Allen                                                            0.90   $325.00   $292.50
10/19/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss exit financing with E. Blum and M. Levee                                                                      0.90   $375.00   $337.50
10/19/2014    Marc Levee              Cash Collateral and Post Petition Fina Continue to work on exit financing scenario ‐ addition of 2017 operating performance at LRR Division                  0.80   $325.00   $260.00
10/19/2014    Evan Blum               Cash Collateral and Post Petition Fina Review emails over past several days in response to GR requests for material related to new cash collateral           0.70   $525.00   $367.50
                                                                         model through 1/31
10/19/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss near term liquidity forecast with E. Blum re cash collateral mode                                       0.70         $375.00   $262.50
10/19/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with S Allen re new cash collateral model through 1/31; status of information requests, timing to complete 0.50         $525.00   $262.50

10/20/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Continue updating JAD operating disbursement assumptions and projections re cash collateral model through             2.90   $375.00   $1,087.50
                                                                             1/31
10/20/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Update adequate protection payment projections and other restructuring expenses re cash collateral model              2.30   $375.00   $862.50
                                                                             through 1/31
10/20/2014    David Neyhart, CPA      Cash Collateral and Post Petition Fina Update 13 cash flow to reflect actual results                                                                         1.30   $225.00   $292.50
10/20/2014    Marc Levee              Cash Collateral and Post Petition Fina Update exit financing scenarios powerpoint and send for senior review                                                 0.50   $325.00   $162.50
10/20/2014    Marc Levee              Cash Collateral and Post Petition Fina Discuss exit financing scenarios with S. Allen                                                                        0.50   $325.00   $162.50
10/20/2014    Evan Blum               Cash Collateral and Post Petition Fina Review and compose emails on various assumptions GR needs to address in new cash collateral model through             0.50   $525.00   $262.50
                                                                             1/31
10/20/2014    Evan Blum               Cash Collateral and Post Petition Fina Discuss projections for Mercuria with M Levee                                                                         0.50   $525.00   $262.50
10/20/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss 2017 projection with M. Levee in connection with exit financing discussions                                   0.50   $375.00   $187.50
10/21/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Meet with Management regarding updated cash collateral budget                                                         8.40   $375.00   $3,150.00
10/21/2014    Marc Levee              Cash Collateral and Post Petition Fina On‐site meetings with Management regarding updating cash collateral budget                                            8.40   $325.00   $2,730.00
10/21/2014    David Neyhart, CPA      Cash Collateral and Post Petition Fina Consolidate actual results from 13 week cash flow to include in DIP book                                              2.80   $225.00   $630.00
10/21/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with EG re addressing new cash collateral budget issues at JAD                                                   0.60   $525.00   $315.00
10/21/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with management, GR and Nixon re new cash collateral budget through 1/31                                         0.50   $525.00   $262.50
10/21/2014    Marc Levee              Cash Collateral and Post Petition Fina Update exit financing scenario for 2017 at LRR Division                                                               0.40   $325.00   $130.00
10/21/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with CD re cash collateral budget following call with company                                                    0.40   $525.00   $210.00
10/21/2014    Evan Blum               Cash Collateral and Post Petition Fina Emails internally and with M Windisch re status of various conversations in regard to JAD receivables ‐ DIP           0.30   $525.00   $157.50
                                                                             financing
10/21/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with S Allen and M Levee re potential Mercuria investment and required modeling                                  0.30   $525.00   $157.50
10/21/2014    David Neyhart, CPA      Cash Collateral and Post Petition Fina Call with SA to discuss updates to DIP lending presentation.                                                          0.30   $225.00   $67.50
10/21/2014    Evan Blum               Cash Collateral and Post Petition Fina Email exchange with M Windisch re status of various DIP lending discussions                                           0.20   $525.00   $105.00
10/22/2014    Evan Blum               Cash Collateral and Post Petition Fina Calls and meetings with J Collins re plan alternatives on LRR and JAD                                                 2.00   $525.00   $1,050.00
10/22/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Consolidate JAD cash flow projections                                                                                 1.90   $375.00   $712.50
10/22/2014    David Neyhart, CPA      Cash Collateral and Post Petition Fina Consolidate actual results from 13 week cash flow to include in DIP book                                              1.10   $225.00   $247.50
10/22/2014    Marc Levee              Cash Collateral and Post Petition Fina Further discuss exit financing scenarios with S. Allen                                                                1.00   $325.00   $325.00
10/22/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Further discuss exit financing scenarios with M Levee                                                                 1.00   $375.00   $375.00
10/23/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Meet with Management regarding JAD operations update cash collateral budget                                           7.10   $375.00   $2,662.50
10/23/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Update JAD projections based on day's meetings and discuss with Mangaement                                            1.30   $375.00   $487.50




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10/23/2014    Evan Blum             Cash Collateral and Post Petition Fina Update call with M Windisch re plan discussions; exit financing discussions; projections for exit financing.                0.60   $525.00   $315.00

10/23/2014    Evan Blum             Cash Collateral and Post Petition Fina Status call with M Windisch re DIP financing alternatives at JAD                                                            0.50   $525.00   $262.50
10/23/2014    Evan Blum             Cash Collateral and Post Petition Fina Review emails from LRR and JAD on reclamation and bond expenses related to new cash collateral budget                       0.30   $525.00   $157.50
                                                                           through 1/31
10/23/2014    Evan Blum             Cash Collateral and Post Petition Fina Call with J Collins re new cash collateral budget at JAD through 1/31                                         0.20                 $525.00   $105.00
10/24/2014    Evan Blum             Cash Collateral and Post Petition Fina Work with company and S Allen on new cash collateral budget through 1/31 ‐ review and discuss sales, pricing, 3.50                 $525.00   $1,837.50
                                                                           Sequoia, insurance, surety bond payments, KY reclamation, equip notes, etc. for LRR and JAD
10/24/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Review JAD projections and assumptions with E. Blum                                                           2.20               $375.00   $825.00
10/24/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Begin reviewing JAD projections                                                                               1.10               $375.00   $412.50
10/24/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Prepare alternatative JAD cash flow scenarios                                                                 0.90               $375.00   $337.50
10/24/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with J Collins, LRR and JAD personnel and S Allen re current cash collateral budget through 1/31         0.80               $525.00   $420.00
10/24/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with EG and S Allen re issues on cash collateral budget through 1/31 to address                          0.60               $525.00   $315.00
10/24/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss budget with Nixon Peabody and E. Blum                                                                 0.50               $375.00   $187.50
10/24/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss budget with Management                                                                                0.50               $375.00   $187.50
10/24/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with Nixon to discuss status of cash collateral budget through 1/31                                      0.50               $525.00   $262.50
10/24/2014    Marc Levee              Cash Collateral and Post Petition Fina Discuss exit financing scenario projections with Company and E. Blum                                          0.40               $325.00   $130.00
10/24/2014    Evan Blum               Cash Collateral and Post Petition Fina Follow up call with management, LRR and JAD personnel re status of new cash collateral budget and open issues 0.40               $525.00   $210.00

10/24/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with J Collins, S Blevins; M Levee re JAD cash collateral issues at JAD re 1/31 version                              0.40   $525.00   $210.00
10/24/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss disbursements on JAD with Management                                                                              0.40   $375.00   $150.00
10/25/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Review and revise JAD liquidity projections for cash collateral budget                                                    3.10   $375.00   $1,162.50
10/25/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Review and revise LRR liquidity projections for cash collateral budget                                                    2.80   $375.00   $1,050.00
10/25/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Begin preparing Cash Collateral Budget presentation                                                                       1.80   $375.00   $675.00
10/26/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Continue preparing Cash Collateral Budget presentation (including multiple discussions and revisions with E.              4.90   $375.00   $1,837.50
                                                                           Blum)
10/26/2014    Evan Blum             Cash Collateral and Post Petition Fina Work on reviewing new cash collateral budget through 1/31; review multiple iterations. Review multiple                      3.50   $525.00   $1,837.50
                                                                           iterations of GR memo, mark with changes and discuss with S Allen ‐ finalize and distribute internally.

10/27/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Finalize Cash Collateral Budget projections (including multiple discussions with E. Blum and management and               5.10   $375.00   $1,912.50
                                                                           subsequent revisions)
10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Work on and review multiple iterations of final cash collateral budgets for JAD and LRR, and discuss remaining              2.00   $525.00   $1,050.00
                                                                           questions, with S Allen prior to distributing
10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Review multiple iterations of new cash collateral budget GR memo accompanying budget with D Neyhart and S                   0.90   $525.00   $472.50
                                                                           Allen prior to distributing
10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Call with EG and MW re new cash collateral budget at LRR and JAD ‐ discuss and resolve open issues prior to                 0.50   $525.00   $262.50
                                                                           distributing
10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Calls with MW and SA re insurance coverage / renewal timing and terms of payment going forward and impact                   0.50   $525.00   $262.50
                                                                           on new cash collateral budgets
10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Call with Nixon and DelCotto to review new LRR and JAD cash collateral budgets prior to distribution ‐ review               0.40   $525.00   $210.00
                                                                           numbers and GR memo ‐ distribute after atty approval
10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Send out NDAs to multiple DIP financing sources for JAD and have internal tracking sheet updated for same                   0.40   $525.00   $210.00

10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Call with JC re his meeting with potential interested party for LRR                                                         0.40   $525.00   $210.00
10/27/2014    Evan Blum             Cash Collateral and Post Petition Fina Review Commercial Bank term sheet for DIP at JAD and review emails from counsel re further clarifications                   0.30   $525.00   $157.50
                                                                           necessary
10/27/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with JC and MW re final approval to distribute new LRR and JAD cash collateral budget                                0.30   $525.00   $157.50
10/27/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with D Drebsky re LRR cash collateral budget review prior to distribution                                            0.20   $525.00   $105.00
10/28/2014    David Neyhart, CPA      Cash Collateral and Post Petition Fina Make updates to DIP presentation including incorporating new 13 week cash flow budget.                                    3.20   $225.00   $720.00
10/28/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss JAD shipping schedule with Management; discussions on same with E. Blum                                           1.90   $375.00   $712.50
10/28/2014    Evan Blum               Cash Collateral and Post Petition Fina Meetings with D Neyhart to discuss DIP presentation                                                                       0.80   $525.00   $420.00
10/28/2014    David Neyhart, CPA      Cash Collateral and Post Petition Fina Meetings with EB to discuss DIP presentation                                                                              0.80   $225.00   $180.00
10/28/2014    Evan Blum               Cash Collateral and Post Petition Fina Discussions with S Allen on shipping schedule                                                                             0.70   $525.00   $367.50
10/28/2014    Evan Blum               Cash Collateral and Post Petition Fina Follow up with JC and MW on post petition financing alternatives; potential transaction issues, timing of terms           0.70   $525.00   $367.50
                                                                           sheets and models
10/28/2014    David Neyhart, CPA    Cash Collateral and Post Petition Fina Review DIP presentation and prepare for distribution.                                                                       0.40   $225.00   $90.00
10/29/2014    Evan Blum             Cash Collateral and Post Petition Fina Call with MW and Renasant Capital re potential DIP financing at JAD                                                         0.70   $525.00   $367.50
10/29/2014    Evan Blum             Cash Collateral and Post Petition Fina Call with Mercuria re potential investment; review key deal terms; timing of term sheet and projection model                0.50   $525.00   $262.50

10/29/2014    Evan Blum             Cash Collateral and Post Petition Fina Sent out GR financing memos of potential DIP Loan and set up calls with multiple parties to discuss potential               0.50   $525.00   $262.50
                                                                             terms
10/29/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discussl exit financing scenario with M Levee                                                                             0.50   $375.00   $187.50
10/29/2014    Marc Levee              Cash Collateral and Post Petition Fina Discuss exit financing scenario with S. Allen                                                                             0.50   $325.00   $162.50
10/29/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss exit financing projection with M. Levee                                                                           0.50   $375.00   $187.50
10/29/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with JC re potential Mercuria investment; status of term sheet and key provisions                                    0.40   $525.00   $210.00
10/29/2014    Evan Blum               Cash Collateral and Post Petition Fina Update CD on Mercuria discussions and related timing                                                                      0.30   $525.00   $157.50
10/29/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with Porter Capital and MW re DIP financing at JAD                                                                   0.30   $525.00   $157.50
10/29/2014    Marc Levee              Cash Collateral and Post Petition Fina Discuss exit financing scenario with E. Blum and management                                                               0.20   $325.00   $65.00
10/30/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with CD to work on proposed term sheet to Mercuria for post petition investment                                      1.00   $525.00   $525.00
10/30/2014    David Neyhart, CPA      Cash Collateral and Post Petition Fina Update and finalize GR DIP presentation with MW and E Blum to send to interested parties                                  0.60   $225.00   $135.00
10/30/2014    Evan Blum               Cash Collateral and Post Petition Fina Work on GR DIP financing presentation with D Neyhart to send to interested parties                                        0.60   $525.00   $315.00
10/30/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with Renasant Business Credit and MW re JAD DIP financing                                                            0.60   $525.00   $315.00
10/30/2014    Evan Blum               Cash Collateral and Post Petition Fina Update and finalize GR DIP presentation with MW and D Neyhart to send to interested parties                               0.60   $525.00   $315.00
10/30/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with MW and Hale Capital re providing DIP at JAD and interest in post petition structure                             0.50   $525.00   $262.50
10/30/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with D Langan re term sheet for Mercuria ‐ focus on assistance on operating convenants to be incorporated            0.40   $525.00   $210.00
                                                                             into term sheet
10/31/2014    Marc Levee              Cash Collateral and Post Petition Fina Discuss go‐forward mining plan with S. Allen for potential exit financing scenario                                        0.70   $325.00   $227.50
10/31/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss go‐forward mining plan with M Levee for potential exit financing scenario                                         0.70   $375.00   $262.50
10/31/2014    Evan Blum               Cash Collateral and Post Petition Fina Review emails exchanges with ECM and committee counsel re questions and sign off on cash collateral budget                0.20   $525.00   $105.00
                                                                             through 1/31
11/3/2014     Evan Blum             Cash Collateral and Post Petition FinaCall with Renasant re DIP opportunity ‐ declined (.2); call with Porter terms on DIP facility (.3); call with D Drebsky to   0.80   $525.00   $420.00
                                                                          summarize and get reaction (.1); call with MW to discuss reactions of potential DIP providers and next steps (.2)

11/3/2014     Evan Blum             Cash Collateral and Post Petition FinaMark up Nixon term sheet for exit financing provider with changes based on conversations with parties and send to CD for 0.40       $525.00   $210.00
                                                                          updating
11/3/2014     Evan Blum             Cash Collateral and Post Petition FinaCall with MW re term sheet for Mercuria post petition financing                                                          0.30       $525.00   $157.50
11/3/2014     Evan Blum             Cash Collateral and Post Petition FinaReview Porter Capital DIP term sheet                                                                                     0.20       $525.00   $105.00
11/4/2014     Evan Blum             Cash Collateral and Post Petition FinaCall with MW and JC re Mercuria term sheet ‐ review by section ‐ and projection status                                   1.00       $525.00   $525.00
11/4/2014     Evan Blum             Cash Collateral and Post Petition FinaReview term sheet for Mercuria with R Langan (.3); review changes with CD (.2); send to Mercuria                         0.50       $525.00   $262.50
11/4/2014     Evan Blum             Cash Collateral and Post Petition FinaReview R Langan additions to term sheet re post petition financing                                                       0.20       $525.00   $105.00




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US Coal ‐ Bankruptcy   Case 14-10201-tnw                                    Doc 1372-2       Filed
                                                                                     Time Detail           05/15/15
                                                                                                 for February 1, 2015 through April 24,Entered
                                                                                                                                       2015    05/15/15 15:57:57                                                     Desc
                                                                                   Exhibit B Page 119 of 131
11/5/2014     Evan Blum               Cash Collateral and Post Petition FinaCall with Mercuria to discuss their exit financing term sheet                                                              0.60     $525.00   $315.00
11/5/2014     Evan Blum               Cash Collateral and Post Petition FinaCall with Mercuria to update them on Goggin meeting; discuss terms of exit financing further                               0.40     $525.00   $210.00
11/6/2014     Evan Blum               Cash Collateral and Post Petition FinaCall with R Langan to review need to update Mercuria term sheet; review updated provisions                                 0.50     $525.00   $262.50
11/6/2014     Evan Blum               Cash Collateral and Post Petition FinaCall with JC re schedule for alternative provider of post petition financing re mine visit and meetings                    0.30     $525.00   $157.50
11/7/2014     Evan Blum               Cash Collateral and Post Petition FinaCall with MW about JAD DIP alternatives ‐ need to go back to Porter (.3); call with Porter re JAD DIP and need to reduce 1.30       $525.00   $682.50
                                                                            pricing (.3); follow call with Porter regarding their revised terms (.2); review updated Porter term sheet and distribute
                                                                            internally (.2); email exchange re Commercial Bank terms ‐ legal fees proposed to be paid (.2); review emails re timing of
                                                                            DIP hearing (.1)
11/7/2014     Evan Blum               Cash Collateral and Post Petition FinaCall with company and Nixon re Mercuria coal marketing term sheet ‐ review terms re company response ‐ to be               0.60     $525.00   $315.00
                                                                            negotiated in conjunction with exit financing term sheet
11/7/2014     Evan Blum               Cash Collateral and Post Petition FinaCall with Nixon and JC re Mercuia coal off take and marketing agreement as part of post petition financing                 0.50     $525.00   $262.50
11/7/2014     Evan Blum               Cash Collateral and Post Petition FinaReview term sheet for JAD DIP from Franklin ‐ passing security on all assets; PGs                                          0.20     $525.00   $105.00
11/7/2014     Evan Blum               Cash Collateral and Post Petition FinaEmail exchange with Marquette re JAD DIP financing                                                                         0.20     $525.00   $105.00
11/8/2014     Evan Blum               Cash Collateral and Post Petition FinaReview updated DIP term sheet from Porter (.2); review updated DIP term sheet from Franklin (.2); email exchanges with 0.70         $525.00   $367.50
                                                                            MW and Nixon re issues to examine alternatives and questions re various terms and follow to bring each proposal to
                                                                            conclusion for MW (.3)
11/10/2014    Evan Blum               Cash Collateral and Post Petition FinaMeetings in Lexington with multiple parties interested in buying all or some of company's assets; review company           8.30     $525.00   $4,357.50
                                                                            background and BK status, discuss capital structure, answer questions, agree on next steps. Review with JC these potential
                                                                            buyers and models / information needed to provide. (6.5) Also, discuss outstanding questions with company related to
                                                                            Mercuria coal marketing agreement in order to respond to Mercuria terms (.5); review current draft of Mercuria term
                                                                            sheet (.6); emails with RL and DD re terms in current draft to be modified (.3); call with R Langan re updating Mercuria
                                                                            term sheet in order to send revised draft to Mercuria (.4)

11/10/2014    Evan Blum               Cash Collateral and Post Petition FinaMultiple calls with MW and Nixon re Porter and Franklin terms sheets to provide DIP financing; address remaining issues 1.30        $525.00   $682.50
                                                                            in each ; finalize best deal from each party; address Commercial status; counsel providing final term sheets to committee

11/11/2014    Evan Blum               Cash Collateral and Post Petition FinaReview further updated Mercuria exit financing term sheet provided by R Langan(.2); email exit financing term sheet with 0.80       $525.00   $420.00
                                                                            cover to Mercuria (.1); review Mercuria coal marketing term sheet and mark up provided by JC (.2); compose email to
                                                                            Mercuria re coal marketing term sheet and attach company changes (.2); email to D Drebsky re Mercuria term sheet
                                                                            status (.1)
11/11/2014    Evan Blum               Cash Collateral and Post Petition FinaFollow up on meeting 11/10 meeting in Lexington with note to V Bayoglu                                                   0.10       $525.00   $52.50
11/12/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with JC, SA and ML re information needed for Canyon Coal in order to move along post petition financing possibility 0.40       $525.00   $210.00

11/12/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with JC to discuss status of post petition alternatives; need to advance Mercuria and Canyon Coal discussions;         0.40    $525.00   $210.00

11/12/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with S Blevins re diligence needed for Canyon Coal in order to get post petition term sheet                         0.30       $525.00   $157.50
11/12/2014    Evan Blum               Cash Collateral and Post Petition FinaCompose response to Mercuria's coal marketing proposal as part of overall post petition financing in conjunction with JC 0.30       $525.00   $157.50

11/13/2014    Evan Blum               Cash Collateral and Post Petition FinaPre Mercuria exit financing call with JC (.3); call with Mercuria re exit financing terms with JC and MW(.7); follow call to 1.40   $525.00   $735.00
                                                                            update with D Drebsky (.2); follow call re Mercuria terms with MW (.2)
11/14/2014    David Neyhart, CPA      Cash Collateral and Post Petition FinaConsolidate and distribute documents provided for potential investor.                                                        1.50   $225.00   $337.50
11/14/2014    Evan Blum               Cash Collateral and Post Petition FinaReview with D Neyhart status of Canyon interest in post petition financing; review diligence questions and status of         1.20   $525.00   $630.00
                                                                            responses; Neyhart to organize. Reviewed and provided certain diligence responses to Canyon.
11/15/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with S Allen to review Mercuria questions on company long term model re exit financing                                  0.50   $525.00   $262.50
11/15/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaCall with E Blum to review Mercuria questions on company long term model re exit financing                                   0.50   $375.00   $187.50
11/15/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with MW re responses to certain Mercuria questions related to a potential exit financing                                0.40   $525.00   $210.00
11/17/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaMeet with Nixon Peabody and discuss projections and exit financing                                                           2.90   $375.00   $1,087.50
11/17/2014    Evan Blum               Cash Collateral and Post Petition FinaMeet with Nixon to discuss Mercuria exit financing ‐ updated projections; Sources/uses; term sheet status; potential plan 2.00      $525.00   $1,050.00
                                                                            structure
11/17/2014    David Neyhart, CPA      Cash Collateral and Post Petition FinaReview and categorize additional documents provided for distribution to potential investor                                   1.20   $225.00   $270.00
11/18/2014    Evan Blum               Cash Collateral and Post Petition FinaReview final version of GR memo summarizing updated projections to Mercuria ‐ mark with changes ‐ call with M Levee to 1.20         $525.00   $630.00
                                                                            finalize and have distributed
11/19/2014    Evan Blum               Cash Collateral and Post Petition FinaRespond to detailed questions from Mercuria in regard to potential exit financing; review responses from Mercuria to our 1.20       $525.00   $630.00
                                                                            answers; internal emails to prepare responses to Mercuria follow up questions
11/19/2014    Marc Levee              Cash Collateral and Post Petition FinaRespond to potential third party financing partner's diligence request                                                       0.60   $325.00   $195.00
11/19/2014    Marc Levee              Cash Collateral and Post Petition FinaFurther work on answer to potential third party financing partner's diligence questions                                      0.40   $325.00   $130.00
11/20/2014    David Neyhart, CPA      Cash Collateral and Post Petition FinaReview additional documents provided as part of potential investor request, and prepare for distribution.                    1.20   $225.00   $270.00
11/20/2014    Marc Levee              Cash Collateral and Post Petition FinaDiscuss updates and outstanding items with regards to third party financing partner with E. Blum                             0.20   $325.00   $65.00
11/20/2014    David Neyhart, CPA      Cash Collateral and Post Petition FinaCall with BM to discuss asset listing as requested by potential investor.                                                    0.20   $225.00   $45.00
11/21/2014    Marc Levee              Cash Collateral and Post Petition FinaRespond to prospective third party financing partner's question re: cost assumptions                                         3.30   $325.00   $1,072.50
11/21/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaRespond to questions from potential source of exit financing (LRR)                                                           1.00   $375.00   $375.00
11/21/2014    Evan Blum               Cash Collateral and Post Petition FinaCalls with multiple P/E Funds re providing exit financing; review current status; follow with NDAs                           0.80   $525.00   $420.00
11/21/2014    Marc Levee              Cash Collateral and Post Petition FinaReview answers to prospective third party financing partner's questions with E. Bum; follow up discussion with S. Allen re 0.70     $325.00   $227.50
                                                                            the same
11/21/2014    Evan Blum               Cash Collateral and Post Petition FinaReview updated GR presentation and model to Mercuria based on updated pricing figures for certain coal shipped by rail 0.50         $525.00   $262.50

11/21/2014    Evan Blum               Cash Collateral and Post Petition FinaMet with CEO of potential exit financing source ‐ Globe                                                                     0.50    $525.00   $262.50
11/21/2014    Evan Blum               Cash Collateral and Post Petition FinaReview and send responses to Mercuria related to questions on cost changes in 2014‐2016 related to HWM                      0.40    $525.00   $210.00
11/21/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with JC re alternative post petition financing sources; EB to follow                                                   0.30    $525.00   $157.50
11/22/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with S Allen re updating GR memo for post petition financing to incorporate more cost reduction data; discuss HWM      0.50    $525.00   $262.50
                                                                            impact in 2015 at LRR in model
11/22/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with D Drebsky re post petition financing scenarios; potential interested parties; discuss treatment of HWM in GR      0.50    $525.00   $262.50
                                                                            memo to raise financing
11/22/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaCall with E Blum re updating GR memo for post petition financing to incorporate more cost reduction data; discuss HWM       0.50    $375.00   $187.50
                                                                            impact in 2015 at LRR in model
11/23/2014    Evan Blum               Cash Collateral and Post Petition FinaReview and mark with changes updated GR post petition financing memo (.6); email exchanges with GR internal group re        1.60    $525.00   $840.00
                                                                            certain questions need to resolve for memo (.2); call with S Allen to review updated GR memo (.4); email exchange with D
                                                                            Drebsky re review of memo for counsel sign off (.1); distribute memo and model to various parties interested in post
                                                                            petition transaction with LRR (.3)
11/24/2014    Marc Levee              Cash Collateral and Post Petition FinaRespond to prospective third party financing partner's diligence request                                                    0.90    $325.00   $292.50
11/24/2014    David Neyhart, CPA      Cash Collateral and Post Petition FinaPrepare mine by mine memo for potential investor.                                                                           0.90    $225.00   $202.50
11/24/2014    Evan Blum               Cash Collateral and Post Petition FinaCall with Mercuria re term sheet status; potential comments on term sheet; discuss additional requested information (.5);   0.70    $525.00   $367.50
                                                                            follow with CD re Mercuria call (.2)
11/24/2014    David Neyhart, CPA      Cash Collateral and Post Petition FinaPrepare document requests for potential purchaser.                                                                          0.60    $225.00   $135.00
11/24/2014    Evan Blum               Cash Collateral and Post Petition FinaReview secured debt at LRR ‐ GR analysis ‐ and send to Mercuria at their request related to post petition financing         0.30    $525.00   $157.50

11/24/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaProvide mine description to exit financing source (JAD)                                                                     0.30    $375.00   $112.50
11/24/2014    Evan Blum               Cash Collateral and Post Petition FinaEmail correspondence with MW and counsel re finalizing JAD DIP documents and moving ahead to get information to             0.20    $525.00   $105.00
                                                                            Porter to get a DIP at LRR
11/24/2014    Evan Blum               Cash Collateral and Post Petition FinaSend NDA to BTG re post petition financing                                                                                  0.10    $525.00   $52.50
11/24/2014    Evan Blum               Cash Collateral and Post Petition FinaSend LRR numbers to Global Metals re LRR for potential exit financing                                                       0.10    $525.00   $52.50
11/24/2014    Evan Blum               Cash Collateral and Post Petition FinaSend out LRR information to Hale Funds re potential post petition financing                                                 0.10    $525.00   $52.50
11/24/2014    David Neyhart, CPA      Cash Collateral and Post Petition FinaMeeting with EB to discuss DIP financing and document requests from potential investors.                                    0.10    $225.00   $22.50
11/25/2014    Marc Levee              Cash Collateral and Post Petition FinaContinue tow work on potential financing partner's diligence request                                                        1.50    $325.00   $487.50




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                                                                                                                                     2015    05/15/15 15:57:57                                                  Desc
                                                                                 Exhibit B Page 120 of 131
11/25/2014    Marc Levee             Cash Collateral and Post Petition FinaRespond to potential third party financing partner's diligence request                                                   1.00   $325.00   $325.00
11/25/2014    Evan Blum              Cash Collateral and Post Petition FinaReview and finalize NDAs for potential providers of exit financing                                                       0.20   $525.00   $105.00
11/25/2014    Evan Blum              Cash Collateral and Post Petition FinaReview MW emails re Porter willingness to do LRR DIP facility                                                            0.10   $525.00   $52.50
11/27/2014    Evan Blum              Cash Collateral and Post Petition FinaReview Debtor Motion for DIP financing at LRR                                                                            0.60   $525.00   $315.00
11/27/2014    Evan Blum              Cash Collateral and Post Petition FinaReview Porter factoring Agreement for JAD DIP facility                                                                   0.50   $525.00   $262.50
11/30/2014    Evan Blum              Cash Collateral and Post Petition FinaReview information from SA requested by Porter Capital for LRR DIP (.2); email to MW re sending along info and getting   0.30   $525.00   $157.50
                                                                           DIP term sheet at LRR (.1)
11/30/2014    Evan Blum              Cash Collateral and Post Petition FinaRespond to questions from Canyon Coal ‐ potential source of exit financing                                               0.20   $525.00   $105.00
12/1/2014     Evan Blum              Cash Collateral and Post Petition Fina Review DIP financing docs at JAD (.4); email correspondence with CD and MW re issues to be addressed (.2)               0.60   $525.00   $315.00

12/1/2014     Evan Blum              Cash Collateral and Post Petition Fina Send historical numbers to Canyon (.1); call with Canyon re exit financing at LRR (.4)                                  0.50   $525.00   $262.50
12/1/2014     Evan Blum              Cash Collateral and Post Petition Fina Update call with Mercuria regarding post petition financing at LRR                                                      0.30   $525.00   $157.50
12/1/2014     Evan Blum              Cash Collateral and Post Petition Fina Provide NDA to Noble re post petition financing at LRR; multiple follow up emails with counsel regarding                0.20   $525.00   $105.00
                                                                          comments
12/3/2014     Marc Levee             Cash Collateral and Post Petition Fina Discuss exit financing alternatives at LRR and JAD with S. Allen and E. Blum                                         0.70      $325.00   $227.50
12/3/2014     Evan Blum              Cash Collateral and Post Petition Fina Follow up with potential providers of post petition financing at LRR re interest                                     0.40      $525.00   $210.00
12/3/2014     Evan Blum              Cash Collateral and Post Petition Fina Finalize NDA with Noble re post petition financing                                                                   0.20      $525.00   $105.00
12/3/2014     Evan Blum              Cash Collateral and Post Petition Fina Review and discuss internally response of Canyon in regard to potential LRR transaction                              0.10      $525.00   $52.50
12/8/2014     Evan Blum              Cash Collateral and Post Petition Fina Call with Noble re potentially providing exit financing                                                              0.60      $525.00   $315.00
12/8/2014     Evan Blum              Cash Collateral and Post Petition Fina Finalize NDA with BlackHawk re potential post petition financing                                                     0.20      $525.00   $105.00
12/11/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with Mercuria re their term sheet mark on post petition financing (.7); call with D Drebsky following call with 1.20      $525.00   $630.00
                                                                          Mercuria re update and potential ways to restructure the Mercuria post petition financing (.5)

12/14/2014    Evan Blum              Cash Collateral and Post Petition Fina Discuss with SA alternative post petition financing structures                                                          0.50   $525.00   $262.50
12/15/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with Mercuria to discuss detailed requirements of post petition financing given Friday ECM meeting (.7);           0.90   $525.00   $472.50
                                                                          follow with counsel (.2)
12/15/2014    Evan Blum              Cash Collateral and Post Petition Fina Review PC objection to DIP financing (.3); review Debtors response (.3)                                                 0.60   $525.00   $315.00
12/15/2014    Evan Blum              Cash Collateral and Post Petition Fina Finalize NDA with BlackHawk on JAD                                                                                      0.20   $525.00   $105.00
12/15/2014    Evan Blum              Cash Collateral and Post Petition Fina Review emails on status of DIP financing at LRR                                                                         0.10   $525.00   $52.50
12/16/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with Mercuria on revised post petition financing structure                                                         0.60   $525.00   $315.00
12/17/2014    Evan Blum              Cash Collateral and Post Petition Fina Prepare for hearing in meeting at DelCotto office (1.0); attend hearing on DIP                                          2.50   $525.00   $1,312.50
12/17/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with Globe regarding post petition financing at LRR and JAD; email follow                                          0.50   $525.00   $262.50
12/17/2014    Evan Blum              Cash Collateral and Post Petition Fina Compiled and sent more info on US Coal to Peninsula Pacific re post petition financing                                  0.20   $525.00   $105.00
12/18/2014    Evan Blum              Cash Collateral and Post Petition Fina Send JAD information to BlackHawk                                                                                       0.20   $525.00   $105.00
12/19/2014    Evan Blum              Cash Collateral and Post Petition Fina Calls with Noble in regard to providing post petition financing at LRR                                                  0.60   $525.00   $315.00
12/19/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with JC and MW re status of discussions with Boyd; with Noble, next steps re issues to address                     0.40   $525.00   $210.00
12/19/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with Mercuria to follow on GR bullet point update re potential modified terms of post petition financing           0.40   $525.00   $210.00

12/19/2014    Evan Blum              Cash Collateral and Post Petition Fina Review LRR DIP financing emails                                                                                         0.30   $525.00   $157.50
12/19/2014    Evan Blum              Cash Collateral and Post Petition Fina Review and update internal schedules of potential parties re post petition financing                                    0.30   $525.00   $157.50
12/19/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with Industrial Assets re post petition financing                                                                  0.20   $525.00   $105.00
12/21/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with SA re Mercuria post petition financing structure and send Mercuria updated model and assumptions              1.00   $525.00   $525.00

12/21/2014    Evan Blum              Cash Collateral and Post Petition Fina Review proposed Motion and Order for Porter DIP facility at LRR; email to counsel re timing                             0.60   $525.00   $315.00
12/21/2014    Evan Blum              Cash Collateral and Post Petition Fina Compose update memo to counsel re status of discussions on post petition financing                                      0.10   $525.00   $52.50
12/22/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with potential interested party re exit financing at LRR; discuss timing, terms (.7); follow with JC on this       1.40   $525.00   $735.00
                                                                          party and on other potential parties on GR list (.5); follow with D Drebsky (.2)
12/22/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss deal discussions with Management                                                                              0.70    $375.00   $262.50
12/22/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with MW to discuss various post petition alternatives                                                            0.40    $525.00   $210.00
12/23/2014    Evan Blum               Cash Collateral and Post Petition Fina Call with Mercuria re their internal discussions on providing post petition financing (.6); follow internally with SA 1.60    $525.00   $840.00
                                                                          in terms of alternative structures (.4); follow with JC and MW (.6)
12/23/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with Noble re potentially providing post petition financing at LRR ‐ potential structures; key issues; timing      1.00   $525.00   $525.00

12/23/2014    Evan Blum              Cash Collateral and Post Petition Fina Call with JC and Revelation re providing post petition financing at LRR and JAD ‐ discuss potential deal structures 0.60       $525.00   $315.00
                                                                             and issues
12/23/2014    Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss financing of LRR with exit financing source and E. Blum                                               0.50            $375.00   $187.50
12/28/2014    Evan Blum               Cash Collateral and Post Petition Fina Compose extensive emails on post petition financing scenarios at LRR for counsel and company (.5); correspond 1.30            $525.00   $682.50
                                                                             via email with SA re details of multiple scenarios (.4); continue correspondence with company and counsel in
                                                                             late PM re results of modeling various scenarios ‐ company to follow with SA (.4)

1/3/2015      Evan Blum              Cash Collateral and Post Petition Fina Call with Mercuria re LRR interest; discuss updated projections and updated structure; sent updated materials           0.40   $525.00   $210.00

1/3/2015      Evan Blum              Cash Collateral and Post Petition Fina Review NYMEX futures curve with S Allen in response to Noble questions on LT projections ‐ for Noble                    0.20   $525.00   $105.00
                                                                             investment in LRR
1/4/2015      Evan Blum               Cash Collateral and Post Petition Fina Compose detailed email to Mercuria summarizing structure issues in 1/3 model as compared to prior ‐ discuss            0.30   $525.00   $157.50
                                                                             with SA prior to sending
1/5/2015      Evan Blum               Cash Collateral and Post Petition Fina Send Mercuria ‐ after OK from management ‐ detailed operational summary of 1/3 model with comparison to                0.10   $525.00   $52.50
                                                                             prior
1/6/2015      Evan Blum               Cash Collateral and Post Petition Fina Call with Noble re providing post petition financing at LRR; discuss model and structure                               0.50   $525.00   $262.50
1/7/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Begin preparation of cash collateral budget for the thirteen weeks ended March 27, 2015 for all three reporting        2.70   $375.00   $1,012.50
                                                                             entities
1/7/2015      Evan Blum               Cash Collateral and Post Petition Fina Call with JC and Noble in Lexington to review operating model re potential providing exit financing at LRR             1.40   $525.00   $735.00

1/7/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss updates to cash collateral budget with E. Blum and Management                                                  1.10   $375.00   $412.50
1/8/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Continue preparation of cash collateral budget for the thirteen weeks ended March 27, 2015 for all three               4.80   $375.00   $1,800.00
                                                                          reporting entities
1/8/2015      Evan Blum              Cash Collateral and Post Petition Fina Review updated short term cash collateral budget with SA ‐ update of previous work to serve as required                 0.50   $525.00   $262.50
                                                                             updated cash collateral budget ‐ and approval to distribute
1/8/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Discuss figures related to updated cash collateral budget with Management and E Blum                               0.50       $375.00   $187.50
1/8/2015      Evan Blum               Cash Collateral and Post Petition Fina Review and distribute requested scenario 2 to Noble for consideration of LRR post petition financing               0.40       $525.00   $210.00
1/9/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Finalize preparation of cash collateral budget for the thirteen weeks ended March 27, 2015 for all three           1.10       $375.00   $412.50
                                                                             reporting entities
1/9/2015      Evan Blum               Cash Collateral and Post Petition Fina Call with Mercuria re status of post petition financing for LRR ‐ Mercuria to make final proposal now that all     0.80       $525.00   $420.00
                                                                             questions responded to; discuss Scana contract and ability to use own prep plant in proposal. (.6); follow with JC
                                                                             to provide update (.2)
1/9/2015      Evan Blum               Cash Collateral and Post Petition Fina Call with JC. MW and Noble Americas re their interest in providing post petition financing at LRR ‐ focus on       0.60       $525.00   $315.00
                                                                             revenue assumptions, specific proposal requested
1/13/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition Fina Review and discuss cash collateral budget figures and summary with E. Blum                                         0.60       $375.00   $225.00
1/13/2015     Evan Blum               Cash Collateral and Post Petition Fina Review and discuss cash collateral budget figures and summary with S Allen                                         0.60       $525.00   $315.00




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                                                                                                 for February 1, 2015 through April 24,Entered
                                                                                                                                       2015    05/15/15 15:57:57                                                        Desc
                                                                                   Exhibit B Page 121 of 131
1/16/2015     Evan Blum               Cash Collateral and Post Petition Fina Call with Mercuria as to whether can get approval on LRR post petition financing ‐ can't do in current market                  0.80   $525.00   $420.00
                                                                             (.6); follow with JC (.2)
1/16/2015     Evan Blum               Cash Collateral and Post Petition Fina Call with Noble re ability to do LRR post petition financing deal ‐ discuss structure still under consideration; EB to 0.50           $525.00   $262.50
                                                                             meet next week in Stamford (.4); follow with JC (.1)
1/27/2015     Evan Blum               Cash Collateral and Post Petition Fina Email Revelation 2016 and 2016 LRR model and explanation at their request re potential post petition                   0.20           $525.00   $105.00
                                                                             investment in LRR
1/30/2015     Evan Blum               Cash Collateral and Post Petition Fina Call with JC re Noble financing LRR post petition re JC call with Matt at Noble; call on sunday to follow              0.30           $525.00   $157.50
2/1/2015      Evan Blum               Cash Collateral and Post Petition FinaCall with JC and < MW re Noble interest in financing LRR post petition ‐ focus on specific added enducements strategically      0.70   $525.00   $367.50
                                                                            to make a deal work; follow call with Noble monday
2/3/2015      Evan Blum               Cash Collateral and Post Petition FinaCall with MW and Nixon re previous day call with Noble on providing post petition financing to LRR; review call, discuss        0.70   $525.00   $367.50
                                                                            potential issues
2/6/2015      Marc Levee              Cash Collateral and Post Petition FinaDiscuss liquidity at LRR and sale process at JAD with Counsel and Company                                                       1.00   $325.00   $325.00
2/6/2015      Marc Levee              Cash Collateral and Post Petition FinaDiscuss cash flow at the LRR Division with Counsel and the Company                                                              0.50   $325.00   $162.50
2/8/2015      Evan Blum               Cash Collateral and Post Petition FinaCall with JC and Noble re Noble providing post petition financing to LRR ‐ rejected internally given market (.3); follow with   0.50   $525.00   $262.50
                                                                            JC re alternatives and next steps (.2)
2/16/2015     Evan Blum               Cash Collateral and Post Petition FinaMeet with S Allen re JAD cash analysis spreadsheet wind down through sale; S Allen to refine and summarize                      0.50   $525.00   $262.50
2/16/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaMeet with E Blum re JAD cash analysis spreadsheet wind down through sale; S Allen to refine and summarize                       0.50   $375.00   $187.50
2/16/2015     Evan Blum               Cash Collateral and Post Petition FinaReview S Allen revised summary of remaining JAD operations with cover assumption page and mark with comments                    0.40   $525.00   $210.00

2/17/2015     Evan Blum               Cash Collateral and Post Petition FinaReview JAD memo on wind down of operations with S Allen; follow up discussions on Porter and inventory available to be 0.60            $525.00   $315.00
                                                                            sold, as well as Brandies equipment matter
2/17/2015     Evan Blum               Cash Collateral and Post Petition FinaCall with company in regard to JAD wind down of operations ‐ review GR summary memo and numbers                            0.50        $525.00   $262.50
2/24/2015     Evan Blum               Cash Collateral and Post Petition FinaCall with EG re JAD numbers ‐ review actual versus wind down budget through 3/15                                           0.50        $525.00   $262.50
2/24/2015     Evan Blum               Cash Collateral and Post Petition FinaCall with JC on ECM Cash Collateral motion                                                                                 0.40        $525.00   $210.00
2/24/2015     Evan Blum               Cash Collateral and Post Petition FinaReview ECM motion to terminate cash collateral                                                                             0.30        $525.00   $157.50
2/25/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaBegin work on new wind down budget per ECM request (termination motion pending)                                            4.60        $375.00   $1,725.00
2/25/2015     Evan Blum               Cash Collateral and Post Petition FinaCall with Nixon Del Cotto and company on JAD wind down budget; expenses by category; open issues that may need to be 1.20              $525.00   $630.00
                                                                            resolved and included in wind down budget
2/25/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss wind down budget with M. Windisch                                                                                  0.60        $375.00   $225.00
2/25/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss ECM termination motion with Nixon Peabody, DLG, and Management                                                     0.50        $375.00   $187.50
2/26/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaContinue budget for LR Lenders                                                                                             5.20        $375.00   $1,950.00
2/26/2015     Evan Blum               Cash Collateral and Post Petition FinaMeet with M Luskin on proposed termination of cash collateral (.8); follow calls with M Luskin on same (.3); calls with CD 1.50        $525.00   $787.50
                                                                            to discuss ECM reaction and Debtor willingness to compromise on certain issues (.4)
2/26/2015     Evan Blum               Cash Collateral and Post Petition FinaMultiple calls with CD on wind down JAD budget ‐ operating assumptions, fee schedules                                      0.70        $525.00   $367.50
2/26/2015     Evan Blum               Cash Collateral and Post Petition FinaReview wind down budget                                                                                                    0.70        $525.00   $367.50
2/26/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaAnalyze professional fees incurred per ECM Counsel                                                                         0.50        $375.00   $187.50
2/26/2015     Evan Blum               Cash Collateral and Post Petition FinaReview ECM termination motion of cash collateral; review emails from various interested parties re same; review initial 0.40           $525.00   $210.00
                                                                            draft response
2/26/2015     Evan Blum               Cash Collateral and Post Petition FinaCall with EG and SA re JAD and LRR updated budgets with wind down components                                               0.20        $525.00   $105.00
2/26/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss LRR cash flow forecast for LR Lenders with E. Gabbert and E. Blum                                                  0.20        $375.00   $75.00
2/27/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss LRR cash flow forecast for LR Lenders with Management                                                              1.10        $375.00   $412.50
2/27/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaRevise JAD short term cash flow memo                                                                                       1.10        $375.00   $412.50
2/27/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss LRR wind down budget with Management and E. Blum                                                                   1.10        $375.00   $412.50
2/27/2015     Evan Blum               Cash Collateral and Post Petition FinaDiscuss LRR wind down budget with Management and S Allen                                                                   1.10        $525.00   $577.50
2/27/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss revisions to JAD wind down budget memo with E. Blum                                                                0.40        $375.00   $150.00
2/27/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss revisions to JAD wind down budget memo with E. Blum                                                                0.40        $375.00   $150.00
2/27/2015     Evan Blum               Cash Collateral and Post Petition FinaDiscuss revisions to JAD wind down budget memo with S Allen                                                                0.40        $525.00   $210.00
2/28/2015     Evan Blum               Cash Collateral and Post Petition FinaReview and mark with comments updated JAD wind down budget updated through 4/2; review GR one page memo on                 0.30        $525.00   $157.50
                                                                            same
3/1/2015      Evan Blum               Cash Collateral and Post Petition FinaCall with EG and SA re updates to assumptions in JAD wind down budget (.4); follow with EG and D Drebsky re certain        1.10        $525.00   $577.50
                                                                            payments (.2); continue correspondence throughout day on JAD wind down budget issues (.5)
3/1/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaReview Debtors' wind down and draft summary cover memo                                                                     1.00        $375.00   $375.00
3/1/2015      Evan Blum               Cash Collateral and Post Petition FinaReview updated wind down budget JAD with GR memo and distribute internally                                                 0.50        $525.00   $262.50
3/1/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss JAD wind down budget and memo with E. Gabbert and E. Blum                                                          0.40        $375.00   $150.00
3/2/2015      Evan Blum               Cash Collateral and Post Petition FinaWork with SA on LRR wind down budget and one page overview ‐ discuss various line items based on information               2.20        $525.00   $1,155.00
                                                                            provided by company (1.5); also follow up on JAD wind down budget from prior versions ‐ preparation prior to meeting
                                                                            with ECM counsel to review (0.7)
3/2/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaRevise draft of LRR wind down budget memo                                                                                  1.80        $375.00   $675.00
3/2/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaWork with EB on LRR wind down budget and one page overviews ‐ discuss various line items based on information              1.50        $375.00   $562.50
                                                                            provided by company
3/2/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaRevise LRR wind down budget estimates (per multiple conversations with Management)                                         1.40        $375.00   $525.00
3/2/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss LRR wind down budget with Management and E. Blum                                                                   0.50        $375.00   $187.50
3/2/2015      Evan Blum               Cash Collateral and Post Petition FinaMultiple calls and emails with MW re wind down D&O coverage amounts and costs; impact on liquidation budget                0.40        $525.00   $210.00

3/3/2015      Evan Blum               Cash Collateral and Post Petition FinaCall with JC re update on Cash collateral issues                                                                                0.40   $525.00   $210.00
3/3/2015      Evan Blum               Cash Collateral and Post Petition FinaReview updated emails re Dennis K and his payments as they relate to wind down budgets                                          0.10   $525.00   $52.50
3/4/2015      Evan Blum               Cash Collateral and Post Petition FinaReview final wind down budgets for LRR and JAD line by line with S Allen prior to submission to court ‐ in prep for             0.90   $525.00   $472.50
                                                                            upcoming hearing
3/4/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaAdjust and finalize wind down budgets for filing                                                                                0.90   $375.00   $337.50
3/4/2015      Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaReview final wind down budgets for LRR and JAD line by line with EB prior to submission to court ‐ in prep for upcoming         0.90   $375.00   $337.50
                                                                            hearing
3/4/2015      Evan Blum               Cash Collateral and Post Petition FinaDiscuss certain matters re inclusion/exclusion from LRR and JAD wind down budget to be submitted to court in calls and          0.40   $525.00   $210.00
                                                                            emails with counsel
3/4/2015      Evan Blum               Cash Collateral and Post Petition FinaRespond to ECM counsel questions on final wind down budget submitted to Court and review their emails re certain                0.20   $525.00   $105.00
                                                                            issues on wind down budget
3/6/2015      Evan Blum               Cash Collateral and Post Petition FinaReview various email chains on D&O coverage ‐ tail ‐ need to agree on number to include in wind down budget                     0.20   $525.00   $105.00

3/26/2015     Evan Blum               Cash Collateral and Post Petition FinaCall with EG and SA re status of cash collateral budget through 4/3 ‐ actual to projected ‐ discuss variances and projected 1.20       $525.00   $630.00
                                                                            ending cash at LRR and JAD (.7); update D Drebsky re same and impact on sources and uses of a transaction (.2); follow up
                                                                            call with SA on projected cash flows and certain payment items after call with counsel (.3)

3/26/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaInitial discussions; April cash collateral budget with E Gabbert                                                                1.20   $375.00   $450.00
3/26/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss cash flow with E. Gabbert and E. Blum (related to revised March budget)                                                 0.70   $375.00   $262.50
3/26/2015     Evan Blum               Cash Collateral and Post Petition FinaDiscuss Porter capital with AA re payments in wind down budget and legal rights of Porter re payment                            0.30   $525.00   $157.50
3/27/2015     Sean Allen, CFA, CPA, C Cash Collateral and Post Petition FinaDiscuss April budgets for JAD and LRR with E. Gabbert                                                                           1.60   $375.00   $600.00
3/29/2015     Evan Blum               Cash Collateral and Post Petition FinaReview updated budget through 4/24 with EG (.6); review with counsel and distribute (.4)                                        1.00   $525.00   $525.00
4/14/2015     Evan Blum               Cash Collateral and Post Petition FinaCall with CD re proposed cash collateral order (.3); follow call with LD re same (.2)                                           0.50   $525.00   $262.50
10/1/2014     Marc Levee              Claims Administration and ObjectionsFurther work on unsecured claim pool summary                                                                                      0.60   $325.00   $195.00
10/1/2014     David Neyhart, CPA      Claims Administration and ObjectionsResearch terms of LRR sellers note.                                                                                               0.20   $225.00   $45.00
10/1/2014     Evan Blum               Claims Administration and ObjectionsReview updated GR memo on end case claims and discuss internally                                                                  0.20   $525.00   $105.00
10/1/2014     Evan Blum               Claims Administration and ObjectionsReview GR updated claims summary by category of unsecured prepared by M Levee; review counsel comments                            0.20   $525.00   $105.00
                                                                            and GR response re same
10/8/2014     David Neyhart, CPA      Claims Administration and ObjectionsDiscussions with ML re treatment of unmined minerals tax and cure claims.                                                         0.20   $225.00   $45.00
10/21/2014    David Neyhart, CPA      Claims Administration and ObjectionsReview updated default interest amounts for secured creditors.                                                                    0.80   $225.00   $180.00




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                                                                                                                                        2015    05/15/15 15:57:57                                                  Desc
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10/23/2014    Evan Blum               Claims Administration and ObjectionsReview draft objection to Camofi claims                                                                                      0.40   $525.00   $210.00
11/3/2014     David Neyhart, CPA      Claims Administration and ObjectionsCalls with BM to discuss updated secured creditor claim amounts.                                                             0.30   $225.00   $67.50
11/10/2014    Evan Blum               Claims Administration and ObjectionsReview M Levee GUC pool summary (.1); email exchange with counsel re same (.1); call with CD to discuss (.2)                 0.40   $525.00   $210.00
11/17/2014    David Neyhart, CPA      Claims Administration and ObjectionsResearch general unsecured claims for top LRR leaseholders.                                                                  0.40   $225.00   $90.00
11/30/2014    Evan Blum               Claims Administration and ObjectionsReview GR's JAD claims analysis and address internally                                                                       0.20   $525.00   $105.00
12/2/2014     David Neyhart, CPA      Claims Administration and ObjectionsReview filed proof of claims for high value admin claim amounts                                                              1.30   $225.00   $292.50
12/4/2014     David Neyhart, CPA      Claims Administration and ObjectionsReview updated proof of claim summary provided by epiq.                                                                      0.50   $225.00   $112.50
1/7/2015      Sean Allen, CFA, CPA, C Claims Administration and ObjectionsPrepare administrative claim summary for counsel in preparation of hearing                                                   1.00   $375.00   $375.00
2/4/2015      David Neyhart, CPA      Claims Administration and ObjectionsUpdate LRR claim listing, and coordinate with claims administrator to generate claims filed summary.                         0.80   $225.00   $180.00
2/4/2015      David Neyhart, CPA      Claims Administration and ObjectionsCoordinate with claims administrator and generate filed claim listing                                                        0.40   $225.00   $90.00
2/4/2015      David Neyhart, CPA      Claims Administration and ObjectionsUpdate LRR cure claim listing                                                                                                0.40   $225.00   $90.00
2/7/2015      Evan Blum               Claims Administration and ObjectionsReview comm analysis of JAD claims prior to JAD sale                                                                         0.20   $525.00   $105.00
2/8/2015      Evan Blum               Claims Administration and ObjectionsReview committee memo on claims against ECM                                                                                  0.30   $525.00   $157.50
3/18/2015     Evan Blum               Claims Administration and ObjectionsCall with JC re severance tax issues re remaining claim (.2); call with D Hunt to discuss his negotiating with state (.3);   0.70   $525.00   $367.50
                                                                          follow with EG (.2)
3/25/2015     Evan Blum               Claims Administration and ObjectionsDiscuss with counsel and respond to email from comm counsel re Kolmar claim                                                  0.30   $525.00   $157.50
3/30/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsPrepare analysis of administrative claims for LRR, JAD, and U.S. Coal per Court order                                        4.60   $375.00   $1,725.00
3/30/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsDiscuss various accruals, claims, and accounts with W. Manning for claim analysis per Court Order                            0.80   $375.00   $300.00
3/30/2015     Evan Blum               Claims Administration and ObjectionsReview emails re Kolmar claims (.2); call with Nixon and company re same (.3)                                                0.50   $525.00   $262.50
3/30/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsDiscuss administrative claims with E. Blum and E. Gabbert per Court Order                                                    0.30   $375.00   $112.50
3/31/2015     Evan Blum               Claims Administration and ObjectionsMet at Del Cotto with Nixon and co to review admin expense analysis being submitted to Court prior to hearing                2.30   $525.00   $1,207.50

3/31/2015     Evan Blum               Claims Administration and ObjectionsMeet at co prior to hearing with EG to review USC, JAD, LRR administrative cost analysis by line by entity to be provided to 2.20   $525.00   $1,155.00
                                                                           Court
3/31/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsRevise administrative claims per discussions with E. Blum and Counsel per Court Order                                        2.10   $375.00   $787.50
3/31/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsDiscuss administrative claims with Debtor management and E. Blum for claim analysis per Court Order                          1.00   $375.00   $375.00
4/13/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsRevise administrative claims analysis                                                                                        1.00   $375.00   $375.00
4/13/2015     Evan Blum               Claims Administration and ObjectionsUpdate analysis of admin claims with LRR and JAD sales ‐ previously provided to Court. Call with CD and SA (.2); call with 0.50     $525.00   $262.50
                                                                           EG and SA (.2); call with LD (.1); SA to follow
4/13/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsDiscuss update of administrative claims with E. Blum                                                                         0.40   $375.00   $150.00
4/14/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsRevise administrative claims analysis                                                                                        4.40   $375.00   $1,650.00
4/14/2015     Evan Blum               Claims Administration and ObjectionsReview with SA the JAD updated admin analysis as per LD request (.3); call with LD to discuss (.4)                           0.70   $525.00   $367.50
4/14/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsReview with EB the JAD updated admin analysis as per LD request                                                              0.30   $375.00   $112.50
4/14/2015     Evan Blum               Claims Administration and ObjectionsReview with SA the updated LRR admin analysis prior to review with company                                                   0.20   $525.00   $105.00
4/14/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsReview with EB the updated LRR admin analysis prior to review with company                                                   0.20   $375.00   $75.00
4/15/2015     Evan Blum               Claims Administration and ObjectionsReview with SA the updated GR admin analysis for LRR, JAD and USC prior to review with counsel                               0.40   $525.00   $210.00
4/15/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsDiscuss update of administrative claims analysis with E. Blum                                                                0.40   $375.00   $150.00
4/15/2015     Sean Allen, CFA, CPA, C Claims Administration and ObjectionsDiscuss update of administrative claims with L. DelCotto                                                                     0.40   $375.00   $150.00
10/1/2014     Evan Blum               Employee Benefits & Pensions         Review email correspondence between counsel and committee re M Windisch revised KEIP program                                0.20   $525.00   $105.00
10/1/2014     Evan Blum               Employee Benefits & Pensions         Review proposed order re CFO KEIP plan                                                                                      0.10   $525.00   $52.50
10/27/2014    Evan Blum               Employee Benefits & Pensions         Review Court order approving CFO KEIP plan                                                                                  0.10   $525.00   $52.50
10/15/2014    Evan Blum               Fee/Employment Applications          Work on mark up of September bill                                                                                           0.80   $525.00   $420.00
10/26/2014    Evan Blum               Fee/Employment Applications          Review updated GR bill for September and make final changes                                                                 1.00   $525.00   $525.00
10/27/2014    David Neyhart, CPA      Fee/Employment Applications          Review invoice and prepare september fee app                                                                                1.50   $225.00   $337.50
10/28/2014    David Neyhart, CPA      Fee/Employment Applications          Review September invoice detail                                                                                             0.60   $225.00   $135.00
10/28/2014    David Neyhart, CPA      Fee/Employment Applications          Prepare September Fee app and communications with counsel                                                                   0.40   $225.00   $90.00
10/30/2014    Evan Blum               Fee/Employment Applications          Finalize monthly fee statement for September                                                                                0.40   $525.00   $210.00
11/10/2014    David Neyhart, CPA      Fee/Employment Applications          Draft first interim fee application.                                                                                        2.10   $225.00   $472.50
11/11/2014    David Neyhart, CPA      Fee/Employment Applications          Preparation of first interim fee app, and discussions with counsel regarding the same.                                      3.60   $225.00   $810.00
11/11/2014    David Neyhart, CPA      Fee/Employment Applications          Analysis of prior monthly fee statements and invoices for consolidation into interim fee statement.                         1.40   $225.00   $315.00
11/11/2014    Evan Blum               Fee/Employment Applications          Review October bill and mark with changes                                                                                   0.70   $525.00   $367.50
11/11/2014    Evan Blum               Fee/Employment Applications          Review initial draft of GR interim fee app and mark with changes with SA and DN                                             0.70   $525.00   $367.50
11/11/2014    David Neyhart, CPA      Fee/Employment Applications          Meeting with EB to discuss interim fee app and prepare updates accordingly.                                                 0.40   $225.00   $90.00
11/12/2014    Evan Blum               Fee/Employment Applications          Review updated interim fee app and mark with changes (.6); discuss changes with DN (.2); review updated to be sent to co 1.00      $525.00   $525.00
11/12/2014    David Neyhart, CPA      Fee/Employment Applications          Prepare updates to interim fee app and distribute to counsel.                                                               0.90   $225.00   $202.50
11/12/2014    David Neyhart, CPA      Fee/Employment Applications          Meetings with EB to discuss interim fee application.                                                                        0.50   $225.00   $112.50
11/13/2014    David Neyhart, CPA      Fee/Employment Applications          Review fee app, and coordinate signatures and approval for filing.                                                          0.30   $225.00   $67.50
11/16/2014    Evan Blum               Fee/Employment Applications          Review updated GR bill for October                                                                                          0.60   $525.00   $315.00
11/25/2014    David Neyhart, CPA      Fee/Employment Applications          Finalize October fee app                                                                                                    1.10   $225.00   $247.50
11/25/2014    Evan Blum               Fee/Employment Applications          Finalize October bill                                                                                                       0.60   $525.00   $315.00
12/10/2014    David Neyhart, CPA      Fee/Employment Applications          Prepare historical invoices in LEDES format for trustee.                                                                    0.70   $225.00   $157.50
12/11/2014    David Neyhart, CPA      Fee/Employment Applications          Consolidate June/July invoice info into excel for trustee.                                                                  0.80   $225.00   $180.00
12/20/2014    Evan Blum               Fee/Employment Applications          Initial mark of GR November bill                                                                                            0.80   $525.00   $420.00
12/22/2014    Evan Blum               Fee/Employment Applications          Continue work on November bill                                                                                              0.60   $525.00   $315.00
12/29/2014    David Neyhart, CPA      Fee/Employment Applications          Prepare Fee App for November.                                                                                               2.20   $225.00   $495.00
1/26/2015     Evan Blum               Fee/Employment Applications          Work on GR December bill                                                                                                    0.40   $525.00   $210.00
1/28/2015     David Neyhart, CPA      Fee/Employment Applications          Review December invoice and prepare monthly fee notice                                                                      1.60   $225.00   $360.00
1/28/2015     Evan Blum               Fee/Employment Applications          Finalize December bill                                                                                                      0.50   $525.00   $262.50
1/29/2015     David Neyhart, CPA      Fee/Employment Applications          Finalize December fee notice with comments from counsel.                                                                    0.50   $225.00   $112.50
2/12/2015     Evan Blum               Fee/Employment Applications          Work on GR January bill                                                                                                     1.67   $525.00   $875.00
2/12/2015     David Neyhart, CPA      Fee/Employment Applications          Review January monthly invoice, prepare edits, and coordinate with EB and gr staff to make edits.                           1.30   $225.00   $292.50
2/15/2015     Evan Blum               Fee/Employment Applications          Finalize January bill                                                                                                       0.50   $525.00   $262.50
2/18/2015     David Neyhart, CPA      Fee/Employment Applications          prepare january monthly fee notice and distribute to counsel for review                                                     0.70   $225.00   $157.50
2/23/2015     Evan Blum               Fee/Employment Applications          Review December fee objection and discuss with counsel                                                                      0.30   $525.00   $157.50
3/4/2015      David Neyhart, CPA      Fee/Employment Applications          Prepare second interim fee app draft (consolidate amounts and categorize entries for invoices from Oct‐JAD and              4.10   $225.00   $922.50
                                                                           summarize descriptions).
3/7/2015      Evan Blum               Fee/Employment Applications          Review and mark for changes ‐ February bill                                                                                 0.70   $525.00   $367.50
3/7/2015      Evan Blum               Fee/Employment Applications          Review and mark second interim fee app ‐ initial review                                                                     0.60   $525.00   $315.00
3/7/2015      Evan Blum               Fee/Employment Applications          Call with DN on comments ‐ changes to certain sections of second interim fee app                                            0.60   $525.00   $315.00
3/7/2015      David Neyhart, CPA      Fee/Employment Applications          Call with EB to discuss second interim fee app and additional preparation of interim fee app.                               0.60   $225.00   $135.00
3/9/2015      David Neyhart, CPA      Fee/Employment Applications          Review comments from interim fee app, and add additional detail and clarity for time descriptions.                          1.60   $225.00   $360.00
3/9/2015      David Neyhart, CPA      Fee/Employment Applications          Updates to interim fee apps and discussions with EB re same.                                                                1.40   $225.00   $315.00
3/9/2015      Evan Blum               Fee/Employment Applications          Further work on writing certain sections and marking other sections with change ‐ second interim fee app                    0.70   $525.00   $367.50
3/12/2015     David Neyhart, CPA      Fee/Employment Applications          Prepare updates to second interim fee app; discussions with EB and counsel regarding the same.                              2.90   $225.00   $652.50
3/12/2015     Evan Blum               Fee/Employment Applications          Work on marking up GR second interim fee app ‐ give comments to DN                                                          0.80   $525.00   $420.00
3/13/2015     David Neyhart, CPA      Fee/Employment Applications          Prepare further updates to second interim fee app; discussions with EB and counsel regarding the same.                      0.40   $225.00   $90.00
3/14/2015     David Neyhart, CPA      Fee/Employment Applications          Review counsel's comments on second interim fee app.                                                                        0.50   $225.00   $112.50
3/16/2015     David Neyhart, CPA      Fee/Employment Applications          Finalize second interim fee app                                                                                             0.40   $225.00   $90.00
11/20/2014    David Neyhart, CPA      Financial Analysis/Capital Structure Reserach LRR secured debt and prepare summary chart.                                                                        0.50   $225.00   $112.50
11/20/2014    David Neyhart, CPA      Financial Analysis/Capital Structure Call with EB to discuss LRR secured debt.                                                                                   0.10   $225.00   $22.50
11/20/2014    Evan Blum               Financial Analysis/Capital Structure Call with DN to discuss LRR secured debt                                                                                    0.10   $525.00   $52.50
11/24/2014    David Neyhart, CPA      Financial Analysis/Capital Structure Prepare JAD secured creditor memo                                                                                           1.60   $225.00   $360.00
11/24/2014    Sean Allen, CFA, CPA, C Financial Analysis/Capital Structure Prepare capital structure summary memo for LRR                                                                              1.20   $375.00   $450.00




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11/24/2014    David Neyhart, CPA     Financial Analysis/Capital Structure   Discussions with EB and counsel regarding presentation of secured debt schedule.                                       0.40    $225.00   $90.00
11/24/2014    Evan Blum              Financial Analysis/Capital Structure   Discussions with DN and counsel regarding presentation of secured debt schedule                                        0.40    $525.00   $210.00
11/26/2014    David Neyhart, CPA     Financial Analysis/Capital Structure   Finalize JAD secured creditor memo                                                                                     0.20    $225.00   $45.00
12/1/2014     David Neyhart, CPA     Financial Analysis/Capital Structure   Review and update JAD debt memo.                                                                                       0.30    $225.00   $67.50
10/2/2014     Marc Levee             Financial Reporting                    Review non‐debtor entity balance sheets and prepare questions for Company; follow up discussion with                   1.10    $325.00   $357.50
                                                                            Company regarding the same
10/2/2014     Marc Levee              Financial Reporting                   Begin to prepare draft summaries of the four non‐debtors for Court                                                     0.70    $325.00   $227.50
10/2/2014     Marc Levee              Financial Reporting                   Discuss answering motion regarding the four non‐debtor entities with counsel as well as internally                     0.30    $325.00   $97.50
10/2/2014     Sean Allen, CFA, CPA, C Financial Reporting                   Meeting with ML, DN and counsel to discuss Court request for additional financial info on non‐debtor entities          0.30    $375.00   $112.50

10/2/2014     David Neyhart, CPA     Financial Reporting                    Meeting with ML SA and counsel to discuss Court request for additional financial info on non‐debtor entities.          0.30    $225.00   $67.50

10/2/2014     Marc Levee              Financial Reporting                   Begin to work on non debtor entities' balance sheets and overview in response to court motion                          0.10    $325.00   $32.50
10/3/2014     Marc Levee              Financial Reporting                   Continue to prepare draft summaries for each non‐debtor entity and send for Company review                             1.50    $325.00   $487.50
10/3/2014     Evan Blum               Financial Reporting                   Review variance report week ended 9/25 and discuss with M Windisch                                                     0.60    $525.00   $315.00
10/3/2014     Sean Allen, CFA, CPA, C Financial Reporting                   Discuss non‐debtor entities with M. Levee in regard to draft summaries for Court                                       0.50    $375.00   $187.50
10/3/2014     Marc Levee              Financial Reporting                   Discuss non‐debtor entities with S. Allen in regard to draft summaries for Court                                       0.50    $325.00   $162.50
10/6/2014     Marc Levee              Financial Reporting                   Update summary write‐ups for each non‐debtor entity and send for counsel review                                        0.50    $325.00   $162.50
10/6/2014     Evan Blum               Financial Reporting                   Review and distribute cumulative variance analysis                                                                     0.30    $525.00   $157.50
10/7/2014     David Neyhart, CPA      Financial Reporting                   Prepare summary of amended schedules to show new schedule totals after amendments.                                     1.30    $225.00   $292.50
10/7/2014     Evan Blum               Financial Reporting                   Review amendments on SOFAs and schedules to be filed with Court                                                        0.50    $525.00   $262.50
10/7/2014     Evan Blum               Financial Reporting                   Review GR memo to counsel ‐ multiple drafts ‐ describing non Debtor entities as required by the Court                  0.40    $525.00   $210.00
10/7/2014     David Neyhart, CPA      Financial Reporting                   Call with counsel to discuss status of Court request for financials of 4 non‐debtor entities                           0.20    $225.00   $45.00
10/9/2014     Evan Blum               Financial Reporting                   Review variance report and approve for week ended 10/3                                                                 0.30    $525.00   $157.50
10/15/2014    David Neyhart, CPA      Financial Reporting                   Consolidate schedule amendments into excel format for claims administrator.                                            2.60    $225.00   $585.00
10/15/2014    Marc Levee              Financial Reporting                   Prepare total assets and total liabilities for all debtors per counsel request                                         1.80    $325.00   $585.00
10/15/2014    David Neyhart, CPA      Financial Reporting                   Research total assets and total liabilities on debtor entities to fulfill request from counsel                         1.20    $225.00   $270.00
10/16/2014    Marc Levee              Financial Reporting                   Review non‐debtor balance sheets and send to Company for review                                                        0.20    $325.00   $65.00
10/16/2014    Marc Levee              Financial Reporting                   Review total assets and total liabilities of debtor entities and prepare to send to counse                             0.10    $325.00   $32.50
10/19/2014    Evan Blum               Financial Reporting                   Review variance report week ended 10/10                                                                                0.20    $525.00   $105.00
10/23/2014    David Neyhart, CPA      Financial Reporting                   Review items needed for additional non‐debtor entities to be filed                                                     0.60    $225.00   $135.00
10/23/2014    Marc Levee              Financial Reporting                   Preliminary discussions internally and with Company regarding SOFAs/Schedules and Top 20 lists for the four            0.40    $325.00   $130.00
                                                                            non‐debtor entities
10/23/2014    Evan Blum              Financial Reporting                    Review variance report for week for week ended 10/17                                                                   0.30    $525.00   $157.50
10/23/2014    Marc Levee             Financial Reporting                    Begin working on SOFA for US Coal Marketing                                                                            0.30    $325.00   $97.50
10/24/2014    Evan Blum              Financial Reporting                    Review and distribute cumulative variance report for final cash collateral period                                      0.20    $525.00   $105.00
10/27/2014    David Neyhart, CPA     Financial Reporting                    Emails regarding SOFAS and SOALS for 4 non debtor entities with BM and AA                                              0.30    $225.00   $67.50
10/28/2014    Marc Levee             Financial Reporting                    Review petition info for four non‐debtor entities                                                                      0.50    $325.00   $162.50
10/28/2014    David Neyhart, CPA     Financial Reporting                    Review items needed for 4 new non‐debtor entities sofas/soals and correspondeance with claims administrator            0.50    $225.00   $112.50
                                                                            regarding.
10/28/2014    Marc Levee             Financial Reporting                    Review and send petition information for the four non‐debtor entities to counse                                        0.30    $325.00   $97.50
10/28/2014    Marc Levee             Financial Reporting                    Review Epiq prepared matrices and provide comment                                                                      0.20    $325.00   $65.00
10/29/2014    Marc Levee             Financial Reporting                    Discuss non‐debtor entities petition info and Schedules/SOFAs with Company; further discussion with the                0.70    $325.00   $227.50
                                                                            Company regarding matrices prepared by Epiq
10/29/2014    Marc Levee             Financial Reporting                    Revise top 20 unsecured creditor lists for non‐debtor entities                                                          0.10   $325.00   $32.50
10/30/2014    Marc Levee             Financial Reporting                    Finalize updates to matrices and send to counsel and Epiq                                                               0.20   $325.00   $65.00
10/30/2014    Marc Levee             Financial Reporting                    Final review of matrices provided by Epiq                                                                               0.20   $325.00   $65.00
10/31/2014    Evan Blum              Financial Reporting                    Review variance report through 10/24                                                                                    0.20   $525.00   $105.00
11/3/2014     Marc Levee             Financial Reporting                    Begin to prepare SOFA for US Coal Marketing                                                                             0.60   $325.00   $195.00
11/4/2014     David Neyhart, CPA     Financial Reporting                    Review information provided by company for schedules of assets and liabilities for 4 newly filed entities.              0.90   $225.00   $202.50
11/4/2014     Marc Levee             Financial Reporting                    Prepare portions of SOFA for Harlan County Mining, Oak Hill, Sandlick, and US Coal Marketing                            0.50   $325.00   $162.50
11/5/2014     Marc Levee             Financial Reporting                    Prepare SOFAs for Harlan County, Sandlick, and Oak Hill                                                                 3.50   $325.00   $1,137.50
11/5/2014     David Neyhart, CPA     Financial Reporting                    Prepare summary schedules of assets and liabilities for Sandlick Mining filing.                                         3.10   $225.00   $697.50
11/5/2014     Marc Levee             Financial Reporting                    Update SOFAs and review; prepare global notes to support SOFAs and Schedules; prepare to send to counsel and Company2.30       $325.00   $747.50
11/5/2014     David Neyhart, CPA     Financial Reporting                    Prepare summary schedules of assets and liabilities for Oak Hill filing.                                                1.70   $225.00   $382.50
11/5/2014     David Neyhart, CPA     Financial Reporting                    Prepare summary schedules of assets and liabilities for Harlan county mining filing.                                    1.50   $225.00   $337.50
11/5/2014     Marc Levee             Financial Reporting                    Review drafts of SOFAs for all four entities                                                                            1.20   $325.00   $390.00
11/5/2014     David Neyhart, CPA     Financial Reporting                    Prepare summary schedules of assets and liabilities for US Coal Marketing mining filing.                                0.70   $225.00   $157.50
11/5/2014     David Neyhart, CPA     Financial Reporting                    Review schedules of assets and liabilities for filing and update corresponding global notes.                            0.70   $225.00   $157.50
11/5/2014     Marc Levee             Financial Reporting                    Work on SOFA for Sandlick                                                                                               0.50   $325.00   $162.50
11/5/2014     Marc Levee             Financial Reporting                    Further review global notes,SOFAs, and Schedules, and send for review                                                   0.40   $325.00   $130.00
11/5/2014     Marc Levee             Financial Reporting                    Discuss various questions related to the SOFAs with the Company                                                         0.20   $325.00   $65.00
11/6/2014     David Neyhart, CPA     Financial Reporting                    Prepare business income and expense forms to file with summary of schedules of assets and liabilities.                  1.10   $225.00   $247.50
11/6/2014     Marc Levee             Financial Reporting                    Updates SOFAs for Harlan County, Oak Hill, Sandlick, and US Coal Marketing per counsel and Company comments             0.90   $325.00   $292.50
11/6/2014     David Neyhart, CPA     Financial Reporting                    review counsel comments for sofa/schedules.                                                                             0.60   $225.00   $135.00
11/6/2014     David Neyhart, CPA     Financial Reporting                    Revise Sandlick schedules of assets and liabilities.                                                                    0.30   $225.00   $67.50
11/7/2014     David Neyhart, CPA     Financial Reporting                    Review comments from counsel regarding schedules of assets and liabilities, and make updates accordingly.               2.10   $225.00   $472.50
11/7/2014     Marc Levee             Financial Reporting                    Final changes to global notes and SOFAs and prepare for submission for Company signature                                0.50   $325.00   $162.50
11/7/2014     Evan Blum              Financial Reporting                    Review variance report filed for week of October 30; email exchange with MW re same                                     0.20   $525.00   $105.00
11/10/2014    David Neyhart, CPA     Financial Reporting                    Prepare export summary of data used for schedules of assets and liabilities for claims administrator.                   0.20   $225.00   $45.00
11/12/2014    Evan Blum              Financial Reporting                    Call with DD re projected revenue and operating disbursement compliance week of 11/7 (.1); follow with EG re projected n0.40   $525.00   $210.00
11/21/2014    Evan Blum              Financial Reporting                    Review variance report week ended 11/14                                                                                 0.20   $525.00   $105.00
12/2/2014     Evan Blum              Financial Reporting                    Review Nov 21 variance report and OK to send                                                                            0.20   $525.00   $105.00
12/4/2014     Marc Levee             Financial Reporting                    Discuss Assistant US Trustee request re: Sandlick's SOFA 17C, with the Company                                          0.20   $325.00   $65.00
12/7/2014     Evan Blum              Financial Reporting                    Review 11/28 variance report                                                                                            0.20   $525.00   $105.00
12/13/2014    Evan Blum              Financial Reporting                    Review week ended 12/5 variance report                                                                                  0.20   $525.00   $105.00
12/16/2014    David Neyhart, CPA     Financial Reporting                    Discussions with Debtor and Debtor's counsel regarding updating schedules to include mining permits                     0.50   $225.00   $112.50
12/18/2014    David Neyhart, CPA     Financial Reporting                    Review permits for LRR and amend schedule B to include permits.                                                         0.70   $225.00   $157.50
12/18/2014    David Neyhart, CPA     Financial Reporting                    Review permits for Sandlick and amend Schedule B to include permits                                                     0.50   $225.00   $112.50
12/18/2014    David Neyhart, CPA     Financial Reporting                    Review sandlick and LRR schedule B amendments.                                                                          0.30   $225.00   $67.50
12/19/2014    Marc Levee             Financial Reporting                    Amendments to SOFA/Schedules of LRR and Sandlick                                                                        0.30   $325.00   $97.50
12/19/2014    Evan Blum              Financial Reporting                    Review final SOFA updates and amendments with ML                                                                        0.20   $525.00   $105.00
12/23/2014    Marc Levee             Financial Reporting                    Review historical production versus projected production at the JAD Division and prepare variance analysis              1.60   $325.00   $520.00

12/23/2014    David Neyhart, CPA     Financial Reporting                    Review actual vs projected production amounts per variance reports.                                                    0.30    $225.00   $67.50
12/23/2014    Evan Blum              Financial Reporting                    review variance report wk ended 12/12                                                                                  0.10    $525.00   $52.50
12/30/2014    Evan Blum              Financial Reporting                    Review variance for week ended 12/19                                                                                   0.20    $525.00   $105.00
1/5/2015      Evan Blum              Financial Reporting                    Review variance report wk ended 12/26                                                                                  0.20    $525.00   $105.00
1/12/2015     Evan Blum              Financial Reporting                    Review variance report week ended 1/2                                                                                  0.10    $525.00   $52.50
1/19/2015     Evan Blum              Financial Reporting                    Discuss variance reporting against 1/31 or 3/31 budgets with EG (.1); CD (.1)                                          0.20    $525.00   $105.00




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1/20/2015     Evan Blum              Financial Reporting                  Review 1/9 variance analysis (.2); call with EG to discuss DIP draws and how reflected in variance report (.1)           0.30    $525.00   $157.50

2/2/2015      Evan Blum               Financial Reporting               Review variance report ended 12/23                                                                                         0.20    $525.00   $105.00
2/3/2015      Evan Blum               Financial Reporting               Review Quarterly 2014 analysis of JAD; to be uploaded to data room; send to counsel                                        0.20    $525.00   $105.00
2/6/2015      Evan Blum               Financial Reporting               Review variance report week ended 1/30                                                                                     0.20    $525.00   $105.00
2/15/2015     Evan Blum               Financial Reporting               Review variance report week ended 2/6                                                                                      0.20    $525.00   $105.00
2/24/2015     Evan Blum               Financial Reporting               Review variance report week ended 2/16                                                                                     0.20    $525.00   $105.00
10/9/2014     Marc Levee              Meetings of and Communications witContinue to revise financial projection powerpoint for Committee FA                                                        1.10    $325.00   $357.50
10/9/2014     Evan Blum               Meetings of and Communications witReview and discuss GR projection presentation to Boyd with M Levee and distribute                                          0.60    $525.00   $315.00
10/9/2014     Marc Levee              Meetings of and Communications witDiscuss financial projections presentation with E. Blum and prepare to send to Committee FA                                0.60    $325.00   $195.00
10/9/2014     Marc Levee              Meetings of and Communications witCall with E Blum re projections delivered to Boyd; need to adjust slightly; OK to re send                                  0.30    $325.00   $97.50
10/9/2014     Evan Blum               Meetings of and Communications witReview GR projection presentation to Boyd with counsel and get OK to distribute                                            0.20    $525.00   $105.00
10/14/2014    Evan Blum               Meetings of and Communications witCall with JAD counsel on questions raised re company operations ‐ Del Cotto, Nixon, company and GR                         0.70    $525.00   $367.50
10/14/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss executory contracts and Sequoia with JAD Counsel, Delcotto Law Group, and Nixon Peabody                            0.70    $375.00   $262.50
10/14/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss upcoming call with JAD Seller Counsel with Nixon Peabody and Delcotto Law Group                                    0.30    $375.00   $112.50
10/14/2014    Evan Blum               Meetings of and Communications witPre call with JAD counsel, discussion with DelCotto, Nixon and Company on JAD questions to be addressed                    0.30    $525.00   $157.50

10/16/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss financial projections with Committee Financial Advisor                                                             0.50    $375.00   $187.50
10/16/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witPrepare for call with Committee Financial Advisor                                                                          0.50    $375.00   $187.50
10/16/2014    Evan Blum               Meetings of and Communications witCall with S Allen and Boyd to review company projections                                                                   0.50    $525.00   $262.50
10/16/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witFollow up correspondence with Management regarding call with Committee Financial Advisor request                           0.12    $375.00   $45.00
10/17/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witCorrespondence with Committee Financial Advisor regarding production variances                                             0.40    $375.00   $150.00
10/20/2014    Marc Levee              Meetings of and Communications witWork on UCC due diligence request ‐ financial projection mode                                                              2.10    $325.00   $682.50
10/20/2014    Evan Blum               Meetings of and Communications witUpdate call with K Goggin                                                                                                  0.70    $525.00   $367.50
10/20/2014    Marc Levee              Meetings of and Communications witContinue to work on UCC due diligence request                                                                              0.60    $325.00   $195.00
10/20/2014    Evan Blum               Meetings of and Communications witCall with JC to update him on call with K Goggin                                                                           0.50    $525.00   $262.50
10/21/2014    Marc Levee              Meetings of and Communications witContinue to work on response to UCC diligence request                                                                      1.30    $325.00   $422.50
10/21/2014    Evan Blum               Meetings of and Communications witCall with D Drebsky to follow up on E Blum call with K Goggin re ECM                                                       0.50    $525.00   $262.50
10/22/2014    Marc Levee              Meetings of and Communications witFurther work on UCC diligence request with regards to financial projection mode                                            1.50    $325.00   $487.50
10/23/2014    Evan Blum               Meetings of and Communications witUpdate M Windisch on call earlier in week with K Goggin                                                                    0.40    $525.00   $210.00
10/27/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witBegin preparation of draft of long term projections distribution to Committee Financial Advisor (per request)              3.80    $375.00   $1,425.00

10/27/2014    Evan Blum               Meetings of and Communications witReview Committee analysis on production and set up call as requested                                                       0.20    $525.00   $105.00
10/28/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witFinalize preparation of draft of long term projections distribution to Committee Financial Advisor (per request)           3.50    $375.00   $1,312.50

10/29/2014    Evan Blum               Meetings of and Communications witCall with K Goggin                                                                                                          0.70   $525.00   $367.50
10/29/2014    Evan Blum               Meetings of and Communications witCall with S Allen and Boyd in response to information requests on production                                                0.50   $525.00   $262.50
10/29/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witCall with E Blum and Boyd in response to information requests on production                                                 0.50   $375.00   $187.50
10/29/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss Committee Financial Advisor questions with Management                                                               0.50   $375.00   $187.50
10/30/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witRespond to Committee Counsel questions re: budget                                                                           0.60   $375.00   $225.00
11/3/2014     Evan Blum               Meetings of and Communications witPre call with cred committee among company GR and counsel re issues to address                                              0.40   $525.00   $210.00
11/3/2014     Evan Blum               Meetings of and Communications witCall with co and Cred comm to review issues of concern to committee ‐ JC review of operations, respond to questions         0.40   $525.00   $210.00
11/3/2014     Sean Allen, CFA, CPA, C Meetings of and Communications witInternal call with Management and Nixon Peabody in preparation for call with Committee                                      0.40   $375.00   $150.00
11/3/2014     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss Debtors' financial performance with Nixon Peabody, John Boyd, Foley Lardner, Management, and Committee              0.40   $375.00   $150.00
11/3/2014     Evan Blum               Meetings of and Communications witReview updated production analysis in preparation for committee call                                                        0.10   $525.00   $52.50
11/5/2014     Evan Blum               Meetings of and Communications witMeet with Goggin, ECM counsel and Nixon re case status; exit financing alternatives                                         2.40   $525.00   $1,260.00
11/7/2014     Evan Blum               Meetings of and Communications witReview and respond to emails from committee FA re production figures and request for call on go forward mine plan           0.20   $525.00   $105.00
11/9/2014     Evan Blum               Meetings of and Communications witExchange emails with EG re initial work on responses to committee re insider payments                                       0.20   $525.00   $105.00
11/10/2014    Evan Blum               Meetings of and Communications witCall with JC and Boyd to respond to questions on production and mining conditions                                           0.50   $525.00   $262.50
11/11/2014    Evan Blum               Meetings of and Communications witReview EG information on interest and principal payments to certain individuals at request of committee (.3); call with EG t0.50   $525.00   $262.50
11/11/2014    Evan Blum               Meetings of and Communications witCompose email note with GR effective date analysis to ECM                                                                   0.20   $525.00   $105.00
11/17/2014    Evan Blum               Meetings of and Communications witCall with JC and Boyd to respond to questions related to production levels                                                  0.40   $525.00   $210.00
11/24/2014    Evan Blum               Meetings of and Communications witCall with committee to address issues as requested                                                                          0.40   $525.00   $210.00
11/30/2014    Evan Blum               Meetings of and Communications witRespond to open questions from committee on actual versus budgeted results                                                  0.10   $525.00   $52.50
12/10/2014    Evan Blum               Meetings of and Communications witMeet with JC in Lex pre meet with cred comm FA for mine tour (1.0); meet with JC and Boyd pre mine tour re                  2.00   $525.00   $1,050.00
                                                                          company operations; potential exit; status (1.0)
12/10/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witProvide status update to Committee Financial Advisor and discuss mining operations                                         0.50    $375.00   $187.50
12/12/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witPrepare for ECM meeting and discuss strategic alternatives with E. Blum                                                    1.80    $375.00   $675.00
12/12/2014    Evan Blum               Meetings of and Communications witMeet with Nixon, ECM and ECM counsel                                                                                       1.50    $525.00   $787.50
12/12/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witMeet with Nixon Peabody, ECM, Luskin Stern & Eisler to discuss status of case                                              1.50    $375.00   $562.50
12/12/2014    Evan Blum               Meetings of and Communications witPrepare for meeting with ECM and ECM counsel by reviewing GR memo on current status of company and go                      1.30    $525.00   $682.50
                                                                          forward alternatives with SA
12/12/2014    Evan Blum              Meetings of and Communications witPrepare for call with JAD counsel on topics they requested to cover (.4); call with Nixon, co and JAD counsel (.5) 0.90             $525.00   $472.50

12/12/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss status with JAD Seller Counsel and Nixon Peabody                                                                   0.60    $375.00   $225.00
12/12/2014    Evan Blum               Meetings of and Communications witMeet with Nixon prior to meeting with ECM and ECM counsel                                                                  0.50    $525.00   $262.50
12/15/2014    Evan Blum               Meetings of and Communications witCall with company and counsel prior to scheduled committee call (.7); call with committee to discuss issues of             1.10    $525.00   $577.50
                                                                          concern to creditors (.4)
12/15/2014    Evan Blum              Meetings of and Communications witCall with Boyd to provide cash and operational update; discuss meeting later in week                           0.60                 $525.00   $315.00
12/18/2014    Evan Blum              Meetings of and Communications witMeeting with committee FA in Pittsburgh to review cash; operations; equipment values; third party discussions; 4.00                 $525.00   $2,100.00
                                                                          go forward alternatives
12/19/2014    Evan Blum              Meetings of and Communications witCall with committee counsel, FA and Debtor counsel re business operations jan‐march (.5); follow with D                     0.70    $525.00   $367.50
                                                                        Drebsky (.2)
12/23/2014    Evan Blum               Meetings of and Communications witCall with Nixon and Cred Comm counsel regarding JAD operations and budgets                                                 1.00    $525.00   $525.00
12/23/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witCall with Foley Lardner, Nixon Peabody, and JT Boyd                                                                        0.80    $375.00   $300.00
12/23/2014    Sean Allen, CFA, CPA, C Meetings of and Communications witFollow up discussion with Nixon Peabody and E. Blum concerning earlier Committee cal                                       0.50    $375.00   $187.50
12/23/2014    Evan Blum               Meetings of and Communications witFollow up discussion with Nixon Peabody and S Allen concerning earlier committee cal                                       0.50    $525.00   $262.50
12/29/2014    Evan Blum               Meetings of and Communications witCall with Boyd and JC re operations at JAD and LRR                                                                         0.40    $525.00   $210.00
1/3/2015      Evan Blum               Meetings of and Communications witIn response to JAD counsel questions, email correspondence with company re classification of HWM 37 re                     0.30    $525.00   $157.50
                                                                        whether included as asset; timing of lease payments and reduction of ECM note
1/5/2015      Evan Blum               Meetings of and Communications witPre comm call, discussion of current issues with management and counsel (.4); call with committee re                       0.80    $525.00   $420.00
                                                                        operational and strategic issues (.4)
1/7/2015      Sean Allen, CFA, CPA, C Meetings of and Communications witRevise summary of liquidity for Committee professionals                                                                    1.00    $375.00   $375.00
1/9/2015      Evan Blum               Meetings of and Communications witCall with comm professionals re JAD sale process and potential LRR plan (.9); follow with D Drebsky (.2)                   1.10    $525.00   $577.50

1/9/2015      Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss case status, auction, and LRR plan with Committee Counsel, Committee Financial Advisor, Management, 0.90                   $375.00   $337.50
                                                                       and Nixon Peabody
1/12/2015     Evan Blum              Meetings of and Communications witCall with Boyd and JC re ratios, mining conditions, recent contracts/market                                                 0.50    $525.00   $262.50
1/14/2015     Evan Blum              Meetings of and Communications witPrepare response to committee questions on budget and review counsel's responses                                            0.50    $525.00   $262.50
1/19/2015     Evan Blum              Meetings of and Communications witCall with Boyd re budget through 3/31 (.4); follow on production question with EG (.1); revert to Boyd (.1)                 0.60    $525.00   $315.00




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                                                                                                                                       2015    05/15/15 15:57:57                                                 Desc
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1/19/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss budget with Boyd                                                                                                    0.40    $375.00   $150.00
1/19/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witPrepare for budget discussion with Boyd                                                                                     0.30    $375.00   $112.50
1/19/2015     Evan Blum               Meetings of and Communications witCall with J Weiss re JAD '15 and '16 projections in data room                                                               0.20    $525.00   $105.00
1/20/2015     Evan Blum               Meetings of and Communications witPre call with JC (.2); call with cred comm counsel and FA re JAD status, LRR status, LRR potential investors;               1.10    $525.00   $577.50
                                                                            ECM/JAD seller next steps (.9)
1/20/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss auction status of JAD and plan discussions re: LRR with Foley Lardner, Boyd, and Nixon Peabody                      0.90    $375.00   $337.50

1/20/2015     Evan Blum               Meetings of and Communications witCall with Boyd re asset listing and value/lien information available by asset                                               0.10    $525.00   $52.50
1/22/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witResearch JAD Seller request regarding transaction proceeds and secured debt balances                                        1.70    $375.00   $637.50
1/26/2015     Evan Blum               Meetings of and Communications witCall with JC and Boyd re right Oakley issues; coal sales status; JAD status                                                 0.40    $525.00   $210.00
1/26/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss LRR business operations with Committee Financial Advisor and Management                                             0.40    $375.00   $150.00
1/27/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss Committee Financial Advisor's request for updated financial information with J. Collins and E. Blum                 0.30    $375.00   $112.50

1/27/2015     Evan Blum               Meetings of and Communications witDiscuss Committee Financial Advisor's request for updated financial information with J Collins and S Allen                  0.30    $525.00   $157.50

1/27/2015     Evan Blum               Meetings of and Communications witCall with DN re Kern appraisal report requested by Boyd                                                                     0.10    $525.00   $52.50
1/27/2015     David Neyhart, CPA      Meetings of and Communications witCall with E Blum re Kern appraisal report requested by Boyd                                                                 0.10    $225.00   $22.50
2/9/2015      Evan Blum               Meetings of and Communications witPre comm call discussion with counsel and company re topics to be discussed (.3); call with committee on sales, mining,     0.70    $525.00   $367.50
                                                                        JAD status (.4)
2/11/2015     Evan Blum               Meetings of and Communications witCall with various counsel ‐ consulting parties ‐ to review GR spreadsheet on status of all JAD bids                         0.40    $525.00   $210.00
2/11/2015     David Neyhart, CPA      Meetings of and Communications witCall with EB and committee to discuss bid status so far for JAD auction                                                     0.40    $225.00   $90.00
2/16/2015     Evan Blum               Meetings of and Communications witPre call with JC re JAD operating plan (.2); call with Boyd to discuss JAD status re operating plan (.4)                    0.60    $525.00   $315.00
2/16/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss operations with Committee Financial Advisor and Management                                                          0.60    $375.00   $225.00
2/26/2015     Evan Blum               Meetings of and Communications witMeet with M Luskin re update on JAD wind down on sale ‐ discuss potential resolution of JAD upon sale of all JAD assets     1.80    $525.00   $945.00

3/2/2015      Evan Blum               Meetings of and Communications witMeet with ECM counsel to review wind down and liquidation budgets (including carve outs) for both LRR and JAD ‐ review 1.00         $525.00   $525.00
                                                                        by line item; respond to questions
3/12/2015     Evan Blum               Meetings of and Communications witCall with Consulting parties re LRR summary of offers                                                                  0.30         $525.00   $157.50
3/12/2015     David Neyhart, CPA      Meetings of and Communications witCall with Debtors Counsel and the UCC to discuss the bids received for the LRR auction.                                0.30         $225.00   $67.50
3/16/2015     Evan Blum               Meetings of and Communications witReview JAD sources/uses and liquidation spreadsheets with Boyd prior to discussions in Lexington                       0.60         $525.00   $315.00
3/17/2015     Evan Blum               Meetings of and Communications witCall with Boyd on LRR sources uses and liquidation spreadsheets prior to meetings in Lexington                         0.50         $525.00   $262.50
3/26/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss response to Committee Counsel question with E. Blum and Management regarding invoices and estimation of Sec. 1.50           $375.00   $562.50
                                                                        503(b)(9) claim estimation and gap period claims
3/26/2015     Evan Blum               Meetings of and Communications witRespond to claims questions from committee counsel ‐ discussions internally and assist in drafting detailed response   0.60         $525.00   $315.00

3/26/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witRespond to JAD Seller counsel regarding equipment locations                                                           0.40          $375.00   $150.00
3/27/2015     Sean Allen, CFA, CPA, C Meetings of and Communications witDiscuss claims with G. Goodman, J. Weiss, T. Mckinstry, and E. Blum                                                   0.40          $375.00   $150.00
3/28/2015     Evan Blum               Meetings of and Communications witReview bills and correspondence for major suppliers during 20 day window at request of committee (.4); write email to 0.80          $525.00   $420.00
                                                                            comm counsel (.4) and distribute
10/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BPrepare draft presentation of projections summary for the LRR Division only                                       1.00          $325.00   $325.00
10/1/2014     Evan Blum               Plan and Disclosure Statement (incl. BCall with LD and AM re projections and GR projection memo                                                         0.60          $525.00   $315.00
10/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BDiscuss draft of projection presentation with E. Blum and local counse                                            0.50          $325.00   $162.50
10/1/2014     Evan Blum               Plan and Disclosure Statement (incl. BReview updated GR memo on projections; discuss internally                                                         0.50          $525.00   $262.50
10/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BReview most recent draft of the projection presentation and provide comments                                      0.40          $325.00   $130.00
10/1/2014     Evan Blum               Plan and Disclosure Statement (incl. BReview 9/30 projection memo and distribute for call with del cotto                                                0.30          $525.00   $157.50
10/8/2014     Marc Levee              Plan and Disclosure Statement (incl. BReview operating model and analyze thermal coal sale price per ton per Company request                            0.80          $325.00   $260.00
10/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BAnalyze Ivyton costs compared to consolidated LRR Division                                                        1.80          $325.00   $585.00
10/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to discuss Ivyton cash flow with S. Allen; follow with E. Blum and S. Allen re the same                  0.90          $325.00   $292.50
10/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss Ivyton cash flow with S. Allen                                                                            0.60          $325.00   $195.00
10/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise Ivyton projection assumption extract                                                                       0.50          $375.00   $187.50
10/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss Ivyton cash flow projections with M. Levee                                                                0.40          $375.00   $150.00
10/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue analysis of cost allocation for Ivyton compared to consolidated LRR Division                             0.40          $325.00   $130.00
10/15/2014    Marc Levee              Plan and Disclosure Statement (incl. BFurther cost allocation analysis within financial projections of the LRR Division ‐ Ivyton                        1.00          $325.00   $325.00
10/15/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss allocated costs in projection model across LRR Division with S. Allen                                     0.30          $325.00   $97.50
10/16/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss Ivyton allocated costs analysis with E. Blum and S. Allen                                                 0.30          $325.00   $97.50
10/20/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview and update financial projection presentation and send for senior review                                    1.60          $325.00   $520.00
10/21/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with Nixon re potential Plan outline and addressing potential issues                                         1.00          $525.00   $525.00
10/29/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss lender negotiations with Management and E. Blum                                                           0.40          $375.00   $150.00
10/30/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with S Allen, MW and EG re go forward production assumptions relative to budget; review GR call with Boyd 0.40             $525.00   $210.00

11/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BContinue projected mining forecast at LRR Division ‐ production                                                         1.80    $325.00   $585.00
11/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on projected mining forecast at LRR Division ‐ operating costs                                         1.80    $325.00   $585.00
11/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BMining forecast at LRR Division from 2017 through 2022                                                                  0.90    $325.00   $292.50
11/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther work on operating costs assumptions for projected mining forecast at LRR Division                               0.70    $325.00   $227.50
11/2/2014     Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on operating costs and capital expenditures projections from 2017 through 2022 at the LRR Division     2.60    $325.00   $845.00

11/3/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther work on long‐term projections at LRR Division ‐ surety bonds and other operating costs                           2.50   $325.00   $812.50
11/3/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther updates and discussion with S. Allen regarding long‐term financial projections ‐ production at surface and high  2.50   $325.00   $812.50
                                                                            wall miner
11/3/2014     Marc Levee              Plan and Disclosure Statement (incl. BPrepare summary overview of long‐term projections from 2017 to 2022 at the LRR Division                                  1.80   $325.00   $585.00
11/3/2014     Marc Levee              Plan and Disclosure Statement (incl. BReview long‐term projections for the LRR Division from 2017 through 2022 with S. Allen                                   1.40   $325.00   $455.00
11/3/2014     Marc Levee              Plan and Disclosure Statement (incl. BRevise long‐term projections at LRR Division ‐ focus on production                                                       1.00   $325.00   $325.00
11/3/2014     Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on mining plan through 2022 at the LRR Division ‐ below EBITDA line                                     0.70   $325.00   $227.50
11/3/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview long term projections for third party investment with M. Levee                                                    0.70   $375.00   $262.50
11/4/2014     Marc Levee              Plan and Disclosure Statement (incl. BRevisions to long‐term projection model for exit financing scenario, including discussions with Management on production 3.40   $325.00   $1,105.00

11/4/2014     Marc Levee              Plan and Disclosure Statement (incl. BContinue to review and update long‐term projections at the LRR Division with S. Allen                                   2.20    $325.00   $715.00
11/4/2014     Marc Levee              Plan and Disclosure Statement (incl. BPrepare for and participate in discussion of long‐term projections with S. Allen, E. Blum, and Management; follow up    1.90    $325.00   $617.50
                                                                            discussion internally re the same
11/4/2014     Evan Blum               Plan and Disclosure Statement (incl. BCall with S Blevins, J Collins and GR re Mercuria projections (.9); follow internally re changes to model (.3)          1.20    $525.00   $630.00
11/4/2014     Marc Levee              Plan and Disclosure Statement (incl. BUpdates to production schedule and surety bond payments for long‐term projection model at LRR Division                  0.80    $325.00   $260.00
11/4/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing projections with Management                                                                      0.80    $375.00   $300.00
11/4/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss revisions to exit financing projections with E. Blum and M. Levee                                               0.80    $375.00   $300.00
11/4/2014     Evan Blum               Plan and Disclosure Statement (incl. BReview and mark GR memo summarizing projections for Mercuria                                                            0.50    $525.00   $262.50
11/4/2014     Marc Levee              Plan and Disclosure Statement (incl. BFollow up and review long‐term projections at the LRR Division with E. Blum                                             0.50    $325.00   $162.50
11/4/2014     Evan Blum               Plan and Disclosure Statement (incl. BReview GR memo on projections for Mercuria with SA and ML ‐ provide comments to be addressed in updated version         0.40    $525.00   $210.00

11/4/2014     Marc Levee              Plan and Disclosure Statement (incl. BDiscuss long‐term projections related to exit financing scenarios with S. Allen and E. Blum                             0.30    $325.00   $97.50
11/4/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing projections with E. Blum and M. Levee                                                            0.30    $375.00   $112.50
11/5/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDraft Exit Financing presentation of alternative scenario (including multiple conversations with E. Blum)               4.40    $375.00   $1,650.00
11/5/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise long term mining plan and projections per earlier call with Management                                           2.20    $375.00   $825.00
11/5/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate core operating model per recent Management discussions                                                           2.10    $375.00   $787.50




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                                                                                                                                       2015    05/15/15 15:57:57                                                     Desc
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11/5/2014     Evan Blum               Plan and Disclosure Statement (incl. BWork with S Allen and M Levee on multiple iterations around projections requested by Mercuria regarding exit financing       1.90   $525.00   $997.50
                                                                            proposal (1.5); call with JC, S Blevins and GR to discuss and finalize (.4)
11/5/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss long term projections with M. Levee and E. Blum                                                                      1.00   $375.00   $375.00
11/5/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss projections and long term mining plans with Management                                                               0.70   $375.00   $262.50
11/5/2014     Marc Levee              Plan and Disclosure Statement (incl. BDiscuss long‐term projection model at LRR Division with S. Allen and Management                                              0.50   $325.00   $162.50
11/5/2014     Marc Levee              Plan and Disclosure Statement (incl. BDiscussion with E. Blum and S. Allen regarding long‐term projection model at LRR Division                                    0.50   $325.00   $162.50
11/5/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BSummarize mining plan for upcoming call with Management                                                                      0.50   $375.00   $187.50
11/6/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate core operating model per recent Management discussions                                                                4.10   $375.00   $1,537.40
11/6/2014     Marc Levee              Plan and Disclosure Statement (incl. BUpdate long term‐projection model for LRR Division with regards to mechanics of production assumptions                       1.90   $325.00   $617.50
11/6/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BPrepare exit financing projections for distribution                                                                          1.00   $375.00   $375.00
11/6/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss Auger projections with E. Gabbert                                                                                    0.30   $375.00   $112.50
11/7/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther work on financial modeling for production and revenue                                                                1.30   $325.00   $422.50
11/7/2014     Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on long‐term projections ‐ production modeling                                                              0.70   $325.00   $227.50
11/10/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate core operating model for August and September results ‐ JAD                                                           4.20   $375.00   $1,575.00
11/10/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate core operating model for consolidation work                                                                           2.10   $375.00   $787.50
11/10/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss presentation with E. Blum and begin to work on presentation to potential financing partner for the LRR Division      1.50   $325.00   $487.50

11/10/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on capital expenditure schedule for long‐term projection model                                                          0.90   $325.00   $292.50
11/10/2014    Marc Levee              Plan and Disclosure Statement (incl. BFurther work on forecasting surety bond payments for the long‐term projection model at the LRR Division                      0.80   $325.00   $260.00
11/10/2014    Marc Levee              Plan and Disclosure Statement (incl. BFinalize surety bond payment forecast for long‐term projection model                                                         0.80   $325.00   $260.00
11/10/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview long‐term projection model with S. Allen ‐ production, revenue, surety bonds                                          0.50   $325.00   $162.50
11/10/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview exit financing presentation with M. Levee                                                                             0.50   $375.00   $187.50
11/10/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview long term model draft with M. Levee                                                                                   0.50   $375.00   $187.50
11/10/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview long term model draft with S. Allen                                                                                   0.50   $325.00   $162.50
11/10/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview production, revenue, surety bond, and capex schedule for long‐term projection model                                   0.40   $325.00   $130.00
11/11/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate core operating model for consolidation worksheet ‐ JAD                                                                4.30   $375.00   $1,612.50
11/11/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate consolidation ‐ core JAD Model                                                                                        2.90   $375.00   $1,087.50
11/11/2014    Marc Levee              Plan and Disclosure Statement (incl. BUpdates to long‐term projection model at LRR Division in conjunction with third party financing                              1.30   $325.00   $422.50
11/11/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss and review long‐term projections in conjunction with third party financing with S. Allen                             1.00   $325.00   $325.00
11/11/2014    Marc Levee              Plan and Disclosure Statement (incl. BPrepare summary overview presentation on LRR long‐term projections through 2022                                              1.00   $325.00   $325.00
11/11/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview long term projections in conjunction with third party capital raise                                                   1.00   $375.00   $375.00
11/12/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate LRR core model update for August / September                                                                          5.20   $375.00   $1,950.00
11/12/2014    Marc Levee              Plan and Disclosure Statement (incl. BFurther updates to long‐term projection model and prepare for presentation of results                                        1.80   $325.00   $585.00
11/12/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss long‐term projections with S. Allen and E. Blum; further discussions re the same with S. Allen, E. Blum, and         1.20   $325.00   $390.00
                                                                            Company
11/12/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing projections with M. Levee and E. Blum                                                                 1.20   $375.00   $450.00
11/12/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on price and cost per ton scenario assumptions for long‐term projection model                                           0.90   $325.00   $292.50
11/12/2014    Evan Blum               Plan and Disclosure Statement (incl. BInternal meetings with SA and ML re business plan projections ‐ updating 2015/2016; LT model adjustments; need to            0.80   $525.00   $420.00
                                                                            develop JAD.
11/12/2014    Marc Levee              Plan and Disclosure Statement (incl. BPrepare for and participate in discussion with S. Allen and Management re: long‐term projections assumptions related to      0.50   $325.00   $162.50
                                                                            prices and operating costs per ton
11/13/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate Core LRR operating model ‐ Coal Preparation Assumptions and results                                                   2.80   $375.00   $1,050.00
11/13/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate core operating model for royalties (JAD and LRR)                                                                      1.80   $375.00   $675.00
11/13/2014    Marc Levee              Plan and Disclosure Statement (incl. BBegin to compile presentation for long‐term projection at LRR Division (2014 ‐ 2022)                                         0.70   $325.00   $227.50
11/13/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise reclamation estimates                                                                                                 0.70   $375.00   $262.50
11/13/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate non producing mines in operating model (LRR)                                                                          0.60   $375.00   $225.00
11/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise 2014‐2016 detailed LRR model per E. Blum comments and revised mine sequencing; revise professional fee                3.20   $375.00   $1,200.00
                                                                            estimates
11/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReconcile Q3 statement of cash flows to projections (LRR)                                                                    2.10   $375.00   $787.50
11/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BReconcile and review long‐term projections for LRR Division with S. Allen                                                    1.90   $325.00   $617.50
11/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BFurther review of long term projection model for the 2014 ‐ 2016 period                                                      1.00   $325.00   $325.00
11/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate and integrate 2017‐2022 LRR model                                                                                     1.00   $375.00   $375.00
11/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss updates to coal preparation and transportation costs with S. Allen                                                   0.90   $325.00   $292.50
11/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss updated coal preparation, transportation and cost escalation with M. Levee                                           0.90   $375.00   $337.50
11/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BResearch post‐confirmation interest on unsecured priority tax claims and implement                                           0.70   $375.00   $262.50
11/14/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss long‐term projection model with S. Allen and E. Blum re: changes made and related presentation                       0.60   $325.00   $195.00
11/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss updates to LRR and exit financing discussions with M. Levee and E. Blum                                              0.60   $375.00   $225.00
11/15/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate corporate projections for core operating model and update actual figures; reconcile to LRR financials                 2.10   $375.00   $787.50
11/15/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview long‐term projection model and prepare related powerpoint presentation                                                1.20   $325.00   $390.00
11/15/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview long‐term projection model ‐ diesel prices                                                                            0.80   $325.00   $260.00
11/15/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss latest iteration of projections with E. Blum                                                                         0.80   $375.00   $300.00
11/16/2014    Marc Levee              Plan and Disclosure Statement (incl. BPrepare presentation for long‐term projection model at LRR Division                                                          3.20   $325.00   $1,040.00
11/16/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on presentation for long‐term projection model at LRR Division                                              0.60   $325.00   $195.00
11/17/2014    Evan Blum               Plan and Disclosure Statement (incl. BWork with ML on multiple iterations of GR memo accompanying updated LT projections to Mercuria                               3.00   $525.00   $1,575.00
11/17/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BPrepare LRR model for distribution in connection with potential exit financing source                                        2.20   $375.00   $825.00
11/17/2014    Marc Levee              Plan and Disclosure Statement (incl. BFinal adjustments to draft presentation and send for Management and counsel review                                           1.90   $325.00   $617.50
11/17/2014    Marc Levee              Plan and Disclosure Statement (incl. BUpdate LRR presentation based on meeting and discuss operating costs in the long‐term projections with S. Allen              1.30   $325.00   $422.50

11/17/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview exit financing projections with M. Levee and E. Blum                                                                  1.30   $375.00   $487.50
11/17/2014    Marc Levee              Plan and Disclosure Statement (incl. BEdits and revisions to long‐term projection presentation for LRR Division                                                    1.20   $325.00   $390.00
11/17/2014    Marc Levee              Plan and Disclosure Statement (incl. BRevise long‐term projections presentation per meeting with E. Bum                                                            1.00   $325.00   $325.00
11/17/2014    Marc Levee              Plan and Disclosure Statement (incl. BPrepare for and participate in meeting with E. Blum and S. Allen regarding long‐term projections presentation                0.70   $325.00   $227.50

11/17/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview LRR presentation with E. Blum                                                                                         0.70   $325.00   $227.50
11/17/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing memo with M. Levee and E. Blum                                                                        0.50   $375.00   $187.50
11/18/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate balance sheet, statement of cash flows, and income statement for Q3 results for JAD                                   5.20   $375.00   $1,950.00
11/18/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate JAD monthly shipping assumptions                                                                                      4.10   $375.00   $1,537.40
11/18/2014    Marc Levee              Plan and Disclosure Statement (incl. BUpdates to long‐term projection presentation ‐ various edits                                                                 1.30   $325.00   $422.50
11/18/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss presentation with E. Bum (0.3); further revisions per discussion (0.3)                                               0.60   $325.00   $195.00
11/18/2014    Marc Levee              Plan and Disclosure Statement (incl. BPrepare and send projections and related presentation to potential third party financing partner                             0.50   $325.00   $162.50
11/18/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with S Allen re status of updated JAD projections needed for parties interested in exit financing for JAD               0.40   $525.00   $210.00
11/18/2014    Marc Levee              Plan and Disclosure Statement (incl. BBegin preparing long‐term projections for the JAD Division                                                                   0.40   $325.00   $130.00
11/18/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to set up long‐term projection model for the JAD Division                                                           0.40   $325.00   $130.00
11/19/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BWorking on site; discuss JAD operations with Management; update JAD model for discussions and in preparation of long         3.80   $375.00   $1,425.00
                                                                            term reserves model
11/19/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on cost assumptions for the long‐term projections at the JAD Division                                                   3.10   $325.00   $1,007.50
11/19/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on 2017‐2022 long‐term projections at JAD Division                                                          2.10   $325.00   $682.50
11/19/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on cost assumptions for 2017 ‐ 2022 at the JAD Division                                                     1.60   $325.00   $520.00
11/19/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with Company and S Allen (on site) re projections and terms in regard to Mercuria exit financing as well as reviewing   1.00   $525.00   $525.00
                                                                            Mercuria questions on model
11/19/2014    Marc Levee              Plan and Disclosure Statement (incl. BFurther work on cost assumptions and prepare production/revenue forecast for JAD long‐term projections                       0.80   $325.00   $260.00
11/19/2014    Marc Levee              Plan and Disclosure Statement (incl. BPrepare scenario based on price per ton and cost assumptions based on inflation at LRR Division                              0.30   $325.00   $97.50
11/19/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss pricing and cost scenario at LRR Division and long‐term projections at JAD Division with S. Allen                    0.30   $325.00   $97.50




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                                                                                    Time Detail           05/15/15
                                                                                                for February 1, 2015 through April 24,Entered
                                                                                                                                      2015    05/15/15 15:57:57                                                    Desc
                                                                                  Exhibit B Page 127 of 131
11/20/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss progress of financing discussions, respond to questions by potential source of financing; update JAD summary and   7.10   $375.00   $2,662.50
                                                                            assumptions; discuss projections with potential source of financing
11/20/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on cost assumptions for JAD long‐term model ‐ R&M, tires, fuel & lube                                     1.20   $325.00   $390.00
11/20/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview secured debt file and reconcile to long‐term projections at LRR Division                                            0.60   $325.00   $195.00
11/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate exit financing projection for LRR                                                                                   2.80   $375.00   $1,050.00
11/21/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on JAD long‐term projections ‐ yards, ratios, production                                                  1.30   $325.00   $422.50
11/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss Ivyton bridge analysis with M. Levee and E. Blum regards to projections for sources of exit financing              0.60   $375.00   $225.00
11/21/2014    Marc Levee              Plan and Disclosure Statement (incl. BCall with Management and S. Allen to discuss long‐term JAD production assumptions; follow up call with S. Allen re the     0.50   $325.00   $162.50
                                                                            same
11/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss JAD reserves with M. Levee in regards to projections for sources of exit financing                                 0.40   $375.00   $150.00
11/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss JAD reserves with Management in regards to projections for sources of exit financing                               0.40   $375.00   $150.00
11/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss JAD projections in connection with potential exit financing with M. Levee                                          0.40   $375.00   $150.00
11/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss auger projections with Management in regards to projections for sources of exit financing                          0.40   $375.00   $150.00
11/22/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss LRR operations and exit financing progression with E. Blum                                                         0.60   $375.00   $225.00
11/23/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate LRR exit financing projections and presentation per comments from E. Blum                                           2.90   $375.00   $1,087.50
11/23/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with ML and SA re post petition financing memo update                                                                 0.40   $525.00   $210.00
11/23/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss LRR exit financing projections and presentation with M. Levee and E. Blum                                          0.40   $375.00   $150.00
11/23/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss LRR exit financing projections and presentation with E. Blum and S. Allen                                          0.40   $325.00   $130.00
11/24/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate JAD 2014‐2016 projections for reserves updates                                                                      3.10   $375.00   $1,162.50
11/24/2014    Marc Levee              Plan and Disclosure Statement (incl. BPrepare certain charts for JAD Division's long‐term projections presentation                                               2.00   $325.00   $650.00
11/24/2014    Marc Levee              Plan and Disclosure Statement (incl. BFurther work on revenue and production assumptions at JAD Division for 2017‐2022                                           1.60   $325.00   $520.00
11/24/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to work on production/revenue assumptions for JAD Division; follow up discussion with Company                     1.00   $325.00   $325.00
11/24/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with counsel to discuss LRR and JAD projections                                                                       0.80   $525.00   $420.00
11/24/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview mine reserves at JAD Division                                                                                       0.80   $325.00   $260.00
11/24/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on production/revenue assumptions with regards to deep mine for the 2017‐2022 period                                  0.60   $325.00   $195.00
11/24/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss JAD operations, bonding and reserves with Management (for use in exit financing materials)                         0.50   $375.00   $187.50
11/24/2014    Evan Blum               Plan and Disclosure Statement (incl. BEmail correspondence with SB re need for JAD mining projections                                                            0.10   $525.00   $52.50
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on presentation of long‐term JAD projections                                                                          4.50   $325.00   $1,462.50
11/25/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BPrepare JAD 2014‐2016 projections for distribution                                                                         3.40   $375.00   $1,275.00
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on long‐term projections for JAD Division ‐ coal prep assumptions, auger production                                   2.50   $325.00   $812.50
11/25/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate auger projections (JAD)                                                                                             2.40   $375.00   $900.00
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on surety bonds assumptions at JAD for long‐term projections                                                          1.50   $325.00   $487.50
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BFurther work on JAD long‐term projections ‐ revenue/production, reserves                                                   1.20   $325.00   $390.00
11/25/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview long term JAD projections with M. Levee                                                                             0.90   $375.00   $337.50
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BReview long‐term projections at JAD Division with S. Allen                                                                 0.90   $325.00   $292.50
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BContinue to prepare first draft of JAD long‐term projections presentation and send for review                              0.50   $325.00   $162.50
11/25/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss JAD reserves information with Management and M. Levee                                                              0.30   $375.00   $112.50
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss JAD mining reserves with S. Allen                                                                                  0.30   $325.00   $97.50
11/25/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on long‐term projections at JAD ‐ 2017‐2022                                                                           0.30   $325.00   $97.50
11/26/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BPrepare fuel and lubrication bridge analysis comparing impact of multiple variables on per ton costs at request of         5.40   $375.00   $2,025.00
                                                                            potential exit financing source
11/26/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BMeet to discuss exit financing projections and presentation thereof with M. Levee and E. Blum                              4.20   $375.00   $1,575.00
11/26/2014    Marc Levee              Plan and Disclosure Statement (incl. BMeet with E. Blum and S. Allen to discuss exit financing projections at LRR and JAD Divisions                              3.90   $325.00   $1,267.50
11/26/2014    Evan Blum               Plan and Disclosure Statement (incl. BWork on JAD projections with SA and ML for 2014‐2022 time period; address modeling assumptions including discussions       3.50   $525.00   $1,837.50
                                                                            on certain issues with JC, MW and SB. Review first draft of GR JAD projection memo; mark with changes and review with
                                                                            SA and ML.
11/26/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BWork on JAD projections with EB and ML for 2014‐2022 time period                                                           2.70   $375.00   $1,012.50
11/26/2014    Marc Levee              Plan and Disclosure Statement (incl. BWork on JAD projections with EB and SA for 2014‐2022 time period                                                           2.70   $325.00   $877.50
11/26/2014    Evan Blum               Plan and Disclosure Statement (incl. BReview updated GR JAD projection memo; call with ML to review by page and make further changes                             1.60   $525.00   $840.00
11/26/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss JAD long‐term projections presentation with E. Blum                                                                1.20   $325.00   $390.00
11/26/2014    Marc Levee              Plan and Disclosure Statement (incl. BCall with EB to review by page and make further changes                                                                    1.00   $325.00   $325.00
11/27/2014    Marc Levee              Plan and Disclosure Statement (incl. BUpdate draft presentation of long‐term projections at JAD and send for review                                              1.60   $325.00   $520.00
11/28/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with M Levee to review GR JAD projection memo; update with changes; distribute internally                             1.60   $525.00   $840.00
11/28/2014    Evan Blum               Plan and Disclosure Statement (incl. BReview updated JAD GR projection memo                                                                                      0.80   $525.00   $420.00
11/28/2014    Marc Levee              Plan and Disclosure Statement (incl. BDiscuss next iteration of long‐term projections presentation at JAD with E. Blum and revise                                0.80   $325.00   $260.00
11/28/2014    Marc Levee              Plan and Disclosure Statement (incl. BCall with EB to review GR JAD projection memo                                                                              0.80   $325.00   $260.00
11/28/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BCall with EB, JC and SB re GR memo on JAD projections                                                                      0.60   $375.00   $225.00
11/28/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with MW to discuss JAD projections                                                                                    0.20   $525.00   $105.00
11/28/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with JC to discuss JAD projections                                                                                    0.20   $525.00   $105.00
11/29/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing progress with E. Blum                                                                               0.40   $375.00   $150.00
11/30/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with S Allen, JC and SB re GR memo on JAD projections                                                                 0.60   $525.00   $315.00
11/30/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with MW to discuss GR memo on JAD projections                                                                         0.50   $525.00   $262.50
11/30/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing progress with E. Blum and Management                                                                0.50   $375.00   $187.50
11/30/2014    Marc Levee              Plan and Disclosure Statement (incl. BUpdate JAD long‐term projections presentation for long‐term contracts and send for review                                  0.50   $325.00   $162.50
11/30/2014    Evan Blum               Plan and Disclosure Statement (incl. BReview GR JAD projection memo and email to SA needed changes                                                               0.20   $525.00   $105.00
12/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BMine cash flow allocation analysis at JAD ‐ LT proj                                                                        2.10   $325.00   $682.50
12/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BRevise charts and update JAD presentation for long‐term projections                                                        1.90   $325.00   $617.50
12/1/2014     Evan Blum               Plan and Disclosure Statement (incl. BWork on and review JAD mining ratios / long term projections with SA (1.5); call with JC and SB to review (.3)             1.80   $525.00   $945.00

12/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BFinalize first draft of cash flow allocation at JAD ‐ LT proj                                                              1.20   $325.00   $390.00
12/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther work on cash flow allocation at JAD Division ‐ LT proj                                                             1.00   $325.00   $325.00
12/1/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview JAD cash flow allocations and presentation with M. Levee ‐ LT proj                                                  0.70   $375.00   $262.50
12/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BDiscuss free cash flow on mine by mine basis at JAD with S. Allen ‐ LT proj                                                0.50   $325.00   $162.50
12/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BDiscuss the JAD cash flow analysis by mine with S. Allen ‐ LT proj                                                         0.50   $325.00   $162.50
12/1/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss mine level cash flow at JAD with M. Levee related to exit financing discussions                                    0.50   $375.00   $187.50
12/1/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview JAD cash flow allocations with M. Levee ‐ LT proj                                                                   0.50   $375.00   $187.50
12/1/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview JAD financial projections with M. Levee ‐ LT proj                                                                   0.50   $375.00   $187.50
12/1/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther discussion regarding cash flow allocation and ratios at JAD Division with S. Allen ‐ LT pro                        0.40   $325.00   $130.00
12/1/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview JAD consolidation with M. Levee ‐ LT proj                                                                           0.20   $375.00   $75.00
12/2/2014     Marc Levee              Plan and Disclosure Statement (incl. BRevise JAD long‐term projections and presentation based on E Blum meeting                                                  2.20   $325.00   $715.00
12/2/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther updates to JAD presentation related to long‐term contract scenarios and send for Company and counsel               1.30   $325.00   $422.50
                                                                          review
12/2/2014     Evan Blum              Plan and Disclosure Statement (incl. BReview and discuss with ML the GR updated JAD memo based on updated projections from company                                1.10   $525.00   $577.50
12/2/2014     Evan Blum              Plan and Disclosure Statement (incl. BReview further updated GR memo on JAD projections; make changes (.4); discuss outstanding issues with SA                    1.10   $525.00   $577.50
                                                                          (.3); call with JC to discuss and resolve re model and presentation (.4)
12/2/2014     Marc Levee              Plan and Disclosure Statement (incl. BReview draft of JAD long‐term projections presentation with updated charts and numbers with E. Blum                        1.10   $325.00   $357.50
12/2/2014     Marc Levee              Plan and Disclosure Statement (incl. BFurther updates to draft presentation and prepare to send for Company review                                               1.10   $325.00   $357.50
12/2/2014     Marc Levee              Plan and Disclosure Statement (incl. BReview updated JAD ong‐term projections presentation with S. Allen                                                         1.00   $325.00   $325.00
12/2/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview JAD exit financing memo with M. Levee                                                                               1.00   $375.00   $375.00
12/2/2014     Marc Levee              Plan and Disclosure Statement (incl. BReview Carbon Partners contract for Balder Mine and incorporate into JAD long‐term projections presentation                0.60   $325.00   $195.00

12/2/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview JAD presentation with M. Levee and E. Blum                                                                          0.50   $375.00   $187.50
12/2/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss projected JAD capital expenditures and revenues with Management ‐ LT proj                                          0.40   $375.00   $150.00




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                                                                                  Time Detail           05/15/15
                                                                                              for February 1, 2015 through April 24,Entered
                                                                                                                                    2015    05/15/15 15:57:57                                              Desc
                                                                                Exhibit B Page 128 of 131
12/2/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss projected JAD capital expenditures and revenues with E. Blum and M. Levee ‐ LT proj                        0.40   $375.00   $150.00
12/2/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss updated JAD presentation with E. Blum and M. Levee                                                         0.30   $375.00   $112.50
12/3/2014     Evan Blum               Plan and Disclosure Statement (incl. BFinalize GR memo on JAD projections (.4); discuss language with D Drebsky (.2); discuss with JC re confidentiality 0.80   $525.00   $420.00
                                                                         (.2); send to JD to review
12/4/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate JAD exit financing projections per Management comments in earlier cal                                      1.80    $375.00   $675.00
12/4/2014     Evan Blum               Plan and Disclosure Statement (incl. BDiscuss with SA the JAD LT model in detail after group call with JAD management                                   1.60    $525.00   $840.00
12/4/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss JAD exit financing projections and earlier meeting with M. Levee and E. Blum                              1.60    $375.00   $600.00
12/4/2014     Marc Levee              Plan and Disclosure Statement (incl. BConference call with JAD management and CEO, including GR team, to discuss JAD long‐term projections; follow      1.50    $325.00   $487.50
                                                                         up discussion after call with GR team re the same
12/4/2014     Evan Blum               Plan and Disclosure Statement (incl. BCall with JC, SB and JAD management re JAD projections                                                          1.50      $525.00   $787.50
12/4/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss JAD exit financing projections with Management                                                          1.50      $375.00   $562.50
12/4/2014     Evan Blum               Plan and Disclosure Statement (incl. BMultiple follow up calls with JC regarding JAD projections following group calls‐ discuss updated numbers based 1.30      $525.00   $682.50
                                                                         on JAD management changes
12/5/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRespond to question from local JAD Management re: revenue assumptions                                             1.40    $375.00   $525.00
12/8/2014     Marc Levee              Plan and Disclosure Statement (incl. BWork on free cash flow analysis by mine at the LRR Division ‐ LT proj                                             3.40    $325.00   $1,105.00
12/8/2014     Marc Levee              Plan and Disclosure Statement (incl. BFinalize first draft of cash flow by mine for the LRR Division for the 2015 ‐ 2016 period                         2.80    $325.00   $910.00
12/8/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReconcile LRR figures in model to income statement for presentation ‐ LT proj                                     2.40    $375.00   $900.00
12/8/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate JAD exit financing projections per recent changes                                                          1.80    $375.00   $675.00
12/8/2014     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReconcile JAD figures in model to income statement for presentation ‐ LT proj                                     1.00    $375.00   $375.00
12/8/2014     Evan Blum               Plan and Disclosure Statement (incl. BCall with JC and SB on JAD projections                                                                            0.30    $525.00   $157.50
12/9/2014     Marc Levee              Plan and Disclosure Statement (incl. BUpdates to JAD long‐term projection presentation                                                                  2.40    $325.00   $780.00
12/9/2014     Marc Levee              Plan and Disclosure Statement (incl. BContinue to revise JAD long‐term projection presentation and model for 2017 ‐ 2022; submit draft presentation     2.00    $325.00   $650.00
                                                                         for senior review
12/11/2014    Evan Blum              Plan and Disclosure Statement (incl. BWork with SA re alternative post petition structure alternatives (.6); discuss certain alternatives with D Drebsky 0.80    $525.00   $420.00
                                                                            (.2)
12/14/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BUpdate JAD exit financing presentation for new scenario and operational configuration                             2.00    $375.00   $750.00
12/15/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise JAD presentation per earlier meeting with E. Blum                                                          1.20    $375.00   $450.00
12/17/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BModel alternate deal scenarios and capital structures at LRR                                                      4.20    $375.00   $1,575.00
12/18/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing alternatives with E. Blum                                                                  0.30    $375.00   $112.50
12/18/2014    Evan Blum               Plan and Disclosure Statement (incl. BDiscuss exit financing alternatives with S Allen                                                                  0.30    $525.00   $157.50
12/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise and summarize exit financing projections                                                                   0.90    $375.00   $337.50
12/21/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with SA re GR memo on JAD projections; distribute to management (.5); calls with JC re same after            0.80    $525.00   $420.00
                                                                            management review of updated GR memo(.3)
12/21/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss exit financing projections with E. Blum                                                                   0.50    $375.00   $187.50
12/21/2014    Evan Blum               Plan and Disclosure Statement (incl. BReview LRR shipping projections                                                                                   0.10    $525.00   $52.50
12/24/2014    Evan Blum               Plan and Disclosure Statement (incl. BCall with D Drebsky re ECM flexibility on structure of ultimate LRR / Jad plan; discuss alternative scenarios     0.50    $525.00   $262.50

12/28/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRun various operating scenarios to optimize recoveries and operating configurations ‐ LRR LT model for Mercuria 6.30      $375.00   $2,362.50
                                                                            & Noble
12/28/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise model for new LRR / Mercuria contingency                                                                   2.60    $375.00   $975.00
12/29/2014    Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRun various operating scenarios to optimize recoveries and operating configurations ‐ LRR LT model for Mercuria 5.50      $375.00   $2,062.50
                                                                            & Noble
1/2/2015      Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BReview new LRR business plan assumptions with Management for Noble                                                1.10    $375.00   $412.50
1/3/2015      Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BWork on longer term LRR projections for potential financing and discuss with Management                           6.20    $375.00   $2,325.00
1/3/2015      Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise model per discussions with Management and discuss with E. Blum for Noble                                   3.20    $375.00   $1,200.00
1/3/2015      Evan Blum               Plan and Disclosure Statement (incl. BReview updated financing projections ‐ plan ‐ and discuss with SA; to be sent out to remaining interested parties 0.40    $525.00   $210.00
                                                                            at LRR
1/5/2015      Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BSummarize Jan 3 version of Plan of Reorg model for potential exit financing source cover lette                    0.80    $375.00   $300.00
1/9/2015      Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BCompare potential source exit financing's assumptions with model assumptions and summarize                        0.50    $375.00   $187.50
1/19/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise plan of reorganization model per UCC request to analyze feasibility of various scenarios                   3.10    $375.00   $1,162.50
1/19/2015     Evan Blum               Plan and Disclosure Statement (incl. BWork with S Allen on updating LRR model to evaluate impact without outside capita                                 0.60    $525.00   $315.00
1/19/2015     Evan Blum               Plan and Disclosure Statement (incl. BReview LRR projections with SA to determine whether plan doable without outside financing                         0.40    $525.00   $210.00
1/19/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss LRR plan of reorganization alternatives with E. Blum                                                      0.40    $375.00   $150.00
1/19/2015     Evan Blum               Plan and Disclosure Statement (incl. BCall with CD re LRR projections re ability to structure Plan without outside capita                               0.30    $525.00   $157.50
1/20/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise plan of reorganization model per UCC request to analyze feasibility of various scenarios without post      6.30    $375.00   $2,362.50
                                                                            petition financing
1/20/2015     Evan Blum               Plan and Disclosure Statement (incl. BCall with D Drebsky re LRR ability to emerge without post petition financing; review overview of GR model         0.50    $525.00   $262.50

1/21/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise plan of reorganization model per UCC request to analyze feasibility of various scenarios without post      3.20    $375.00   $1,200.00
                                                                            petition financing
1/21/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss recent UCC POR projections with EB; revise per comments                                                   0.40    $375.00   $150.00
1/22/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BPrepare preliminary claims schedule for plan of reorganization at request of Counse                               4.50    $375.00   $1,687.50
1/23/2015     David Neyhart, CPA      Plan and Disclosure Statement (incl. BResearch JAD and LRR secured amounts for plan discussions with EB and SA                                          2.90    $225.00   $652.50
1/27/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BRevise LRR claims summary per comments from E. Blum                                                               0.70    $375.00   $262.50
1/27/2015     Evan Blum               Plan and Disclosure Statement (incl. BReview,mark up and discuss on multiple calls with SA re LRR claims analysis for plan of reorganization prepared   0.60    $525.00   $315.00
                                                                            for counsel to review with comm counsel
1/27/2015     Sean Allen, CFA, CPA, C Plan and Disclosure Statement (incl. BDiscuss LRR claims summary memo with E. Blum                                                                      0.60    $375.00   $225.00
10/2/2014     Evan Blum               Relief from Stay/ Adequate Protectio Review and respond to emails on continued adequate protection payments to JAD counse                               0.30    $525.00   $157.50
10/10/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review Joint Stipulation re Pryor Cashman granting Adequate Protection Liens                                       0.20    $525.00   $105.00
10/12/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review emails on continued adequate protection payments in next cash collateral budget through 1/31 and            0.40    $525.00   $210.00
                                                                            whether orders are needed on a case by case basis; follow re numbers being consistent with orders

10/12/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review JAD Lenders First Amended Stipulation re Adequate Protection                                                0.20    $525.00   $105.00
10/14/2014    Sean Allen, CFA, CPA, C Relief from Stay/ Adequate Protectio Review adequate protection orders and terms                                                                        0.40    $375.00   $150.00
10/15/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review emails around LRR adequate protection payments that need to be made; amounts, timing                        0.30    $525.00   $157.50
10/15/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review proposed agreed upon adequate protection orders to extend time period ‐ Komatsu and Cat                     0.20    $525.00   $105.00
10/29/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review and respond to Huntington Bank related emails re adequate protection payments                               0.50    $525.00   $262.50
10/29/2014    David Neyhart, CPA      Relief from Stay/ Adequate Protectio Review Huntington Equipment notes and prepare summary for counse                                                   0.50    $225.00   $112.50
10/29/2014    Evan Blum               Relief from Stay/ Adequate Protectio Discuss adequate protection payments for Huntington Bank with S Allen                                              0.30    $525.00   $157.50
10/29/2014    Sean Allen, CFA, CPA, C Relief from Stay/ Adequate Protectio Discuss adequate protection payments for Huntington Bank with E. Blum                                              0.30    $375.00   $112.50
10/31/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review proposed order regarding Komatsu adequate protection payments filed with Court                              0.10    $525.00   $52.50
10/31/2014    Evan Blum               Relief from Stay/ Adequate Protectio Review email from Del Cotto to Huntington Bank counsel re adequate protection payments relative to value of        0.10    $525.00   $52.50
                                                                         certain equipment
11/3/2014     Evan Blum               Relief from Stay/ Adequate Protectio Review Court Approved Extensions for Adequate Protection Payments ‐ Caterpillar; Komatsu; Commercial Bank; JAD Lende0.20   $525.00   $105.00
2/5/2015      Evan Blum               Relief from Stay/ Adequate Protectio Review emails re relief on adequate protection payments to CAT in return for equipment purchases                    0.10   $525.00   $52.50
2/7/2015      Evan Blum               Relief from Stay/ Adequate Protectio Review Cat Agreed Order on Adequate Protection Payments related to fixing equipment in replacement of payments ‐    0.20   $525.00   $105.00
                                                                           review re model and email correspondence with MW and SA
2/12/2015     Evan Blum               Relief from Stay/ Adequate Protectio Review cat adequate protection order re replacement of equipment & no pmts; review emails re same                   0.30   $525.00   $157.50
2/13/2015     Sean Allen, CFA, CPA, C Relief from Stay/ Adequate Protectio Discuss adequate protection with Nixon Peabody and Management                                                       0.50   $375.00   $187.50
2/27/2015     Evan Blum               Relief from Stay/ Adequate Protectio Call with CD pre hearing on adequate protection issues related to JAD sale                                          0.20   $525.00   $105.00




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                                                            Time Detail           05/15/15
                                                                        for February 1, 2015 through April 24,Entered
                                                                                                              2015    05/15/15 15:57:57                                               Desc
                                                          Exhibit B Page 129 of 131
10/1/2014     Evan Blum              Tax Issues    Review S Allen email in KY property tax claims and potential lien attachment (.1); review Del Cotto memo on this 0.40         $525.00   $210.00
                                                   issue (.3)
10/6/2014     David Neyhart, CPA     Tax Issues    Examine 2010 tax return and prepare template for NOL allocations                                                 1.30         $225.00   $292.50
10/6/2014     David Neyhart, CPA     Tax Issues    Review historical tax returns received for NOL analysis.                                                         0.40         $225.00   $90.00
10/8/2014     David Neyhart, CPA     Tax Issues    Update NOL Tax analysis for COD income.                                                                          0.60         $225.00   $135.00
10/14/2014    David Neyhart, CPA     Tax Issues    Review tax returns for 2007‐2009.                                                                                0.40         $225.00   $90.00
10/20/2014    David Neyhart, CPA     Tax Issues    Follow up with NOL expert regarding presentation of tax returns                                                  0.50         $225.00   $112.50
10/24/2014    David Neyhart, CPA     Tax Issues    Call with John Brogan to discuss status of NOL analysis.                                                         0.30         $225.00   $67.50
10/28/2014    David Neyhart, CPA     Tax Issues    Research qualified creditors as part of NOL analysis and emails with JB regarding                                0.40         $225.00   $90.00
11/2/2014     Evan Blum              Tax Issues    Review S Allen memo on personal property tax claim and priority in liquidation                                        0.10    $525.00   $52.50
11/3/2014     David Neyhart, CPA     Tax Issues    Reserach unmined mineral tax amounts for JAD.                                                                         0.30    $225.00   $67.50
11/9/2014     Evan Blum              Tax Issues    Review KY Property Tax levied on JAD ‐ priority claim                                                                 0.10    $525.00   $52.50
12/8/2014     Evan Blum              Tax Issues    Review open tax matters with SA and review GR memo ‐severance, personal property (.3); review issue on call           0.60    $525.00   $315.00
                                                   with Nixon and DelCotto (.2); review emails with committee re same (.1)
12/21/2014    Evan Blum               Tax Issues   Review emails around payment of KDNR amounts                                                                           0.10   $525.00   $52.50
2/18/2015     Sean Allen, CFA, CPA, C Tax Issues   Reserach Kentucky sales tax statutes in regards to auction at request of counsel and correspond with Nixon Peabody and 1.40   $375.00   $525.00
                                                   DelCotto Law Group
10/2/2014     Evan Blum               Valuation    Call with S Allen, Nixon and M Levee re: valuation                                                                     0.60   $525.00   $315.00
10/2/2014     Marc Levee              Valuation    Discuss case status and valuation with Nixon Peabody, E Blum and S Allen                                               0.60   $325.00   $195.00
10/2/2014     Sean Allen, CFA, CPA, C Valuation    Discuss case status and valuation with Nixon Peabody, M. Levee and E. Blum                                             0.60   $375.00   $225.00
10/3/2014     Sean Allen, CFA, CPA, C Valuation    Discuss assumptions with Management and Resource Technologies Corporation                                              0.50   $375.00   $187.50
10/3/2014     Evan Blum               Valuation    Call with Appraiser and management to discuss reserve assumptions                                                      0.50   $525.00   $262.50
10/3/2014     Evan Blum               Valuation    Call with counsel re retaining appraiser ‐ required process                                                            0.30   $525.00   $157.50
10/3/2014     Evan Blum               Valuation    Call with D Drebsky re appraisal status                                                                                0.20   $525.00   $105.00
10/7/2014     Evan Blum               Valuation    Call with appraiser and M Glade re updated JAD and LRR reserve values (.5); update call with J Kern (.2)               0.70   $525.00   $367.50

10/7/2014     Marshall Glade, CPA Valuation        Call with appraiser and E Blum re updated JAD and LRR reserve values                                                  0.50    $375.00   $187.50
10/7/2014     Evan Blum               Valuation    Call with Nixon re reserve value updates; timing of draft report                                                      0.50    $525.00   $262.50
10/8/2014     Marshall Glade, CPA Valuation        Call with E Blum to discuss valuations                                                                                0.50    $375.00   $187.50
10/8/2014     Evan Blum               Valuation    Call with M Glade re valuation methodology ‐ LRR and JAD analysis                                                     0.50    $525.00   $262.50
10/9/2014     Marshall Glade, CPA Valuation        Call with E Blum and Resource Technologies to discuss valuations                                                      0.70    $375.00   $262.50
10/9/2014     Evan Blum               Valuation    Call with M Glade and Resource Technologies to discuss valuations                                                     0.70    $525.00   $367.50
10/12/2014    Marshall Glade, CPA Valuation        Call with E Blum to follow calls with Kern and review certain aspects of JAD and LRR updated values                   0.50    $375.00   $187.50
10/12/2014    Evan Blum               Valuation    Call with M Glade to follow calls with Kern and review certain aspects of JAD and LRR updated values                  0.50    $525.00   $262.50
10/15/2014    Evan Blum               Valuation    Call with M Glade and D Neyhart re revised appraisal; coordinate GR approach and review                               0.20    $525.00   $105.00
10/15/2014    Marshall Glade, CPA Valuation        Call with E Blum and D Neyhart to discuss appraisals                                                                  0.20    $375.00   $75.00
10/16/2014    Sean Allen, CFA, CPA, C Valuation    Review draft appraisal                                                                                                3.10    $375.00   $1,162.50
10/16/2014    Marshall Glade, CPA Valuation        Review and analysis of updated Resource Technology appraisal                                                          2.00    $375.00   $750.00
10/16/2014    David Neyhart, CPA      Valuation    Update waterfall analysis based on revised valuation amounts from Resource Technology report                          2.00    $225.00   $450.00
10/16/2014    David Neyhart, CPA      Valuation    Update valuation analysis presentation                                                                                1.90    $225.00   $427.50
10/16/2014    David Neyhart, CPA      Valuation    Review revised resource technology valuation report                                                                   1.60    $225.00   $360.00
10/16/2014    David Neyhart, CPA      Valuation    Analyze secured creditor balances for valuation analysis                                                              1.40    $225.00   $315.00
10/16/2014    Evan Blum               Valuation    Discuss updated appraisal internally; review questions to be posed to Resource Tech and OK to send                    0.80    $525.00   $420.00
10/16/2014    Evan Blum               Valuation    Initial review of updated draft appraisal                                                                             0.70    $525.00   $367.50
10/16/2014    David Neyhart, CPA      Valuation    calls with MG to discuss updated valuation analysis and preparation of revised waterfall presentation                 0.60    $225.00   $135.00
10/16/2014    Marc Levee              Valuation    Call with E Blum and D Neyhart to discuss valuation analysis updates                                                  0.40    $325.00   $130.00
10/16/2014    David Neyhart, CPA      Valuation    Call with BM to discuss updated valuation amounts                                                                     0.40    $225.00   $90.00
10/16/2014    David Neyhart, CPA      Valuation    Call with EB and ML to discuss valuation analysis updates                                                             0.40    $225.00   $90.00
10/16/2014    Evan Blum               Valuation    Call with M Levee and D Neyhart re required GR analysis after call with counse                                        0.40    $525.00   $210.00
10/16/2014    Evan Blum               Valuation    Call with D Drebsky re draft appraisal and GR analysis                                                                0.40    $525.00   $210.00
10/16/2014    Evan Blum               Valuation    Call with M Glade and D Neyhart re updated appraisal results and discuss specific update of GR memo                   0.20    $525.00   $105.00
10/16/2014    Marshall Glade, CPA Valuation        Call with E Blum and D Neyhart to discuss updated appraisal                                                           0.20    $375.00   $75.00
10/16/2014    David Neyhart, CPA      Valuation    Additional follow up call with EB and MG to discuss valuation analysis updates                                        0.20    $225.00   $45.00
10/17/2014    David Neyhart, CPA      Valuation    Populate liquidation analysis with updated asset values from the company                                              4.10    $225.00   $922.50
10/17/2014    David Neyhart, CPA      Valuation    Update liquidation presentation with revised valuations.                                                              3.00    $225.00   $675.00
10/17/2014    Marshall Glade, CPA Valuation        Continued review and analysis of Resource Technology appraisal and waterfalls                                         2.00    $375.00   $750.00
10/17/2014    David Neyhart, CPA      Valuation    Update waterfall assumptions for liquidation analysis                                                                 1.10    $225.00   $247.50
10/17/2014    David Neyhart, CPA      Valuation    Calls with MG to discuss liquidation analysis                                                                         0.90    $225.00   $202.50
10/17/2014    Marshall Glade, CPA Valuation        Calls with D Neyhart to discuss updated analysis                                                                      0.90    $375.00   $337.50
10/17/2014    David Neyhart, CPA      Valuation    Populate liquidation analysis with updated creditor values from company                                               0.70    $225.00   $157.50
10/17/2014    David Neyhart, CPA      Valuation    Prepare questions for appraiser regarding going concern valutions                                                     0.70    $225.00   $157.50
10/17/2014    David Neyhart, CPA      Valuation    Review appraisal report and prepare questions for appraiser regarding liquidation valutions                           0.40    $225.00   $90.00
10/20/2014    David Neyhart, CPA      Valuation    Multiple calls with MG to discuss updated liquidation analysis and waterfall presentation based on updated            1.10    $225.00   $247.50
                                                   appraisal valuation
10/20/2014    Marshall Glade, CPA    Valuation     Multiple calls with D Neyhart to discuss updated liquidation analysis and waterfall presentation based on             1.10    $375.00   $412.50
                                                   updated appraisal valuation
10/20/2014    David Neyhart, CPA     Valuation     Update liquidation analysis with new appraisal values.                                                                0.40    $225.00   $90.00
10/21/2014    David Neyhart, CPA     Valuation     Update liquidation analysis based on additional drafts of valuation report                                            1.90    $225.00   $427.50
10/21/2014    David Neyhart, CPA     Valuation     Review of assumptions used in updated valuation report.                                                               0.80    $225.00   $180.00
10/21/2014    Evan Blum              Valuation     Review updated valuation analysis with D Neyhart; review updated GR analysis                                          0.70    $525.00   $367.50
10/21/2014    Marshall Glade, CPA    Valuation     Call with D Neyhart to discuss updated valuation/appraisal draft                                                      0.50    $375.00   $187.50
10/21/2014    David Neyhart, CPA     Valuation     Call with MG to discus updated valuation/appraisal draft.                                                             0.50    $225.00   $112.50
10/22/2014    David Neyhart, CPA     Valuation     Update valuation analysis for revised going concern value.                                                            2.20    $225.00   $495.00
10/22/2014    David Neyhart, CPA     Valuation     Call with JK from Resource Technology to discuss valuation report drafts.                                             0.40    $225.00   $90.00
10/22/2014    David Neyhart, CPA     Valuation     Review assumptions made in revised valuation drafts.                                                                  0.30    $225.00   $67.50
10/27/2014    David Neyhart, CPA     Valuation     Review updated information provided by JK regarding equipment values, and follow up discussions with EB and           1.40    $225.00   $315.00
                                                   JK
10/27/2014    David Neyhart, CPA     Valuation     Research equipment values and update allocations for waterfall analsyis                                               1.30    $225.00   $292.50
10/27/2014    Evan Blum              Valuation     Review GR value report with D Neyhart based on current information (.5); follow up discussions with D Neyhart         1.00    $525.00   $525.00
                                                   after calls with J Kern (.5)
10/27/2014    Evan Blum              Valuation     Discussion with MW and JC re Orderly Liquidation analysis of LRR and JAD                                              0.90    $525.00   $472.50
10/27/2014    David Neyhart, CPA     Valuation     call with EB MW and JC to discuss value of equipment at JAD                                                           0.90    $225.00   $202.50
10/27/2014    David Neyhart, CPA     Valuation     Review liquidation presentation with EB                                                                               0.50    $225.00   $112.50
10/27/2014    David Neyhart, CPA     Valuation     Update liquidation analysis with updated comments from JK.                                                            0.30    $225.00   $67.50
10/27/2014    David Neyhart, CPA     Valuation     Call with JK from Resource Technologies to discuss updated appraisa                                                   0.20    $225.00   $45.00
10/27/2014    David Neyhart, CPA     Valuation     Call with MG to discuss updated appraisal                                                                             0.20    $225.00   $45.00
10/27/2014    Marshall Glade, CPA    Valuation     Call with D Neyhart to discuss updated appraisal                                                                      0.20    $375.00   $75.00
10/29/2014    David Neyhart, CPA     Valuation     Prepare updated waterfall analysis based on revised liquidation valuations.                                           3.40    $225.00   $765.00
10/29/2014    David Neyhart, CPA     Valuation     Review updated 10/29 appraisal report from Resource Technologies and prepare follow up comments for JK.               2.00    $225.00   $450.00




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                                                           Time Detail           05/15/15
                                                                       for February 1, 2015 through April 24,Entered
                                                                                                             2015    05/15/15 15:57:57                                                  Desc
                                                         Exhibit B Page 130 of 131
10/29/2014    David Neyhart, CPA      Valuation   Prepare updated liquidation analysis based on revised Resource Technologies report                                        1.40   $225.00   $315.00
10/30/2014    David Neyhart, CPA      Valuation   Update waterfall analysis based on revised valuation estimates.                                                           2.90   $225.00   $652.50
10/30/2014    Marshall Glade, CPA Valuation       Analysis of updated appraisals; correspondence with various GR personne                                                   2.00   $375.00   $750.00
10/30/2014    Sean Allen, CFA, CPA, C Valuation   Review discounted cash flow projections from valuation expert                                                             0.90   $375.00   $337.50
10/30/2014    Sean Allen, CFA, CPA, C Valuation   Meetings with E Blum and D Neyhart re updated valuation and waterfall presentation                                        0.50   $375.00   $187.50
10/30/2014    Evan Blum               Valuation   Meetings with S Allen and D Neyhart re updated valuation and waterfall presentation                                       0.50   $525.00   $262.50
10/30/2014    David Neyhart, CPA      Valuation   Meetings with SA and EB re updated valuation and waterfall presentation                                                   0.50   $225.00   $112.50
10/30/2014    Sean Allen, CFA, CPA, C Valuation   Review D. Neyhart's valuation analysis and provide comment                                                                0.40   $375.00   $150.00
10/30/2014    David Neyhart, CPA      Valuation   Review liquidation presentation with SA.                                                                                  0.40   $225.00   $90.00
10/30/2014    David Neyhart, CPA      Valuation   Review updated 10/30 appraisal form from Resource Technologies                                                            0.40   $225.00   $90.00
10/30/2014    David Neyhart, CPA      Valuation   Call with MG to discuss updated appraisal                                                                                 0.20   $225.00   $45.00
10/31/2014    Sean Allen, CFA, CPA, C Valuation   Revise valuation memo                                                                                                     1.60   $375.00   $600.00
10/31/2014    Evan Blum               Valuation   Review and discuss with S Allen updated GR memo on Orderly Liquidation Value                                              0.30   $525.00   $157.50
10/31/2014    Sean Allen, CFA, CPA, C Valuation   Discuss valuation memo with E. Blum                                                                                       0.30   $375.00   $112.50
11/1/2014     Evan Blum               Valuation   Review Oct 30 Resource Tech appraisal report (.8); review GR report summarizing orderly liquidation based on report (.6); 3.00   $525.00   $1,575.00
11/1/2014     Sean Allen, CFA, CPA, C Valuation   Discuss valuation, various scenarios, and valuation memo with E. Blum                                                     0.70   $375.00   $262.50
11/1/2014     Sean Allen, CFA, CPA, C Valuation   Revise valuation memo per earlier meeting                                                                                 0.60   $375.00   $225.00
11/1/2014     David Neyhart, CPA      Valuation   Call with EB to discuss valuation analysis and liquidation waterfall                                                      0.30   $225.00   $67.50
11/1/2014     Evan Blum               Valuation   Email exchange with counsel re treatment of reclamation claims and severance taxes in liquidation scenario                0.10   $525.00   $52.50
11/2/2014     David Neyhart, CPA      Valuation   Update liquidation analysis based on comments from EB and SA.                                                             2.70   $225.00   $607.50
11/2/2014     Evan Blum               Valuation   Review updated GR memo on orderly liquidation value (.6); call with D Neyhart regarding changes (.2)                      0.80   $525.00   $420.00
11/2/2014     David Neyhart, CPA      Valuation   Update liquidation presentation after call with EB.                                                                       0.50   $225.00   $112.50
11/2/2014     David Neyhart, CPA      Valuation   Call with EB to discuss changes to valuation and liquidation analysis.                                                    0.20   $225.00   $45.00
11/2/2014     Evan Blum               Valuation   Email exchange with counsel re valuation of pre April 2008 equipment                                                      0.10   $525.00   $52.50
11/3/2014     David Neyhart, CPA      Valuation   Review going concern assumptions from Resource Technologies report.                                                       2.80   $225.00   $630.00
11/3/2014     David Neyhart, CPA      Valuation   Update liquidation analysis to include going concern assumptions.                                                         2.80   $225.00   $630.00
11/3/2014     David Neyhart, CPA      Valuation   Update liquidation analysis based on revised balance sheet info from company.                                             2.70   $225.00   $607.50
11/3/2014     Marshall Glade, CPA Valuation       Analyze updated resource technologies going concern report; calls with D Neyhart to discuss various issues                1.70   $375.00   $637.50
11/3/2014     David Neyhart, CPA      Valuation   Update liquidation presentation based on going concern assumptions and updated account balances.                          1.20   $225.00   $270.00
11/3/2014     David Neyhart, CPA      Valuation   Calculate equity/deficiency amounts for each secured creditor based on revised balance sheet figures.                     0.80   $225.00   $180.00
11/3/2014     Evan Blum               Valuation   Review further updated GR memo on liquidation value based on Resource Tech report (.3); call with S Allen to discuss chan0.70    $525.00   $367.50
11/3/2014     Evan Blum               Valuation   Call with D Drebsky re reclamation impact on Resource Tech appraisal (.2); follow with MW re details of company's reclam 0.70    $525.00   $367.50
11/3/2014     Sean Allen, CFA, CPA, C Valuation   Correspondence with Management re: valuation issues                                                                       0.60   $375.00   $225.00
11/3/2014     Evan Blum               Valuation   Call with Laura Day re reclamation impact on valuation analysis                                                           0.50   $525.00   $262.50
11/3/2014     Evan Blum               Valuation   Work with S Allen on recovery spreadsheet based on Resource Tech appraisal                                                0.50   $525.00   $262.50
11/3/2014     Sean Allen, CFA, CPA, C Valuation   Internal GR Meeting re: cash flow projections and valuation                                                               0.50   $375.00   $187.50
11/3/2014     Sean Allen, CFA, CPA, C Valuation   Discuss reclamation with M. Windisch and E. Blum                                                                          0.50   $375.00   $187.50
11/3/2014     Sean Allen, CFA, CPA, C Valuation   Discuss valuation in orderly liquidation scenario with D. Neyhart                                                         0.50   $375.00   $187.50
11/3/2014     Marshall Glade, CPA Valuation       Call with DN and E B to discuss going concern analysis and follow up with DN re same                                      0.50   $375.00   $187.50
11/3/2014     David Neyhart, CPA      Valuation   Discussions with MG re analysis of DCF and going concern assumptions in the valuation report.                             0.40   $225.00   $90.00
11/3/2014     Marshall Glade, CPA Valuation       Discussions with DN re analysis of DCF and going concern assumptions in the valuation report                              0.40   $375.00   $150.00
11/3/2014     David Neyhart, CPA      Valuation   Meeting with EB to discuss updates to liquidation and valuation analysis.                                                 0.30   $225.00   $67.50
11/3/2014     Evan Blum               Valuation   Review valuation assumptions re waterfall with MW based upon Resource Tech appraisal                                      0.20   $525.00   $105.00
11/3/2014     Sean Allen, CFA, CPA, C Valuation   Discuss reclamation liability with D. Drebsky and E. Blum                                                                 0.20   $375.00   $75.00
11/4/2014     David Neyhart, CPA      Valuation   Prepare analysis of going concern assumptions used in appraisal report.                                                   2.80   $225.00   $630.00
11/4/2014     Marshall Glade, CPA Valuation       Liquidation analysis and review; summarize resource technology assumptions and analyze                                    2.00   $375.00   $750.00
11/4/2014     David Neyhart, CPA      Valuation   Prepare isolated waterfall analysis for each entity.                                                                      1.90   $225.00   $427.50
11/4/2014     David Neyhart, CPA      Valuation   Update valuation and liquidation analysis with isolated waterfall analysis.                                               1.60   $225.00   $360.00
11/4/2014     Evan Blum               Valuation   Call with MG and DN re going concern portion of Resource Tech appraisal and open questions (.5); review initial GR analysi0.70   $525.00   $367.50
11/4/2014     Evan Blum               Valuation   Work with D Neyhart in updating GR valuation analysis for orderly liquidation based on appraisal; counsel comments; addit0.70    $525.00   $367.50
11/4/2014     David Neyhart, CPA      Valuation   Follow up with JK regarding going concern appraisal analysis.                                                             0.70   $225.00   $157.50
11/4/2014     David Neyhart, CPA      Valuation   Meeting with GR team to discuss updating valuation analysis and impact of liquidation analysis.                           0.60   $225.00   $135.00
11/4/2014     David Neyhart, CPA      Valuation   Call with MG and EB to discuss going concern analysis and follow up with MG regarding same.                               0.50   $225.00   $112.50
11/4/2014     Evan Blum               Valuation   Call with MW and S Allen re valuation of HWM 37                                                                           0.40   $525.00   $210.00
11/4/2014     Sean Allen, CFA, CPA, C Valuation   Discuss capital expenditures and equipment valuation with Management and E. Blum                                          0.40   $375.00   $150.00
11/5/2014     David Neyhart, CPA      Valuation   Review going concern analysis prepared by Resource Technologies.                                                          2.00   $225.00   $450.00
11/5/2014     Evan Blum               Valuation   Review GR memo on orderly liquidation based on appraisal with Nixon Del Cotto & Co                                        0.50   $525.00   $262.50
11/5/2014     David Neyhart, CPA      Valuation   Call with EB, Counsel, and the Company to discuss valuation analysis.                                                     0.50   $225.00   $112.50
11/5/2014     David Neyhart, CPA      Valuation   Meeting with EB and SA to discuss projections used in valuation models and follow up after.                               0.40   $225.00   $90.00
11/5/2014     Sean Allen, CFA, CPA, C Valuation   Discuss projections and valuation with D. Neyhart, M. Glade, and E. Blum                                                  0.40   $375.00   $150.00
11/5/2014     Marshall Glade, CPA Valuation       Discuss projections and valuation with DN, SA and EB                                                                      0.40   $375.00   $150.00
11/6/2014     David Neyhart, CPA      Valuation   Update going concern analysis with revised appraisal estimate which included terminal value.                              3.10   $225.00   $697.50
11/7/2014     David Neyhart, CPA      Valuation   Review DCF model used by appraiser and identify equipment classifications (needed for ops/not needed for ops)             1.40   $225.00   $315.00
11/7/2014     David Neyhart, CPA      Valuation   Update going concern slides with equipment info.                                                                          0.70   $225.00   $157.50
11/19/2014    David Neyhart, CPA      Valuation   Review resource technologies final appraisal report.                                                                      2.80   $225.00   $630.00
11/19/2014    David Neyhart, CPA      Valuation   Review and update going concern analysis and presenation.                                                                 1.00   $225.00   $225.00
11/19/2014    David Neyhart, CPA      Valuation   Meetings with EB to discuss going concern analysis and resource technologies DCF model.                                   0.60   $225.00   $135.00
11/19/2014    David Neyhart, CPA      Valuation   Update exhibit showing equipment needed/not needed as determined in resource technologies final appraisal report.         0.60   $225.00   $135.00
11/19/2014    Evan Blum               Valuation   Meetings with DN to discuss going concern analysis and resource technologies DCF model                                    0.60   $525.00   $315.00
11/20/2014    David Neyhart, CPA      Valuation   Review final resource technologies appraisal report.                                                                      1.80   $225.00   $405.00
11/20/2014    David Neyhart, CPA      Valuation   Update going concern analysis based on final appraisal report.                                                            0.50   $225.00   $112.50
12/1/2014     David Neyhart, CPA      Valuation   Review appraisal DCF                                                                                                      0.40   $225.00   $90.00
12/2/2014     David Neyhart, CPA      Valuation   Consolidate equipment listing for presentation appendix.                                                                  0.30   $225.00   $67.50
12/3/2014     David Neyhart, CPA      Valuation   Review detail for land and timber value included in appraisal report                                                      0.50   $225.00   $112.50
12/5/2014     Sean Allen, CFA, CPA, C Valuation   Discuss JAD assets valuations with D. Neyhart and E. Blum                                                                 0.50   $375.00   $187.50
12/5/2014     Evan Blum               Valuation   Discuss JAD assets valuations with S Allen and D Neyhart                                                                  0.50   $525.00   $262.50
12/5/2014     David Neyhart, CPA      Valuation   Discuss JAD assets valuations with E Blum and S Allen                                                                     0.50   $225.00   $112.50
12/9/2014     David Neyhart, CPA      Valuation   Prepare equipment summary based on discussion with SA.                                                                    2.90   $225.00   $652.50
12/9/2014     Marc Levee              Valuation   Analysis of OLV and FLV for certain equipment at LRR                                                                      2.00   $325.00   $650.00
12/9/2014     David Neyhart, CPA      Valuation   Review equipment listing per Debtor's records, and research values for specific items based on appraisal                  1.60   $225.00   $360.00
                                                  analysis.
12/9/2014     David Neyhart, CPA      Valuation   Call with SA to discuss additional equipment analysis.                                                                   0.30    $225.00   $67.50
12/9/2014     Sean Allen, CFA, CPA, C Valuation   Call with D Neyhart to discuss additional equipment analysis                                                             0.30    $375.00   $112.50
12/10/2014    David Neyhart, CPA      Valuation   Update waterfall analysis and valuation analysis to incorporate FLV values.                                              3.40    $225.00   $765.00
12/10/2014    David Neyhart, CPA      Valuation   Update valuation summary presentation to include FLV.                                                                    1.70    $225.00   $382.50
12/10/2014    David Neyhart, CPA      Valuation   Call with Great American Group to discuss valuation appraisal, and follow up regarding specific pieces of                1.00    $225.00   $225.00
                                                  equipment.
12/10/2014    Marc Levee             Valuation    Prepare for and participate in conference call with appraiser to discuss equipment values at both divisions              0.70    $325.00   $227.50

12/10/2014    Marc Levee             Valuation    Various discussions with GR team regarding equipment values at both divisions                                            0.50    $325.00   $162.50
12/10/2014    David Neyhart, CPA     Valuation    Call with GR team and resource technologies to discuss prep plant and load out valuations                                0.50    $225.00   $112.50
12/10/2014    David Neyhart, CPA     Valuation    Follow up with Great American and Resource Technologies regarding appraisal values                                       0.50    $225.00   $112.50
12/11/2014    David Neyhart, CPA     Valuation    Update valuation analysis for FLV values.                                                                                2.50    $225.00   $562.50




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                                                                       for February 1, 2015 through April 24,Entered
                                                                                                             2015    05/15/15 15:57:57                                             Desc
                                                         Exhibit B Page 131 of 131
12/11/2014    Sean Allen, CFA, CPA, C Valuation   Analyze value of contracts at JAD                                                                           1.40            $375.00   $525.00
12/11/2014    David Neyhart, CPA      Valuation   Review updated valuation presentation.                                                                      1.10            $225.00   $247.50
12/11/2014    Sean Allen, CFA, CPA, C Valuation   Discuss asset value with D. Drebsky and E. Blum                                                             0.40            $375.00   $150.00
12/11/2014    Evan Blum               Valuation   Discuss asset value with D Drebsky and S Allen                                                              0.40            $525.00   $210.00
12/12/2014    David Neyhart, CPA      Valuation   Update valuation presentation to highlight HWM valuations.                                                  1.50            $225.00   $337.50
12/12/2014    Evan Blum               Valuation   Review updated GR memo on valuation with DN and SA (0.6); mark changes by page and review analysis and      1.20            $525.00   $630.00
                                                  conclusions (0.6)
12/12/2014    David Neyhart, CPA      Valuation   Review of liquidation scenarios, and discussions with EB and SA regarding the same                          0.60            $225.00   $135.00
12/12/2014    David Neyhart, CPA      Valuation   Update valuation report based on comments from EB and SA                                                    0.60            $225.00   $135.00
12/12/2014    Sean Allen, CFA, CPA, C Valuation   Discuss valuation with D. Neyhart and E. Blum                                                               0.60            $375.00   $225.00
12/30/2014    Sean Allen, CFA, CPA, C Valuation   Assess liens and appraised values of certain pieces of equiopment at LRR                                    1.00            $375.00   $375.00

                                                                                                                                                      Total          2130.5               $825,837.30




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